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THIS IS NOT A SOLICITATION OF ACCEPTANCE OR REJECTION OF THE PLAN.
ACCEPTANCES OR REJECTIONS MAY NOT BE SOLICITED UNTIL A DISCLOSURE
STATEMENT HAS BEEN APPROVED BY THE BANKRUPTCY COURT. THIS
DISCLOSURE STATEMENT IS BEING SUBMITTED FOR APPROVAL BUT HAS NOT
BEEN APPROVED BY THE COURT.

                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


In re:                                   )   Chapter 11
                                         )
TIMOTHY PLACE, NFP, et al.,              )   Case No. 16-0336 (JPC)
                                         )
                 Debtors.                )   (Jointly Administrated)
                                         )   Hon. Jacqueline P. Cox


    DEBTORS’ JOINT DISCLOSURE STATEMENT DATED DECEMBER 15, 2020




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THE DEBTORS
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                               INTRODUCTORY NARRATIVE

        Timothy Place, NFP d/b/a Park Place Christian Community of Elmhurst (“Park Place”)
and Christian Healthcare Foundation, NFP d/b/a Providence Healthcare Foundation (the
“Foundation”) (collectively, the “Debtors”) have filed a Plan of Reorganization (the “Plan”) in
these bankruptcy cases (the “Cases”). The Plan will become effective if enough creditors whose
rights would be changed by the Plan agree to it, and the Bankruptcy Court finds that the Plan meets
the requirements of the Bankruptcy Code.

Claims and Creditors who will not be affected by the Plan:

       The Plan, as currently proposed, will not affect:

       a. the Residency Agreements between Park Place and the people who live at Park Place
          of Elmhurst and their beneficiaries;

       b. the Debtors’ employees;

       c. people who have placed deposits with Park Place to reserve units in Park Place of
          Elmhurst;

       d. vendors and service providers who do business with Park Place in the ordinary course
          of Park Place’s business; and

       e. State, federal and local units of government, including without limitation all taxing and
          regulatory authorities.

If you have a claim that falls into one of the five categories noted immediately above, you will not
be required to do anything to keep your rights against the Debtors in full force and effect as they
exist now and as they existed prior to the commencement of these Cases.

Bondholder Claims which will be affected by the Plan:

       Park Place owns and runs a continuing care retirement community (a “CCRC”) located in
Elmhurst, Illinois which does business under the name of “Park Place of Elmhurst” (the
“Campus”). The Campus was built with funds which were received from the sale of Illinois
municipal bonds issued to bondholders in 2010 by the Illinois Finance Authority (the “Issuer”) in
the aggregate original principal amount of $175,540,000 (the “2010 Bonds”).

       In January of 2016, the Debtors filed Chapter 11 bankruptcy cases in the Bankruptcy Court
(the “2016 Cases”). In March of 2016, the Bankruptcy Court confirmed the Debtors’ joint plan
of reorganization (the “2016 Plan”) which provided, among other things, for a balance sheet



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restructure of Debtors’ bond debt and for the exchange of the $146,125,000 of then-outstanding
2010 Bonds for a new issue of municipal bonds in the original principal amount of $146,125,000.

        On April 1, 2016, the Issuer issued the replacement 2016 bonds as provided by the 2016
Plan which consisted of $103,691,500 of Revenue Bonds, Series 2016A (Park Place of Elmhurst
Project (“2016A Bonds”), $20,514,750 of Revenue Bonds, Series 2016B (Park Place of Elmhurst
Project (“2016B Bonds”) and $21,918,750 of Excess Cash Revenue Bonds, Series 2016C (Park
Place of Elmhurst Project) (“2016C Bonds” and collectively with the 2016A and 2016B Bonds,
the “2016 Bonds”).

        As described in greater detail in this Disclosure Statement, the Debtors (through their Plan
in the present Cases) have proposed that the holders of the 2016 Bonds will receive the following
treatment:

       a. the holders of 2016A Bonds and 2016B Bonds (who are classified in Class 2 of the
          Plan) shall exchange those bonds for a pro rata share of a new municipal bond issue
          (defined herein and in the Plan as the “2021 Bonds”) in the aggregate original principal
          amount of $107,269,103.00 (which is approximately 90% of the current principal
          amount which is due on the 2016A and 2016B Bonds). The 2021 Bonds shall bear
          interest at 5.125% per annum and mature in 40 years. The 2021 Bonds will be secured
          with liens on substantially all property of the Debtors.

       b. The holders of the 2016C Bonds (who are classified in Class 3 of the Plan) will receive
          a pro-rata share of a payment in the amount of $657,562.50 plus 3% of the accrued but
          unpaid interest on the principal amount of the 2016C Bonds as of the Effective Date of
          the Plan (the “2016C Bond Redemption Payment”) which will initially be paid to
          Park Place by Rest Haven Illiana Christian Convalescent Home, d/b/a Providence Life
          Services, an Illinois not-for-profit corporation which is the sole member of each of the
          Debtors (the “Sponsor”) and will then be transferred to the 2016 Bond Trustee for pro
          rata distribution to the holders of the 2016C Bonds, which payment will redeem 100%
          of the 2016C Bonds.

       c. iIn addition to the 2016C Bond Redemption Payment, the Sponsor will provide
          liquidity support (essentially, a $3 Million, non-interest bearing line of credit) to Park
          Place to support the Debtors’ operations once it emerges from Chapter 11. In addition,
          the Sponsor has undertaken to pay the professional fees, expenses and costs incurred
          by the general bankruptcy counsel retained by the Debtors in these Cases, which will
          provide additional liquidity to support the Debtors’ future operations.

        In the four years since the Debtors completed their 2016 bankruptcy cases, it has become
clear that the balance sheet restructure achieved through the 2016 Plan did not go far enough to
address the essential economic fact which led to the filing of the 2016 Cases, which was, the fact

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that the Debtors owe far more bond debt than they could ever service, given the nature of their
business as a CCRC. The restructuring of the 2016A and 2016 B Bonds and the redemption of the
2016C Bonds on the terms outlined above and in the Plan is the product of spirited negotiation
between the Debtors, the Sponsor, the 2016 Bond Trustee and the holders of more than eighty-
four percent (84%) of the 2016 A Bonds, more than eighty-three percent (83%) of the 2016 B
Bonds and more than sixty-two percent of the 2016 C Bonds, to reach a fair and a long term
solution to the Debtors’ financial circumstances. This solution, in addition to its positive results
for the holders of the Debtors’ bonds, will provide further assurance that confirmation of the Plan
will firmly place Park Place in a position to continue to provide excellent care and service to the
people who live at the Campus.

                                         DISCLAIMER

     IF YOU ARE ENTITLED TO VOTE TO APPROVE THE PLAN, YOU ARE
RECEIVING A BALLOT WITH YOUR COPY OF THIS DISCLOSURE STATEMENT. THE
DEBTORS URGE YOU TO VOTE TO ACCEPT THE PLAN.

     EACH HOLDER OF A CLAIM AGAINST OR INTEREST IN THE DEBTORS
ENTITLED TO VOTE TO ACCEPT OR REJECT THE PLAN SHOULD READ THIS
DISCLOSURE STATEMENT AND THE PLAN IN THEIR ENTIRETY BEFORE VOTING. NO
SOLICITATION OF VOTES TO ACCEPT OR REJECT THE PLAN MAY BE MADE EXCEPT
PURSUANT TO THIS DISCLOSURE STATEMENT AND SECTION 1125 OF THE
BANKRUPTCY CODE. NO HOLDER OF A CLAIM SHOULD RELY ON ANY
INFORMATION RELATING TO THE DEBTORS, THEIR PROPERTY, OR THE PLAN
OTHER THAN THAT CONTAINED IN THIS DISCLOSURE STATEMENT AND THE
ATTACHED EXHIBITS.

      THIS DISCLOSURE STATEMENT CONTAINS A SUMMARY OF CERTAIN
PROVISIONS OF THE PLAN. ALTHOUGH THE DEBTORS BELIEVE AND HAVE MADE
EVERY EFFORT TO ENSURE THAT THIS SUMMARY PROVIDES ADEQUATE
INFORMATION WITH RESPECT TO THE PLAN, THE SUMMARY DOES NOT PURPORT
TO BE COMPLETE AND IS QUALIFIED TO THE EXTENT IT DOES NOT SET FORTH THE
ENTIRE TEXT OF THE PLAN. IF THERE IS ANY INCONSISTENCY BETWEEN THE PLAN
AND THE SUMMARY OF THE PLAN CONTAINED IN THIS DISCLOSURE STATEMENT,
THE PLAN SHALL CONTROL. ACCORDINGLY, EACH HOLDER OF A CLAIM SHOULD
REVIEW THE PLAN IN ITS ENTIRETY.

     THIS DISCLOSURE STATEMENT HAS BEEN PREPARED IN ACCORDANCE
WITH SECTION 1125 OF THE BANKRUPTCY CODE, BANKRUPTCY RULE 3016, AND
LOCAL BANKRUPTCY RULE 3016-1 AND IS NOT NECESSARILY IN ACCORDANCE
WITH FEDERAL OR STATE SECURITIES LAWS OR OTHER SIMILAR LAWS. ENTITIES
OR ENTITIES TRADING IN OR OTHERWISE PURCHASING, SELLING, OR

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TRANSFERRING CLAIMS AGAINST THE DEBTORS SHOULD EVALUATE THIS
DISCLOSURE STATEMENT AND THE PLAN IN LIGHT OF THE PURPOSE FOR WHICH
IT WAS PREPARED. THIS DISCLOSURE STATEMENT SHALL NOT BE CONSTRUED TO
BE ADVICE ON THE TAX, SECURITIES, OR OTHER LEGAL EFFECTS OF THE
REORGANIZATION OF THE DEBTORS AS TO HOLDERS OF CLAIMS AGAINST THE
DEBTORS.

     THIS DISCLOSURE STATEMENT HAS NEITHER BEEN APPROVED NOR
DISAPPROVED BY THE SECURITIES AND EXCHANGE COMMISSION (THE “SEC”)
NOR HAS THE SEC PASSED UPON THE ACCURACY OR ADEQUACY OF THE
STATEMENTS CONTAINED HEREIN.

     IN PREPARING THIS DISCLOSURE STATEMENT, THE DEBTORS RELIED ON
FINANCIAL DATA DERIVED FROM THE DEBTORS’ BOOKS AND RECORDS AND ON
VARIOUS ASSUMPTIONS REGARDING THE DEBTORS’ BUSINESS. ALTHOUGH THE
DEBTORS BELIEVE THAT SUCH FINANCIAL INFORMATION FAIRLY REFLECTS THE
FINANCIAL CONDITION OF THE DEBTORS AS OF THE DATE HEREOF AND THAT THE
ASSUMPTIONS REGARDING FUTURE EVENTS REFLECT REASONABLE BUSINESS
JUDGMENTS, THE DEBTORS MAKE NO REPRESENTATIONS OR WARRANTIES AS TO
THE ACCURACY OF THE FINANCIAL INFORMATION CONTAINED IN THIS
DISCLOSURE STATEMENT OR ASSUMPTIONS REGARDING THE DEBTORS’
BUSINESS AND THEIR FUTURE RESULTS AND OPERATIONS. THE DEBTORS
EXPRESSLY CAUTION READERS NOT TO PLACE UNDUE RELIANCE ON ANY
FORWARD-LOOKING STATEMENTS CONTAINED HEREIN.

     THIS DISCLOSURE STATEMENT DOES NOT CONSTITUTE, AND SHOULD NOT
BE CONSTRUED AS, AN ADMISSION OF FACT, LIABILITY, STIPULATION, OR
WAIVER. THE DEBTORS MAY SEEK TO INVESTIGATE, FILE, AND PROSECUTE
CLAIMS AND MAY OBJECT TO CLAIMS AFTER THE CONFIRMATION OR EFFECTIVE
DATE OF THE PLAN IRRESPECTIVE OF WHETHER THIS DISCLOSURE STATEMENT
IDENTIFIES SUCH CLAIMS OR OBJECTIONS TO CLAIMS.

     THE DEBTORS ARE MAKING THE STATEMENTS AND PROVIDING THE
FINANCIAL INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT AS OF
THE DATE HEREOF, UNLESS OTHERWISE SPECIFICALLY NOTED. ALTHOUGH THE
DEBTORS MAY SUBSEQUENTLY UPDATE THE INFORMATION IN THIS DISCLOSURE
STATEMENT, THE DEBTORS HAVE NO AFFIRMATIVE DUTY TO DO SO, AND
EXPRESSLY DISCLAIM ANY DUTY TO PUBLICLY UPDATE ANY FORWARD-
LOOKING STATEMENTS, WHETHER AS A RESULT OF NEW INFORMATION, FUTURE
EVENTS, OR OTHERWISE. HOLDERS OF CLAIMS AND INTERESTS REVIEWING THIS
DISCLOSURE STATEMENT SHOULD NOT INFER THAT, AT THE TIME OF THEIR
REVIEW, THE FACTS SET FORTH HEREIN HAVE NOT CHANGED SINCE THIS

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DISCLOSURE STATEMENT WAS FILED. INFORMATION CONTAINED HEREIN IS
SUBJECT TO COMPLETION, MODIFICATION, OR AMENDMENT. THE DEBTORS
RESERVE THE RIGHT TO FILE AN AMENDED OR MODIFIED PLAN AND RELATED
DISCLOSURE STATEMENT FROM TIME TO TIME, SUBJECT TO THE TERMS OF THE
PLAN. THE DEBTORS HAVE NOT AUTHORIZED ANY ENTITY TO GIVE ANY
INFORMATION ABOUT OR CONCERNING THE PLAN OTHER THAN THAT
CONTAINED IN THIS DISCLOSURE STATEMENT.

      THE DEBTORS HAVE NOT AUTHORIZED ANY REPRESENTATIONS
CONCERNING THE DEBTORS OR THE VALUE OF THEIR PROPERTY OTHER THAN AS
SET FORTH IN THIS DISCLOSURE STATEMENT.

     IF THE BANKRUPTCY COURT CONFIRMS THE PLAN AND THE EFFECTIVE
DATE OCCURS, THE TERMS OF THE PLAN AND THE RESTRUCTURING
TRANSACTIONS CONTEMPLATED BY THE PLAN WILL BIND ALL HOLDERS OF
CLAIMS AND INTERESTS (INCLUDING THOSE HOLDERS OF CLAIMS AND
INTERESTS THAT DO NOT SUBMIT BALLOTS TO ACCEPT OR REJECT THE PLAN OR
THAT ARE NOT ENTITLED TO VOTE ON THE PLAN).

     THE DEBTORS RECOMMEND THAT CREDITORS SUPPORT AND VOTE TO
ACCEPT THE PLAN. IT IS THE OPINION OF THE DEBTORS THAT THE TREATMENT OF
CREDITORS UNDER THE PLAN CONTEMPLATES A GREATER RECOVERY THAN
THAT WHICH IS LIKELY TO BE ACHIEVED UNDER OTHER ALTERNATIVES FOR THE
REORGANIZATION OR LIQUIDATION OF THE DEBTORS. ACCORDINGLY, THE
DEBTORS BELIEVE THAT CONFIRMATION OF THE PLAN IS IN THE BEST INTERESTS
OF CREDITORS.

   I. INTRODUCTION

       A.     General

        The following introduction is qualified by the Debtors’ Plan proposed by them as debtors
and debtors in possession dated December 15, 2020, which is attached hereto as Exhibit 1, and the
more detailed information and financial statements contained elsewhere in this document. The
Debtors believe that confirmation and implementation of the Plan is in the best interests of
creditors and that the Plan provides the best alternative available to creditors.

        On December 15, 2020 (the “Petition Date”), the Debtors filed voluntary petitions for
reorganization under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”).
The Cases are currently pending before the United States Bankruptcy Court for the Northern
District of Illinois (the “Bankruptcy Court”).



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       Park Place owns and operates the Campus, which does business as a CCRC. The Debtors
continue to be in possession of their properties and are managing their business as debtors in
possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

        Chapter 11 is the principal business reorganization chapter of the Bankruptcy Code. In
addition to permitting a debtor to rehabilitate, chapter 11 promotes equality of treatment for
creditors and similarly situated equity interest holders, subject to the priority of distributions
prescribed by the Bankruptcy Code. Consummating a plan is the principal objective of a chapter
11 case, including the Cases. A bankruptcy court’s confirmation of a plan binds a debtor, any entity
acquiring property under the plan, any creditor or equity interest holder of the debtor and any other
entity as may be ordered by the bankruptcy court. Subject to certain limited exceptions, the order
issued by a bankruptcy court confirming a plan provides for the treatment of a debtor’s liabilities
in accordance with the terms of the confirmed plan.

        The Debtors have prepared this disclosure statement (“Disclosure Statement”) as required
by section 1125 of the Bankruptcy Code, Bankruptcy Rule 3016(c), and Local Rule 3016-1. It is
being distributed to holders of Claims and Interests against the Debtors to assist such holders in
evaluating the feasibility of the Plan and the manner in which their Claims and Interests are treated,
and in determining that the Plan satisfies the requirements for confirmation set forth in section
1129 of the Bankruptcy Code. The purpose of this Disclosure Statement is to assist those entitled
to vote on the Plan to make an informed judgment when voting to accept or reject the Plan.

        This Disclosure Statement describes the background of the Debtors and the significant
events leading up to the filing of the Cases on the Petition Date. It also summarizes the Plan, which
divides Claims and Interests into Classes and provides for the treatment of Allowed Claims.

     THE BANKRUPTCY COURT’S APPROVAL OF THIS DISCLOSURE
STATEMENT DOES NOT CONSTITUTE A DETERMINATION WITH RESPECT TO
THE MERITS OF THE PLAN. ALL CREDITORS ARE ENCOURAGED TO READ THIS
DISCLOSURE STATEMENT AND ITS EXHIBITS CAREFULLY AND IN THEIR
ENTIRETY BEFORE DECIDING TO VOTE TO ACCEPT OR REJECT THE PLAN.

       B.      Covid-19.

        As the COVID-19 virus is especially dangerous to the health of the older population, Park
Place takes its commitment and responsibility to protect the health and safety of its Residents,
patients, and staff very seriously. Park Place has enacted a number of precautions to protect the
people in its charge. Together with the Sponsor, Park Place closely monitors guidance from the
Centers for Disease Control and Prevention (CDC) and local Health Departments regarding
protocols for visitors on the Campus. Park Place adjusts its protocols in line with DuPage County
and state directives. It contacts family members and responsible parties on a daily basis to provide
information and transparency and make direct phone calls when needed to communicate any
updates to close family members of Residents. In addition, Park Place helps Residents and their

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families find ways to connect safely, whether that is by coordinating a video chat (such as
Facebook, FaceTime, or Zoom), phone call, or other creative solutions.

While Park Place respects the independence, dignity, and self-determination of each of its
Residents, it has strongly encouraged Residents to engage in social distancing, wear face masks,
and perform hand hygiene, to protect themselves and their neighbors. Park Place helps ensure that
its Residents have the groceries, medications, and supplies they need.

Concerning staff, before the start of each shift, all staff are screened with a questionnaire asking
about their symptoms and their proximity to others who may be infected, as well as a temperature
check. Essential vendors who enter the building are subjected to the same screening
process. Employees and vendors are required to wear a mask at all times while inside the Campus
buildings. Those employees working more than four hours have their temperature checked a
second time mid shift.

Cloth face masks are reasonably effective in limiting the spread of infection from the person
wearing them to the people around them. We have distributed cloth masks to all Residents, and
require them to wear the masks when they are in public areas or during an interaction with a staff
member (such as a housekeeper in an apartment, or an aide assisting with activities of daily living).
Park Place’s staff are required to wear face masks while at work. Staff in healthcare wear surgical
masks and face shields for optimal protection.

Sadly, the Campus has not been immune to the effects of the nationwide Covid-19
pandemic. Since March of 2020, four (4) Residents and thirty (30) staff were infected by the
Covid-19 virus. Of these, one 1 Resident succumbed to the disease – a loss which Park Place
mourns. Given the highly contagious nature of Covid-19 and the frailty of may of Park Place’s
Residents, Park Place is grateful that its efforts have been successful, thus far, to protect the vast
majority of its Residents and staff from this dreadful national scourge.

       C.      Frequently Asked Questions.

     THE INFORMATION PRESENTED IN THE ANSWERS TO THE QUESTIONS SET
FORTH BELOW IS QUALIFIED IN ITS ENTIRETY BY REFERENCE TO THE FULL TEXT
OF THIS DISCLOSURE STATEMENT AND THE PLAN.

       Why am I receiving this document?

        This Disclosure Statement is being delivered to you because you either are or may be the
holder of, or have otherwise asserted, a Claim against the Debtors. This Disclosure Statement is
intended to provide you with information sufficient to make an informed decision as to whether to
vote to accept or reject the Plan.




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       Who is eligible to vote to accept or reject the Plan?

        A holder of a Claim in a Class that is impaired under the Plan is entitled to vote to accept
or reject the Plan. Generally, a Class of Claims is impaired unless the Plan leaves unaltered the
legal, equitable, and contractual rights to which the Claims in such Class entitle the holders of such
Claims. Under the Plan, Classes 2, 3 and 5 are considered impaired, and holders of Claims in these
impaired Classes are entitled to vote.

       I am a resident of Park Place. Am I eligible to vote to accept or reject the Plan?

        Your status as a Resident does not make you eligible to vote on the Plan. The Plan provides
for the assumption of your Residency Agreement and the cure of any defaults thereunder. Under
the Plan, your rights as a Resident remain the same as they were prior to the commencement of
the Cases. Accordingly, in your capacity as a Resident, you are considered to be an unimpaired
creditor, and as such you are ineligible to vote either for or against the Plan. This does not mean,
however, that you are precluded from challenging the assumption of your Residency Agreement
or confirmation of the Plan itself. Furthermore, if you have claims against the Debtors that do not
arise under your Residency Agreement, then you may be eligible to vote for or against the Plan on
the basis of these other claims.

       If I am eligible to vote, why should I vote to accept the Plan?

        The Debtors believe that the Plan provides the best means for achieving the maximum
distribution on account of your prepetition Claim. The Plan, as presently drafted, is the product of
months of difficult negotiations and has the support of bondholders holding more than eighty-four
percent (84%) of the 2016 A Bonds, more than eighty-three percent (83%) of the 2016 B Bonds
and more than sixty-two percent of the 2016 C Bonds as of the Petition Date. In addition, and as
described below, holders of Claims in each Class will receive a better return under the Plan than
they would in a potential liquidation.

       How do I vote to accept or reject the Plan?

        If you are entitled to vote on the Plan because you are the holder of a Claim in Classes 2
and 3 that is allowed or has been temporarily allowed for voting purposes, as applicable, you must
complete, sign, and return the enclosed ballot or ballots (each a “Ballot”) in accordance with the
ballot instructions being delivered to you simultaneously herewith.

       What if I am entitled to vote to accept or reject the Plan and do not vote?

        In general, within any particular Class of Claims, only those holders of Claims who actually
vote to accept or to reject the Plan will determine whether the Plan is accepted by the requisite
holders of Claims in such Class. A Class of Creditors is deemed to have accepted the Plan if the
holders representing at least two-thirds (2/3) in dollar amount and more than fifty (50%) percent
in number of those voting vote to accept the Plan.

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       What happens if the Plan is not accepted by each Class entitled to vote on the Plan?

        If no Class of Claims votes to accept the Plan, then the Plan will not be confirmed or
consummated in its present form. Conversely, as long as the requisite holders of Claims in at least
one impaired Class vote to accept the Plan, the Debtors may seek confirmation pursuant to section
1129(b) of Bankruptcy Code (which will require a determination by the Bankruptcy Court that the
Plan is “fair and equitable” and “does not discriminate unfairly” as to each impaired Class that
does not accept the Plan or is deemed to have rejected it). The Debtors believe that the Plan satisfies
section 1129(b) of the Bankruptcy Code and, in any case, have reserved the right to modify the
Plan to achieve confirmation.

       When will the Plan be confirmed?

        The Bankruptcy Court will schedule and conduct a hearing concerning confirmation of the
Plan. The Plan Confirmation Hearing may be continued or adjourned, however, and even if it is
held, there is no guaranty that the Bankruptcy Court will find that the requirements of the
Bankruptcy Code with respect to confirmation have been met. In addition, there are additional
conditions set forth in the Plan that must be satisfied or waived in accordance with the Plan before
the Plan will become effective. The Debtors have requested that the Bankruptcy Court schedule a
hearing to consider confirmation of the Plan on [              , 2020 at __:__ _.m. (prevailing Central
Time) ], before Honorable [                              ], at the United States Bankruptcy Court for
the Northern District of Illinois, Courtroom [ ], U.S. Courthouse, Everett McKinley Dirksen
United States Courthouse, 219 South Dearborn Street, Chicago, Illinois, 60604. Due to the Covid-
19 measures enacted by the Court, it is likely that the Confirmation Hearing will be conducted
online, and no party will need to appear in Court “in-person.”

       When will the Plan Supplement be filed and what will it include?

        No later than one week before the Disclosure Statement Approval Hearing, the Debtors
will file a “Plan Supplement,” which will likely include the following: (i) the 2021 Bond
Documents and (ii) any additional documents filed before the Effective Date as supplements or
amendments to the Plan. The detailed terms of the documents to be contained in the Plan
Supplement have yet to be finalized and will continue to be negotiated by the Debtors.

       D.      Classification and Treatment of Claims Under The Plan.

        Certain Classes of Claims are impaired under the Plan and, accordingly, are entitled to vote
on the Plan. The Debtors are seeking votes to accept the Plan from holders of Claims in these
Classes. For a description of the Classes of Claims and their treatment under the Plan, see Section
3 of the Plan – Classification and Treatment of Claims and Interests.

       Estimated Claim amounts for certain Classes are based upon a preliminary analysis by the
Debtors of the Claims pursuant to its books and records. There can be no assurance that these
estimates are correct. The following treatments are possible only if the Plan is approved and the
Debtors’ estimate of the amount of the Claims in Classes 2 and 3 of the Plan are materially correct.

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The timing of distributions under the Plan, if any, is subject to conditions described in later sections
of this Disclosure Statement.

        Each Class of Claims, except Administrative Claims, Priority Tax Claims, and U.S. Trustee
Fees, are placed in the following Classes and will receive the following treatment under the Plan:

               Summary of Classification and Treatment of Claims Under the Plan



                         Estimated Amount of
  Class Description      Allowed Claims                Impaired             Treatment
 Class 1 – Other                  $0                     No     This Class consists of all Allowed
 Priority Claims                                                Other Priority Claims, if any such
                                                                Claims exist as of the Effective
                                                                Date. Each Allowed Other
                                                                Priority Claim shall be in a
                                                                separate subclass. Except to the
                                                                extent that the holder of an
                                                                Allowed Other Priority Claim
                                                                agrees to less favorable treatment,
                                                                each holder of an Allowed Other
                                                                Priority Claim will receive, in full
                                                                and final satisfaction and
                                                                discharge of and in exchange for
                                                                each Allowed Other Priority
                                                                Claim, and to the extent permitted
                                                                by Section 1129(a)(9) of the
                                                                Bankruptcy Code: (i) deferred
                                                                Cash payments of a value, as of
                                                                the Effective Date, equal to the
                                                                holder’s Allowed Other Priority
                                                                Claim, or (ii) payment in Cash in
                                                                full on the later of: (a) the third
                                                                (3rd) Business Day after the
                                                                Effective Date or as soon as
                                                                reasonably practicable thereafter
                                                                as determined by the Debtors; and
                                                                (b) the third (3rd) Business Day
                                                                after the date on which such Other
                                                                Priority Claim becomes an
                                                                Allowed Claim.
 Class 2 - Series        2016A Bonds:                    Yes    On the Effective Date, the holders of
 2016A and 2016B         $103,691,500; and 2016B                   the 2016A Bonds and 2016B Bonds
 Bond Claims             Bonds: $15,496,392                        shall exchange the then outstanding
                                                                   2016A Bonds and 2016B Bonds for
                                                                   a pro rata share of 2021 Bonds issued

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                     Estimated Amount of
Class Description    Allowed Claims             Impaired                Treatment
                                                           in the aggregate original principal
                                                           amount of $107,269,103.
                                                           The 2021 Bonds shall be issued as
                                                           current paying bonds. The 2021
                                                           Bonds shall bear interest at the rate
                                                           of 5.125% per annum and have
                                                           maturities in the years and in
                                                           principal amounts as set forth on
                                                           Schedule 1 to the “Restructuring
                                                           Term Sheet” attached to this
                                                           Disclosure Statement as Exhibit 2.
                                                           The 2021 Bonds shall be amortized
                                                           as set forth in Exhibit 2 hereto. The
                                                           2021 Bonds shall pay interest only
                                                           for the first three (3) years following
                                                           the Effective Date, and then amortize
                                                           over the following thirty-seven (37)
                                                           years. Interest on the 2021 Bonds
                                                           shall be payable semiannually
                                                           following the Effective Date and
                                                           principal shall be paid annually as set
                                                           forth in Exhibit 2.

                                                           The 2021 Bonds will be secured by a
                                                           first priority lien on all assets of Park
                                                           Place. The Series 2021 Bond shall
                                                           mature as set forth in Exhibit 2 with
                                                           a final maturity of forty (40) years
                                                           from the restructuring effective date
                                                           (subject to bond counsel approval).
                                                           The 2021 Bonds will be subject to
                                                           optional redemption prior to maturity
                                                           commencing on the 5th year after the
                                                           Effective Date, at a price equal to: in
                                                           year 5, at a price of 102%, in year 6,
                                                           at price of 101% and thereafter at par.
                                                           The 2021 transaction will not include
                                                           any 2021 cash flow notes for the
                                                           balance outstanding and is expected
                                                           to consist of one series of bonds.


                                                           On the Effective Date, the Sponsor
                                                           will provide sufficient cash to the
                                                           Debtors to redeem 100% of the
                                                           2016C Bonds for a cash payment

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                      Estimated Amount of
 Class Description    Allowed Claims             Impaired              Treatment
Class 3 - Series              $21,918,750          Yes    equal to 3% of the principal amount
2016C Bond Claims                                         plus 3% of the accrued but unpaid
                                                          interest on the principal amount of
                                                          the 2016C Bonds as of the closing
                                                            of the Proposed Exchange (estimated
                                                            to total $725,741.95) which will
                                                            occur on the Effective Date. Upon
                                                            such payment, the 2016C Bonds will
                                                            be cancelled and deemed to no
                                                            longer be outstanding.


Class 4 - Other                   $0                No      This Class consists of all Other
Secured Claims                                              Secured Claims. Except to the
                                                            extent that a holder of an Allowed
                                                            Other Secured Claim agrees to a
                                                            less favorable treatment, in full
                                                            and final satisfaction and
                                                            discharge of and in exchange for
                                                            each Allowed Other Secured
                                                            Claim, on the later of the
                                                            Effective Date and the date such
                                                            Other Secured Claim becomes
                                                            Allowed, or as soon as practicable
                                                            thereafter, each holder of an
                                                            Allowed Other Secured Claim
                                                            shall have its Other Secured
                                                            Claim reinstated and the legal,
                                                            equitable, and contractual rights
                                                            to which the holder of such Claim
                                                            is entitled shall otherwise be
                                                            unaltered in accordance with
                                                            section 1124 of the Bankruptcy
                                                            Code.
Class 5 - General                 $0               Yes      This Class consists of all General
Unsecured Claims                                            Unsecured Claims. Except to the
                                                            extent that a holder of an Allowed
                                                            General Unsecured Claim agrees
                                                            to a less favorable treatment, in
                                                            full and final satisfaction and
                                                            discharge of and in exchange for
                                                            each General Unsecured Claim,
                                                            each holder of an Allowed

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                        Estimated Amount of
  Class Description     Allowed Claims                Impaired               Treatment
                                                                 General Unsecured Claim will
                                                                 receive payment in Cash of three
                                                                 percent (3%) of the unpaid
                                                                 portion of such Allowed General
                                                                 Unsecured Claim on the latest of:
                                                                 (i) the third (3rd) Business Day
                                                                 after the Effective Date or as soon
                                                                 as practicable thereafter as
                                                                 determined by the Debtors, (ii)
                                                                 the third (3rd) Business Day after
                                                                 the date on which such General
                                                                 Unsecured Claim becomes an
                                                                 Allowed Claim, (iii) the date such
                                                                 Allowed General Unsecured
                                                                 Claim becomes due and payable
                                                                 in the ordinary course of business,
                                                                 or (iv) as otherwise agreed to by
                                                                 the Debtors and the holder of such
                                                                 General Unsecured Claim, and
                                                                 the Plan shall otherwise leave
                                                                 unaltered the legal, equitable, and
                                                                 contractual rights to which the
                                                                 holder of such General Unsecured
                                                                 Claim is entitled. The Debtors
                                                                 reserve their rights, however, to
                                                                 dispute the validity of any
                                                                 General Unsecured Claim,
                                                                 whether or not objected to prior
                                                                 to the Effective Date.
 Class 6 - Interests               N/A                  No       This Class consists of all Interests
 in Debtor                                                       in the Debtors. On the Effective
                                                                 Date, the Sponsor will retain its
                                                                 membership interests in the
                                                                 Reorganized Debtors.


       E.      Summary of Confirmation Requirements.

         Under the Bankruptcy Code, only holders of Claims and interests that are “impaired” are
entitled to vote to accept or reject the Plan. The Bankruptcy Code further provides that a Class that
is left unimpaired under the Plan is deemed to have accepted the Plan, and a Class that receives no
distribution under the Plan is deemed to have rejected the Plan. The Bankruptcy Code requires, as

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a condition to confirmation of a consensual plan of reorganization, that each impaired Class of
Claims accept the Plan. A class of creditors is deemed to accept a plan if the holders of at least
two-thirds in dollar amount and more than one-half in number of those creditors that actually cast
ballots vote to accept such plan. A class of interest holders is deemed to accept a plan if the holders
of at least two-thirds in amount of those interest holders that actually cast ballots, vote to accept
such plan. Pursuant to section 1129(b) of the Bankruptcy Code, a plan may be confirmed even if
it is not accepted by all impaired classes, as long as at least one impaired class of claims has
accepted the plan and the bankruptcy court finds that the plan is “fair and equitable” and “does not
discriminate unfairly” as to each impaired class that does not accept the plan or that is deemed to
have rejected it.

       F.      Voting Instructions and Deadline.

               1.      General Information. Under the Bankruptcy Code, certain Classes of
Creditors are deemed to accept or reject the Plan, and the vote of these Classes will not be
solicited.
               2.      Administrative Claims. Holders of Administrative Claims will not be
entitled to vote on the Plan.

              3.       Unimpaired Classes Are Deemed to Accept the Plan and Do Not Vote. If a
Creditor holds a Claim included within a Class that is not impaired under the Plan, then pursuant
to section 1126(f) of the Bankruptcy Code, that Creditor is deemed to have accepted the Plan with
respect to such Claim, and its vote of such Claim will not be solicited. Classes 1, 4 and 6 are not
impaired under the Plan and will be deemed to accept the Plan.

              4.      Claims Which Are Not Allowed. The Bankruptcy Code provides that only
the holders of Allowed Claims are entitled to vote on the Plan. A Claim to which an objection
has been filed is not an Allowed Claim unless and until the Bankruptcy Court rules on the
objection and allows the Claim. If the Bankruptcy Court has not ruled on the objection or status
of such a Claim, but the holder of a Claim wishes to vote, the holder of the Claim may petition
the Bankruptcy Court to estimate its claim for voting purposes under Bankruptcy Rule 3018(a).
Consequently, although holders of such Claims may receive ballots, their votes will not be
counted unless the Bankruptcy Court, prior to the Voting Deadline, rules on the objection and
allows the Claim or, on proper request under Bankruptcy Rule 3018(a) prior to the Confirmation
Hearing, temporarily allows the Claim in an amount that the Bankruptcy Court deems proper for
the purpose of voting on the Plan.

              5.     Voting and Record Date. If a Creditor holds a Claim classified in a voting
Class of Claims under the Plan, the Creditor’s acceptance or rejection of the Plan is important and
must be in writing and filed on time. The record date for determining which creditors may vote


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on the Plan is [                , 2021]. The Voting Deadline is [              , 2021], at 5:00 p.m.
(prevailing Central Time).

          a.    How to Vote. IN ORDER FOR A VOTE TO BE COUNTED, THE
BALLOT MUST BE PROPERLY COMPLETED AND RETURNED IN ACCORDANCE WITH
THE VOTING INSTRUCTIONS ON THE BALLOT.

               b.     Ballots. Creditors must use only the ballot or ballots sent to them with this
Disclosure Statement. If a Creditor has Claims in more than one Class, it should receive multiple
ballots.

IF YOU ARE A MEMBER OF A VOTING CLASS AND DID NOT RECEIVE A BALLOT FOR
SUCH CLASS, OR IF SUCH BALLOT IS DAMAGED OR LOST, OR IF YOU HAVE ANY
QUESTIONS CONCERNING VOTING PROCEDURES, PLEASE CONTACT:

                                      Globic Advisors, Inc.
                                  485 Madison Avenue, 7th Floor
                                      New York, NY 10022
                                       Tel: 212.227.9699
                                       Fax: 212.271.3252

       G.      The Confirmation Hearing.

        The Debtors have requested that the Bankruptcy Court schedule a hearing to consider
confirmation of the Plan on [                 , 2021, at __:__ _.m. (prevailing Central Time), before
the Honorable [                     ], U.S. Bankruptcy Judge, at the United States Bankruptcy Court
for the Northern District of Illinois, Court 680, U.S. Courthouse, Everett McKinley Dirksen United
States Courthouse, 219 South Dearborn Street, Chicago, Illinois 60604. The Bankruptcy Court has
ordered that objections, if any, to confirmation of the Plan be filed and served within the time and
in the manner described in the Confirmation Notice and Order that accompany this Disclosure
Statement. The date of the Confirmation Hearing may be continued at such later time(s) as the
Bankruptcy Court may announce during the Confirmation Hearing or any continued hearing
without further notice. Due to the Covid-19 measures enacted by the Court, it is likely that the
Confirmation Hearing will be conducted online, and no party will need to appear in Court “in-
person.”

        If the Plan is confirmed by the Bankruptcy Court, it will be binding on all Claim and
Interest holders regardless of whether an individual Claim or Interest holder has supported or
opposed the Plan.

     CREDITORS ARE NOT REQUIRED TO ATTEND THE CONFIRMATION HEARING
UNLESS THEY HAVE EVIDENCE OR ARGUMENT TO PRESENT TO THE BANKRUPTCY
COURT CONCERNING THE MATTERS TO BE ADDRESSED AT THE CONFIRMATION
HEARING.



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       H.      Definitions.

       1.      Defined Terms. As used in this Disclosure Statement, terms defined in the Plan
annexed hereto and not otherwise specifically defined herein will have the meanings attributed to
them in the Plan.

        2.      Interpretation of Terms. Each definition in this Disclosure Statement and in the
Plan includes both the singular and the plural. Headings are for convenience or reference and shall
not affect the meaning or interpretation of this Disclosure Statement.

II.    BACKGROUND INFORMATION

       A.      Description of the Debtors.

         Park Place is an Illinois not-for-profit corporation formed in May 2004 for the purpose of
constructing, owning and operating a CCRC known as Park Place of Elmhurst, in Elmhurst,
Illinois. Park Place is exempt from federal income taxation under section 501(a) of the Internal
Revenue Code as an organization described in section 501(c)(3) of the Internal Revenue Code.

       The Foundation is an Illinois not-for-profit corporation formed in January 2004 to support
and advance Christian care and services to the elderly and infirm by supporting health-related
research, the development of a continuum of appropriate living arrangements, and programs and
services to support a quality of life for those who suffer from disabilities and age-related illnesses
and infirmities. The Foundation is exempt from federal income taxation under section 501(a) of
the Internal Revenue Code as an organization described in section 501(c)(3) of the Internal
Revenue Code.

       Park Place is a controlled affiliate of the Sponsor. The Sponsor has no payment obligations
under the 2021 Bonds.

        The Campus is situated on approximately 12.6 acres in Elmhurst, Illinois. Park Place is
licensed under Illinois Assisted Living and Shared Housing Act, Illinois Life Care Facilities Act,
and by the Illinois Department of Public Health. Generally, CCRCs provide senior citizens with a
full range of affordable living accommodations and healthcare services during their retirement
years, from independent living to skilled nursing care. As such, CCRCs allow seniors to live in the
same location as their healthcare needs change over time. In addition, CCRCs provide Residents
with various social and entertainment outlets for all stages of retirement life. Park Place offers 181
units of varying sizes for independent living, 46 assisted living suites, 20 memory support assisted
living units, and 37 nursing beds in its health center (the “Health Center”) to provide short-term
rehabilitation and long term care to its Residents and to individuals living in the community. The
Health Center is certified for Medicare by the United States Department of Health and Human
Services’ Centers for Medicare & Medicaid Services, and is also licensed by the Illinois State
Department of Health.




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       B.       Capital Structure of the Debtors.

        To finance the construction and development of the Campus, the Issuer issued its: (i)
$109,115,000 Revenue Bonds (Park Place of Elmhurst Project) Series 2010A (the “Series 2010A
Bonds”), (ii) $7,875,000 Revenue Bonds (Park Place of Elmhurst Project) Series 2010B (the
“Series 2010B Bonds”), (iii) $5,000,000 Revenue Bonds (Park Place of Elmhurst
Project)(Accelerated Redemption Reset Option Securities (ARROS) Series 2010C (the “Series
2010C Bonds”), (iv) $10,275,000 Revenue Bonds (Park Place of Elmhurst Project)(Tax-Exempt
Mandatory Paydown Securities (TEMPS-75)), Series 2010D-1 (the “Series 2010D-1 Bonds”) (v)
$15,350,000 Revenue Bonds (Park Place of Elmhurst Project)(Tax-Exempt Mandatory Paydown
Securities (TEMPS-65)), Series 2010D-2 (the “Series 2010D-2 Bonds” and, collectively with the
Series 2010D-1 Bonds, the “Series 2010D Bonds”); (vi) $15,275,000 Revenue Bonds, Series
2010D-3 (the “Series 2010D-3 Bonds”), and (vii) $12,650,000 Revenue Bond (Taxable Revenue),
Series 2010E (the “Series 2010E Bonds” and together with the Series 2010A Bonds, Series 2010B
Bonds, Series 2010C Bonds, Series 2010D-1 Bonds, Series 2010D- 2 Bonds, and Series 2010D-3
Bonds, the “2010 Bonds”). UMB Bank, N.A. served as successor trustee (the “2010 Bond
Trustee”) under a certain Bond Trust Indenture, dated as of May 1, 2010 (“2010 Bond
Indenture”), by and between the prior bond trustee (Wells Fargo Bank, N.A.) and the Issuer,
pursuant to which the 2010 Bonds were issued.

       Pursuant to a Loan Agreement dated as of May 1, 2010 (the “2010 Loan Agreement”),
between the Issuer and the Debtors, the Issuer loaned the proceeds of the 2010 Bonds to the
Debtors. The rights of the Issuer under the 2010 Loan Agreement were assigned to the 2010 Bond
Trustee under the 2010 Bond Indenture.

       The Debtors used the proceeds of the 2010 Bonds primarily to: (i) pay or reimburse the
Debtors for the payment of all or a portion of the costs of acquiring, constructing, renovating,
remodeling and equipping Park Place and all necessary and attendant facilities, equipment, site
work, zoning, entitlements and utilities related thereto; (ii) provide working capital; (iii) fund debt
service reserve funds; (iv) pay a portion of the interest on the 2010 Bonds; and (v) pay certain
expenses incurred in connection with the issuance of the 2010 Bonds.

        On January 17, 2016, the Debtors filed the Cases in this judicial district and division which
was captioned as In re Timothy Place, NFP, et als. and docketed as case number 16-01336 (JPC)
(as defined above as the 2016 Case). The 2016 Case was filed to implement a balance sheet
restructure of $146,125,000 of principal bond debt due under the 2010 Bonds as provided by the
terms of a pre-petition agreement which the Debtor had reached with holders of approximately
74% of the 2010 Bonds.
        The Debtors filed the 2016 Plan in the 2016 Case on January 17, 2016. On March 29,
2016, the bankruptcy court entered an order which confirmed the 2016 Plan. Thereafter, the
Debtors’ bondholders exchanged their 2010 Bonds for pro rata shares of the 2016 Bonds. The
claims and interests of the Debtors’ non-bondholder creditors were unimpaired and unaffected by
the 2016 Case and the 2016 Plan. The Sponsor retained its ownership of the Debtors pursuant to
the terms of the 2016 Plan.




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        The 2016 Bonds were issued under that certain Bond Trust Indenture, dated as of May 1,
2016, by and between UMB Bank, N.A., as the trustee thereunder (the “2016 Bond Trustee”) the
Issuer (the “2016 Indenture”). Pursuant to a Loan Agreement dated as of May 1, 2016 between
Issuer and the Debtors (the “2016 Loan Agreement”), the Issuer loaned the proceeds of the 2016
Bonds to the Debtors. The rights of the Issuer under the Loan Agreement were assigned to the
2016 Bond Trustee under the terms of the 2016 Indenture.

        As security for the obligations owing on the Series 2016 Bonds, the Debtors granted the
2016 Bond Trustee, inter alia: (i) a first mortgage lien on the real property on which the Campus
was constructed, and (ii) a first priority security interest in the personal property and fixtures
located in the Campus (collectively, the “Mortgaged Property”), pursuant to a Mortgage and
Security Agreement, dated as of May 1, 2016, between the Debtors and the Bond Trustee. Pursuant
to a Master Trustee Indenture, dated as of May 1, 2016, among the Debtors and the 2016 Bond
Trustee, as Master Trustee thereunder (the “2016 Master Trust Indenture”), the Debtors granted
a security interest in its Gross Revenues (as defined in therein) as security for the payment of the
Series 2016 Bonds. The Issuer also granted the 2016 Bond Trustee certain collateral under the
2016 Indenture. The 2016 Indenture, the Mortgage, the 2016 Loan Agreement and any other
document or agreement delivered as security for, or in respect to, the Series 2016 Bonds or the
Debtors’ obligations under any of such documents are collectively referred to herein as the “2016
Bond Documents.”

       As of the Petition Date, the outstanding principal amount owed on the 2016A Bonds was
$103,691,500, the outstanding principal amount owed on the 2016B Bonds was $15,496,392.00
and the outstanding principal amount owed on the 2016C Bonds was $21,918,750.00.

       C.      Administration of Park Place.

                1.      Park Place Operations. Pursuant to the 2016 Plan, on or about the effective
date of the 2016 Plan, the Sponsor and Park Place entered into a Management Agreement (the
“Management Agreement”), substantially in the form which was attached to the exhibits to the
Plan Supplement filed in the 2016 Case as Doc. 163-1, page 280. The Management Agreement
was designed to enable the Sponsor to provide management and related support services to enable
the Debtors to fulfill their charitable tax-exempt purposes, which include, the ownership and
operation of a quality, cost effective CCRC. Specifically, the Management Agreement calls for the
Sponsor to provide certain administrative, management, support services, and general operational
oversight of Park Place. The Debtors are to pay the Sponsor monthly fees under the Management
Agreement. As part of the Plan, the existing management agreement with the Sponsor shall be
assumed by Park Place under Section 365 of the Bankruptcy Code (11 U.S.C. §365), provided that
such management agreement shall provide for an annual management fee no greater than 4.25%
of gross operating revenues; provided further that no more than $30,000 shall be paid each month
as an operating expense (“Base Management Fee”), with the balance payable from Excess Cash
(as described in the Plan).

              2.     Financial Results from 2020. For the ten (10) months ending on October
30, 2020, Park Place recorded total operating revenues of approximately $15,686,984.00, net
income before debt service of approximately $4,724,027.00, and a net loss (after debt service) of

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approximately $1,892,467. As of October 31, 2020, Park Place reported total assets of
approximately $135,437,008, total liabilities of approximately $241,124,949.00, and (negative)
net assets of approximately ($105,436,252). The Debtors’ consolidated financial statements for
2017 (which is the last year that audited financial statements were prepared for the Debtors) are
attached hereto as Exhibit 3.

        D.     Residents of Park Place. Before occupying the Campus, each Resident is required
to enter into a Residency Agreement with Park Place. The Residency Agreement provides the
terms and conditions for the occupancy of each Resident in an independent living unit in the
Campus and also outlines the Resident’s obligations regarding payment of Entrance Fees, the
Resident’s rights to refund of such Entrance Fee, and other monthly charges that may be due to
the Debtors during the duration of the Resident’s stay at the Campus (referred to herein as the
“Monthly Service Fees”).

        The Debtors currently offer prospective independent living Residents the choice of four
residency plans, each evidenced by a different Residency Agreement. The residency plans
primarily differ with regard to the required Entrance Fee, the Monthly Service Fees, and the
amount subject to refund thereunder. Generally, the purpose of the Entrance Fee is to pay for
operating expenses, certain project costs, retire debt, and generate investment income for the
benefit of Park Place and its Residents. Prospective Residents typically pay $15,000.00 of the
Entrance Fee upon execution of a Residency Agreement, and the remaining balance prior to
occupancy. The Entrance Fees range from $375,000 to $950,000, depending upon the Residency
Agreement and unit selected.

       Under the Residency Agreement, Park Place provides Residents the life care benefit,
through which Residents gain priority access to medical care at substantially discounted rates,
including priority access to the assisted living center, memory support center, and Health Center.

         The Residency Agreements set forth the terms of any refund rights that may be due
Residents. Under the Plan, the Debtors seek to assume all Residency Agreements and to continue
fulfilling all of their obligations thereunder.

       ALL RESIDENCY AGREEMENTS WILL BE ASSUMED UNDER THE PLAN.

       E.      Regulatory Agencies.

        The Residency Agreements, Entrance Fees, and other aspects of Park Place’s operations
are subject to regulation by the Illinois Department of Public Health (“IDPH”) under the Life Care
Facilities Act.

         The Life Care Facilities Act provides that no provider of life care services may enter into
a life care contract with a Prospective Resident until IDPH has issued a permit with respect to the
life care facility. The Prospective Resident is afforded the right to rescind his or her lifecare
contract without penalty or future obligation within fourteen days after making the initial deposit,
signing the agreement, or receipt of a disclosure statement of financial condition, whichever occurs



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last. In the event of such rescission, all money or property paid or transferred by such entity shall
be fully refunded.


III.   EVENTS LEADING TO BANKRUPTCY

        When Park Place first opened the Campus in February 2012, the Debtors’ financial health
was negatively affected by the real estate market not having rebounded from the 2008 recession
so as to enable the Debtors to service their debt under the 2010 Bonds. During this period, the
Debtors began negotiations with the 2010 Bond Trustee and an informal committee of bondholders
holding approximately 74.18% of the outstanding aggregate principal amount of Series 2010
Bonds (the “2010 Consenting Bondholders”). Eventually, however, the Debtors defaulted under
the 2010 Bond Indentures.

       Ultimately, on January 17, 2016, the Debtors filed the 2016 Cases that resulted in
confirmation of the 2016 Plan.

        After the 2016 Cases concluded and until May 14, 2020, the Debtors made timely payments
to the 2016 Bond Trustee which were required to be made under the 2016A Bonds and the 2016B
Bonds. With respect to the 2016C Bonds (which are payable only from Excess Cash (as defined
in the 2016 Plan)), the Debtors paid a single $23,126 interest payment to the Bond Trustee on May
15, 2017. Park Place has never generated enough “Excess Cash” to trigger further payments of
principal or interest to the Bond Trustee with respect to the 2016C Bonds.

        The 2016B Bonds were to be paid from the proceeds of the then-remaining first-generation
entrance fees and second-generation entrance fees as apartment units at the Campus were
reoccupied. However, since the completion of the 2016 Cases, second generation entrance fees
have not been available in sufficient amounts to pay the principal amount of the 2016B Bonds
mostly due to slower than expected turnover in occupancy. In the Spring of 2019, the Debtors
commissioned a consultant to review the situation. On July 15, 2019, the consultant reported on
appropriate assumptions around morbidity and mortality of the Residents at Park Place but made
no recommendations for changes in managing Residents moving through the continuum of care
offered at Park Place. In effect, the Residents of the Campus were living longer than expected,
which is an altogether good thing which happened to have a negative impact on Park Place’s cash
flow. The Debtors maintain a waiting list for new Residents, but there has been insufficient
turnover to allow apartments within the Campus to be reoccupied. This problem was reported by
the Trustee to Bondholders in a public online EMMA posting made in August 2019. By May 15,
2020, Park Place had redeemed $5,018,358.00 of 2016B Bonds from the proceeds of sale of the
remaining first-generation entrance fees and second-generation entrance fees. However, the Bond
Documents required the Debtors to redeem all of the 2016B Bonds on or before May 15, 2020,
and the Debtors’ inability to pay the remaining $15,496,392 principal balance of the 2016B Bonds
triggered a payment default under the Bond Documents. In addition to that default, in 2019, certain
defaults or events of default occurred (or would likely occur) under the Bond Documents because
the Debtors did not engage a Consultant pursuant to Section 424 (concerning breach of cumulative
cash covenant) and 425 (concerning breach of liquidity covenant) of the Master Trust Indenture
and deliver financial reporting pursuant to Section 414 Master Trust Indenture.

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        In addition, on or about April 23, Park Place submitted documentation to Wintrust Bank
and the Small Business Administration to request a loan in the amount of $1,377,500 pursuant to
the Paycheck Protection Program implemented under the Coronavirus Aid, Relief, and Economic
Security Act (the “PPP Loan”). The PPP Loan was funded on May 7, 2020, and Park Place kept
the proceeds of the PPP Loan in a separate account and used the proceeds to pay qualified payroll
expenses which the Debtor incurred between May 7, 2020 and the end of June 2020. The retention
of the proceeds of the PPP Loan triggered a default under Section 428 of the Master Trust Indenture
which required Park Place to transfer Gross Revenues to the Bond Trustee (for convenience, all of
the defaults described in the preceding two (2) paragraphs will collectively be referred to as the
“Specified Defaults”). On December 10, 2020, Wintrust Bank and the Small Business
Administration notified Park Place that they decided to forgive the PPP Loan and release Park
Place from the obligation to repay that loan. As a result, Park Place has not listed the Small
Business Administration as a creditor, and it has scheduled a contingent claim (only) for Wintrust
Bank, to the extent, if any, that Wintrust Bank has a claim against Park Place which arises from
the administration of the various deposit accounts which Park Place maintains with Wintrust Bank.

        Effective as of May 15, 2020, the Debtors and the 2016 Master Trustee entered into a
Forbearance Agreement (the “Forbearance Agreement”) under which the 2016 Master Trustee,
among other things, agreed to forbear from taking action relative to the Specified Defaults for a
specified time period, and the parties agreed to take certain actions within an agreed time, which
actions included the preparation and filing of the current Cases. The Forbearance Agreement made
specific reference to a “Plan Support Agreement” which was attached as an exhibit to the
Forbearance Agreement. A summary of the “Plan Support Agreement” appears in the following
section of this Disclosure Statement.

IV.    SUMMARY OF THE PLAN SUPPORT AGREEMENT

        The following summary of the Plan Support Agreement and Restructuring Term Sheet is
qualified in its entirety by the documents themselves. To the extent of any inconsistency, the Plan
Support Agreement and Restructuring Term Sheet will govern.

        The Plan Support Agreement provides for implementation of the Restructuring Term Sheet
through the filing of the Cases and the Plan. Through the Plan Support Agreement, the Debtors
have secured support of the Consenting Holders (as defined therein) for the Plan, which should
enable the Debtors to proceed directly to confirmation of the Plan and then quickly exit bankruptcy.
The Plan Support Agreement outlines certain obligations of the Debtors and the Consenting
Holders, which, if not fulfilled, would cause termination of the Plan Support Agreement. Among
the Debtors’ obligations are certain milestones the Debtors must meet, including filing of the
Bankruptcy Case within three (3) business days of the date that the PPP Loan is forgiven (which
was done), obtaining confirmation of the Plan on or before the 95th day after the Petition Date, and
the Effective Date for the Plan occurring on or before the 109th day after the Petition Date (subject
to extension to the next business day if the 109th day is a Saturday, Sunday or legal holiday). The
Debtors expect that the Effective Date will be April 5, 2021.




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       A.      Key Terms to the Restructuring.

       The Restructuring Term Sheet provides that the Issuer will issue new 2021 Bonds under a
new Bond Trust Indenture between the Issuer and the 2021 Bond Trustee (the “2021 Indenture”).
On the Effective Date, the holders of the 2016A Bonds and 2016B Bonds shall exchange the then
outstanding 2016A Bonds and 2016B Bonds for a pro rata share of 2021 Bonds issued in the
aggregate principal amount equal to $107,269,103.00. The 2021 Bonds shall be issued as current
paying bonds. The 2021 Bonds shall bear interest at the rate of 5.125% per annum and have
maturities in the years and in principal amounts as set forth in Exhibit 2. The 2021 Bonds shall
be amortized as set forth in Schedule 2 of the Restructuring Term Sheet. The 2021 Bonds shall
pay interest only for the first three (3) years following the Effective Date and will then amortize
over the following thirty-seven (37) years. Interest on the 2021 Bonds shall be payable
semiannually following the Effective Date and principal shall be paid annually as set forth in
Schedule 2 of the Restructuring Term Sheet.

        The 2021 Bonds will be secured by a first priority lien on all assets of Park Place. The
Series 2021 Bond shall mature as set forth in Schedule 2 of the Restructuring Term Sheet, with a
final maturity 40 years from the restructuring effective date (subject to bond counsel approval).

        The 2021 Bonds will be subject to optional redemption prior to maturity commencing on
the 5th year after the Effective Date, at a price equal to: in year 5, at a price of 102%, in year 6, at
price of 101% and thereafter at par. The 2021 transaction will not include any 2020 cash flow
notes for the balance outstanding and is expected to consist of one series of bonds.

       B.      Sponsor Contribution

        In connection with the restructuring, and as consideration for its retention of its ownership
interest in the Debtors, on the Effective Date the Sponsor will pay to the Debtors, and the Debtors
will then forward to the 2016 Bond Trustee, the 2016C Bond Redemption Payment (in the amount
of Six Hundred Fifty-Seven Thousand Five Hundred Sixty-Two and 50/100 Dollars
($657,562.50)) plus 3% of the accrued but unpaid interest on the principal amount of the 2016C
Bonds as of the Effective Date of the Plan. In addition, the Sponsor will deposit $3,000,000 (the
“Liquidity Fund”) with the 2016 Bond Trustee to be held and used in accordance with the terms
of a certain Liquidity Support Agreement (the “LSA”) by and among the Sponsor, the Debtors and
the 2016 Bond Trustee. The Liquidity Fund shall be available to the Debtors for payment of regular
operating expenses as needed, and for payment of monthly interest or principal relating to the 2021
Bonds.

       To enhance the earnings on the Liquidity Fund, the LSA includes a list of permitted
investments for the Liquidity Fund, which will include certain investments not customarily
included in tax-exempt bond financings. For example, permitted investments are contemplated to
include corporate stock and bond mutual funds. The fund balance in the Liquidity Fund will be
permitted to be counted in the calculation of Days Cash on Hand for purposes of covenant testing.




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        The Distribution Waterfalls will include provisions which allow the Liquidity Fund to be
restored to its original balance by the Debtors if draws are made to pay operating expenses or debt
service. In addition, the LSA will include terms for the “burn-off” of the Liquidity Fund over time.

       In connection with the issuance of the 2016 Bonds, the Sponsor received a certain
promissory note (“Sponsor Note”), which is subordinate in security and payment to the 2016
Bonds. In further consideration of its retention of its ownership interests in the Debtors, the
Sponsor will waive, as of the Effective Date, all amounts due under the Sponsor Note.

       The Sponsor and Debtors understand that they will be responsible for transaction costs of
the Restructuring Transaction (the “Sponsor Contribution”). On the Effective Date, the existing
Debt Service Reserve Fund (“DSRF”) will be used to pay (i) accrued and unpaid interest on the
2016 Bonds through but not including the Effective Date, and (ii) the costs and expenses of the
2016 Bond Trustee and its advisors; any remaining DSRF balance immediately shall be transferred
to the Debt Service Reserve Fund under the 2021 Indenture. In addition, the Sponsor shall
undertake to pay the professional fees and expenses incurred by the Debtors’ counsel in this case,
independent from the Sponsor’s other obligations under the Plan including (without limitation) its
contributions to the Liquidity Fund.

       C.      The Bond Funds and Distribution Waterfall.

        The Restructuring Term Sheet contemplates that the Debtors will establish and maintain
certain funds in connection with the 2021 Bonds, including an entrance fee fund (the “Entrance
Fee Fund”), a revenue fund (the “Revenue Fund”), an operating reserve fund (the “Operating
Reserve Fund”), and a capital expenditures fund (the “Capital Expenditures Fund”). The
purpose of these funds is to ensure sufficient operational liquidity and capital reserves for the
Debtors and to allow the Debtors to service the 2021 Bonds. The Restructuring Term Sheet sets
forth a distribution scheme for these funds on a go-forward basis.

       In particular, pursuant to documents underlying the 2021 Bonds (the “2021 Bond
Documents”), the Debtors agree to deposit all gross revenues (other than Entrance Fees) with the
2021 Bond Trustee for deposit in the Revenue Fund as established under the 2021 Bond
Documents. Entrance Fees (after the required payment of any refunds) will be transferred to the
Revenue Fund after any applicable rescission rights under the Residence Agreements have expired
and such funds shall be available to flow through the Distribution Waterfall (as defined herein).

        Upon the Effective Date, all Entrance Fees shall be deposited with the 2021 Bond Trustee
in the Entrance Fee Fund. Such amounts, together with the balances of the Operating Account,
the Operating Reserve Fund and any Revenues available to the Debtors at such time, including the
Sponsor Contribution, shall be applied in the following order of priority:

       1. to pay any Refunds due to Residents who no longer reside at the Campus (or their
          beneficiaries);

       2. to pay all professional fees and expenses incurred in connection with the Restructuring
          Transaction (including, without limitation, any costs associated with obtaining

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           opinions from bond counsel but not including the fees, expenses and costs incurred by
           the Debtors’ general bankruptcy counsel);

        3. to fund the Debt Service Reserve Fund up to the shortfall, if any, to the initial Debt
           Service Reserve Fund requirement;

        4. to fund the Operating Account in an amount equal to 45 Days Cash on Hand
           (approximately $2.250 million);

        5. to fund the Operating Reserve Fund in an amount equal to 75 Days Cash on Hand
           (approximately $3.750 million); and

        6. thereafter, all post-Effective Date Entrance Fees and other Revenues of the Debtors
           shall be deposited in the Entrance Fee Fund or the Revenue Fund, as applicable, on a
           weekly basis.

        Subject to the next sentence, amounts on deposit in the Revenue Fund shall be made
available to Park Place on a monthly basis to satisfy ongoing operations and management costs
and expenses of Park Place, including, without limitation, the Base Management Fee, and
replenishment of any Unrestricted Amount (collectively, the “Operating Expenses”). If an Event
of Default (as defined in the 2021 Indenture) shall occur, then the monthly amounts on deposit in
the Revenue Fund available for withdrawal to satisfy Operating Expenses shall be made available
to Park Place in an amount not to exceed the amounts set forth in an operating budget established
pursuant to the terms of the 2021 Indenture.

     On the first Business Day of each calendar month, monies in the Revenue Fund shall be
distributed in the following order of priority (the “Distribution Waterfall”):

    First, to the Operating Account in the amount necessary to pay anticipated Operating Expenses
     for the upcoming month (taking into account any unapplied amount withdrawn for such
     purpose in a prior month), as such amount is set forth in a certificate from the Borrower
     delivered to the Trustee no later than 10 Business Days prior to the first Business Day of a
     month;

    Second, to replenish any deficiency as of the Effective Date in the Debt Service Reserve Fund
     necessary to make the amount therein equal the Debt Service Reserve Fund Requirement;

    Third, to the Bond Fund, in an amount equal to 1/6th of the interest due on the next interest
     payment date;

    Fourth, payments to the Bond Fund in an amount equal to 1/12th of the principal due on the
     next principal payment date;

    Fifth, to the Capital Expenditure Fund, in an amount equal to 1/12th of such Fiscal Year’s
     capital budget;



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     Sixth, to replenish the balance of the Operating Reserve Fund and the Operating Account to a
      combined total of 135 Days Cash on Hand;

     Seventh, to replenish the balance of the Liquidity Fund for any draws made in order to restore
      the balance of the Liquidity Fund to $3 million; and

     Eighth, to pay deferred management fees which are due to the Sponsor, and

     Ninth, any remaining amounts after application of paragraphs first to eighth above (such
      remaining amounts referred to as “Excess Cash”) shall be transferred to the Operating
      Reserve Fund
       The proposed restructuring also contemplates a number of operating and financial
covenants to reflect the current operating projections of Park Place, which shall become effective
upon consummation of the restructuring. Other than the restructuring and redemption of the 2016
Bonds, the Plan provides for the treatment of all creditors and other parties (including Residents)
in the ordinary course of business. The Debtors will continue to operate their business during
chapter 11.

V.       APPROVAL FOR THE 2021 BONDS

        The 2021 Bonds must be issued by the Issuer (i.e., the Illinois Finance Authority) after a
notice and administrative hearing process which is independent from what occurs in these Cases.
The Issuer has independent authority to review and in some cases deny or require modifications to
requests for the issuance of Illinois tax exempt municipal bonds. The Debtors are confident that
the Issuer will approve their request for the issuance and exchange of the 2021 Bonds, as set forth
in the Plan.

VI.      THE CASES

        The purpose of these Cases is to restructure the Debtors’ obligations under the 2016 Bonds
on the terms outlined by the Restructuring Term Sheet (Exhibit 2 to this Disclosure Statement).
As of the Petition Date, all actions and proceedings against the Debtors and all acts to obtain
property from the Debtors were stayed under section 362 of the Bankruptcy Code. The Debtors
continue to operate their business and manage their property as debtors in possession pursuant to
sections 1107(a) and 1108 of the Bankruptcy Code.

        The Debtors do not expect the Cases to be protracted. To expedite their emergence from
Chapter 11, the Debtors, on the Petition Date, in addition to filing the Disclosure Statement and
the Plan, sought the relief detailed below, among other relief, from the Bankruptcy Court.

         A.     Initial Motions.

       The Debtors filed certain motions with the Bankruptcy Court on the first day of the Cases
which were designed to minimize disruptions of Park Place’s business operations and to facilitate
the Debtors’ reorganization. These motions include:


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    1. Motion for Entry of an Order Authorizing the Debtors to Assume Plan Support
       Agreement

    This Motion asked the Bankruptcy Court to allow the Debtors to assume the Plan Support
    Agreement under section 365 of the Bankruptcy Code (11 U.S.C. §365), to implement a
    schedule for the completion of the Cases, to reconfirm the pre-bankruptcy agreement
    between the Debtors and the Consenting Holders relative to the restructuring or redemption
    of the 2016 Bonds, as well as the commitment by the Consenting Holders to support the
    confirmation of the Debtors’ Plan, as provided by the terms set forth in the Plan Support
    Agreement.

    2. Motion (I) Scheduling Hearing And Establishing Notice And Objection Procedures For
       The Approval Of Disclosure Statement; (II) Approving The Disclosure Statement; and
       (III) Granting Related Relief

    The Debtors have requested that the Bankruptcy Court enter an order which: (i) sets a
    timetable for parties to review and object, if they so choose, to the adequacy of the
    disclosures made in this Disclosure Statement under 11 U.S.C. §1125; (ii) sets a hearing to
    consider the adequacy of the disclosures made in the Disclosure Statement; (iii) approves
    and sets the notice to be given to creditors and other interested parties of that hearing and
    the time to object to the relief sought by the Debtors; and (iv) after that hearing, approves
    the Disclosure Statement under the standards provided by 11 U.S.C. §1125.

    3. Motion for Authority to Use of Cash Collateral.

    Park Place, the Consenting Holders and the 2016 Bond Trustee have agreed to the use of
    cash based on certain conditions. Park Place has asked the Bankruptcy Court to allow it to
    spend a limited amount of cash pursuant to the terms of a budget to support the operations
    of the Campus for approximately three weeks, after which, and after an opportunity for
    hearing, the Debtors will ask the Bankruptcy Court to approve a four-month budget which
    should allow Park Place to operate the Campus through the completion of the Cases.

    4. Motion to Escrow Residents’ Entrance Fees.

    As described in more detail above, when new Residents move into the Campus, they pay
    an Entrance Fee which is usually made in two installments: (a) a $15,000 reservation
    deposit when a Prospective Resident signs a reservation agreement; and (b) the balance of
    the Entrance Fee when the Resident moves in. Park Place has asked the Bankruptcy Court
    to approve its proposal to place all Entrance Fees received from Prospective Residents who
    sign reservation agreements or residency agreements after the Petition Date in a separate
    escrow account and to refund in full all Entrance Fees paid by any such new Resident who
    decides to exercise a right to rescind their Residency Agreement or deposit agreement
    before a date certain to be set by the Bankruptcy Court.




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    5. Motion To Authorize Procedures To Protect And Maintain The Confidentiality Of
       Resident And Consumer Information.

    Bankruptcy rules and regulations normally require a company which enters bankruptcy to
    make a public disclosure of the identity of people and entities with whom it has done
    business. Through this Motion, Park Place has asked the Bankruptcy Court for permission
    to withhold (and not publish) the names of those people who are Residents at the Campus,
    or are receiving health care at Park Place, or have placed deposits for future residency at
    the Campus.

    6. Motion to Continue Using Existing Cash Management Systems.

    Regulations promulgated by the United States Trustee (a branch of the US Department of
    Justice) require Chapter 11 debtors to immediately close all of their existing bank accounts
    and open new ones. These regulations may be superseded by the Bankruptcy Court if there
    is good cause to do so. As noted in the motion, and as a part of the 2016 Loan Documents,
    the Debtors established a cash management system which was designed to protect and
    perfect the 2016 Bond Trustee’s liens on the cash generated by the business conducted by
    Park Place. To replace this system would require, in addition to the cost of establishing
    replacement accounts, a redrafting of the deposit control agreements, the execution of those
    documents by the Debtors, the 2016 Bond Trustee and the depository institution, among
    other things. The Motion was filed to keep the existing cash management system in place
    to avoid the potentially significant cost of replacing the existing system during the
    anticipated short duration of the Cases.

    7. Motion For Entry Of Interim And Final Orders: (A) Prohibiting Utilities From altering,
       Refusing, or Discontinuing Services On Account Of Prepetition Invoices; (B)
       Establishing Procedures For Determining Requests For Additional Adequate
       Assurance; And (C) Granting Related Relief.

    The Debtors recognize that uninterrupted utility services are critical to the Debtors’ ability
    to sustain their operations and protect the health, safety and welfare of the residents during
    the pendency of the Cases. In the normal conduct of its business, the Debtors use water,
    electric, telecommunications (including wireless), and other services provided by utility
    companies. The uninterrupted use of these utilities is critical to the operations of the
    Debtors and the health of their Residents. Through this Motion, the Debtors sought
    permission from the Bankruptcy Court to prohibit utilities from altering, refusing, or
    discontinuing their services and to establish procedures for providing the utilities with
    assurance that they will receive timely payment for services which they extend to the
    Debtors while these Cases are pending.

    8. Applications To Employ Professionals.

    The Debtors filed separate motions to employ the following people and firms in these
    Cases: (a) Bruce Dopke and the firm of Dopkelaw LLC to serve as general bankruptcy
    counsel for the Debtors; and (b) Globic Advisors, Inc., to serve as the general claims and

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       noticing agent for communications between the Debtors and all interested parties
       (including without limitation Bondholders and their agents) in these Cases.

       9. Motion to Motion for Determination that Appointment of Patient Care Ombudsman is
          Unnecessary.

       As permitted by Section 333(a) of the Bankruptcy Code (11 U.S.C. §333(a)), Park Place
       filed this Motion which sought the entry of an order by Bankruptcy Court which allows
       Park Place to self-report information relating to the state of resident care at the Campus to
       the Office of the United States Trustee for the Northern District of Illinois, the Illinois State
       Department of Health, the Centers For Medicare and Medicaid Services and any Residents
       or family members thereof who specifically request a copy of such information. Park Place
       believes that appointment of patient care ombudsman is unnecessary, especially in light of
       the expected short duration of the Cases and the Debtors’ past exemplary operating history.

       10. Motion For Entry Of An Order (A) Establishing Bar Dates For Filing Certain Proofs
           of Claim, (B) Approving The Form And Manner For Filing Proofs Of Claim, (C)
           Approving Notice Thereof, and (D) Grants Related Relief.

       The Debtors filed this Motion to ask the Bankruptcy Court to set dates by which creditors
       must file proofs of claim against the Debtors. All people and entities which have done
       business with the Debtors should have received a separate notice concerning the deadlines
       to file claims, the forms to be used to file claims, and the identification of certain types of
       claims (notably, claims of Residents under Residency Agreements) which are not required
       to file a proof of claim in order to have a valid and allowed claim under their Residency
       Agreements.

       B.      Timetable for the Cases.

        The Debtors anticipate that the Confirmation of the Plan will occur on or around mid-
March of 2021. The Debtors anticipate that the Effective Date of the Plan will be on or about
April 5, 2021. There can be no assurance, however, that the Cases will proceed as expeditiously
as anticipated.

VII.   PLAN OF REORGANIZATION

     THIS SECTION PROVIDES A SUMMARY OF THE STRUCTURE,
CLASSIFICATION, TREATMENT, AND IMPLEMENTATION OF THE PLAN, AND IS
QUALIFIED IN ITS ENTIRETY BY REFERENCE TO THE PLAN, WHICH IS ATTACHED
TO THIS DISCLOSURE STATEMENT AS EXHIBIT 1.

       A.      Classification and Treatment of Claims Under the Plan.

        The Claims against the Debtors are divided into Classes according to their seniority and
other criteria. The Classes of Claims against the Debtors and the funds and other property to be
distributed under the Plan are described more fully below.

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     THE DEBTORS BELIEVE THAT THE PLAN AFFORDS CREDITORS THE
POTENTIAL FOR THE GREATEST REALIZATION OF THE VALUE OF THE DEBTORS’
ASSETS.

       B.     Treatment of Administrative Claims, Priority Tax Claims, and U.S. Trustee
                    Fees.

         1.      Administrative Claims. In accordance with section 1123(a)(1) of the Bankruptcy
Code, Administrative Claims have not been classified and are treated as described herein. Except
as otherwise provided in the Plan, by written agreement of the holder of an Allowed Administrative
Claim to accept different treatment than provided under the Plan, or by order of the Bankruptcy
Court, an Entity holding an Allowed Administrative Claim will receive Cash equal to the unpaid
portion of such Allowed Administrative Claim that has come due for payment under any applicable
order or law, as soon as practicable after the later of: (i) the fifth (5th) Business Day after the
Effective Date or as soon as reasonably practicable thereafter as determined by the Debtors; (ii)
the date on which such Entity becomes the holder of such an Allowed Administrative Claim; or
(iii) the date or dates when that Allowed Administrative Claim is payable by its terms, consistent
with past practice and in accordance with past terms. Administrative Claims are defined in the
Plan, and they include (and are not limited to) contract claims of individuals and entities for goods
and services which they provided to the Debtors during the pendency of the Cases and claims for
personal injuries which are alleged to have occurred during the pendency of the Cases. They also
include (and are not limited to) the reimbursement of the Issuer in an amount not to exceed
$30,000.00 for attorneys' fees and out of pocket expenses incurred in connection with, and for
making a substantial contribution in the Chapter 11 Case pursuant to sections 503(b)(3)(4) and (5)
of the Bankruptcy Code (provided, however, that if the Plan, its associated disclosure statement or
proposed confirmation order, as submitted to the Bankruptcy Court are subject to material revision
or objection by a party in interest, or if the Debtors’ request for approval of the disclosure statement
or confirmation of the Plan is materially opposed or delayed, the Issuer may obtain relief from the
$30,000 limitation on its professional fee and expense claim from the Court after notice and a
hearing. Unless otherwise stipulated to by the Debtors, holders of Administrative Claims must file
a motion for the allowance of such claims under 11 U.S.C. §503(a) no later than sixty (60) days
after the Effective Date. Objections to any motion for allowance of administrative claims must be
filed and served on the Debtors, the Office of the U.S. Trustee, the 2016 Bond Trustee, and the
requesting party no later than 25 days (or such longer period as may be allowed by order of the
Bankruptcy Court) after the date on which the applicable motion for allowance of administrative
claim was served.

       2.      Professional Compensation. Professionals or other Entities asserting a Claim for
Accrued Professional Compensation for services rendered before the Effective Date must file and
serve on the Debtors (or, after the Effective Date, the Reorganized Debtors), the 2016 Bond
Trustee, and such other Entities who are designated by the Bankruptcy Rules, the Confirmation
Order, or other order of the Bankruptcy Court, an application for final allowance of such Claim
for Accrued Professional Compensation no later than sixty (60) days after the Effective Date.
Objections to any Claim for Accrued Professional Compensation must be filed and served on the
Reorganized Debtors, the Office of the U.S. Trustee, the 2016 Bond Trustee, and the requesting

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party no later than 25 days (or such longer period as may be allowed by order of the Bankruptcy
Court) after the date on which the applicable application for final allowance of such Claim for
Accrued Professional Compensation was served.

       Upon the Effective Date, any requirement that Professionals comply with sections 327
through 331 and section 1103 of the Bankruptcy Code in seeking retention or compensation for
services rendered after such date shall terminate, and the Reorganized Debtors may employ and
pay any professional for services rendered or expenses incurred after the Effective Date in the
ordinary course of business without any further notice to any party or action, order, or approval of
the Bankruptcy Court.

        3.      Priority Tax Claims. In accordance with section 1123(a)(1) of the Bankruptcy
Code, Priority Tax Claims have not been classified and are treated as described in Section 2 of the
Plan. Unless otherwise agreed by the holder of an Allowed Priority Tax Claim, any Entity holding
an Allowed Priority Tax Claim will receive, as determined by the Reorganized Debtors in their
sole discretion and in full satisfaction of such Claim, payment in Cash in full on the later of (i) the
Effective Date, or as soon as reasonably practicable thereafter as determined by the Debtors, or (ii)
the date such Claim becomes an Allowed Claim.

       4.      U.S. Trustee Fees.  All U.S. Trustee Fees will be paid in full by the Reorganized
Debtors as they become due and owing.

       C.       Classification and Treatment of Claims and Interests

        1.      Classification and Specification of Treatment of Claims. All Claims, except
those described in Section VII(B) above, are placed in the following impaired or unimpaired
Classes of Claims pursuant to sections 1123(a)(1), 1123(a)(2), and 1123(a)(3) of the Bankruptcy
Code, which sections require the Plan to designate such Classes and to specify their impaired or
unimpaired status. A Claim is classified in a particular Class only to the extent that the Claim
qualifies within the description of the Class and is classified in a different Class to the extent that
the Claim qualifies within the description of that different Class. A Claim is in a particular Class
only to the extent that the Claim is an Allowed Claim in that Class and has not been paid, released,
withdrawn, waived, or otherwise satisfied under the Plan. Unless the Plan expressly provides
otherwise, when a Class includes a subclass, each subclass is a separate Class for all purposes
under the Bankruptcy Code, including, without limitation, voting and distribution.

        Subject to all other applicable provisions of the Plan (including its distribution provisions),
classified Claims shall receive the treatment set forth below. The Plan will not provide any
distributions on account of a Claim to the extent that such Claim has been disallowed, released,
withdrawn, waived, or otherwise satisfied or paid as of the Effective Date, including, without
limitation, through payment by a third party. Except as specifically provided in the Plan, the Plan
will not provide any distributions on account of a Claim for which the obligation to pay has been
assumed by a third party.

  Class                    Claim                          Status                 Voting Rights
    1       Other Priority Claims                   Unimpaired                Deemed to Accept

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    2      2016A and 2016B Bond Claims             Impaired                 Entitled to Vote
    3      2016 C Bond Claims                      Impaired                 Entitled to Vote
    4      Other Secured Claims                    Unimpaired               Deemed to Accept
    5      General Unsecured Claims                Impaired                 Entitled to Vote
    6      Interests in Debtors                    Unimpaired               Deemed to Accept

        2.      Class 1 – Other Priority Claims. This Class is unimpaired and consists of all
Allowed Other Priority Claims, if any such Claims still exist as of the Effective Date. Each
Allowed Other Priority Claim shall be in a separate subclass. Except to the extent that the holder
of an Allowed Other Priority Claim agrees to less favorable treatment, each holder of an Allowed
Other Priority Claim will receive, in full and final satisfaction and discharge of and in exchange
for each Allowed Other Priority Claim: (i) deferred Cash payments of a value, as of the Effective
Date, equal to the holder’s Allowed Other Priority Claim, or (ii) payment in Cash in full on the
later of: (a) the fifth (5th) Business Day after the Effective Date or as soon as reasonably
practicable thereafter as determined by the Debtors; and (b) the fifth (5th) Business Day after the
date on which such Other Priority Claim becomes an Allowed Claim.

        3.      Class 2 – 2016A/B Bond Claims.          This Class is impaired and consists of all
2016A and 2016B Bond Claims and includes all Claims of the holders of (i) the 2016A Bonds,
which Claims shall be deemed Allowed pursuant to the Plan in the aggregate principal amount of
$119,187,892.00, (ii) the 2016B Bonds, which Claims shall be deemed Allowed pursuant to the
Plan in the aggregate principal amount of $15,496,392.00, plus (iii) accrued and unpaid interest on
the principal amount of the 2016A/B Bonds through and including the Effective Date, which
interest shall be paid by the 2016 Bond Trustee from the Debt Service Reserve Fund administered
by the 2016 Bond Trustee. On the Effective Date, the holders of the 2016A Bonds and 2016B
Bonds shall exchange the then outstanding 2016A Bonds and 2016B Bonds for a pro rata share of
2021 Bonds issued in the aggregate original principal amount of $107,269,103. The 2021 Bonds
shall be issued as current paying bonds. The 2021 Bonds shall bear interest at the rate of 5.125%
per annum and have maturities in the years and in principal amounts as set forth on Schedule 1 to
the “Restructuring Term Sheet” attached to the Disclosure Statement as Exhibit 2. The 2021 Bonds
shall be amortized as set forth in Exhibit 2 to the Disclosure Statement. The 2021 Bonds shall pay
interest only for the first three (3) years following the Effective Date, and then amortize over the
following thirty-seven (37) years. Interest on the 2021 Bonds shall be payable semiannually
following the Effective Date and principal shall be paid annually as set forth in Exhibit 2. The
2021 Bonds will be secured by a first priority lien on all assets of Park Place. The Series 2021
Bond shall mature as set forth in Exhibit 2 with a final maturity of forty (40) years from the
restructuring effective date (subject to bond counsel approval). The 2021 Bonds will be subject to
optional redemption prior to maturity commencing on the 5th year after the Effective Date, at a
price equal to: in year 5, at a price of 102%, in year 6, at price of 101% and thereafter at par. The
2021 transaction will not include any 2021 cash flow notes for the balance outstanding and is
expected to consist of one series of bonds.

Class 3 – 2016C Bond Claims. This Class is impaired and consists of all 2016C Bond Claims
which shall be deemed Allowed pursuant to the Plan in the aggregate principal amount of
$21,918,750.00 plus any accrued and unpaid interest due on the 2016C Bonds through and
including the Effective Date. Upon the terms and subject to the conditions set forth in the Plan,

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on or after the Effective Date, each holder of an allowed 2016C Bond Claim shall receive from the
2016 Bond Trustee a pro rata share of the “2016C Bond Redemption Payment” which is defined
in the Plan as a payment made by the Sponsor to the 2016 Bond Trustee in the amount of 3% of
the current principal amount of the 2016C Bonds plus 3% of the accrued but unpaid interest on the
principal amount of the 2016C Bonds as of the Effective Date of the Plan. Upon the receipt of this
payment by the Bond Trustee, the Series C Bonds will be cancelled and deemed to no longer be
outstanding, except to the extent needed to facilitate the distribution of the 2016C Bond
Redemption Payment to the holders of record of the 2016C Bonds. The Debtors estimate that the
amount of the 2016 Bond Redemption Payment will be the sum of $657,562.50 (which is 3% of
the principal 2016C Bond Debt) plus 3% of the accrued interest on that claim, which the Debtors
estimate will be $68,179.45 if the Effective Date occurs on April 5, 2021, in which case, the total
principal and interest which will be paid to holders of 2016C Bonds would total $725,741.95.


        4.      Class 4 – Other Secured Claims.         This Class is unimpaired and consists of all
Other Secured Claims. Except to the extent that a holder of an Allowed Other Secured Claim
agrees to a less favorable treatment, in full and final satisfaction and discharge of and in exchange
for each Allowed Other Secured Claim, on the later of the Effective Date and the date such Other
Secured Claim becomes Allowed, or as soon as practicable thereafter, each holder of an Allowed
Other Secured Claim shall have its Other Secured Claim reinstated and the legal, equitable, and
contractual rights to which the holder of such Claim is entitled shall otherwise be unaltered in
accordance with section 1124 of the Bankruptcy Code.

        5.      Class 5 – General Unsecured Claims. This Class is impaired and consists of all
General Unsecured Claims. Except to the extent that a holder of an Allowed General Unsecured
Claim agrees to a less favorable treatment, in full and final satisfaction and discharge of and in
exchange for each General Unsecured Claim, each holder of an Allowed General Unsecured Claim
will receive payment in full in Cash of three percent (3%) of the unpaid portion of such Allowed
General Unsecured Claim on the latest of: (i) the fifth (5th) Business Day after the Effective Date
or as soon as practicable thereafter as determined by the Debtors, (ii) the fifth (5th) Business Day
after the date on which such General Unsecured Claim becomes an Allowed Claim, (iii) the date
such Allowed General Unsecured Claim becomes due and payable in the ordinary course of
business, or (iv) as otherwise agreed to by the Debtors and the holder of such General Unsecured
Claim, and the Plan shall otherwise leave unaltered the legal, equitable, and contractual rights to
which the holder of such General Unsecured Claim is entitled. The Debtors reserve their right,
however, to dispute the validity of any General Unsecured Claim, whether or not objected to prior
to the Effective Date.

        6.      Class 6 – Interests In the Debtors. This Class is unimpaired and consists of all
Interests in the Debtors. On the Effective Date, the Sponsor, the sole member of Park Place and
the Foundation will retain all membership interests in the Debtors.




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       D.      Acceptance or Rejection of the Plan.

        1.      Acceptance by an Impaired Class. In accordance with section 1126(c) of the
Bankruptcy Code and except as provided in section 1126(e) of the Bankruptcy Code, an impaired
Class of Claims shall have accepted the Plan if the Plan is accepted by the holders of at least two-
thirds in dollar amount and more than one-half in number of the Allowed Claims of such Class
that have timely and properly voted to accept or reject the Plan.

       2.      Presumed Acceptance of the Plan. Classes 1, 4 and 6 are not impaired under the
Plan and are, therefore, conclusively presumed to have accepted the Plan pursuant to section
1126(f) of the Bankruptcy Code.

        3.     Voting Class. Classes 2, 3 and 5 are impaired under the Plan and are entitled to
vote to accept or reject the Plan.

       E.      Means for Implementation of the Plan.

        1.     Sources of Consideration.      Cash consideration necessary for the Reorganized
Debtors to make payments or distributions pursuant hereto shall be obtained from the cash derived
from the Reorganized Debtors’ business operations, those certain funds established pursuant to the
Restructuring Term Sheet and 2021 Bond Documents, and the Sponsor Contribution. A schedule
of the source and uses of cash is attached as Exhibit 4 to this Disclosure Statement.

        2.     Cancellation of 2016 Bonds. Except as otherwise provided in the Plan or the
Confirmation Order, on the Effective Date, the 2016 Bonds shall be cancelled, and the 2016 Bonds
and related 2016 Bond Documents shall continue in effect solely to the extent they relate to and
are necessary to: (i) allow for the applicable distributions pursuant to the Plan, (ii) permit the 2016
Bond Trustee and the Issuer to be compensated for fees and reimbursed for expenses including
expenses of its professionals, assert its charging lien, enforce its indemnity and other rights and
protections with respect to and pursuant to the 2016 Bond Documents, (iii) permit the 2016 Bond
Trustee to set one or more record dates and distributions dates with respect to the distribution of
funds to beneficial holders of the 2016 Bonds, as applicable, (iv) permit the 2016 Bond Trustee to
appear in the Cases, and (v) permit the 2016 Bond Trustee and the Issuer to perform any functions
that are necessary in connection with the foregoing clauses (i) through (iv).

        3.      Issuance of 2021 Bonds. On the Effective Date, the Issuer will issue the 2021
Bonds in accordance with the terms of the Plan and pursuant to the 2021 Indenture. On the
Effective Date, the holders of the 2016A Bonds and 2016B Bonds shall exchange those bonds for
a pro rata share of the 2021 Bonds which shall be in the aggregate original principal amount of
$107,269,103.00. The 2021 Bonds shall bear interest at the rate of 5.125% per annum and have
maturities in the years and in principal amounts as set forth on Schedule 1 to the “Restructuring
Term Sheet” attached to this Disclosure Statement as Exhibit 2. The 2021 Bonds shall be
amortized as set forth in Exhibit 2 hereto. The 2021 Bonds shall pay interest only for the first three
(3) years following the Effective Date, and then amortize over the following thirty-seven (37)
years. Interest on the 2021 Bonds shall be payable semiannually following the Effective Date and
principal shall be paid annually as set forth in Exhibit 2. The 2021 Bonds will be secured by a

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first priority lien on all assets of Park Place. The Series 2021 Bond shall mature as set forth in
Schedule 2, with a final maturity 40 years from the restructuring effective date (subject to bond
counsel approval). The 2021 Bonds will be subject to optional redemption prior to maturity
commencing on the 5th year after the Effective Date, at a price equal to: in year 5, at a price of
102%, in year 6, at price of 101% and thereafter at par. The 2021 transaction will not include any
2021 cash flow notes for the balance outstanding and is expected to consist of one series of bonds.

        4.      2021 Bond Documents. In connection with the foregoing matters described in
Section 4.3 of the Plan, on the Effective Date, the Issuer, the Debtors, and the 2021 Bond Trustee,
as applicable, will enter into the 2021 Bond Documents, including the 2021 Indenture, the 2021
Master Indenture, and the 2021 Mortgage. The 2016 Bond Trustee shall transfer to the 2021 Bond
Trustee substantially all funds and accounts created or maintained under or pursuant to the 2016
Indenture in accordance with the Plan.

        5.      Effective Date Transactions. Upon the Effective Date, the Debtors shall establish
and/or maintain the accounts and funds described in the 2021 Bond Documents and the
Restructuring Term Sheet. Upon the Effective Date, all Entrance Fees, including any Entrance
Fees received and escrowed by the Debtor after the Petition Date pursuant to the Entrance Fee
Escrow Agreement, shall be deposited with the 2021 Master Trustee in the Entrance Fee Fund.
The deposits in the Entrance Fee Fund, together with the balances of the Debtors’ operating
accounts and the Operating Reserve Fund, as of the Effective Date, the revenues and other income
of the Debtors available on the Effective Date, and the Sponsor shall be applied in the following
order of priority to the extent of available funds: (i) to pay any Refunds due and owing; (ii) to pay
the professional fees and expenses incurred in connection with the transactions contemplated under
the Plan (including, without limitation, any costs associated with obtaining opinions from bond
counsel) subject to the Budget (but not including the professional fees, expenses and costs payable
to Dopkelaw LLC in its capacity as general bankruptcy counsel to the Debtors, which the Sponsor
agreed to pay pursuant to the Plan Support Agreement and the exhibits thereto); (iii) to fund the
Debt Service Reserve Fund up to any shortfall, if any, to the initial Debt Service Reserve Fund
requirement; (iv) to fund the Operating Account in an amount equal to approximately 45 Days
Cash on Hand; and (v) to fund the Operating Reserve Fund in an amount equal to 75 Days Cash
on Hand.

         6.   Additional Terms of 2021 Bonds. Additional terms and conditions with respect to
the 2021 Bonds are set forth in the Restructuring Term Sheet and in the 2021 Bond Documents.
To the extent of any inconsistencies between the Restructuring Term Sheet and the 2021 Bond
Documents, the 2021 Bond Documents shall govern the respective rights and obligations of the
parties.

        7.      Section 1145 Exemption. Pursuant to section 1145 of the Bankruptcy Code, the
offering, issuance, and distribution of the 2021 Bonds shall be exempt from, among other things,
the registration and prospectus delivery requirements of Section 5 of the Securities Act of 1933
(as now in effect or hereafter amended) and any other applicable state or federal law requiring
registration and/or delivery of a prospectus prior to the offering, issuance, distribution, or sale of
securities. Any Entity who solicits or participates in the offer, issuance, sale, or purchase of the
2021 Bonds issued under, or in accordance with, the Plan, in good faith and in compliance with

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the applicable provisions of the Bankruptcy Code, is not liable, on account of such solicitation or
participation, for violation of an applicable law, rule, or regulation governing solicitation of
acceptance or rejection of the Plan or the offer, issuance, sale, or purchase of securities pursuant
thereto.

        8.     Sponsor Management Agreement. On or before the Effective Date, the
Management Agreement will be assumed (either by operation of the Plan or by order of Court)
provided that such management agreement shall provide for an annual management fee no greater
than 4.25% of gross operating revenues; provided further that no more than $30,000 shall be paid
each month as an operating expense with the balance payable from Excess Cash (as described in
the Plan).

       9.     Reorganized Debtors’ Board of Directors. The existing members of Park Place and
Foundation Board of Directors shall continue to serve as the board of their respective companies.
The following individuals serve on the Board of Directors of the boards of both Park Place and the
Foundation: Tim Breems, of Palos Heights, IL, Al Diepstra of Oak Brook, IL, Ken Hoving, of
Oak Brook, IL, Arnold Koldenhoven, of Burr Ridge, IL, Richard Schutt (staff) of Palos Heights,
IL, Cal Tameling, of Elmhurst, IL, Don Van Dyk, of Tinley Park, IL, and Rich Van Hattem, of
Beecher, IL.

       10.     Officers of the Reorganized Debtors. The existing officers of the Debtors shall
continue to be officers of the Reorganized Debtors. Such officers shall serve in accordance with
applicable non-bankruptcy law. The existing officers of the Debtors include Richard C. Schutt
(President), Ray Hemphill (Executive Vice President of Project Development), William DeYoung
(Chief Executive Officer), and Barry VanderGenugten (Chief Financial Officer).

        11.      Employee Benefits. Except as otherwise provided herein, on and after the Effective
Date, the Reorganized Debtors may: (i) honor, in the ordinary course of business, any contracts,
agreements, policies, programs, and plans for, among other things, compensation, health care
benefits, disability benefits, deferred compensation benefits, travel benefits, savings, severance
benefits, retirement benefits, welfare benefits, workers’ compensation insurance, and accidental
death and dismemberment insurance for the directors, officers, and employees of the Debtors who
served in such capacity at any time, and (ii) honor, in the ordinary course of business, Claims of
employees employed as of the Effective Date for accrued vacation time arising before the Petition
Date; provided, however, that the Debtors’ or the Reorganized Debtors’ performance under any
employment agreement will not entitle any Entity to any benefit or alleged entitlement under any
policy, program, or plan that has expired or been terminated before the Effective Date, or restore,
reinstate, or revive any such benefit or alleged entitlement under any such policy, program, or plan.
Nothing herein shall limit, diminish, or otherwise alter the Reorganized Debtors’ or the Debtors’
defenses, claims, Causes of Action, or other rights with respect to any such contracts, agreements,
policies, programs, and plans.

        12.    Vesting of Assets in the Reorganized Debtors. Except as otherwise provided in the
Plan or any agreement, instrument, or other document incorporated therein, on the Effective Date,
or as soon as practicable thereafter, all property of the Debtors’ Estate and all Causes of Action of
the Debtors (except those released pursuant to the Releases by the Debtors) shall vest in the

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Reorganized Debtors, free and clear of all Liens, Claims, charges, or other encumbrances (except
for Liens securing the 2021 Bonds). On and after the Effective Date, except as otherwise provided
in the Plan, the Reorganized Debtors may operate their business and may use, acquire, or dispose
of property and compromise or settle any Claims or Causes of Action without supervision or
approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or
Bankruptcy Rules.

        13.     Restructuring Transactions. On the Effective Date or as soon as reasonably
practicable thereafter, the Debtors and the Reorganized Debtors may take all actions as may be
necessary or appropriate to effect any transaction described in, approved by, contemplated by, or
necessary to effectuate the Plan, including: (i) the execution and delivery of appropriate
agreements or other documents of merger, consolidation, restructuring, conversion, disposition,
transfer, dissolution, or liquidation containing terms that are consistent with the terms of the Plan
and that satisfy the applicable requirements of applicable law and any other terms to which the
applicable Entities may agree; (ii) the execution and delivery of appropriate instruments of
transfer, assignment, assumption, or delegation of any asset, property, right, liability, debt, or
obligation on terms consistent with the terms of the Plan and having other terms to which the
applicable Entities agree; (iii) the filing of appropriate certificates or articles of incorporation or
amendments thereof, reincorporation, merger, consolidation, conversion, or dissolution pursuant
to applicable state law; and (iv) all other actions that the applicable Entities determine to be
necessary or appropriate, including making filings or recordings that may be required by applicable
law.

        14.     Corporate Action. Upon the Effective Date, all actions contemplated by the Plan
(whether to occur before, on, or after the Effective Date) shall be deemed authorized and approved
in all respects, and all matters provided for in the Plan involving the corporate structure of the
Debtors or the Reorganized Debtors and any corporate action required by the Debtors or the
Reorganized Debtors in connection with the Plan shall be deemed to have occurred and shall be in
effect, without any requirement of further action by the directors or officers of the Debtors or the
Reorganized Debtors.

        On or (as applicable) before the Effective Date, the appropriate officers of the Debtors or
the Reorganized Debtors, as applicable, shall be authorized and directed to issue, execute, and
deliver the agreements, documents, securities, certificates of incorporation, operating agreements,
and instruments contemplated by the Plan (or necessary or desirable to effect the transactions
contemplated by the Plan) in the name of and on behalf of the Debtors or the Reorganized Debtors,
as the case may be, and any and all other agreements, documents, securities, and instruments
relating to the foregoing.

        15.     Section 1146 Exemption from Certain Taxes and Fees. Pursuant to section 1146(a)
of the Bankruptcy Code, any transfer of property and any issuance, transfer, or exchange of a
security in connection with or pursuant to the Plan shall not be subject to any stamp, mortgage
recording, or other similar tax, charge, or governmental assessment in the United States, and the
Confirmation Order shall direct and be deemed to direct the appropriate state or local governmental
officials or agents to forgo the collection of any such tax, charge, or governmental assessment and,
as applicable, to accept for filing and recordation instruments or other documents pursuant to such

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transfer of property or to permit the issuance, transfer, or exchange of a security without the
payment of any such tax, charge, or governmental assessment. Such exemption specifically
applies, without limitation, to (i) the creation and recordation of any mortgage, deed of trust, lien,
or other security interest; (ii) the making or assignment of any lease or sublease; (iii) any
restructuring transaction authorized by the Plan, including, without limitation, the issuance by the
Issuer of the 2016 Bonds; or (iv) the making or delivery of any deed or other instrument of transfer
under, in furtherance of, or in connection with the Plan, including: (a) any merger agreements; (b)
agreements of consolidation, restructuring, disposition, liquidation, or dissolution; (c) deeds; or
(d) assignments executed in connection with any transaction occurring under the Plan.

        16.     Preservation of Causes of Actions of the Debtors. In accordance with section
1123(b) of the Bankruptcy Code, and except where such Causes of Action have been expressly
released (including, for the avoidance of doubt, the Exculpated Claims against the Exculpated
Parties and the Debtor Released Claims against the Released Parties), the Reorganized Debtors
shall retain and may enforce all rights to commence and pursue, as appropriate, any and all Causes
of Action, including those Causes of Action listed in the Plan Supplement, whether arising before
or after the Petition Date, and the Reorganized Debtors’ right to commence, prosecute, or settle
such Causes of Action shall be preserved notwithstanding the occurrence of the Effective Date.
The Reorganized Debtors may pursue such Causes of Action, as appropriate, in accordance with
the best interests of the Reorganized Debtors. No Entity may rely on the absence of a specific
reference in the Plan Supplement, the Plan, or the Disclosure Statement to any Cause of Action
against such Entity as any indication that the Debtors or the Reorganized Debtors, as applicable,
will not pursue any and all available Causes of Action against such Entity. Except with respect to
Causes of Action as to which the Debtors or the Reorganized Debtors have released any Entity on
or before the Effective Date (including pursuant to the Releases by the Debtors or otherwise), the
Debtors or the Reorganized Debtors, as applicable, expressly reserves all rights to prosecute any
and all Causes of Action against any Entity, except as otherwise expressly provided in the Plan.
Unless any Causes of Action against an Entity are expressly waived, relinquished, exculpated,
released, compromised, or settled in the Plan or by an order of the Bankruptcy Court, the
Reorganized Debtors expressly reserves all Causes of Action for later adjudication and, therefore,
no preclusion doctrine, including the doctrines of res judicata, collateral estoppel, issue preclusion,
claim preclusion, estoppel (judicial, equitable, or otherwise), or laches, shall apply to such Causes
of Action upon, after, or as a consequence of the confirmation or consummation of the Plan. For
the avoidance of doubt, nothing in Section 4.16 of the Plan shall affect the “Release by the Debtor”
provided in Section 8.2 of the Plan.

       F.      Treatment of Executory Contracts and Unexpired Leases.

        1.     Assumption and Rejection of Executory Contracts and Unexpired Leases. Except
as otherwise provided in the Plan or in an order of the Bankruptcy Court, or in any contract,
instrument, release, indenture, or other agreement or document entered into in connection with the
Plan, each of the Executory Contracts and Unexpired Leases of the Debtors will be deemed
assumed as of the Effective Date, unless such Executory Contract or Unexpired Lease: (i) was
assumed or rejected previously by the Debtors; (ii) expired or terminated pursuant to its own terms
before the Effective Date; (iii) is the subject of a motion to reject filed on or before the Effective



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Date; or (iv) is identified as an Executory Contract or Unexpired Lease to be rejected in the Plan
Supplement filed on or before the Effective Date.

       Notwithstanding anything contained in the Plan to the contrary, each Residency
Agreement, and all obligations arising thereunder, including the payment of Refunds and all other
entrance deposits and fees, will be assumed by the Reorganized Debtors, as of the Effective Date,
pursuant to the Plan.

        Entry of the Confirmation Order shall constitute a Bankruptcy Court order approving the
assumption or rejection of such Executory Contracts or Unexpired Leases as set forth in the Plan,
all pursuant to sections 365(a) and 1123 of the Bankruptcy Code. Unless otherwise indicated, all
assumptions or rejections of Executory Contracts and Unexpired Leases pursuant to the Plan are
effective as of the Effective Date. Each Executory Contract or Unexpired Lease assumed pursuant
to the Plan or by Bankruptcy Court order but not assigned to a third party before the Effective Date
shall revert in and be fully enforceable by the Reorganized Debtors in accordance with its terms,
except as such terms may have been modified by such order. Notwithstanding anything to the
contrary in the Plan, the Debtors or the Reorganized Debtors, as applicable, reserve the right to
alter, amend, modify, or supplement the list of Executory Contracts and Unexpired Leases
identified in the Plan Supplement at any time before the Effective Date. After the Effective Date,
the Reorganized Debtors shall have the right to terminate, amend, or modify any contracts, leases,
or other agreements without approval of the Bankruptcy Court, subject to the terms thereof.

        2.      Claims Based on Rejection of Executory Contracts or Unexpired Leases. All
Proofs of Claim with respect to Claims arising from the rejection of Executory Contracts or
Unexpired Leases, if any, must be filed with the Bankruptcy Court within 30 days after the date of
entry of an order of the Bankruptcy Court (including the Confirmation Order) approving such
rejection; provided, that any such Claims arising from the rejection of an Unexpired Lease shall
be subject to the cap on rejection damages imposed by section 502(b)(6) of the Bankruptcy Code.
Any Claims arising from the rejection of an Executory Contract or Unexpired Lease not filed with
the Bankruptcy Court within such time will be automatically disallowed and forever barred from
assertion and shall not be enforceable against the Debtors, the Reorganized Debtors, the Estates,
or their property, without the need for any objection by the Debtors or the Reorganized Debtors or
further notice to, action by, or order or approval of the Bankruptcy Court. All Allowed Claims
arising from the rejection of the Debtors’ Executory Contracts or Unexpired Leases shall be
classified as Class 5 General Unsecured Claims and shall be treated in accordance with the Plan.

        3.      Cure of Defaults for Assumed Executory Contracts and Unexpired Leases. Any
monetary amounts by which any Executory Contract or Unexpired Lease to be assumed under the
Plan is in default shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by Cure.
If there is a dispute regarding (i) the nature or amount of any Cure; (ii) the ability of the
Reorganized Debtors to provide “adequate assurance of future performance” (within the meaning
of section 365 of the Bankruptcy Code) under the Executory Contract or Unexpired Lease to be
assumed; or (iii) any other matter pertaining to assumption, Cure shall occur following the entry
of a Final Order of the Bankruptcy Court resolving the dispute and approving the assumption.




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       Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or
otherwise shall result in the full waiver, release, and satisfaction of any Claims or defaults, whether
monetary or nonmonetary, including defaults of provisions restricting change in control or
ownership interest composition and other bankruptcy-related defaults, arising under any assumed
Executory Contract or Unexpired Lease at any time before the effective date of the assumption.

        4.     Insurance Policies. Notwithstanding anything herein to the contrary, as of the
Effective Date, the Debtors shall assume (and assign to the Reorganized Debtors if necessary to
continue the Insurance Policies in full force) all of their Insurance Policies pursuant to section
365(a) of the Bankruptcy Code. Entry of the Confirmation Order shall constitute the Bankruptcy
Court’s approval of the Debtors’ foregoing assumption and assignment of each of the Insurance
Policies.

        5.      Modifications, Amendments, Supplements, Restatements, or Other Agreements.
Unless otherwise provided, each Executory Contract or Unexpired Lease that is assumed shall
include all modifications, amendments, supplements, restatements, or other agreements that in any
manner affect such Executory Contract or Unexpired Lease, and all Executory Contracts and
Unexpired Leases related thereto, if any, including all easements, licenses, permits, rights,
privileges, immunities, options, rights of first refusal, and any other interests, unless any of the
foregoing agreements has been previously rejected or repudiated, or is rejected or repudiated under
the Plan. Modifications, amendments, supplements, and restatements to prepetition Executory
Contracts and Unexpired Leases that have been executed by the Debtors during the Cases shall not
be deemed to alter the prepetition nature of the Executory Contract or Unexpired Lease, or the
validity, priority, or amount of any Claims that may arise in connection therewith, unless such
Executory Contract or Unexpired Lease has been previously assumed by the Debtors.

        6.     Centers For Medicare and Medicaid Services. Section 5.6 of the Plan contains a
special section which applies only to the assumption of Park Place’s executory contracts with the
Centers For Medicare And Medicaid Services (“CMS”) including without limitation the provider
agreement between Park Place and CMS for providing services to Residents for a cost which may
be reimbursed by CMS to Park Place.

        7.     Reservation of Rights. Nothing contained in the Plan or the Plan Supplement shall
constitute an admission by the Debtors that any contract or lease is in fact an Executory Contract
or Unexpired Lease or that the Reorganized Debtors has any liability thereunder. If there is a
dispute regarding whether a contract or lease is or was executory or unexpired at the time of
assumption or rejection, the Debtors or the Reorganized Debtors, as applicable, shall have 45 days
following entry of a Final Order resolving such dispute to alter the treatment of such contract or
lease.

       G.      Contracts and Leases Entered Into After the Petition Date. Notwithstanding
any other provision in the Plan, contracts and leases entered into after the Petition Date by the
Debtors, including any Executory Contracts and Unexpired Leases assumed by the Debtors, will
be performed by the Debtors or the Reorganized Debtors in the ordinary course of their business.
Accordingly, such contracts and leases (including any assumed Executory Contracts and
Unexpired Leases) will survive and remain unaffected by entry of the Confirmation Order.

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       H.      Provisions Governing Distributions.

        1.      Timing and Calculation of Amounts to Be Distributed. Except as otherwise
provided in the Plan, on the Effective Date or as soon as reasonably practicable thereafter (or if a
Claim is not an Allowed Claim on the Effective Date, on the date that such a Claim becomes an
Allowed Claim, or as soon as reasonably practicable thereafter), each holder of an Allowed Claim
against the Debtors shall receive the full amount of the distributions that the Plan provides for
Allowed Claims in the applicable Class and in the manner provided herein. In the event that any
payment or act under the Plan is required to be made or performed on a date that is not a Business
Day, then the making of such payment or the performance of such act may be completed on the
next succeeding Business Day, but shall be deemed to have been completed as of the required date.
If and to the extent that there are Disputed Claims, distributions on account of any such Disputed
Claims shall be made pursuant to the provisions set forth in the Plan. Except as otherwise provided
for in the Plan, holders of Claims shall not be entitled to interest, dividends, or accruals on the
distributions provided for herein, regardless of whether such distributions are delivered on or at
any time after the Effective Date.

        2.     Distributions. Except as otherwise provided in the Plan, all distributions under the
Plan shall be made by the Reorganized Debtors. With respect to the issuance of the 2021 Bonds,
such bonds shall be deemed issued and exchanged as of the Effective Date without presentment
by the beneficial owners. The Distribution Record Date in connection with the holders of the 2016
Bonds shall be as early as practicable so as to enable the Debtors, the Issuer, and their respective
agents to comply with the customary practices and procedures of the Depository Trust Company.
All Cash distributions to be made to beneficial holders of the 2016 Bonds shall be made to the
2016 Bond Trustee, which shall make such distributions to the beneficial holders of the 2016
Bonds in accordance with the terms of the 2016 Indenture.

        3.      Payments and Distributions on Disputed Claims. Distributions made after the
Effective Date to holders of Disputed Claims that are not Allowed Claims as of the Effective Date
but that later become Allowed Claims shall be deemed to have been made on the Effective Date.

       4.      Special Rules for Distributions to Holders of Disputed Claims. Notwithstanding
any other provision of the Plan and except as may be agreed to by the Debtors or the Reorganized
Debtors, on the one hand, and the holder of a Disputed Claim, on the other hand, no partial
payments and no partial distributions shall be made with respect to any Disputed Claim until all
Disputed Claims held by the holder of such Disputed Claim have become Allowed Claims or have
otherwise been resolved by settlement or Final Order.

        5.      Delivery of Distributions in General. Except as otherwise provided in the Plan,
distributions to holders of Allowed Claims shall be made to holders of record as of the Distribution
Record Date by the Reorganized Debtors. Distributions to holders of Allowed Claims will be made
at the address of each such holder as set forth in the Debtors’ books and records, except that, in
the case of holders of the 2016 Bonds, distributions will be made by means of book-entry exchange
through the facilities of the Depository Trust Company in accordance with the customary practices
of the Depository Trust Company, as and to the extent practicable. Distributions under the Plan on

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account of Allowed Claims shall not be subject to levy, garnishment, attachment, or like legal
process, so that each holder of an Allowed Claim shall have and receive the benefit of the
distributions in the manner set forth in the Plan. Neither the Debtors, nor the Reorganized Debtors,
shall incur any liability whatsoever on account of any distributions under the Plan except for gross
negligence, willful misconduct, or fraud.

        6.      Undeliverable Distributions and Unclaimed Property. In the event that any
distribution to any holder is returned as undeliverable, the Reorganized Debtors shall use
reasonable efforts to determine the current address of such holder. No distribution to such holder
shall be made unless and until the Reorganized Debtors have determined such holder’s then current
address, at which time such distribution shall be made as soon as practicable; provided, however,
that such distributions shall be deemed unclaimed property under section 347(b) of the Bankruptcy
Code and forfeited at the expiration of six months from the Distribution Date. After such date, all
“unclaimed property” or interests in property shall revert to the Reorganized Debtors
(notwithstanding any applicable federal or state escheat or abandoned or unclaimed property laws
to the contrary), and the Claim of any holder to such property shall be discharged and forever
barred.

        7.      Withholding and Reporting Requirements. In connection with the Plan and all
instruments issued in connection therewith, the Reorganized Debtors shall comply with all
applicable withholding and reporting requirements imposed by any federal, state, or local taxing
authority, and all distributions under the Plan shall be subject to any such withholding or reporting
requirements.

        8.      Setoffs. Except as otherwise provided in Section 6.8 of the Plan and subject to
applicable law, the Debtors and the Reorganized Debtors as applicable, may, pursuant to the
Bankruptcy Code (including section 553 of the Bankruptcy Code), applicable non-bankruptcy law,
or as may be agreed to by the holder of a Claim, setoff against any Allowed Claim (which setoff
shall be made against the Allowed Claim, not against any distributions to be made under the Plan
with respect to such Allowed Claim), any claims, rights, and Causes of Action of any nature that
the Debtors may hold against the holder of such Allowed Claim, to the extent such claims, rights,
or Causes of Action against such holder have not been otherwise released, waived, relinquished,
exculpated, compromised, or settled on or prior to the Effective Date (whether pursuant to the Plan
or otherwise), and any distribution to which a holder is entitled under the Plan shall be made on
account of the Claim, as reduced after application of the setoff described above. In no event shall
any holder of a Claim be entitled to setoff any Claim against any claim, right, or Cause of Action
of the Debtors or Reorganized Debtors unless such holder obtains entry of a Final Order entered
by the Bankruptcy Court authorizing such setoff or unless such setoff is otherwise agreed to in
writing by the Debtors and a holder of a Claim; provided, that, where there is no written agreement
between the Debtors or Reorganized Debtors, as applicable, and a holder of a Claim authorizing
such setoff, nothing herein shall prejudice or be deemed to have prejudiced the right of the Debtors
or the Reorganized Debtors, as applicable, to assert that any holder’s setoff rights were required to
have been asserted by motion to the Bankruptcy Court prior to the Effective Date. This Section
shall not be applicable to the distributions to be made to or for the benefit of the beneficial holders
of the 2016 Bonds.


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        9.      Insurance Claims. No distributions under the Plan shall be made on account of an
Allowed Claim until the holder of such Allowed Claim has exhausted all remedies with respect to
the Debtors’ Insurance Policies. To the extent that one or more of the Debtors’ insurers agrees to
satisfy in full a Claim, then immediately upon such agreement, such Claim may be expunged
without an objection to such Claim having to be filed and without any further notice to, action by,
or order or approval of the Bankruptcy Court. This Section shall not be applicable to the
distributions to be made to or for the benefit of the beneficial holders of the 2016 Bonds.

        10.     Applicability of Insurance Policies. Except as otherwise provided in the Plan,
distributions to holders of Allowed Claims shall be made in accordance with the provisions of any
applicable Insurance Policy. Except as expressly provided in the Plan, nothing contained in the
Plan shall constitute or be deemed a waiver of any Cause of Action that the Debtors or any Entity
may hold against any other Entity, including insurers under any Insurance Policies, nor shall
anything contained herein constitute or be deemed a waiver by such insurers of any defenses,
including coverage defenses, held by such insurers.

        11.     Allocation of Distributions Between Principal and Unpaid Interest. With the
exception of distributions on account of the 2016 Bonds, which shall be treated as provided in
Classes 2 and 3 herein, to the extent that any Claim entitled to a distribution under the Plan is
comprised of indebtedness and accrued but unpaid interest thereon, such distribution shall, for U.S.
federal income tax purposes, be allocated on the Debtors’ books and records to the principal
amount of the Claim first and then, to the extent the consideration exceeds the principal amount of
the Claim, to the accrued but unpaid interest.

        12.      Interest on Claims. Unless otherwise specifically provided for in the Plan
(including interest payable under the 2016 Bonds), postpetition interest will not accrue or be paid
on Claims, and no Claim holder will be entitled to interest accruing on or after the Petition Date
on any Claim. Similarly, unless otherwise specifically provided for in the Plan, postpetition interest
will not accrue or be paid on any Disputed Claim in respect of the period from the Petition Date to
the date a final distribution is made thereon if and after such Disputed Claim becomes an Allowed
Claim.

       I.      Procedures for Resolving Contingent, Unliquidated, and Disputed Claims.

        1.     Prosecution of Objections to Claims. The Debtors or the Reorganized Debtors, as
applicable, shall have the exclusive authority to file, settle, compromise, withdraw, or litigate to
judgment any objections to Claims as permitted under the Plan. From and after the Effective Date,
the Reorganized Debtors may settle or compromise any Disputed Claim without approval of the
Bankruptcy Court; provided, however, the Reorganized Debtors shall provide the Bond Trustee
notice of any settlements in excess of $10,000.00. The Reorganized Debtors reserve all rights to
resolve any Disputed Claim outside the Bankruptcy Court under applicable governing law.

       2.      Retention of Debtors’ Rights and Defenses. Except as expressly provided in
Section 7.2 of the Plan or in any order entered in the Cases before the Effective Date (including
the Confirmation Order), the Reorganized Debtors after the Effective Date will have and retain
any and all rights and defenses held by the Debtors with respect to any Claim as of the Petition

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Date. This section shall not be applicable to the 2016 Bond Trustee or the beneficial holders of the
2016 Bonds.

         3.     Distributions After Allowance. As soon as practicable following the date that the
order or judgment of the Bankruptcy Court allowing any Disputed Claim becomes a Final Order,
the Debtors shall provide to the holder of such Claim the distribution (if any) to which such holder
is entitled under the Plan, without any interest to be paid on account of such Claim.

        4.     Estimation of Claims. The Debtors (before the Effective Date) or the Reorganized
Debtors (on or after the Effective Date) may, at any time, and from time to time, request that the
Bankruptcy Court estimate any Disputed Claim pursuant to section 502(c) of the Bankruptcy Code
regardless of whether an objection was previously filed with the Bankruptcy Court with respect to
such Claim, or whether the Bankruptcy Court has ruled on any such objection, and the Bankruptcy
Court will retain jurisdiction to estimate any Claim at any time during litigation concerning any
objection to any Claim, including during the pendency of any appeal relating to any such objection.
In the event that the Bankruptcy Court estimates any Disputed Claim, that estimated amount will
constitute either the Allowed amount of such Claim or a maximum limitation on such Claim
against any party or Entity, as determined by the Bankruptcy Court. If the estimated amount
constitutes a maximum limitation on such Claim, the Debtors or the Reorganized Debtors, as
applicable, may elect to pursue any supplemental proceedings to object to any ultimate distribution
on such Claim. All of the objection, estimation, settlement, and resolution procedures set forth in
the Plan are cumulative and not necessarily exclusive of one another. Claims may be estimated
and subsequently compromised, objected to, settled, withdrawn, or resolved by any mechanism
approved by the Bankruptcy Court.

       J.       Conditions Precedent to the Effective Date.

        1.     Conditions Precedent to the Effective Date. It shall be a condition precedent to the
Effective Date that each of the following provisions, terms, and conditions shall have been satisfied
or waived pursuant to the provisions of the Plan.

       a.      The Bankruptcy Court shall have entered the Confirmation Order containing
findings of fact and conclusions of law satisfactory to the Debtors and the 2016 Bond Trustee,
which Confirmation Order shall not be subject to any stay and shall be a Final Order, and which
Confirmation Order shall include or provide, among other things:

               (i) a finding by the Bankruptcy Court that the 2021 Bonds to be issued on the
Effective Date will be authorized and exempt from taxation under the applicable securities law,
pursuant to section 1145 of the Bankruptcy Code;

                (ii) all provisions, terms and conditions of the Plan and related documents are
approved; and

       b.     all Executory Contracts or Unexpired Leases assumed by the Debtors during the
Cases including under the Plan shall remain in full force and effect for the benefit of the
Reorganized Debtors or their assignee(s) notwithstanding any provision in such contract or lease

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(including those described in sections 365(b)(2) and (f) of the Bankruptcy Code) that prohibits
such assignment or transfer or that enables, permits, or requires termination of such contract or
lease;

      c.     The Bankruptcy Court shall have entered a Final Order approving the Disclosure
Statement as containing adequate information within the meaning of section 1125 of the
Bankruptcy Code;

       d.      The Issuer shall consent to the issuance of the 2021 Bonds;

       e.      The 2021 Bonds shall be issued by the Issuer;

       f.       In connection with issuance of the 2021 Bonds, the 2021 Bond Trustee shall have
received a satisfactory opinion of bond counsel that the interest on the 2021 Bonds will be excluded
from gross income for federal tax purposes;

       g.      The Trigger Date (as defined in the Entrance Fee Escrow Agreement) shall have
occurred;

       h.      The Plan and all Plan Supplement documents, including any amendments,
modifications, or supplements thereto, shall be in form and substance acceptable to the 2016 Bond
Trustee;

       i.      All payments and transfers to be made on the Effective Date shall be made or duly
provided for, and the Debtors or the Sponsor, as applicable, shall have sufficient Cash on such date
to make such payments;

       j.     All authorizations, consents, and regulatory approvals required, if any, in
connection with the consummation of the Plan shall have been obtained; and

        k.     All other actions, documents and agreements necessary to implement the Plan shall
be in form and substance acceptable to the 2016 Bond Trustee and shall have been effected or
executed; and the Effective Date shall be on or before April 5, 2021.

        2.      Waiver of Conditions. The conditions to the Effective Date set forth in the Plan
may be waived at any time by the Debtors (except for: (i) the Confirmation Order being satisfactory
to the 2016 Bond Trustee, (ii) the issuance of the 2021 Bonds, (iii) the bond counsel opinion
referred to in Section VII(J)(1)(f) above, (iv) the condition that the aforementioned documents and
orders be reasonably acceptable to the 2016 Bond Trustee, and (v) the Effective Date shall be on
or before April 5, 2021; provided, however, that the Debtors may not waive entry of an order or
orders approving the Disclosure Statement and confirming the Plan.

        3.       Effect of Failure of Conditions. If the Effective Date does not occur, the Plan shall
be null and void in all respects and nothing contained in the Plan or the Disclosure Statement shall:
(i) constitute a waiver or release of any claims by or Claims against the Debtors; (ii) prejudice in
any manner the rights of the Debtors, any holders of Claims, or any other Entity; or (iii) constitute

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an admission, acknowledgment, offer, or undertaking by the Debtors, any holders, or any other
Entity in any respect.


        K.      Modification, Revocation or Withdrawal of the Plan.

         1.       Modification and Amendments. Except as otherwise specifically provided in
section 10.1 of the Plan, the Debtors reserve the right to modify the Plan as to material terms and
seek confirmation consistent with the Bankruptcy Code and, as appropriate, not re-solicit votes on
such modified Plan. Subject to certain restrictions and requirements set forth in section 1127 of
the Bankruptcy Code and Bankruptcy Rule 3019 and those restrictions on modifications set forth
in the Plan, the Debtors expressly reserve their right to alter, amend, or modify materially the Plan
one or more times, after confirmation, and, to the extent necessary, may initiate proceedings in the
Bankruptcy Court to so alter, amend, or modify the Plan or remedy any defect or omission, or
reconcile any inconsistencies in the Plan, the Disclosure Statement, or the Confirmation Order, in
such matters as may be necessary to carry out the purposes and intent of the Plan, provided,
however, that, except with the prior written consent of each of the 2016 Bond Trustee and the
Consenting Holders, the Debtors may not alter, amend, or modify the Plan in any manner that: (i)
alters or affects the rights or interests of the 2016 Bond Trustee or the holders of the 2016 Bonds,
(ii) alters or affects the treatment of the 2016A/B Bond Claims or the 2016C Bond Claims under
the Plan, (iii) alters or affects the terms or characteristics of the 2016 Bonds as set forth in the Plan
prior to such alteration, amendment, or modification, or (iv) is inconsistent with the terms of the
Plan Support Agreement. Any such modification or supplement shall be considered a modification
of the Plan and shall be made in accordance with the Plan. For the avoidance of doubt, nothing in
this Section shall be deemed to supplant or supersede the requirements of Bankruptcy Rule 3019.

       2.       Effect of Confirmation on Modifications. Entry of the Confirmation Order shall
mean that all modifications or amendments to the Plan occurring after the solicitation thereof are
approved pursuant to section 1127(a) of the Bankruptcy Code and do not require additional
disclosure or re-solicitation under Bankruptcy Rule 3019.

        3.      Revocation or Withdrawal of the Plan. The Debtors reserve the right to, consistent
with their fiduciary duties, revoke or withdraw the Plan before the Effective Date. If the Debtors
revoke or withdraws the Plan, or if confirmation does not occur, then: (i) the Plan shall be null and
void in all respects, (ii) any settlement or compromise embodied in the Plan (including the fixing
or limiting to an amount certain of any Claim or Interest or Class of Claims or Interests),
assumption or rejection of any Executory Contract or Unexpired Lease effected by the Plan, and
any document or agreement executed pursuant to the Plan, shall be deemed null and void, and (iii)
nothing contained in the Plan shall: (a) constitute a waiver or release of any Claims or Interests;
(b) prejudice in any manner the rights of the Debtors or any other Entity; or (c) constitute an
admission, acknowledgement, offer or undertaking of any sort by the Debtors or any other Entity.




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       L. Retention of Jurisdiction,

        Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective
Date, on and after the Effective Date, the Bankruptcy Court shall retain jurisdiction over the Cases
and all matters arising out of or related to the Cases and the Plan, including jurisdiction to:

       a.      allow, disallow, determine, liquidate, classify, estimate, or establish the priority,
secured or unsecured status, or amount of any Claim or Interest, including the resolution of any
request for payment of any Administrative Claim and the resolution of any and all objections to
the secured or unsecured status, priority, amount, or allowance of Claims;

       b.      decide and resolve all matters related to the granting and denying, in whole or in
part, of any applications for allowance of compensation or reimbursement of expenses to
Professionals authorized pursuant to the Bankruptcy Code or the Plan;

         c.     resolve any matters related to: (i) the assumption, assumption and assignment, or
rejection of any Executory Contract or Unexpired Lease to which the Debtors are parties or with
respect to which the Debtors may be liable in any manner and to hear, determine, and, if necessary,
liquidate any Claims arising therefrom, including rejection Claims, cure Claims pursuant to section
365 of the Bankruptcy Code, or any other matter related to such Executory Contract or Unexpired
Lease, (ii) any potential contractual obligation under any Executory Contract or Unexpired Lease
that is assumed, (iii) the Reorganized Debtors amending, modifying, or supplementing, after the
Effective Date, any Executory Contracts or Unexpired Leases on the list of Executory Contracts
and Unexpired Leases to be assumed or rejected, and (iv) any dispute regarding whether a contract
or lease is or was executory or unexpired;

        d.     ensure that distributions to holders of Allowed Claims are accomplished pursuant
to the provisions of the Plan;

        e.      adjudicate, decide, or resolve any motions, adversary proceedings, contested or
litigated matters, and any other matters, and grant or deny any applications involving the Debtors
that may be pending on the Effective Date;

       f.      adjudicate, decide, or resolve any and all matters related to any Cause of Action;

      g.     adjudicate, decide, or resolve any and all matters related to section 1141 of the
Bankruptcy Code;

       h.      enter and enforce any order for the sale of property pursuant to sections 363, 1123,
or 1146(a) of the Bankruptcy Code;

       i.     resolve any avoidance or recovery actions under sections 105, 502(d), 542 through
551, and 553 of the Bankruptcy Code;




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       j.     resolve any cases, controversies, suits, disputes, or Causes of Action that may arise
in connection with the consummation of the Plan or any Entities’ obligations incurred in
connection with the Plan (exclusive of the obligations arising under the 2016 Bonds);

       k.     issue injunctions, enter and implement other orders, or take such other actions as
may be necessary or appropriate to restrain interference by any Entity with consummation or
enforcement of the Plan;

        l.      resolve any cases, controversies, suits, disputes, or Causes of Action with respect
to the discharge, releases, injunctions, exculpations, indemnifications, and other provisions
contained in the Plan and enter such orders as may be necessary or appropriate to implement such
releases, injunctions, and other provisions;

       m.      enter and implement such orders as are necessary or appropriate if the Confirmation
Order is for any reason modified, stayed, reversed, revoked, or vacated;

        n.     adjudicate any and all disputes arising from or relating to distributions under the
Plan;

       o.      consider any modifications of the Plan, cure any defect or omission, or reconcile
any inconsistency in any Bankruptcy Court order, including the Confirmation Order;

        p.    determine requests for the payment of Claims entitled to priority pursuant to section
507 of the Bankruptcy Code;

       q.    hear and determine disputes arising in connection with the interpretation,
implementation, or enforcement of the Plan or the Confirmation Order, including disputes arising
under agreements, documents, or instruments executed in connection with the Plan (exclusive of
those documents relating to the 2021 Bonds);

       r.      hear and determine matters concerning state, local, and federal taxes in accordance
with sections 346, 505, and 1146 of the Bankruptcy Code;

        s.     hear and determine all disputes involving the existence, nature, or scope of the
Debtors’ discharge, including any dispute relating to any liability arising out of the termination of
employment or the termination of any employee or retiree benefit program, regardless of whether
such termination occurred before or after the Effective Date;

        t.     enforce all orders previously entered by the Bankruptcy Court;

        u.     hear any other matter not inconsistent with the Bankruptcy Code; and

        v.     enter an order concluding or closing the Cases.




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       M.      Miscellaneous Provisions.

        1.       Immediate Binding Effect. Notwithstanding Bankruptcy Rules 3020(e),
6004(h), or 7062 or any other Bankruptcy Rule, upon the occurrence of the Effective Date, the
terms of the Plan and the Plan Supplement shall be immediately effective and enforceable and
deemed binding upon the Debtors, the Reorganized Debtors, and any and all holders of Claims or
Interests (irrespective of whether such holders of Claims or Interests are deemed to have accepted
the Plan), all Entities that are parties to or are subject to the settlements, compromises, releases,
exculpation, discharges, and injunctions described in the Plan, each Entity acquiring property
under the Plan, and any and all non-Debtor parties to Executory Contracts and Unexpired Leases
with the Debtors.

        2.     Additional Documents. On or before the Effective Date, the Debtors may file with
the Bankruptcy Court such agreements and other documents as may be necessary or appropriate
to effectuate and further evidence the terms and conditions of the Plan, subject to the consent of
the 2016 Bond Trustee. The Debtors or the Reorganized Debtors, as applicable, and all holders of
Claims receiving distributions pursuant to the Plan and all other parties in interest shall, from time
to time, prepare, execute, and deliver any agreements or documents and take any other actions as
may be necessary or advisable to effectuate the provisions and intent of the Plan.

        3.     Reservation of Rights. Except as expressly set forth in the Plan, the Plan shall have
no force or effect unless the Bankruptcy Court shall enter the Confirmation Order. None of the
Plan, any statement or provision contained in the Plan, or any action taken or not taken by the
Debtors or other Entity with respect to the Plan, the Disclosure Statement, or the Plan Supplement
shall be or shall be deemed to be an admission or waiver of any rights of the Debtors or other
Entity with respect to the holders of Claims or Interests before the Effective Date.

        4.      Successors and Assigns. The rights, benefits, and obligations of any Entity named
or referred to in the Plan shall be binding on, and shall inure to the benefit of, any heir, executor,
administrator, successor or assign, affiliate, officer, director, manager, agent, representative,
attorney, beneficiary, or guardian, if any, of such Entity.

         5.      Votes Solicited in Good Faith. Upon entry of the Confirmation Order, the Debtors
will be deemed to have solicited votes on the Plan in good faith and in compliance with the
Bankruptcy Code and any applicable non-bankruptcy law, and pursuant to section 1125(e) of the
Bankruptcy Code, the Debtors and their respective affiliates, agents, representatives, members,
principals, shareholders, officers, directors, employees, advisors, and attorneys will be deemed to
have participated in good faith and in compliance with the Bankruptcy Code in the offer, issuance,
sale, and purchase of securities offered and sold under the Plan, and, therefore, will have no
liability for the violation of any applicable law, rule, or regulation governing the solicitation of
votes on the Plan or the offer, issuance, sale, or purchase of the 2016 Bonds offered under the Plan.

       6.      Closing of Cases. The Debtors or the Reorganized Debtors shall, promptly after the
full administration of the Cases, file with the Bankruptcy Court all documents required by
Bankruptcy Rule 3022 and any applicable order of the Bankruptcy Court to close the Cases.


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VIII. STATUTORY REQUIREMENTS FOR CONFIRMATION OF THE PLAN OF
       REORGANIZATION

       In order to become effective, the Plan must be approved by the Bankruptcy Court after a
confirmation hearing.

       A.       Elements of Confirmation.

        In order for the Plan to be confirmed, the Bankruptcy Code requires the Bankruptcy Court
to determine that the Plan complies with the technical requirements of chapter 11 of the
Bankruptcy Code. Among other things, the Bankruptcy Code requires that: (i) the Plan be in the
“best interests” of Creditors under section 1129(a)(7) of the Bankruptcy Code (that is, impaired
Creditors will receive at least as much under the Plan as they would receive in a hypothetical
liquidation case under chapter 7 of the Bankruptcy Code); (ii) the Plan be feasible (that is, there is
a reasonable probability that the Debtors will be able to perform its obligations under the Plan
without needing further financial reorganization not contemplated by the Plan); and (iii) the Plan
be accepted by a sufficient number of Classes.

       B.      Best Interests of Creditors.

        With respect to each impaired Class of Claims, confirmation of the Plan requires that each
holder of a Claim either (i) accept the Plan or (ii) receive or retain under the Plan property of a
value, as of the Effective Date, that is not less than the value such holder would receive or retain
if the Debtors were liquidated under chapter 7 of the Bankruptcy Code. To calculate the probable
distribution to holders of each impaired Class of Claims if the Debtors were liquidated under
chapter 7, the Bankruptcy Court must first determine the aggregate dollar amount that would be
generated from the Debtors’ assets if the Cases were converted to a case under chapter 7 of the
Bankruptcy Code. This “liquidation value” would consist primarily of the proceeds from a forced
sale of the Debtors’ assets by a chapter 7 trustee.

         The amount of liquidation value available to unsecured creditors would be reduced by,
first, the claims of secured creditors to the extent of the value of their collateral, and, second, by
the costs and expenses of liquidation, as well as by other administrative expenses and costs of both
a chapter 7 liquidation and the Cases. Costs of liquidation under chapter 7 of the Bankruptcy Code
would include the compensation of a trustee, as well as of counsel and other professionals retained
by the 2016 Bond Trustee; asset disposition expenses; all unpaid expenses incurred by the Debtors
in their Cases (such as compensation of attorneys, financial advisors, and accountants) that are
allowed in the chapter 7 case; litigation costs; and claims arising from the operations of the Debtors
during the pendency of the Cases. The liquidation itself could trigger certain Tax and Other Priority
Claims (collectively, “Priority Claims”). Those Priority Claims would be paid in full from the
liquidation proceeds before the balance would be made available to pay General Unsecured
Claims. The liquidation would also prompt the rejection of most, if not all, of the Debtors’
Executory Contracts and Unexpired Leases, thereby creating a significant increase in General
Unsecured Claims.




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        The Debtors believe that the Plan meets the “best interests of creditors” test of section
1129(a)(7) of the Bankruptcy Code. The Debtors believe that the members of impaired Classes 2,
3 and 5 will receive as much or more under the Plan as they would receive in a liquidation. The
liquidation analysis (the “Liquidation Analysis”) for a potential chapter 7 liquidation scenario is
attached hereto as Exhibit 5.

       C.      Feasibility of the Plan.

        The Bankruptcy Code requires the Bankruptcy Court to determine that confirmation of the
Plan is not likely to be followed by liquidation or the need for further financial reorganization of
the Debtors. For purposes of showing that the Plan meets this feasibility requirement, the Debtors
have analyzed the ability of the Reorganized Debtors to: (i) meet their obligations under the Plan;
and (ii) retain sufficient liquidity and capital resources to conduct their business.

       The Debtors believe that they will be able to support the financial projections set forth in
Exhibit 6 to this Disclosure Statement (the “Projections”). Holders of Claims against the Debtors
are advised, however, that the Projections were not prepared with a view toward compliance with
the published guidelines of the American Institute of Certified Public Accountants or any other
regulatory or professional agency or body or generally accepted accounting principles.

        In addition to the assumptions footnoted in the Projections themselves, the Projections also
assume that: (i) the Plan will be confirmed and consummated in accordance with its terms, (ii)
there will be no material adverse change in legislation or regulations, or the administration thereof,
that will have an unexpected effect on the operations of the Reorganized Debtors, (iii) there will
be no change in United States generally accepted accounting principles that will have a material
effect on the reported financial results of the Reorganized Debtors, (iv) there will be no material
contingent or unliquidated litigation or indemnity claims applicable to the Reorganized Debtors;
and (v) the coronavirus pandemic will not have a significant impact on the health of the Residents
at Park Place or the financial viability of Park Place in general. To the extent the assumptions
inherent in the Projections are based upon future business decisions and objectives, they are subject
to change. In addition, although they are presented with numerical specificity and considered
reasonable by the Debtors when taken as a whole, the assumptions and estimates underlying the
Projections are subject to significant business, economic, and competitive uncertainties and
contingencies, many of which will be beyond the control of the Reorganized Debtors.

        Accordingly, the Projections are only estimates and are necessarily speculative in nature.
It can be expected that some or all of the assumptions in the Projections will not be realized, and
that actual results will vary from the Projections, which variations may be material and are likely
to increase over time. The Projections should therefore not be regarded as a representation by the
Debtors or any other Entity that the results set forth in the Projections will be achieved. In light of
the foregoing, readers are cautioned not to place undue reliance on the Projections.

        The Debtors do not intend to update or otherwise revise the Projections, including any
revisions to reflect events or circumstances existing or arising after the date of this Disclosure
Statement or to reflect the occurrence of unanticipated events, even if any or all of the underlying
assumptions do not come to fruition. Furthermore, the Debtors do not intend to update or revise

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the Projections to reflect changes in general economic or industry conditions. Whether actual
results will conform to the Projections is subject to a number of risks and uncertainties, including:
the Debtors’ ability to improve profitability and generate positive operating cash flow; the Debtors’
ability to sustain sales increases; the Debtors’ ability to increase capital expenditures in the future;
the Debtors’ ability to implement effective pricing and promotional programs; the Debtors’ ability
to successfully implement effective business continuity; changes in federal, state, or local laws or
regulations; general economic conditions in the Debtors’ operating region; stability of product
costs; increases in labor and employee benefit costs, such as health care and pension expenses; or
changes in accounting standards and taxation requirements.




       D.      Sufficient Acceptances.

        Under section 1129(a) of the Bankruptcy Code, a plan of reorganization may be confirmed
only if all impaired classes of claims accept the plan. Section 1129(b) of the Bankruptcy Code
provides that a plan of reorganization may be confirmed even if such plan is not accepted by all
impaired classes, as long as at least one impaired class of claims has accepted the plan and a
number of other requirements have been met. These additional requirements under section 1129(b)
include (i) the requirement that the plan “not discriminate unfairly” and (ii) the requirement that
the plan be “fair and equitable” with respect to each impaired class that has not accepted the plan.

        Generally, a plan does not discriminate unfairly with respect to a dissenting class if the
dissenting class does not receive treatment less favorable than the treatment afforded to other
classes of equal rank. The Debtors believe that the classification of Claims under the Plan does not
discriminate unfairly against any Class.

         In order for a plan to be “fair and equitable” with respect to a class of secured claims, the
plan must provide: (i) that the holders of such claims shall retain the liens securing their claims to
the extent of the allowed amount of such claims, and must further provide (ii) either (a) that each
holder of a claim of such class shall receive on account of its claim deferred cash payments totaling
at least the allowed amount of its claim, of a value, as of the effective date of the plan, of at least
the value of such holder’s interest in the estate’s interest in the property securing the holder’s
claim, or (b) for the realization by such holders of the “indubitable equivalent” of their claims. In
order for a plan to be “fair and equitable” with respect to a class of unsecured claims, the plan must
provide (i) for each holder of a claim in that class to receive or retain on account of that claim
property that has a value, as of the Effective date of the plan, equal to the allowed amount of such
claim; or (ii) that the holder of any claim or interest that is junior to the claims of such class will
not receive or retain any property on account of such junior claim or interest. The Debtors believe
that the Plan is fair and equitable with respect to all impaired Classes under the plan.

IX.    EFFECTS OF PLAN CONFIRMATION

       A confirmed plan leaves the holders of Claims with new rights as set forth in the confirmed
plan. Therefore, in the event of a default after confirmation, a holder of a Claim may pursue its

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remedies under the Plan. Some rights may remain with holders of Claims after the provisions of
the confirmed Plan (and the applicable documents evidencing obligations issued in connection
with the Plan) have been carried out. The automatic stay imposed by section 362(a) of the
Bankruptcy Code as to actions against the Debtors and the Debtors’ assets will remain in effect
until the Effective Date. Thereafter, all parties in interest will be enjoined from taking any action
inconsistent with the Plan.

      A.      Compromise and Settlement of Claims, Interests, and Controversies.

        Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019 and in
consideration for the distributions and other benefits provided pursuant to the Plan, the provisions
of the Plan shall constitute a good faith compromise of all Claims, Interests, and controversies
relating to the contractual, legal, and subordination rights that a holder of a Claim or Interest may
have with respect to any Allowed Claim or Interest, or any distribution to be made on account of
such Allowed Claim or Interest. The entry of the Confirmation Order shall constitute the
Bankruptcy Court’s approval of the compromise or settlement of all such Claims, Interests, and
controversies, as well as a finding by the Bankruptcy Court that such compromise or settlement is
in the best interests of the Debtors, their Estates, and holders of Claims and Interests and is fair,
equitable, and reasonable. In accordance with the provisions of the Plan, pursuant to section 363
of the Bankruptcy Code and Bankruptcy Rule 9019(a), without any further notice to, action by, or
order or approval of the Bankruptcy Court. Upon and after the Effective Date, the Reorganized
Debtors may compromise and settle Claims against them and Causes of Action against other
Entities.

       B.      Releases by the Debtors.

        1.1      Pursuant to section 1123(b) of the Bankruptcy Code, and except as specifically
provided in the Plan, for good and valuable consideration, on and after the Effective Date, each
Debtor Released Party is deemed released by the Debtors, the Estates, and the Reorganized
Debtors from any and all claims, obligations, rights, suits, damages, Causes of Action, remedies,
and liabilities whatsoever, including any derivative claims, asserted or assertible by behalf of the
Debtors or the Reorganized Debtors, as applicable, whether known or unknown, foreseen or
unforeseen, existing or hereinafter arising, in law, equity, or otherwise, that the Debtors, the
Estates, or the Reorganized Debtors would have been legally entitled to assert in their own right
(whether individually or collectively), by or on behalf of the Holder of any Claim or Interest or
other entity, based on or related to, or in any manner arising from, in whole or in part, the Debtors,
the 2016 Bond Documents, the Cases, the purchase, sale, or rescission of the purchase or sale of
any security of the Debtors or the Reorganized Debtors, the subject matter of, or the transactions
or events giving rise to, any Claim or Interest that is treated in the Plan, the business or contractual
arrangements between any Debtor and any Released Party, the restructuring of Claims and
Interests prior to or in the Cases, the negotiation, formulation, or preparation of the any agreement
or other document formalizing the transactions contemplated by the Plan, or related agreements,
instruments, or other documents (including, for the avoidance of doubt, providing any legal
opinion requested by any entity regarding any transaction, contract, instrument, document, or other
agreement contemplated by the Plan or the reliance by any Released Party on the Plan or the
Confirmation Order in lieu of such legal opinion), upon any other act or omission, transaction,

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agreement, event, or other occurrence taking place on or before the Effective Date, other than
claims or liabilities arising out of or relating to any act or omission of a Released Party that
constitutes actual fraud, willful misconduct, or gross negligence or any breach of the Plan Support
Agreement by a Released Party The Plan defines the term “Debtor Released Parties” to mean (i)
each member of the Debtors; (ii) each Consenting Holder in any capacity, (iii) the Issuer, (iv) the
2016 Bond Trustee in any capacity, (v) the 2016 Master Trustee in any capacity, (vi) the 2021
Bond Trustee in any capacity, (vii) the 2021 Master Trustee in any capacity, and (viii) the current
and former affiliates, subsidiaries, officers, directors, members, managers, principals, employees,
agents, attorneys, financial advisors, accountants, investment bankers, consultants,
representatives, and other professionals, each in their respective capacities as such, of each of the
parties described in clauses (i) through (vii).


       C.      Limited Releases by Holders of Claims.

As of the Effective Date and except as set forth in the Plan (including but not limited to all
obligations of the Debtors and Reorganized Debtors under the Plan which shall not be deemed
released), each holder of a Claim or Interest (including Bondholders) shall be deemed to have
conclusively, absolutely, unconditionally, irrevocably and forever, released and discharged the
Released Parties from any and all Claims, Interests, obligations, rights, suits, damages, Causes of
Action, remedies and liabilities whatsoever, including any derivative Claims assertible on behalf
of the Debtors, whether known or unknown, foreseen or unforeseen, existing or hereafter arising,
in law, equity or otherwise, that such Person would have been legally entitled to assert (whether
individually or collectively), based on or relating to, or in any manner arising from, in whole or in
part, the preparation, negotiation, Court approval or confirmation of the Plan, the Disclosure
Statement or related agreements, documents or instruments, or the filing of any motion or
document (or the failure to take action) in the Debtor’s Cases (collectively, “Released Claims”),
provided, however, the Released Claims shall not include any Claim (i) which arises out of or
relates to any Executory Contract which is assumed by the Debtor through the Plan, including all
Residency Agreements which are assumed by the Debtor through the Plan; (ii) which arises out of
or relates to any act or omission of that party constituting willful misconduct or gross negligence;
or any Claim that arises from facts and circumstances other than those which are specifically
enumerated above in this section of the Plan, or (iii) which relates to the Sponsor’s ownership
interest or involvement in any facilities other than the Debtor. Further, nothing contained in the
Plan or this Disclosure Statement, or any other document filed in connection with such documents,
shall release or be deemed to release the Released Parties from any Cause of Action held by a
governmental entity existing as of the Effective Date based on any law, rule or regulation related
to the Center for Medicare Services or the Department of Health and Human Services with respect
to Medicare reimbursement or recoupment of amounts paid by the Center for Medicare Services
which may be subject to a recoupment claim of such agencies or entities made either before or
after the Effective Date.

        For purposes of the foregoing release, the term “Releasing Party” means each holder of a
Claim who has voted to accept the Plan and who has not chosen, by marking the appropriate box
on the Ballot, to opt out of the “Release by Holders of Claims and Interests” provided for in Section
8.3 of the Plan (and set forth above). The releases described above and set forth above in the Plan

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do not release any post-Effective Date obligations of any party under the Plan or any document,
instrument, or agreement (including those set forth in the Plan Supplement, including the 2021
Bond Documents) executed to implement the Plan, including, without limitation, any legal opinion
requested or required by an entity regarding any transaction, contract, instrument, document, or
other agreement contemplated by the Plan (inclusive of the tax opinion). The parties who will be
released pursuant to the Limited Release are those parties who are defined by Section 1.84 of the
Plan, as follows: each of the following: (i) the Debtors and their member or members, (ii) the
Reorganized Debtors and their member or members, (iii) each member of a Consenting Holder in
any capacity, (iv) the Issuer, (v) the 2016 Bond Trustee in any capacity, (vi) the 2016 Master
Trustee in any capacity, (vii) the 2021 Bond Trustee in any capacity, (viii) the 2021 Master Trustee
in any capacity, and (ix) the current and former affiliates, subsidiaries, officers, directors,
members, managers, principals, employees, agents, attorneys, financial advisors, accountants,
investment bankers, consultants, representatives, and other professionals, each in their respective
capacities as such, of each of the parties described in clauses (i) through (ix).

      D.       Exculpation.

        Except as otherwise specifically provided in the Plan, each Debtor, each Reorganized
Debtor, the Estates, and each Released Party is hereby released and exculpated from any claim,
obligation, Cause of Action, or liability for any Exculpated Claim, except to the extent such claim,
obligation, Cause of Action, or liability arises from actual fraud, willful misconduct, or gross
negligence or the breach of the Plan Support Agreement (notwithstanding advice of counsel), but
in all respect such entities shall be entitled to reasonably rely upon the advice of counsel with
respect to their duties and responsibilities pursuant to the Plan. The Debtors, the Reorganized
Debtors, the Estates, and the Released Parties have, and upon completing of the Plan shall be
deemed to have, participated in good faith and in compliance with applicable law with regard to
the restructuring of the Claims and Interests in the Cases and in connection with the transactions
contemplated by the Plan, the negotiation, formulation, or preparing any agreement or other
document formalizing the transactions contemplated by the Plan, or any related agreements,
instruments, or other documents (including the 2021 Bond Documents and documents and
instruments related thereto and any legal opinion requested by an entity regarding any transaction,
contract, instrument, document, or other agreement contemplated by the Plan or the reliance by
any Released Party on the Plan or the Confirmation Order in lieu of such legal opinion) in
connection with the Plan, and the solicitation and distribution of the Plan and, therefore, are not,
and on account of such distributions shall not be, liable at any time for the violation of any
applicable law, rule, or regulation governing the solicitation of acceptances or rejections of the
Plan or such distributions made pursuant to the Plan.

        “Exculpated Party” means each of: (i) the Debtors and their member or members, (ii) the
Reorganized Debtors and their member or members, (iii) each member of a Consenting Holder in
any capacity, (iv) the Issuer, (v) the 2016 Bond Trustee in any capacity; (vi) the 2016 Master
Trustee in any capacity; (vii) the 2021 Bond Trustee in any capacity, (viii) the 2021 Master Trustee
in any capacity, and (ix) the current and former officers, directors, members, managers, employees,
attorneys, and advisors, each in their respective capacities as such, of each of the foregoing.




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       E.      Discharge of Claims.

          Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise specifically
provided in the Bar Date Order, in the Plan, or in any contract, instrument, or other agreement or
document created pursuant to the Plan (including, but not limited to, the 2016 Bond Documents),
the distributions, rights, and treatment that are provided in the Plan shall be in full and final
satisfaction, settlement, release, and discharge, effective as of the Effective Date, of all Claims and
Causes of Action of any nature whatsoever, including any interest accrued on Claims from and
after the Petition Date, whether known or unknown, against liabilities of, Liens on, obligations of,
and rights against the Debtors or any of their assets or properties, regardless of whether any
property shall have been distributed or retained pursuant to the Plan on account of such Claims,
including demands, liabilities, and Causes of Action that arose before the Effective Date, any
contingent or non-contingent liability on account of representations or warranties issued on or
before the Effective Date, and all debts of the kind specified in sections 502(g), 502(h), or 502(i)
of the Bankruptcy Code, in each case whether or not: (i) a Proof of Claim based upon such Claim,
debt, or right is filed or deemed filed pursuant to section 501 of the Bankruptcy Code; (ii) a Claim
based upon such Claim, debt, or right is Allowed pursuant to section 502 of the Bankruptcy Code;
or (iii) the holder of such a Claim has accepted the Plan. Except as otherwise provided herein, any
default by the Debtors with respect to any Claim that existed before or on account of the filing of
the Cases shall be deemed cured on the Effective Date. The Confirmation Order shall be a judicial
determination of the discharge of all Claims subject to the Effective Date occurring, except as
otherwise expressly provided in the Plan.

       F.      Injunction.

     FROM AND AFTER THE EFFECTIVE DATE, ALL ENTITIES ARE PERMANENTLY
ENJOINED FROM COMMENCING OR CONTINUING IN ANY MANNER, ANY SUIT,
ACTION, OR OTHER PROCEEDING, ON ACCOUNT OF OR RESPECTING ANY CLAIM,
DEMAND, LIABILITY, OBLIGATION, DEBT, RIGHT, CAUSE OF ACTION, INTEREST,
OR REMEDY RELEASED OR TO BE RELEASED PURSUANT TO THE PLAN OR THE
CONFIRMATION ORDER.

     FROM AND AFTER THE EFFECTIVE DATE, TO THE EXTENT OF THE RELEASES
AND EXCULPATION GRANTED IN THE PLAN, ALL RELEASING PARTIES SHALL BE
PERMANENTLY ENJOINED FROM COMMENCING OR CONTINUING IN ANY MANNER
AGAINST THE RELEASED PARTIES AND THE EXCULPATED PARTIES AND THEIR
ASSETS AND PROPERTIES, AS THE CASE MAY BE, ANY SUIT, ACTION, OR OTHER
PROCEEDING ON ACCOUNT OF, IN CONNECTION WITH, OR WITH RESPECT TO ANY
CLAIM, DEMAND, LIABILITY, OBLIGATION, DEBT, RIGHT, CAUSE OF ACTION,
INTEREST, OR REMEDY RELEASED OR TO BE RELEASED PURSUANT TO THE PLAN.

     EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THE PLAN, THE PLAN
SUPPLEMENT, OR RELATED DOCUMENTS, OR FOR OBLIGATIONS ISSUED
PURSUANT TO THE PLAN (INCLUDING, BUT NOT LIMITED TO, THE OBLIGATIONS
RELATING TO THE 2021 BONDS), ALL ENTITIES WHO HAVE HELD, HOLD, OR MAY
HOLD CLAIMS OR INTERESTS THAT HAVE BEEN RELEASED, DISCHARGED, OR ARE

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SUBJECT TO EXCULPATION, ARE PERMANENTLY ENJOINED, FROM AND AFTER
THE EFFECTIVE DATE, FROM TAKING ANY OF THE FOLLOWING ACTIONS: (I)
COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION OR OTHER
PROCEEDING OF ANY KIND ON ACCOUNT OF, IN CONNECTION WITH, OR WITH
RESPECT TO ANY SUCH CLAIMS OR INTERESTS; (II) ENFORCING, ATTACHING,
COLLECTING, OR RECOVERING BY ANY MANNER OR MEANS ANY JUDGMENT,
AWARD, DECREE, OR ORDER AGAINST SUCH ENTITIES ON ACCOUNT OF, IN
CONNECTION WITH, OR WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS; (III)
CREATING, PERFECTING, OR ENFORCING ANY ENCUMBRANCE OF ANY KIND
AGAINST SUCH ENTITIES OR THE PROPERTY OR ESTATE OF SUCH ENTITIES ON
ACCOUNT OF, IN CONNECTION WITH, OR WITH RESPECT TO ANY SUCH CLAIMS OR
INTERESTS; AND (IV) COMMENCING OR CONTINUING IN ANY MANNER ANY
ACTION OR OTHER PROCEEDING OF ANY KIND ON ACCOUNT OF, IN CONNECTION
WITH, OR WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS RELEASED,
SETTLED, OR DISCHARGED PURSUANT TO THE PLAN.

     THE RIGHTS AFFORDED IN THE PLAN AND THE TREATMENT OF ALL CLAIMS
AND INTERESTS HEREIN SHALL BE IN EXCHANGE FOR AND IN COMPLETE
SATISFACTION OF ALL CLAIMS AND INTERESTS OF ANY NATURE WHATSOEVER,
INCLUDING ANY INTEREST ACCRUED ON CLAIMS FROM AND AFTER THE PETITION
DATE, AGAINST THE DEBTORS OR ANY OF THEIR ASSETS, PROPERTY, OR ESTATES.
ON THE EFFECTIVE DATE, ALL SUCH CLAIMS AGAINST THE DEBTORS SHALL BE
FULLY RELEASED AND DISCHARGED, AND THE INTERESTS SHALL BE CANCELLED
(EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THE PLAN).

      EXCEPT AS OTHERWISE EXPRESSLY PROVIDED FOR IN THE PLAN OR IN
OBLIGATIONS ISSUED PURSUANT TO THE PLAN (INCLUDING, BUT NOT LIMITED
TO, THE OBLIGATIONS RELATING TO THE 2016 BONDS) FROM AND AFTER THE
EFFECTIVE DATE, ALL CLAIMS AGAINST THE DEBTORS SHALL BE FULLY
RELEASED AND DISCHARGED, AND ALL INTERESTS, APART FROM THE INTERESTS
OF THE SPONSOR IN THE DEBTORS, SHALL BE CANCELLED, AND THE DEBTORS’
LIABILITY WITH RESPECT THERETO SHALL BE EXTINGUISHED COMPLETELY,
INCLUDING ANY LIABILITY OF THE KIND SPECIFIED UNDER SECTION 502(g) OF THE
BANKRUPTCY CODE.

     ALL ENTITIES SHALL BE PRECLUDED FROM ASSERTING AGAINST THE
DEBTORS, THE DEBTORS’ ESTATES, THE REORGANIZED DEBTORS, EACH OF THEIR
RESPECTIVE SUCCESSORS AND ASSIGNS, AND EACH OF THEIR ASSETS AND
PROPERTIES, ANY OTHER CLAIMS OR INTERESTS BASED UPON ANY DOCUMENTS,
INSTRUMENTS, OR ANY ACT OR OMISSION, TRANSACTION, OR OTHER ACTIVITY
OF ANY KIND OR NATURE THAT OCCURRED BEFORE THE EFFECTIVE DATE.

       G.      Term of Injunctions or Stays.

        Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays
in effect in the Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the

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Bankruptcy Court, and extant on the Confirmation Date (excluding any injunctions or stays
contained in the Plan or the Confirmation Order) shall remain in full force and effect until the
Effective Date. Upon the Effective Date, all injunctions or stays contained in the Plan or the
Confirmation Order shall be in full force and effect in accordance with their terms.

       H.      Protection Against Discriminatory Treatment.

        Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the U.S.
Constitution, all Entities, including governmental units, shall not discriminate against the
Reorganized Debtors or deny, revoke, suspend, or refuse to renew a license, permit, charter,
franchise, or other similar grant to, condition such a grant to, or discriminate with respect to such
a grant against, the Reorganized Debtors or another Entity with whom the Reorganized Debtors
have been associated, solely because the Debtors have been a debtors under Chapter 11, have been
insolvent before the commencement of the Cases (or during the Cases but before such Debtors is
granted or denied a discharge), or have not paid a debt that is dischargeable in the Cases.

       I.      Release of Liens.

        Except as otherwise provided in the Plan, the 2021 Bond Documents, or in any contract,
instrument, release, or other agreement or document created pursuant to the Plan, on the Effective
Date and concurrently with the applicable distributions made pursuant to the Plan and, in the case
of a Secured Claim, satisfaction in full of the portion of the Secured Claim that is Allowed as of
the Effective Date, all mortgages, deeds of trust, Liens, pledges, or other security interests against
any property of the Estates shall be fully released and discharged, and all of the right, title, and
interest of any holder of such mortgages, deeds of trust, Liens, pledges, or other security interests
shall revert to the Reorganized Debtors and their successors and assigns. For the avoidance of
doubt, except as otherwise provided in the Plan (including the Plan Supplement, inclusive of the
2021 Bond Documents), all mortgages, deeds of trust, Liens, pledges, or other security interests
against any property of the Estates shall be fully released and discharged on the Effective Date
without any further action of any party, including, but not limited to, further order of the
Bankruptcy Court or filing updated schedules or statements typically filed pursuant to the Uniform
Commercial Code.

X.      RISK FACTORS

        Holders of Claims should read and consider carefully the risk factors set forth below before
voting to accept or reject the Plan. Although there are many risk factors, they should not be
regarded as constituting the only risks present in connection with the Debtors’ business or the Plan
and its implementation.

       A.      Classification of Claims and Interests.

       Section 1122 of the Bankruptcy Code provides that a plan may place a claim in a particular
class only if such claim is substantially similar to the other claims in such class. The Debtors
believe that the classification of Claims under the Plan complies with the requirements set forth in



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the Bankruptcy Code. Nevertheless, there can be no assurance that the Bankruptcy Court will reach
the same conclusion.

       B.      Insufficient Acceptances.

       If votes are received in number and amount sufficient to enable the Bankruptcy Court to
confirm the Plan under section 1129(a) of the Bankruptcy Code, the Debtors intend to seek, as
promptly as practicable thereafter, confirmation of the Plan.

        If votes are not received in number and amount sufficient to enable the Bankruptcy Court
to confirm the Plan under section 1129(a) of the Bankruptcy Code, the Debtors may nevertheless
seek confirmation of the Plan under section 1129(b) of the Bankruptcy Code, as explained above
in Article VIII. However, there can be no assurance that the Debtors will be able to utilize section
1129(b) of the Bankruptcy Code for confirmation of the Plan. Any modification of the Plan
necessary to effect a confirmation of the Plan pursuant to section 1129(b) may result in a different
treatment of Claims than that currently afforded in the Plan, which treatment, as to any Claim, may
be less favorable. Furthermore, distributions to holders of Claims may be delayed if the Debtors
must seek confirmation under section 1129(b) rather than under section 1129(a).

       C. Confirmation Risks.

        Even if the requisite acceptances are received, the Bankruptcy Court could still decline to
confirm the Plan if it found that any of the statutory requirements for confirmation had not been
met. If the Plan is not confirmed by the Bankruptcy Court: (i) the Debtors may not be able to
reorganize their business; (ii) the distributions that holders of Claims ultimately would receive, if
any, with respect to their Claims would likely decline substantially; and (iii) there is no assurance
that the Debtors would be able to successfully develop, prosecute, confirm, and consummate an
alternative plan that would be acceptable to the Bankruptcy Court and the holders of Claims. It is
also possible that third parties may seek and obtain approval from the Bankruptcy Court to
terminate or shorten the exclusivity period during which only the Debtors may propose and
confirm a plan of reorganization.

       D.      Conditions Precedent May Not Occur.

        As more fully set forth in the Plan and as described in Section VII(J) above, the Effective
Date is subject to a number of conditions precedent. If such conditions precedent are neither met
nor waived, the Effective Date will not take place.

        The conditions precedent to the Effective Date include that the 2021 Bonds be issued and
that all authorizations, consents, and regulatory approvals required in connection with the
consummation of the Plan be obtained. The issuance of the 2021 Bonds must be approved by the
Issuer. While the Debtors are currently seeking the necessary approvals for the issuance of the
2021 Bonds, there can be no assurance that such approvals will be obtained.

       The conditions precedent to the Effective Date also include that all payments and transfers
to be made on the Effective Date shall be made or duly provided for, and the Debtors and the

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Sponsor, as applicable, shall have sufficient Cash on such date to make such payments. Additional
costs could arise in connection with the transfers to take place on the Effective Date, including the
issuance of the 2016 Bonds that could materially impact the Debtors’ ability to satisfy this
condition precedent.

       E.      Uncertainty of Financial Projections.

        The Projections set forth on Exhibit 6 to this Disclosure Statement represent the Debtors’
best estimate of the Debtors’ future financial performance based on currently known facts and
assumptions about the Debtors’ future operations. The projections are consistent with the Debtor’s
recent financial performance, as shown in the Debtors’ unaudited financial statements for the
period ending October 31, 2020 which are attached hereto as Exhibit 7. The Debtors’ actual
financial results ay differ significantly from the Projections. As explained above, whether actual
results will conform to the Projections is subject to a number of risks and uncertainties, including
but not limited to: the Debtors’ ability to improve profitability and generate positive operating cash
flow; the Debtors’ ability to sustain sales increases; the Debtors’ ability to increase capital
expenditures in the future; the Debtors’ ability to implement effective pricing and promotional
programs; the Debtors’ ability to successfully implement effective business continuity; changes in
federal, state, or local laws or regulations; general economic conditions in the Debtors’ operating
region; stability of product costs; increases in labor and employee benefit costs, such as health care
and pension expenses; or changes in accounting standards and taxation requirements.

        If the Debtors do not achieve their projected financial results, the Debtors may lack
sufficient liquidity to continue operating as planned after the Effective Date. Moreover, the
financial condition and results of operations of the Reorganized Debtors from and after the
Effective Date may not be comparable to the financial condition or results of operations reflected
in the Debtors’ historical financial statements.

       F.      Adverse Publicity.

         Adverse publicity or news coverage relating to the Debtors, including publicity or news
coverage in connection with the Cases, may negatively impact the Debtors’ efforts to market their
facilities and services to Prospective Residents and, in turn, negatively impact the Debtors’ and
Reorganized Debtors’ financial performance.

       G.      Coronavirus

        The worldwide pandemic caused by the Coronavirus (or Covid-19) has created
uncertainties for every individual and entity, domestic and foreign. It is not possible to predict
what effect, if any, the pandemic might have on Park Place. However, as of the time of the filing
of this Disclosure Statement, the Coronavirus has not had a material effect on operations at Park
Place or the health and well-being of the Residents who live there.




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XI.    ALTERNATIVES TO CONFIRMATION AND CONSUMMATION OF THE
           PLAN

       A.      Liquidation Under Chapter 7.

         If no chapter 11 plan can be confirmed, the Cases may be converted to a case under chapter
7 of the Bankruptcy Code, in which a trustee would be elected or appointed to liquidate the assets
of the Debtors. The Debtors believe that liquidation under chapter 7 would result in smaller
distributions, if any, being made to Creditors than those provided for in the Plan because of the
additional administrative expenses involved in the appointment of a trustee and attorneys and other
professionals during such liquidation. Further, distributions in a case under chapter 7 would not
reflect the concessions agreed to by the Debtors’ bondholders under the Plan.

        The Debtors, with the assistance of their professionals, have prepared a Liquidation
Analysis, attached hereto as Exhibit 5. The Liquidation Analysis is based upon a hypothetical
liquidation in a Chapter 7 case. The Debtors have taken into account the nature, status, and
underlying value of their assets, the ultimate realizable value of their assets, and the extent to which
such assets are subject to liens and security interests.

        The likely form of any liquidation would be the sale of the Debtors’ assets. Based on this
analysis, it is likely that a chapter 7 liquidation of the Debtors’ assets would produce less value for
distribution to Creditors than that recoverable under the Plan. In the opinion of the Debtors, the
recoveries projected to be available in a chapter 7 liquidation are not likely to afford the holders
of Claims as great a realization potential as does the Plan.

       B.      Alternative Plan of Reorganization.

        If the Plan is not confirmed, the Debtors or any other party in interest could attempt to
formulate a different plan of reorganization. In the course of negotiating the Plan, the Debtors
explored various other alternatives and concluded that the Plan represented the best alternative to
protect the interests of Creditors, Park Place’s Residents, and other parties in interest. The Debtors
have not changed their conclusions.

XII.   CERTAIN FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

     A GENERAL DESCRIPTION OF CERTAIN U.S. FEDERAL INCOME TAX
CONSEQUENCES OF THE PLAN IS PROVIDED BELOW. NO RULING HAS BEEN
REQUESTED FROM THE INTERNAL REVENUE SERVICE (“IRS”), NO OPINION HAS
BEEN REQUESTED FROM THE DEBTORS’ COUNSEL CONCERNING ANY TAX
CONSEQUENCE OF THE PLAN, AND NO TAX OPINION IS GIVEN BY THIS
DISCLOSURE STATEMENT. THERE CAN BE NO ASSURANCE THAT THE IRS WILL
NOT CHALLENGE ANY OR ALL OF THE TAX CONSEQUENCES DESCRIBED BELOW,
OR THAT SUCH A CHALLENGE, IF ASSERTED, WOULD NOT BE SUSTAINED.

     THE FOLLOWING SUMMARY OF CERTAIN POTENTIAL U.S. FEDERAL INCOME
TAX CONSEQUENCES IS FOR INFORMATIONAL PURPOSES ONLY AND IS NOT A

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SUBSTITUTE FOR CAREFUL TAX PLANNING AND ADVICE BASED UPON THE
INDIVIDUAL CIRCUMSTANCES PERTAINING TO A HOLDER OF A CLAIM. ALL
HOLDERS OF CLAIMS ARE URGED TO CONSULT THEIR OWN TAX ADVISORS FOR
THE U.S. FEDERAL, STATE, LOCAL, ESTATE, GIFT, AND NON-U.S. TAX
CONSEQUENCES OF THE PLAN.

      THE OCCURRENCE OF THE EFFECTIVE DATE IS CONDITIONED ON THE 2021
BOND TRUSTEE RECEIVING AN OPINION OF A NATIONALLY RECOGNIZED BOND
COUNSEL, IN FORM AND SUBSTANCE REASONABLY ACCEPTABLE TO THE 2021
BOND TRUSTEE, THAT INTEREST ON THE 2021 BONDS IS EXCLUDABLE FROM THE
GROSS INCOME OF THE HOLDERS THEREOF FOR PURPOSES OF U.S. FEDERAL
INCOME TAXATION AND INCOME TAXATION UNDER THE LAWS OF THE STATE OF
ILLINOIS.

        The following discussion summarizes certain U.S. federal income tax consequences of the
Plan to certain holders of Claims. The following summary is based on the Tax Code, Treasury
Regulations (“Regulations”) promulgated thereunder, judicial decisions and published
administrative rules and pronouncements of the Internal Revenue Service as in effect on the date
hereof. Changes in such rules or new interpretations thereof may have retroactive effect and could
significantly affect the U.S. federal income tax consequences described below.

        This summary does not address the U.S. federal income tax consequences of the Plan to
taxpayers subject to special treatment under the Tax Code (including, but not limited to, Entities
who are related to the Debtors within the meaning of the Tax Code, foreign taxpayers, S
corporations, broker dealers, banks, mutual funds, insurance companies, financial institutions,
small business investment companies, regulated investment companies, tax-exempt organizations,
partnerships and other pass-through entities (and their beneficial holders), holders of Claims who
are themselves in bankruptcy, and agents). Accordingly, this summary should not be relied upon
for purposes of determining the specific tax consequences of the Plan with respect to a particular
holder of a Claim. Furthermore, this discussion assumes that a holder of a Claim only holds Claims
of a single Class. This summary assumes that the 2016 Bonds and the 2016 Bonds are treated as
“debt” for U.S. federal income tax purposes.

       This summary also assumes that each holder of a Claim is, for U.S. federal income tax
purposes:

      an individual who is a citizen or resident of the United States;

      a corporation, or other entity taxable as a corporation for U.S. federal income tax purposes,
       created or organized in or under the laws of the United States, any state thereof or the
       District of Columbia;

      an estate the income of which is subject to U.S. federal income taxation regardless of its
       source; or




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      a trust, if a court within the United States is able to exercise primary jurisdiction over its
       administration and one or more U.S. Entities have authority to control all of its substantial
       decisions, or if the trust has a valid election in effect under applicable Treasury regulations
       to be treated as a U.S. Entity.

THERE ARE MANY FACTORS THAT WILL DETERMINE THE TAX CONSEQUENCES TO
EACH BONDHOLDER. FURTHERMORE, THE TAX CONSEQUENCES OF THE PLAN ARE
COMPLEX AND IN SOME CASES UNCERTAIN. THEREFORE, IT IS IMPORTANT THAT
EACH BONDHOLDER OBTAIN HIS, HER, OR ITS OWN PROFESSIONAL TAX ADVICE
REGARDING THE TAX CONSEQUENCES TO SUCH BONDHOLDER OF THE PLAN.

       A.      U.S. Federal Income Tax Consequences to the Debtors.

        Generally, when a debtor discharges its debt obligation for an amount less than the adjusted
issue price of the debt obligation, the debtor must include such difference in its gross income as
cancellation of debt (“COD”) income. Due to their status as non-profit corporations that are exempt
from federal income tax pursuant to Section 501(a) of the Code, the Debtors do not expect that the
Plan will result in any significant federal income tax consequences to the Debtors.

        Although the Debtors expect to maintain their exempt status, and Debtors do not believe
that any COD income triggered by the Plan would be treated as unrelated business taxable income
(“UBTI”), if exempt status were not maintained or the COD income were treated as UBTI, the
Plan, if approved, would most likely allow the Debtors to qualify for a bankruptcy exclusion rule
by which the Debtors would not recognize COD income if the discharge were granted by the
Bankruptcy Court or occurred pursuant to a plan of reorganization approved by the Bankruptcy
Court.

       B.      U.S. Federal Income Tax Consequences to Holders Under a Bond Exchange.

        In accordance with the Plan, and as described in more detail in this Disclosure Statement,
holders of 2016 Bonds will exchange such bonds for 2021 Bonds (each, a “Bond Exchange”). The
U.S. Federal income tax consequences to holders of 2016 Bonds arising from the Bond Exchange
may vary, depending upon, among other things: (a) whether the 2016 Bonds and 2021 Bonds
constitute securities; (b) whether the holder of 2016 Bonds or 2021 Bonds is a citizen or resident
of the United States for tax purposes, or subject to U.S. Federal income tax on a net income basis;
(c) whether the Bond Exchange qualifies as a recapitalization as described below; and (d) whether
the holder of 2016 Bonds reports income on the accrual or cash basis. For tax purposes, if gain or
loss is recognized by a holder of 2016 Bonds, the character of such gain or loss as long-term or
short-term capital gain or loss or as ordinary income or loss will be determined by a number of
factors, including the tax status of the holder, whether the 2016 Bonds constitute a capital asset in
the hands of the holder and how long the 2016 Bonds have been held or is treated as having been
held, whether the 2016 Bonds were acquired at a market discount, and whether and to what extent
the holder previously claimed a bad debt or worthless stock or securities deduction with respect to
the 2016 Bonds. A holder who purchased 2016 Bonds from a prior holder at a market discount
may be subject to the market discount rules of the Tax Code.



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         The Bond Exchange may qualify as a recapitalization in which the holders realize but do
not recognize gain or loss with respect to the 2016 Bonds. If the Bond Exchange qualifies as a
recapitalization, a holder’s tax basis in the 2016 Bonds would equal the holder’s basis in the 2021
Bonds. If the Bond Exchange does not qualify as a recapitalization, holders of 2016 Bonds may
be entitled to claim a loss for U.S. federal income tax purposes as a result of the Bond Exchange.
The amount of such loss generally would be determined as the excess of the holder’s adjusted basis
in its 2016 Bonds over the issue price (as determined under the Code) of the 2016 Bonds. Whether
a holder can take a loss at all, and the character of such loss and the holder’s ability to claim a
deduction of such loss may be affected by a number of factors, including whether the 2016 Bonds
and 2021 Bonds are treated as securities for U.S. Federal income tax purposes and the holder’s
particular circumstances, such as the business activities of the holder and its status as a bank. As a
result, each holder of 2016 Bonds and 2021 Bonds should consult its own tax advisor regarding
the consequences of the Bond Exchange.

       The tax consequences of the Bond Exchange to a particular holder will vary depending on
each holder’s circumstances. Accordingly, each holder should consult with their tax advisors as to
any potential tax consequences to such holder, including as to: (i) whether the Bond Exchange
could result in a taxable disposition to a particular holder, and (ii) the treatment and tax
consequences of the cash received by a holder in exchange for its allocable share of accrued and
unpaid interest on its 2016 Bonds.

       C.      U.S. Federal Income Tax Consequences of Holding 2021 Bonds.

        The federal income tax consequences of holding the 2021 Bonds will depend on the terms,
structure and composition of the 2021 Bonds. The 2021 Bonds will bear interest at the rate of
5.125% per annum and have varying maturities in the years and in principal amounts as described
in this Disclosure Statement above.

        It is intended that the return of principal will not result in a taxable event to the holders of
the 2021 Bonds. However the federal income tax consequences of receiving the principal payments
to a particular holder will vary depending on each holder’s circumstances. Accordingly, each
holder should consult with their tax advisors as to any potential income tax consequences to such
holder.


        It is further intended that the interest paid on the 2021 Bonds will be exempt from U.S.
federal income taxes. As a condition precedent to the Effective Date, the 2021 Bond Trustee will
receive a satisfactory opinion of bond counsel that the interest on the 2021 Bonds will be excluded
from gross income for federal tax purposes. Notwithstanding this opinion, ownership of the 2021
Bonds may result in additional federal income tax consequences to certain taxpayers. Each holder
should consult with their tax advisors as to the tax consequences of their ownership of the 2021
Bonds.

        The opinion of bond counsel is based on current legal authority, may cover matters not
directly addressed by such authorities, and represents the bond counsel’s judgment as to the proper
treatment of the 2021 Bonds. It is not binding on the IRS or the courts. Furthermore, bond counsel

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cannot give, and will not give, any opinion or assurance about the further activities of the Debtors,
or about the effect of future changes in the Internal Revenue Code of 1986 (the “Tax Code”), as
amended, the applicable regulations promulgated thereunder, or the interpretation or enforcement
thereof by the IRS. The Debtors, however, have agreed to act in a manner consistent with the
requirements of the Tax Code.

       D.       Information Reporting and Backup Withholding.

        Payments of interest (including accruals of original issue discount) or dividends and any
other reportable payments, possibly including amounts received pursuant to the Plan and payments
of proceeds from the sale, retirement or other disposition of the 2016 Bonds, may be subject to
“backup withholding” (currently at a rate of 28%) if a holder fails to furnish to the payor certain
identifying information, and, in some cases, a certification that the holder is not subject to backup
withholding. Backup withholding is not an additional tax. Any amounts deducted and withheld
generally should be allowed as a credit against the holder’s U.S. federal income tax liability.
Furthermore, certain penalties may be imposed by the IRS on a recipient of payments who is
required to supply information but who does not do so in the proper manner. Backup withholding
generally should not apply with respect to payments made to certain exempt recipients, such as
corporations and financial institutions. A holder may also be required to provide additional
information to the IRS concerning payments, unless an exemption applies, holders should consult
their own tax advisors regarding their qualifications for exemption from backup withholding and
information reporting and the procedures for obtaining such an exemption.

     THE FOREGOING DISCUSSION IS INTENDED ONLY AS A SUMMARY OF
CERTAIN POTENTIAL U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN
AND IS NOT A SUBSTITUTE FOR CAREFUL TAX PLANNING WITH A TAX ADVISOR.
THE ABOVE DISCUSSION IS FOR INFORMATIONAL PURPOSES ONLY AND DOES NOT
CONSTITUTE TAX ADVICE.

     THE TAX CONSEQUENCES ARE IN MANY CASES UNCERTAIN AND MAY
VARY DEPENDING ON THE PARTICULAR CIRCUMSTANCES OF A HOLDER OF A
CLAIM. ACCORDINGLY, HOLDERS ARE URGED TO CONSULT THEIR TAX ADVISORS
ABOUT THE U.S. FEDERAL, STATE AND LOCAL, AND APPLICABLE FOREIGN
INCOME AND OTHER TAX CONSEQUENCES OF THE PLAN.




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                      UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION



In re:                                     )   Chapter 11
                                           )
TIMOTHY PLACE, NFP, et al.,                )   Case No. 16-0336 (JPC)
                                           )
                   Debtors.                )   Hon.


  DEBTORS’ JOINT PLAN OF REORGANIZATION DATED DECEMBER 15, 2020


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PROPOSED COUNSEL FOR
THE DEBTORS




         Exhibit 1 To Debtors' Disclosure Statement Dated Dec. 15, 2020
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        Timothy Place, NFP d/b/a Park Place Christian Community of Elmhurst (“Park Place”)
and Christian Healthcare Foundation, NFP d/b/a Providence Healthcare Foundation (the
“Foundation”) (collectively, the “Debtors”) propose this Plan of Reorganization Under Chapter
11 of the Bankruptcy Code.

                                  SECTION 1.
                          DEFINITIONS AND INTERPRETATION

A.     Definitions.

The following terms used herein shall have the respective meanings below:

       1.1    2016 Bond Documents means the 2016 Indenture and any bonds, loan agreement,
mortgage, security agreement, document, agreement, or instrument executed or delivered in
connection with the issuance of the 2016 Bonds.

       1.2    2016 Bond Trustee means UMB Bank, N.A., in its capacity as trustee under the
2016 Indenture, and any successor trustee in such capacity.

      1.3    2016 Bonds means, collectively, the 2016A Bonds, the 2016B Bonds and the
2016C Bonds.

        1.4   2016 Bond Redemption Payment means a payment made by the Sponsor to the
2016 Bond Trustee in the amount of 3% of the current principal amount of the 2016C Bonds (Six
Hundred Fifty-Seven Thousand Five Hundred Sixty-Two and 50/100 Dollars ($657,562.50)) plus
3% of the accrued but unpaid interest on the principal amount of the 2016C Bonds as of the
Effective Date of the Plan, which the Debtors estimate will be $68,326.49 if the Effective Date
occurs on April 5, 2021, in which case, the total principal and interest which will be paid to holders
of 2016C Bonds would total $725,888.99.

      1.5    2016 Indenture means that certain Bond Trust Indenture, dated as of April 1, 2016,
as may have been amended, modified, and/or supplemented, by and between the Issuer and the
2016 Bond Trustee, pursuant to which the 2016 Bonds were issued.

       1.6     2016 Master Trust Indenture means that certain Master Trust Indenture, dated as
of April 1, 2016, as may have been amended, modified, and/or supplemented, by and between the
among the Debtors and the 2016 Bond Trustee as the 2016 Master Trustee thereunder.

       1.7    2016 Master Trustee means UMB Bank, N.A., in its capacity as master trustee
under the 2016 Master Trust Indenture, and any successor trustee in such capacity.

       1.8     2021 Bond Documents means the 2021 Indenture, and any bonds, loan agreement,
mortgage, security agreement, document, agreement, or instrument executed or delivered in
connection with the issuance of the 2021 Bonds, including but not limited to the 2021 Master Trust
Indenture and the 2021 Mortgage.


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       1.9    2021 Bond Trustee means UMB Bank, N.A., in its capacity as bond trustee under
the 2021 Indenture, and any successor trustee in such capacity.

        1.10 2021 Bonds means that series of bonds to be issued by the Issuer and exchanged
by the holders of the 2016A and 2016B Bonds under the terms of this Plan.

       1.11 2021 Indenture means that certain Bond Trust Indenture (as such indenture may
be further amended, supplemented, or modified from time to time) to be entered into by and
between the Issuer and the 2021 Bond Trustee pursuant to this Plan on or after the Effective Date,
including all notes and instruments delivered pursuant thereto or in connection therewith in
connection with the issuance of the 2021 Bonds, and which shall be in form and substance
acceptable to the Debtors, the Issuer and the 2021 Bond Trustee.

       1.12 2021 Master Trust Indenture means that certain Master Trust Indenture (as such
indenture may be further amended, supplemented, or modified from time to time) to be entered
into by and between the Reorganized Debtors and the 2021 Bond Trustee, as the 2021 Master
Trustee thereunder, pursuant to this Plan on or after the Effective Date and which shall be in form
and substance acceptable to the Debtors and the 2021 Bond Trustee.

       1.13 2021 Master Trustee means UMB Bank, N.A., in its capacity as master trustee
under the 2021 Master Trust Indenture, and any successor trustee in such capacity.

        1.14 2021 Mortgage means, collectively, any mortgage amendment agreement or
agreements whereby the Debtors, directly or by way of assignment, grant one or more mortgages
or other liens to the 2021 Master Trustee to secure the Debtors’ obligations under the 2021 Bond
Documents.

        1.15 Accrued Professional Compensation means, at any given moment, all accrued,
contingent and/or unpaid fees for legal, financial advisory, accounting, and other services, along
with all obligations for reimbursement of expenses rendered or incurred before the Effective Date
under sections 327, 328, 329, 330, 331, or 1103 of the Bankruptcy Code by any retained
Professional in the Cases, or under section 503 of the Bankruptcy Code, that the Bankruptcy Court
has not denied by a Final Order, all to the extent that any such fees and expenses have not been
previously paid.

        1.16 Administrative Claim means any Claim for payment of costs and expenses of
administration pursuant to sections 503(b), 507(a)(2), 507(b), and 1114(e)(2) of the Bankruptcy
Code, including: (i) the actual and necessary costs and expenses incurred on or after the Petition
Date and through the Effective Date of preserving the Estate and operating the business of either
of the Debtors; (ii) compensation for Accrued Professional Compensation; (iii) all fees and charges
assessed against the Estate pursuant to Chapter 123 of Title 28 of the United States Code; (iv) the
reimbursement of the Issuer in an amount not to exceed $30,000.00 for attorneys' fees and out of
pocket expenses incurred in connection with, and for making a substantial contribution in the
Chapter 11 Case pursuant to sections 503(b)(3)(4) and (5) of the Bankruptcy Code (provided,
however, that if the Plan, its associated disclosure statement or proposed confirmation order, as
submitted to the Bankruptcy Court are subject to material revision or objection by a party in

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interest, or if the Debtors’ request for approval of the disclosure statement or confirmation of the
Plan is materially opposed or delayed, the Issuer may obtain relief from the $30,000 limitation on
its professional fee and expense claim from the Court after notice and a hearing}; and (v) all
requests for compensation or expense reimbursement for making a substantial contribution in the
Cases pursuant to sections 503(b)(3), (4) and (5) of the Bankruptcy Code.

        1.17 Allowed means with respect to Claims (a) any Claim, proof of which is timely filed
by the applicable bar date; (b) any Claim that is listed in the Schedules as not contingent, not
unliquidated, and not disputed, and for which no Proof of Claim has been timely filed; or (c) any
Claim Allowed pursuant to the Plan or a Final Order of the Bankruptcy Court; provided, that with
respect to any Claim described in clauses (a) and (b) above, such Claim shall be considered
Allowed only if and to the extent that, with respect to such Claim, no objection to the allowance
thereof has been interposed within the applicable period of time, as may be extended by the
Bankruptcy Court from time to time, fixed by the Plan, the Bankruptcy Code the Bankruptcy Rules,
or the Bankruptcy Court, or such an objection is so interposed and the Claim shall have been
Allowed by a Final Order. Any Claim that has been or is hereafter listed in the Schedules as
contingent, unliquidated, or disputed, and for which no Proof of Claim is or has been timely filed,
is not considered Allowed and shall be expunged without further action by the Debtors and without
further notice to any party or action, approval, or order of the Bankruptcy Court. An Allowed
Claim (i) includes a Disputed Claim to the extent such Disputed Claim becomes Allowed after the
Effective Date and (ii) shall be net of any valid setoff exercised with respect to such Claim pursuant
to the provisions of the Bankruptcy Code and applicable law. Unless otherwise specified in this
Plan, in section 506(b) of the Bankruptcy Code, or by Final Order of the Bankruptcy Court,
“Allowed” Claims shall not, for purposes of distributions under this Plan, include interest on such
Claim accruing from and after the Petition Date. For the avoidance of doubt, the 2016 Bond Trustee
shall hold an Allowed Claim in the amount of (i) $103,691,500 on account of the Series 2016A
Bonds, (ii) $15,496,392 on account of the Series 2016B Bonds and (iii) $21,918,750 on account
of the Series 2016C Bonds, plus unliquidated, accrued, and unpaid fees and expenses of the 2016
Bond Trustee and its professionals incurred through the Effective Date.

        1.18 Assets means all assets of the Debtors of any nature whatsoever, including, without
limitation, all property of the Estate pursuant to section 541 of the Bankruptcy Code, Cash,
Avoidance and Other Actions, equipment, inventory, tax refunds, claims of right, interests and
property, real and personal, tangible and intangible, and proceeds of any of the foregoing.

        1.19 Avoidance and Other Actions means all actions, causes of action, suits, choses in
action, and claims of the Debtors and/or the Estate against any entity or Person, whether direct,
indirect, derivative, or otherwise arising under section 510 of the Bankruptcy Code or seeking to
avoid a transfer of property or recover property pursuant to sections 542 through 550 of the
Bankruptcy Code or applicable non-bankruptcy law.

       1.20 Bankruptcy Code means title 11 of the United States Code, as now in effect or
hereafter applicable to this Cases.

        1.21 Bankruptcy Court means the United States Bankruptcy Court for the Northern
District of Illinois, having jurisdiction over the Cases.

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       1.22 Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure, as amended,
and the Local Rules of the Bankruptcy Court, as applicable to this Cases.

       1.23 Bar Date Order means, collectively, any order or orders entered by the Bankruptcy
Court establishing a bar date by which a Proof of Claim must be filed in the Cases.

       1.24 Base Management Fee means an amount no greater than 4.25% of gross operating
revenues; provided that no more than $30,000 shall be paid each month as an operating expense,
with the balance payable from Excess Cash.

        1.25 Business Day means any day of the calendar week, except Saturday, Sunday, a
“legal holiday,” as defined in Federal Bankruptcy Rule 9006(a), or any day on which commercial
banks are authorized or required by law to close in Chicago, Illinois.

       1.26 Cash means cash and cash equivalents of the Debtors, including, without limitation,
deposits in transit whether in the form of check or electronic transfer.

       1.27 Cash Collateral Order means any order, whether interim or final, allowing the use
by the Debtors during the Cases of the cash collateral of the 2016 Bond Trustee.

        1.28 Causes of Action means any claim, cause of action, controversy, demand,
agreement, right (including to legal or equitable remedies), action, Lien, indemnity, guaranty, suit,
obligation, liability, damage, judgment, account, defense, offset, power, privilege, license, and
franchise of any kind or character whatsoever, known, unknown, contingent or noncontingent,
matured or unmatured, suspected or unsuspected, liquidated or unliquidated, disputed or
undisputed, secured or unsecured, assertable directly or derivatively, whether arising before, on,
or after the Petition Date, in contract or in tort, in law or in equity, or pursuant to any other theory
of law. Cause of Action includes, without limitation: (a) any right of setoff, counterclaim, or
recoupment and any claim on contracts or for breaches of duties imposed by law or in equity; (b)
the right to object to Claims or Interests; (c) any claim pursuant to section 362 or Chapter 5 of the
Bankruptcy Code; (d) any claim or defense including fraud, mistake, duress, and usury, and any
other defenses set forth in section 558 of the Bankruptcy Code; (e) any state law fraudulent transfer
claim; and (f) any claim listed in the Plan Supplement.

        1.29    Chapter 11 means chapter 11 of the Bankruptcy Code.

        1.30    Cases means the above-captioned cases.

        1.31 Claim means a claim, as defined by section 101(5) of the Bankruptcy Code, against
either of the Debtors or their Assets, whether or not asserted.

        1.32    Class means a class or category of Claims as classified and described in Section 3
of this Plan.




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        1.33 Confirmation Date means the date on which the Clerk of the Bankruptcy Court
enters the Confirmation Order on the Bankruptcy Court’s docket.

        1.34 Confirmation Hearing means the hearing on confirmation of this Plan pursuant to
section 1129 of the Bankruptcy Code.

        1.35 Confirmation Order means the order entered by the Bankruptcy Court confirming
this Plan in accordance with Chapter 11 of the Bankruptcy Code.

        1.36 Consenting Holders means parties holding all rights with respect to voting the
Series 2016 Bonds that are party to the Plan Support Agreement.

       1.37    Park Place means Debtor Timothy Place, NFP d/b/a Park Place of Elmhurst.

       1.38    Creditor means a holder of a Claim.

        1.39 Cure means the payment of Cash by the Reorganized Debtors, or the distribution
of other property (as the parties may agree or the Bankruptcy Court may order), as necessary to (i)
cure a monetary default by the Debtors in accordance with the terms of an executory contract or
unexpired lease of the Debtors and (ii) permit the Reorganized Debtors to assume such executory
contract or unexpired lease under section 365(a) of the Bankruptcy Code.

       1.40    Days Cash on Hand shall have the meaning set forth in the 2021 Master Indenture.

        1.41 Debtor Released Party or Debtor Released Parties means each of the following:
(i) each member of the Debtors; (ii) each Consenting Holder in any capacity, (iii) the Issuer, (iv)
the 2016 Bond Trustee in any capacity, (v) the 2016 Master Trustee in any capacity, (vi) the 2021
Bond Trustee in any capacity, (vii) the 2021 Master Trustee in any capacity, and (viii) the current
and former affiliates, subsidiaries, officers, directors, members, managers, principals, employees,
agents, attorneys, financial advisors, accountants, investment bankers, consultants,
representatives, and other professionals, each in their respective capacities as such, of each of the
parties described in clauses (i) through (vii).

        1.42 Debtors means, collectively, Timothy Place, NFP d/b/a Park Place of Elmhurst and
Christian Healthcare Foundation, NFP, as debtors and debtors in possession, and includes their
respective Estates, where appropriate.

        1.43 Debt Service Reserve Fund means a fund that the Debtors will establish on the
Effective Date under the 2021 Indenture, as defined in the Restructuring Term Sheet and as more
fully set forth in the 2021 Indenture.

      1.44 Disclosure Statement means the disclosure statement in respect of the Plan, as the
same may be altered, modified, or amended.

        1.45 Disputed means, with respect to any Claim, any Claim that is not yet Allowed and
is subject to a claims objection filed before any deadline set by the Bankruptcy Court.

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        1.46 Distribution Date means the date, occurring on or as soon as reasonably practicable
after the Effective Date, but no later than five (5) days after the Effective Date, on which the
Debtors first make the required distributions to holders of Allowed Claims as provided in this Plan.

       1.47 Distribution Record Date means the Effective Date or such other date as may be
designated in the Confirmation Order.

       1.48 Distribution Waterfall means the waterfall described in the Restructuring Term
Sheet and as more fully set forth in the 2021 Master Trust Indenture.

        1.49 Effective Date means a Business Day selected by the Debtors with the consent of
the 2016 Bond Trustee, which is, unless the Confirmation Order directs otherwise, no earlier than
the date on which each of the conditions to this Plan’s Effective Date set forth herein has either
been satisfied or waived in accordance with this Plan and no later than 109 days after the Petition
Date (unless that day falls on a Saturday, Sunday or a legal holiday, in which case the Effective
Date would be the next day which is not a Saturday, Sunday or legal holiday. The 109th day after
the Petition Date falls on Saturday, April 3, 2021. Accordingly, the latest day that the Effective
Date may occur is Monday, April 5, 2021.

        1.50 Entrance Fee Escrow Agreement means that certain escrow agreement entered
into by and between MB Financial Bank and the Debtors pursuant to which the Debtors shall
deposit all Entrance Fees received by the Debtors between the Petition Date and the Effective Date
as approved by the Bankruptcy Court.

        1.51 Entrance Fee Fund means the existing Entrance Fee Fund held by the 2016 Bond
Trustee pursuant to the 2016 Master Trust Indenture, which the Debtors will maintain as more
fully set forth in the 2021 Master Trust Indenture.

        1.52 Entrance Fees means fees, other than security deposits, monthly rentals, or
monthly services charges, paid to a Debtor by residents of living units for the purpose of obtaining
the right to reside in those living units or to obtain a parking space including any refundable
resident deposits described in any lease, Residency Agreement, or similar agreement with respect
to those living units or parking spaces, but shall not include any such amounts held in escrow or
otherwise set aside pursuant to the requirements of any such agreement or a reservation agreement
prior to the occupancy of the living unit or parking space covered by such lease, Residency
Agreement, or similar agreement (which amounts shall be included if an when occupancy occurs).

        1.53 Estate means the estates of the Debtors created by the Debtors’ Cases pursuant to
section 541 of the Bankruptcy Code.

       1.54 Excess Cash shall have the meaning set forth in the Restructuring Term Sheet, as
more fully set forth in the 2021 Master Trust Indenture.

       1.55 Exculpated Claims means any Claim related to any act or omission in connection
with, related to, or arising out of the filing or administration of the Cases, the Plan, or the

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transactions contemplated by the Plan, the formulation, preparation, dissemination, negotiation of
any document in connection with the Plan, any agreement or other document formalizing the
transactions contemplated by the Plan, or any contract, instrument, release, or other agreement or
document created or entered into in connection with the Plan, the pursuit of consummation of the
Plan, the administration and implementation of the Plan, or the distribution of property pursuant
to the Plan.

        1.56 Exculpated Party or Exculpated Parties means each of the following: (i) the
Debtors and their member or members, (ii) the Reorganized Debtors and their member or
members, (iii) each member of a Consenting Holder in any capacity, (iv) the Issuer, (v) the 2016
Bond Trustee in any capacity, (vi) the 2016 Master Trustee in any capacity, (vii) the 2021 Bond
Trustee in any capacity, (viii) the 2021 Master Trustee in any capacity, and (ix) the current and
former officers, directors, members, managers, employees, attorneys, and advisors, each in their
respective capacities as such, of each of the foregoing.

       1.57 Executory Contract means a contract to which a Debtor is a party that is capable
of assumption or rejection under section 365 of the Bankruptcy Code.

      1.58 Campus means the continuing care retirement community known as “Park Place
Elmhurst” and owned by Park Place, located in Elmhurst, Illinois.

      1.59     Federal Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure, as
amended.

        1.60 Final Order means an order or judgment of the Bankruptcy Court entered by the
Clerk of the Bankruptcy Court on the docket in the Cases that has not been reversed, vacated, or
stayed and as to which (i) the time to appeal, petition for certiorari, or move for a new trial,
reargument, or rehearing has expired and as to which no appeal, petition for certiorari, or other
proceedings for a new trial, reargument, or rehearing shall then be pending, or (ii) if an appeal,
writ of certiorari, new trial, reargument, or rehearing thereof has been sought, such order or
judgment of the Bankruptcy Court shall have been affirmed by the highest court to which such
order was appealed, or certiorari shall have been denied, or a new trial, reargument, or rehearing
shall have been denied or resulted in no modification of such order, and the time to take any further
appeal, to petition for certiorari, or to move for a new trial, reargument, or rehearing shall have
expired; provided, however, that the possibility that a motion under Rules 59 or 60 of the Federal
Rules of Civil Procedure, or Federal Bankruptcy Rules 9023 or 9024, may be filed relating to such
order shall not cause such order to not be a Final Order.

       1.61    Foundation means Debtor Christian Healthcare Foundation, NFP.

        1.62 General Unsecured Claim means any unsecured Claim against either of the
Debtors, including, without limitation, any Resident Claim, that is not an Administrative Claim,
Priority Tax Claim, Other Priority Claim, Other Secured Claim or 2016 A/B/C Bond Claim.

       1.63    Insurance Policies means, collectively, all of the Debtors’ insurance policies.



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       1.64 Interest means any membership, or other ownership, interest in either of the
Debtors, whether or not transferable, or any option, warrant, or right, contractual or otherwise, to
acquire any such interest.

         1.65   Interest Payment Date shall have the meaning provided in the 2021 Indenture.

        1.66    Issuer means the Illinois Finance Authority, a self-financed authority of the State
of Illinois.

         1.67   Lien has the meaning set forth in section 101(37) of the Bankruptcy Code.

        1.68 Liquidity Support Agreement means that certain Liquidity Support Agreement
pursuant to which on the Effective Date, the Sponsor will deposit $3,000,000 (the “Liquidity
Fund”) with the 2021 Bond Trustee to be held and used in accordance with such agreement for
the payment by the Debtors of regular operating expenses, monthly interest or principal relating to
the Series 2021 Bonds.

       1.69 Management Agreement means that certain Management Agreement entered into
by and between Park Place and the Sponsor, dated as of April 1, 2016, as may have been amended,
modified, and/or supplemented.

         1.70   MB Financial Bank shall mean MB Financial Bank, N.A. or Fifth Third Bank,
N.A.

      1.71 Office of the U.S. Trustee means the Office of The United States Trustee, 219 S.
Dearborn Street, Room 873, Chicago, IL 60604.

        1.72 Other Priority Claim means any Claim, other than an Administrative Claim or a
Priority Tax Claim, entitled to priority in right of payment under section 507(a) of the Bankruptcy
Code.

      1.73 Other Secured Claim means any Secured Claim other than a Series 2016 A/B/C
Bond Claims.

       1.74 Operating Reserve Fund means the existing Operating Reserve Fund held by the
2016 Master Trustee pursuant the 2016 Master Trust Indenture, which the Debtors will maintain
as more fully set forth in the 2021 Master Trust Indenture.

       1.75 Person means an individual, corporation, partnership, limited liability company,
joint venture, association, joint stock company, trust, estate, unincorporated organization,
governmental unit, government (or agency or political subdivision thereof), or other entity,
including, without limitation, the Debtors.

         1.76   Petition Date means the date on which the Debtors filed petitions commencing the
Cases.


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      1.77 Plan means this Plan, as altered, modified, or amended in accordance with the
Bankruptcy Code and the Bankruptcy Rules.

       1.78 Plan Supplement means the compilation of documents and forms of documents,
schedules, and exhibits to this Plan, to be filed prior to the Confirmation Hearing, as amended,
supplemented, or modified from time to time in accordance with the terms hereof, the Bankruptcy
Code, and the Bankruptcy Rules. The Plan Supplement shall include, among other documents, the
2021 Bond Documents and a schedule of the Reorganized Debtors’ retained Causes of Action.

        1.79 Plan Support Agreement means that certain Plan Support Agreement, dated as of
May 14, 2021 (including, without limitation, the exhibits, attachments, and appendices thereto),
entered into by and among the Debtors and the Consenting Holders on the date thereof, as may be
amended, supplemented, or otherwise modified from time to time in accordance with the terms
thereof. A copy of the Plan Support Agreement is attached as Exhibit A to the Plan.

        1.80 Priority Tax Claim means any Claim of a governmental unit of a kind entitled to
priority under section 507(a)(8) of the Bankruptcy Code.

       1.81 Professionals means all professionals employed in this Cases pursuant to sections
327, 328, and 1103 of the Bankruptcy Code.

         1.82   Proof of Claim means a proof of Claim filed against either of the Debtors in the
Cases.

      1.83 Refunds means any resident refund obligations under the terms of the Residency
Agreements.

        1.84 Released Party or Released Parties means each of the following: (i) the Debtors
and their member or members, (ii) the Reorganized Debtors and their member or members, (iii)
each member of a Consenting Holder in any capacity, (iv) the Issuer, (v) the 2016 Bond Trustee
in any capacity, (vi) the 2016 Master Trustee in any capacity, (vii) the 2021 Bond Trustee in any
capacity, (viii) the 2021 Master Trustee in any capacity, and (ix) the current and former affiliates,
subsidiaries, officers, directors, members, managers, principals, employees, agents, attorneys,
financial advisors, accountants, investment bankers, consultants, representatives, and other
professionals, each in their respective capacities as such, of each of the parties described in clauses
(i) through (ix).

      1.85 Releasing Party means each holder of a Claim who has voted to accept the Plan
and who has not chosen, by marking the appropriate box on the ballot, to opt out of the “Release
by Holders of Claims” provided for in Section 8.3 of this Plan.

        1.86 Reorganized Debtors means, collectively, the reorganized Timothy Place, NFP
d/b/a Park Place of Elmhurst and the reorganized Christian Healthcare Foundation, NFP, or any
successors thereto, by merger, consolidation, or otherwise, on or after the Effective Date, after
giving effect to the restructuring transactions occurring on the Effective Date in accordance with
this Plan.

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        1.87 Residency Agreements means those certain residency agreements entered into by
and between the residents of the Campus and Park Place and any additional documents related
thereto, including any amendments, supplements, or addendums.

       1.88 Resident means a Person who resides or has contracted with Park Place to reside at
the Campus.

        1.89 Resident Claim means any Claim which sounds in contract that a Resident may
hold or assert against either of the Debtors, their Estate, or their Assets, including, without
limitation, any Claim arising under, related to, or in connection with a Residency Agreement, but
does not include a tort claim based in whole or in part on the breach of a tort duty which arose
from or related to the Debtors’ performance of duties described in a Residency Agreement.

       1.90 Restructuring Term Sheet means that certain Restructuring Term Sheet, dated as
of May 14, 2021, setting forth the principal terms and conditions of a financial restructuring of the
outstanding indebtedness of the Debtors. A copy of the Restructured Term Sheet is attached as
Exhibit 1 to the Plan Support Agreement.

        1.91 Schedules mean, collectively, the schedules of assets and liabilities, schedules of
Executory Contracts and Unexpired Leases, and statements of financial affairs, if any, filed by the
Debtors pursuant to section 521 of the Bankruptcy Code and in substantial accordance with the
Official Bankruptcy Forms, as the same may have been amended, modified, or supplemented from
time to time.

        1.92 Secured Claim means any Claim of a Creditor that is (i) secured by property of the
Estate, to the extent of the value of the Creditor’s interest in the Estate’s interest in such property,
as provided in section 506(a) of the Bankruptcy Code or (ii) subject to setoff under section 553 of
the Bankruptcy Code, to the extent of the amount subject to setoff, as provided in section 506(a)
of the Bankruptcy Code.

       1.93 Series 2016 A/B/C Bond Claims means any and all Claims in respect of the 2010A
Bonds, the 2010B Bonds, or the 2010C Bonds.

      1.94 Series 2016A Bonds means the Illinois Finance Authority Revenue Bonds (Park
Place of Elmhurst Project) Series 2010A in the original aggregate principal amount of
$103,691,500 issued pursuant to the 2016 Indenture.

        1.95 Series 2016B Bonds means the Illinois Finance Authority Revenue Bonds (Park
Place of Elmhurst Project) Series 2016B in the original aggregate principal amount of $15,496,392
issued pursuant to the 2016 Indenture.

        1.96 Series 2016C Bonds means the Illinois Finance Authority Revenue Bonds (Park
Place of Elmhurst Project) Series 2016C in the original aggregate principal amount of $21,918,750
issued pursuant to the 2016 Indenture.


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       1.97 Series 2021 Bonds means the Illinois Finance Authority Revenue Bonds, Series
2021 (Park Place of Elmhurst Project) to be issued by the Issuer pursuant to this Plan under the
2021 Indenture and as more fully described in Section 4.3.1 of this Plan.

       1.98 Sponsor means Rest Haven Illiana Christian Convalescent Home d/b/a Providence
Life Services, an Illinois not-for-profit corporation which is the sole member of each of the
Debtors.

       1.99 Sponsor Note means that certain promissory note in the amount of Five Million
Dollars ($5,000,000) issued by the Debtors to the Sponsor on or about April 1, 2016.

      1.100 Unexpired Lease means a lease to which a Debtor is a party that is subject to
assumption or rejection under section 365 of the Bankruptcy Code.

       1.101 U.S. Trustee Fees means all fees and charges assessed against the Estate of the
Debtors under 28 U.S.C. § 1930.

       1.102 Voting Deadline means the deadline to vote to accept or reject this Plan set forth in
the Disclosure Statement or an order of the Bankruptcy Court, as such deadline may be extended
or modified from time to time.

B.      Interpretation: Application of Definitions and Rules of Construction.

         Unless otherwise specified, all section or exhibit references in this Plan are to the respective
section in, or exhibit to, this Plan, as the same may be amended, waived, or modified from time to
time. The words “herein,” “hereof,” “hereto,” “hereunder,” and other words of similar import refer
to this Plan as a whole and not to any particular section, subsection, or clause contained therein. A
term used herein that is not defined herein shall have the meaning assigned to that term in the
Bankruptcy Code. The rules of construction contained in section 102 of the Bankruptcy Code shall
apply to this Plan. The headings in this Plan are for convenience of reference only and shall not
limit or otherwise affect the provisions hereof. Unless otherwise provided, any reference in this
Plan to an existing document, exhibit, or schedule means such document, exhibit, or schedule as
it may have been amended, restated, revised, supplemented, or otherwise modified. If a time or
date is specified for any payments or other distribution under this Plan, it shall mean on or as soon
as reasonably practicable thereafter. Further, where appropriate from a contextual reading of a
term, each term includes the singular and plural form of the term regardless of how the term is
stated and each stated pronoun is gender neutral.

                          SECTION 2.
      TREATMENT OF ADMINISTRATIVE CLAIMS, PRIORITY TAX CLAIMS,
                       AND U.S. TRUSTEE FEES

        2.1    Administrative Claims. In accordance with section 1123(a)(1) of the Bankruptcy
Code, Administrative Claims have not been classified and are treated as described herein. Except
as otherwise provided in the Plan, by written agreement of the holder of an Allowed Administrative
Claim to accept different treatment than provided under the Plan, or by order of the Bankruptcy

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Court, an Entity holding an Allowed Administrative Claim will receive Cash equal to the unpaid
portion of such Allowed Administrative Claim that has come due for payment under any applicable
order or law, as soon as practicable after the later of: (i) the fifth (5th) Business Day after the
Effective Date or as soon as reasonably practicable thereafter as determined by the Debtors; (ii)
the date on which such Entity becomes the holder of such an Allowed Administrative Claim; or
(iii) the date or dates when that Allowed Administrative Claim is payable by its terms, consistent
with past practice and in accordance with past terms. Administrative Claims include (and are not
limited to) contract claims of individuals and entities for goods and services which they provided
to the Debtors during the pendency of the Cases and claims for personal injuries which are alleged
to have occurred during the pendency of the Cases. Unless otherwise provided in the Plan or
stipulated to by the Debtors, holders of Administrative Claims must file a motion for the allowance
of such claims under 11 U.S.C. §503(a) no later than sixty (60) days after the Effective Date.
Objections to any motion for allowance of administrative claims must be filed and served on the
Debtors, the Office of the U.S. Trustee, the 2016 Bond Trustee, and the requesting party no later
than 25 days (or such longer period as may be allowed by order of the Bankruptcy Court) after the
date on which the applicable motion for allowance of administrative claim was served.

       2.2      Professional Compensation. Professionals or other Entities asserting a Claim for
Accrued Professional Compensation for services rendered before the Effective Date must file and
serve on the Debtors (or, after the Effective Date, the Reorganized Debtors), the 2016 Bond
Trustee, and such other Entities who are designated by the Bankruptcy Rules, the Confirmation
Order, or other order of the Bankruptcy Court, an application for final allowance of such Claim
for Accrued Professional Compensation no later than sixty (60) days after the Effective Date.
Objections to any Claim for Accrued Professional Compensation must be filed and served on the
Reorganized Debtors, the Office of the U.S. Trustee, the 2016 Bond Trustee, and the requesting
party no later than 25 days (or such longer period as may be allowed by order of the Bankruptcy
Court) after the date on which the applicable application for final allowance of such Claim for
Accrued Professional Compensation was served. Upon the Effective Date, any requirement that
Professionals comply with sections 327 through 331 and section 1103 of the Bankruptcy Code in
seeking retention or compensation for services rendered after such date shall terminate, and the
Reorganized Debtors may employ and pay any professional for services rendered or expenses
incurred after the Effective Date in the ordinary course of business without any further notice to
any party or action, order, or approval of the Bankruptcy Court.

         2.3     Priority Tax Claims. In accordance with section 1123(a)(1) of the Bankruptcy
Code, Priority Tax Claims have not been classified and are treated as described in Section 2.3 of
the Plan. Unless otherwise agreed by the holder of an Allowed Priority Tax Claim, any Entity
holding an Allowed Priority Tax Claim will receive, as determined by the Reorganized Debtors in
their sole discretion and in full satisfaction of such Claim, payment in Cash in full on the later of
(i) the Effective Date, or as soon as reasonably practicable thereafter as determined by the Debtors,
or (ii) the date such Claim becomes an Allowed Claim.

       2.4     U.S. Trustee Fees. All U.S. Trustee Fees will be paid in full by the Reorganized
Debtors as they become due and owing.




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                              SECTION 3.
          CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

        3.1     Classification and Specification of Treatment of Claims. All Claims, except
those described in Section VII(B) above, are placed in the following impaired or unimpaired
Classes of Claims pursuant to sections 1123(a)(1), 1123(a)(2), and 1123(a)(3) of the Bankruptcy
Code, which sections require the Plan to designate such Classes and to specify their impaired or
unimpaired status. A Claim is classified in a particular Class only to the extent that the Claim
qualifies within the description of the Class and is classified in a different Class to the extent that
the Claim qualifies within the description of that different Class. A Claim is in a particular Class
only to the extent that the Claim is an Allowed Claim in that Class and has not been paid, released,
withdrawn, waived, or otherwise satisfied under the Plan. Unless the Plan expressly provides
otherwise, when a Class includes a subclass, each subclass is a separate Class for all purposes
under the Bankruptcy Code, including, without limitation, voting and distribution. Subject to all
other applicable provisions of the Plan (including its distribution provisions), classified Claims
shall receive the treatment set forth below. The Plan will not provide any distributions on account
of a Claim to the extent that such Claim has been disallowed, released, withdrawn, waived, or
otherwise satisfied or paid as of the Effective Date, including, without limitation, through payment
by a third party. Except as specifically provided in the Plan, the Plan will not provide any
distributions on account of a Claim for which the obligation to pay has been assumed by a third
party.

         3.2   Classes of Claims and Interests.


 Class    Claim                                     Status                    Voting Rights
   1      Other Priority Claims                     Unimpaired                Deemed to Accept
   2      Series 2016A/B Bond Claims                Impaired                  Entitled to Vote
   3      Series 2016C Bond Claims                  Impaired                  Entitled to Vote
   4      Other Secured Claims                      Unimpaired                Deemed to Accept
   5      General Unsecured Claims                  Impaired                  Entitled to Vote
   6      Interests in Debtors                      Unimpaired                Deemed to Accept

        3.2.1 Class 1—Other Priority Claims. This Class is unimpaired and consists of all
Allowed Other Priority Claims, if any such Claims still exist as of the Effective Date. Each
Allowed Other Priority Claim shall be in a separate subclass. Except to the extent that the holder
of an Allowed Other Priority Claim agrees to less favorable treatment, each holder of an Allowed
Other Priority Claim will receive, in full and final satisfaction and discharge of and in exchange
for each Allowed Other Priority Claim: (i) deferred Cash payments of a value, as of the Effective
Date, equal to the holder’s Allowed Other Priority Claim, or (ii) payment in Cash in full on the
later of: (a) the fifth (5th) Business Day after the Effective Date or as soon as reasonably
practicable thereafter as determined by the Debtors; and (b) the fifth (5th) Business Day after the
date on which such Other Priority Claim becomes an Allowed Claim.



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        3.2.2 Class 2—2016A and 2016B Bond Claims. This Class is impaired and consists of
all 2016A and 2016B Bond Claims and includes all Claims of the holders of (i) the 2016A Bonds,
which Claims shall be deemed Allowed pursuant to the Plan in the aggregate principal amount of
$103,691,500, (ii) the 2016B Bonds, which Claims shall be deemed Allowed pursuant to the Plan
in the aggregate principal amount of $15,496,392, plus (iii) accrued and unpaid interest on the
principal amount of the 2016A/B Bonds through and including the Effective Date, which interest
shall be paid by the 2016 Bond Trustee from the Debt Service Reserve Fund administered by the
2016 Bond Trustee. On the Effective Date, the holders of the 2016A Bonds and 2016B Bonds
shall exchange the then outstanding 2016A Bonds and 2016B Bonds for a pro rata share of 2021
Bonds issued in the aggregate original principal amount of $107,269,103. The 2021 Bonds shall
be issued as current paying bonds. The 2021 Bonds shall bear interest at the rate of 5.125% per
annum and have maturities in the years and in principal amounts as set forth on Schedule 1 to the
“Restructuring Term Sheet” attached to the Disclosure Statement as Exhibit 2. The 2021 Bonds
shall be amortized as set forth in Exhibit 2 to the Disclosure Statement. The 2021 Bonds shall pay
interest only for the first three (3) years following the Effective Date, and then amortize over the
following thirty-seven (37) years. Interest on the 2021 Bonds shall be payable semiannually
following the Effective Date and principal shall be paid annually as set forth in Exhibit 2 to the
Disclosure Statement. The 2021 Bonds will be secured by a first priority lien on all assets of Park
Place. The Series 2021 Bond shall mature as set forth in Exhibit 2 to the Disclosure Statement with
a final maturity of forty (40) years from the restructuring effective date (subject to bond counsel
approval). The 2021 Bonds will be subject to optional redemption prior to maturity commencing
on the 5th year after the Effective Date, at a price equal to: in year 5, at a price of 102%, in year 6,
at price of 101% and thereafter at par. The 2021 transaction will not include any 2021 cash flow
notes for the balance outstanding and is expected to consist of one series of bonds.

        3.2.3 Class 3 – 2016C Bond Claims. This Class is impaired and consists of all 2016C
Bond Claims which shall be deemed Allowed pursuant to the Plan in the aggregate principal
amount of $21,918,750 plus any accrued and unpaid interest due on the 2016C Bonds through and
including the Effective Date. On the Effective Date, the Sponsor will pay the 2016C Bond
Redemption Payment to the 2016 Bond Trustee, who will distribute such payment pro rata to the
holders of record of the 2016C Bonds in full satisfaction of the 2016C Bonds. Upon the making
of the 2016C Bond Redemption Payment, the 2016C Bonds will be cancelled and deemed to no
longer be outstanding, except to the extent necessary to complete the distribution of such payment
to the holders of record of the 2016C Bonds.

        3.2.4 Class 4 – Other Secured Claims. This Class is unimpaired and consists of all
Other Secured Claims. Except to the extent that a holder of an Allowed Other Secured Claim
agrees to a less favorable treatment, in full and final satisfaction and discharge of and in exchange
for each Allowed Other Secured Claim, on the later of the Effective Date and the date such Other
Secured Claim becomes Allowed, or as soon as practicable thereafter, each holder of an Allowed
Other Secured Claim shall have its Other Secured Claim reinstated and the legal, equitable, and
contractual rights to which the holder of such Claim is entitled shall otherwise be unaltered in
accordance with section 1124 of the Bankruptcy Code.

      3.2.5 Class 5 – General Unsecured Claims. This Class is impaired and consists of all
General Unsecured Claims. Except to the extent that a holder of an Allowed General Unsecured

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Claim agrees to a less favorable treatment, in full and final satisfaction and discharge of and in
exchange for each General Unsecured Claim, each holder of an Allowed General Unsecured Claim
will receive payment in Cash of three percent (3%) of the unpaid portion of such Allowed General
Unsecured Claim on the latest of (i) the fifth (5th) Business Day after the Effective Date or as soon
as practicable thereafter as determined by the Debtors, (ii) the fifth (5th) Business Day after the
date on which such General Unsecured Claim becomes an Allowed Claim, (iii) the date such
Allowed General Unsecured Claim becomes due and payable in the ordinary course of business,
or (iv) as otherwise agreed to by the Debtors and the holder of such General Unsecured Claim, and
this Plan shall otherwise leave unaltered the legal, equitable, and contractual rights to which the
holder of such General Unsecured Claim is entitled; provided, however, that the Debtors may seek
authority from the Bankruptcy Court to pay certain General Unsecured Claims in advance of the
Effective Date in the ordinary course of business. The Debtors reserve their right, however, to
dispute the validity of any General Unsecured Claim, whether or not objected to prior to the
Effective Date.

        3.2.6 Class 6 – Interests in Debtors. This Class is unimpaired and consists of all
Interests in the Debtors. On the Effective Date, the Sponsor, the sole member of each of the
Debtors, will retain all membership interests in the Reorganized Debtors.

       3.3     Acceptance or Rejection of this Plan.

        3.3.1 Acceptance by an Impaired Class. In accordance with section 1126(c) of the
Bankruptcy Code and except as provided in section 1126(e) of the Bankruptcy Code, an impaired
Class of Claims shall have accepted this Plan if this Plan is accepted by the holders of at least two-
thirds in dollar amount and more than one-half in number of the Allowed Claims of such Class
that have timely and properly voted to accept or reject this Plan.

       3.3.2 Presumed Acceptance of this Plan. Classes 1, 4, and 6 are not impaired under this
Plan and are, therefore, conclusively presumed to have accepted this Plan pursuant to section
1126(f) of the Bankruptcy Code.

        3.3.3 Voting Class. Classes 2, 3 and 5 are impaired under this Plan and are entitled to
vote to accept or reject this Plan.

                                SECTION 4.
                    MEANS FOR IMPLEMENTATION OF THIS PLAN

       4.1     Sources of Consideration. Cash consideration necessary for the Reorganized
Debtors to make payments or distributions pursuant hereto shall be obtained from the cash derived
from the Reorganized Debtors’ business operations, those certain funds established pursuant to the
Restructuring Term Sheet and 2021 Bond Documents, and the Sponsor Contribution (which
includes the 2016C Bond Redemption Payment). A schedule of the source and uses of cash is
attached as Exhibit 4 to the Disclosure Statement.

      4.2     Cancellation of 2016 Bonds. Except as otherwise provided in this Plan or the
Confirmation Order, on the Effective Date, the 2016 Bonds shall be cancelled, and the 2016 Bonds

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and related 2016 Bond Documents shall continue in effect solely to the extent they relate to and
are necessary to (i) allow for the applicable distributions pursuant to the Plan, (ii) permit the 2016
Bond Trustee and the Issuer to be compensated for fees and reimbursed for expenses including
expenses of its professionals, assert its charging lien, enforce its indemnity and other rights and
protections with respect to and pursuant to the 2016 Bond Documents, (iii) permit the 2016 Bond
Trustee to set one or more record dates and distributions dates with respect to the distribution of
funds to beneficial holders of the 2016 Bonds, as applicable, (iv) permit the 2016 Bond Trustee to
appear in the Cases, and (v) permit the 2016 Bond Trustee and the Issuer to perform any functions
that are necessary in connection with the foregoing clauses (i) through (iv). Before or after the
Effective Date, the Debtors are authorized to take all actions and execute and deliver all documents
requested by the Issuer, and the Issuer is authorized to perform all functions that are necessary in
connection with the foregoing clauses (i) through (iv) of the preceding sentence.

        4.3     Issuance of 2021 Bonds. On the Effective Date, the Issuer will, subject to its
procedures, practices and discretion, issue new 2021 Bonds under the 2021 Indenture between the
Issuer and the 2021 Bond Trustee. On the Effective Date, the holders of the 2016A Bonds and
2016B Bonds shall exchange the then outstanding 2016A Bonds and 2016B Bonds for a pro rata
share of 2021 Bonds issued in the aggregate principal amount equal to $107,269,103.00. The 2021
Bonds shall be issued as current paying bonds. The 2021 Bonds shall bear interest at the rate of
5.125% per annum and have maturities in the years and in principal amounts as set forth in Exhibit
2 to the Disclosure Statement. The 2021 Bonds shall be amortized as set forth in Schedule 2 of
the Restructuring Term Sheet. The 2021 Bonds shall pay interest only for the first three (3) years
following the Effective Date and will then amortize over the following thirty-seven (37) years.
Interest on the 2021 Bonds shall be payable semiannually following the Effective Date and
principal shall be paid annually as set forth in Schedule 2 of the Restructuring Term Sheet. The
2021 Bonds will be secured by a first priority lien on all assets of Park Place. The Series 2021
Bond shall mature as set forth in Schedule 2 of the Restructuring Term Sheet, with a final maturity
40 years from the restructuring effective date (subject to bond counsel approval). The 2021 Bonds
will be subject to optional redemption prior to maturity commencing on the 5th year after the
Effective Date, at a price equal to: in year 5, at a price of 102%, in year 6, at price of 101% and
thereafter at par. The 2021 transaction will not include any 2021 cash flow notes for the balance
outstanding and is expected to consist of one series of bonds. Before or after the Effective Date,
the Debtors are authorized to take all actions and execute and deliver all documents requested by
the Issuer, and the Issuer is authorized to perform all functions that are necessary in connection
with the approval and issuance of the 2021 Bonds.

         4.4     Sponsor Contribution. In connection with the restructuring, and as consideration
for its retention of its ownership interest in the Debtors, on the Effective Date the Sponsor will pay
to the Debtors, and the Debtors will then forward to the 2016 Bond Trustee, the 2016C Bond
Redemption Payment (in the amount of Six Hundred Fifty-Seven Thousand Five Hundred Sixty-
Two and 50/100 Dollars ($657,562.50)) plus 3% of the accrued but unpaid interest on the principal
amount of the 2016C Bonds as of the Effective Date of the Plan. In addition, the Sponsor will
deposit $3,000,000 (the “Liquidity Fund”) with the 2021 Bond Trustee to be held and used in
accordance with the terms of a certain Liquidity Support Agreement (the “LSA”) by and among
the Sponsor, the Debtors and the 2021 Bond Trustee. The Liquidity Fund shall be available to the
Debtors for payment of regular operating expenses as needed, and for payment of monthly interest

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or principal relating to the 2021 Bonds. To enhance the earnings on the Liquidity Fund, the LSA
includes a list of permitted investments for the Liquidity Fund, which will include certain
investments not customarily included in tax-exempt bond financings. For example, permitted
investments are contemplated to include corporate stock and bond mutual funds. The fund balance
in the Liquidity Fund will be permitted to be counted in the calculation of Days Cash on Hand for
purposes of covenant testing. The Distribution Waterfalls will include provisions which allow the
Liquidity Fund to be restored to its original balance by the Debtors if draws are made to pay
operating expenses or debt service. In addition, the LSA will include terms for the “burn-off” of
the Liquidity Fund over time. In connection with the issuance of the 2016 Bonds, the Sponsor
received a certain promissory note (“Sponsor Note”), which is subordinate in security and
payment to the 2016 Bonds. In further consideration of its retention of its ownership interests in
the Debtors, the Sponsor will waive, as of the Effective Date, all amounts due under the Sponsor
Note. The Sponsor and Debtors understand that they will be responsible for transaction costs of
the Restructuring Transaction (the “Sponsor Contribution”). On the Effective Date, the existing
Debt Service Reserve Fund (“DSRF”) will be used to pay (i) accrued and unpaid interest on the
2016 Bonds through but not including the Effective Date, and (ii) the costs and expenses of the
2016 Bond Trustee and its advisors; any remaining DSRF balance immediately shall be transferred
to the Debt Service Reserve Fund under the 2021 Indenture. In addition, the Sponsor shall
undertake to pay the professional fees and expenses incurred by the Debtors’ counsel in this case,
independent from the Sponsor’s other obligations under the Plan including (without limitation) its
contributions to the Liquidity Fund.

        4.5     Series 2016C Bonds. The 2016C Bond Claims shall be deemed Allowed pursuant
to the Plan in the aggregate principal amount of $21,918,750.00 plus any accrued and unpaid
interest due on the 2016C Bonds through and including the Effective Date. The 2016C Bonds
shall be redeemed in full when the Sponsor pays the 2016C Bond Redemption Payment to the
2016 Bond Trustee, who will thereafter distribute the 2016 Bond Redemption Payment pro rata to
the holders of record of the 2016 Bonds.

        4.6      2021 Bond Documents. In connection with the foregoing matters described in
Section 4.3 of the Plan, on the Effective Date, the Issuer, the Debtors, and the 2021 Bond Trustee,
as applicable, will enter into the 2021 Bond Documents, including the 2021 Indenture, the 2021
Master Indenture, and the 2021 Mortgage. Except as provided for and consistent with the
Restructuring Term Sheet, the 2016 Bond Trustee shall transfer to the 2021 Bond Trustee
substantially all funds and accounts created or maintained under or pursuant to the 2016 Indenture
in accordance with the Plan.

        4.7     Effective Date Transactions. Upon the Effective Date, the Debtors shall establish
and/or maintain the accounts and funds described in the 2021 Bond Documents and the
Restructuring Term Sheet. Upon the Effective Date, all Entrance Fees, including any Entrance
Fees received and escrowed by the Debtor after the Petition Date pursuant to the Entrance Fee
Escrow Agreement, shall be deposited with the 2021 Master Trustee in the Entrance Fee Fund.
The deposits in the Entrance Fee Fund, together with the balances of the Debtors’ operating
accounts and the Operating Reserve Fund, as of the Effective Date, the revenues and other income
of the Debtors available on the Effective Date, and the Sponsor shall be applied in the following
order of priority to the extent of available funds: (i) to pay any Refunds due and owing; (ii) to pay

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the professional fees and expenses incurred in connection with the transactions contemplated under
the Plan (including, without limitation, any costs associated with obtaining opinions from bond
counsel) subject to the Budget (but not including the professional fees, expenses and costs payable
to Dopkelaw LLC in its capacity as general bankruptcy counsel to the Debtors, which the Sponsor
agreed to pay pursuant to the Plan Support Agreement and the exhibits thereto); (iii) to fund the
Debt Service Reserve Fund up to any shortfall, if any, to the initial Debt Service Reserve Fund
requirement; (iv) to fund the Operating Account in an amount equal to approximately 45 Days
Cash on Hand; and (v) to fund the Operating Reserve Fund in an amount equal to 75 Days Cash
on Hand.

        4.8     The Bond Funds and Distribution Waterfall. The Debtors will establish and
maintain certain funds in connection with the 2021 Bonds, including an entrance fee fund (the
“Entrance Fee Fund”), a revenue fund (the “Revenue Fund”), an operating reserve fund (the
“Operating Reserve Fund”), and a capital expenditures fund (the “Capital Expenditures
Fund”). The purpose of these funds is to ensure sufficient operational liquidity and capital reserves
for the Debtors and to allow the Debtors to service the 2021 Bonds. Pursuant to the 2021 Bond
Documents, the Debtors shall deposit all gross revenues (other than Entrance Fees) with the 2021
Bond Trustee for deposit in the Revenue Fund as established under the 2021 Bond Documents.
Entrance Fees (after the required payment of any refunds) will be transferred to the Revenue Fund
after any applicable rescission rights under the Residence Agreements have expired and such funds
shall be available to flow through the Distribution Waterfall (as defined herein). Upon the
Effective Date, all Entrance Fees shall be deposited with the 2021 Bond Trustee in the Entrance
Fee Fund. Such amounts, together with the balances of the Operating Account, the Operating
Reserve Fund and any Revenues available to the Debtors at such time, including the Sponsor
Contribution, shall be applied in the following order of priority:

       1. to pay any Refunds due to Residents who no longer reside at the Campus (or their
          beneficiaries);

       2. to pay all professional fees and expenses incurred in connection with the Restructuring
          Transaction (including, without limitation, any costs associated with obtaining
          opinions from bond counsel but not including the fees, expenses and costs incurred by
          the Debtors’ general bankruptcy counsel);

       3. to fund the Debt Service Reserve Fund up to the shortfall, if any, to the initial Debt
          Service Reserve Fund requirement;

       4. to fund the Operating Account in an amount equal to 45 Days Cash on Hand
          (approximately $2.250 million);

       5. to fund the Operating Reserve Fund in an amount equal to 75 Days Cash on Hand
          (approximately $3.750 million); and

       6. thereafter, all post-Effective Date Entrance Fees and other Revenues of the Debtors
          shall be deposited in the Entrance Fee Fund or the Revenue Fund, as applicable, on a
          weekly basis.

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Subject to the next sentence, amounts on deposit in the Revenue Fund shall be made available to
Park Place on a monthly basis to satisfy ongoing operations and management costs and expenses
of Park Place, including, without limitation, the Base Management Fee, and replenishment of any
Unrestricted Amount (collectively, the “Operating Expenses”). If an Event of Default (as defined
in the 2021 Indenture) shall occur, then the monthly amounts on deposit in the Revenue Fund
available for withdrawal to satisfy Operating Expenses shall be made available to Park Place in an
amount not to exceed the amounts set forth in an operating budget established pursuant to the terms
of the 2021 Indenture.

On the first Business Day of each calendar month, monies in the Revenue Fund shall be distributed
in the following order of priority (the “Distribution Waterfall”):

    First, to the Operating Account in the amount necessary to pay anticipated Operating Expenses
     for the upcoming month (taking into account any unapplied amount withdrawn for such
     purpose in a prior month), as such amount is set forth in a certificate from the Borrower
     delivered to the Trustee no later than 10 Business Days prior to the first Business Day of a
     month;

    Second, to replenish any deficiency as of the Effective Date in the Debt Service Reserve Fund
     necessary to make the amount therein equal the Debt Service Reserve Fund Requirement;

    Third, to the Bond Fund, in an amount equal to 1/6th of the interest due on the next interest
     payment date;

    Fourth, payments to the Bond Fund in an amount equal to 1/12th of the principal due on the
     next principal payment date;

    Fifth, to the Capital Expenditure Fund, in an amount equal to 1/12th of such Fiscal Year’s
     capital budget;

    Sixth, to replenish the balance of the Operating Reserve Fund and the Operating Account to a
     combined total of 135 Days Cash on Hand;

    Seventh, to replenish the balance of the Liquidity Fund for any draws made in order to restore
     the balance of the Liquidity Fund to $3 million; and

    Eighth, to pay deferred management fees which are due to the Sponsor, and

    Ninth, any remaining amounts after application of paragraphs first to eighth above (such
     remaining amounts referred to as “Excess Cash”) shall be transferred to the Operating
     Reserve Fund.


        4.9   Additional Terms of 2021 Bonds. Additional terms and conditions with respect
to the 2021 Bonds are set forth in the Restructuring Term Sheet and in the 2021 Bond Documents.
To the extent of any inconsistencies between the Restructuring Term Sheet and the 2021 Bond


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Documents, the 2021 Bond Documents shall govern the respective rights and obligations of the
parties.
         4.10 Sponsor Management Agreement. On or before the Effective Date, the
Management Agreement will be assumed (either by operation of the Plan or by order of Court)
provided that such management agreement shall provide for an annual management fee no greater
than 4.25% of gross operating revenues; provided further that no more than $30,000 shall be paid
each month as an operating expense with the balance payable from Excess Cash (as described in
the Plan).

        4.11 Section 1145 Exemption. Pursuant to section 1145 of the Bankruptcy Code, the
offering, issuance, and distribution of the 2021 Bonds shall be exempt from, among other things,
the registration and prospectus delivery requirements of Section 5 of the Securities Act of 1933
(as now in effect or hereafter amended) and any other applicable state or federal law requiring
registration and/or delivery of a prospectus prior to the offering, issuance, distribution, or sale of
securities. Any Entity who solicits or participates in the offer, issuance, sale, or purchase of the
2021 Bonds issued under, or in accordance with, the Plan, in good faith and in compliance with
the applicable provisions of the Bankruptcy Code, is not liable, on account of such solicitation or
participation, for violation of an applicable law, rule, or regulation governing solicitation of
acceptance or rejection of the Plan or the offer, issuance, sale, or purchase of securities pursuant
thereto.

       4.12 Assumption of Residency Agreements. On the Effective Date, the Reorganized
Debtors shall assume all of the Residency Agreements in their entirety.

       4.13 Reorganized Debtors’ Board of Directors. The existing members of the Boards
of Directors of the Debtors shall continue to be members of the Boards of Directors of the
Reorganized Debtors.

       4.14 Officers of the Reorganized Debtors. The existing officers of the Debtors shall
continue to be officers of the Reorganized Debtors.

        4.15 Employee Benefits. Except as otherwise provided herein, on and after the
Effective Date, the Reorganized Debtors may: (i) honor, in the ordinary course of business, any
contracts, agreements, policies, programs, and plans for, among other things, compensation, health
care benefits, disability benefits, deferred compensation benefits, travel benefits, savings,
severance benefits, retirement benefits, welfare benefits, workers’ compensation insurance, and
accidental death and dismemberment insurance for the directors, officers, and employees of the
Debtors who served in such capacity at any time, and (ii) honor, in the ordinary course of business,
Claims of employees employed as of the Effective Date for accrued vacation time arising before
the Petition Date; provided, however, that the Debtors’ or the Reorganized Debtors’ performance
under any employment agreement will not entitle any Entity to any benefit or alleged entitlement
under any policy, program, or plan that has expired or been terminated before the Effective Date,
or restore, reinstate, or revive any such benefit or alleged entitlement under any such policy,
program, or plan. Nothing herein shall limit, diminish, or otherwise alter the Reorganized Debtors’
or the Debtors’ defenses, claims, Causes of Action, or other rights with respect to any such
contracts, agreements, policies, programs, and plans.

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       4.16 Vesting of Assets in the Reorganized Debtors. Except as otherwise provided in
the Plan or any agreement, instrument, or other document incorporated therein, on the Effective
Date, or as soon as practicable thereafter, all property of the Debtors’ Estate and all Causes of
Action of the Debtors (except those released pursuant to the Releases by the Debtors) shall vest in
the Reorganized Debtors, free and clear of all Liens, Claims, charges, or other encumbrances
(except for Liens securing the 2021 Bonds). On and after the Effective Date, except as otherwise
provided in the Plan, the Reorganized Debtors may operate their business and may use, acquire,
or dispose of property and compromise or settle any Claims or Causes of Action without
supervision or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy
Code or Bankruptcy Rules.

        4.17 Restructuring Transactions. On the Effective Date or as soon as reasonably
practicable thereafter, the Debtors and the Reorganized Debtors may take all actions as may be
necessary or appropriate to effect any transaction described in, approved by, contemplated by, or
necessary to effectuate the Plan, including: (i) the execution and delivery of appropriate
agreements or other documents of merger, consolidation, restructuring, conversion, disposition,
transfer, dissolution, or liquidation containing terms that are consistent with the terms of the Plan
and that satisfy the applicable requirements of applicable law and any other terms to which the
applicable Entities may agree; (ii) the execution and delivery of appropriate instruments of
transfer, assignment, assumption, or delegation of any asset, property, right, liability, debt, or
obligation on terms consistent with the terms of the Plan and having other terms to which the
applicable Entities agree; (iii) the filing of appropriate certificates or articles of incorporation or
amendments thereof, reincorporation, merger, consolidation, conversion, or dissolution pursuant
to applicable state law; and (iv) all other actions that the applicable Entities determine to be
necessary or appropriate, including making filings or recordings that may be required by applicable
law.
        4.18 Corporate Action. Upon the Effective Date, all actions contemplated by the Plan
(whether to occur before, on, or after the Effective Date) shall be deemed authorized and approved
in all respects, and all matters provided for in the Plan involving the corporate structure of the
Debtors or the Reorganized Debtors and any corporate action required by the Debtors or the
Reorganized Debtors in connection with the Plan shall be deemed to have occurred and shall be in
effect, without any requirement of further action by the directors or officers of the Debtors or the
Reorganized Debtors. On or (as applicable) before the Effective Date, the appropriate officers of
the Debtors or the Reorganized Debtors, as applicable, shall be authorized and directed to issue,
execute, and deliver the agreements, documents, securities, certificates of incorporation, operating
agreements, and instruments contemplated by the Plan (or necessary or desirable to effect the
transactions contemplated by the Plan) in the name of and on behalf of the Debtors or the
Reorganized Debtors, as the case may be, and any and all other agreements, documents, securities,
and instruments relating to the foregoing.

         4.19 Section 1146 Exemption from Certain Taxes and Fees. Pursuant to section
1146(a) of the Bankruptcy Code, any transfer of property and any issuance, transfer, or exchange
of a security in connection with or pursuant to the Plan shall not be subject to any stamp, mortgage
recording, or other similar tax, charge, or governmental assessment in the United States, and the
Confirmation Order shall direct and be deemed to direct the appropriate state or local governmental

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officials or agents to forgo the collection of any such tax, charge, or governmental assessment and,
as applicable, to accept for filing and recordation instruments or other documents pursuant to such
transfer of property or to permit the issuance, transfer, or exchange of a security without the
payment of any such tax, charge, or governmental assessment. Such exemption specifically applies,
without limitation, to (i) the creation and recordation of any mortgage, deed of trust, lien, or other
security interest; (ii) the making or assignment of any lease or sublease; (iii) any restructuring
transaction authorized by the Plan, including, without limitation, any actions by Issuer in connection
with the cancellation of the 2016 Bonds and the issuance of the 2021 Bonds; or (iv) the making or
delivery of any deed or other instrument of transfer under, in furtherance of, or in connection with
the Plan, including: (a) any merger agreements; (b) agreements of consolidation, restructuring,
disposition, liquidation, or dissolution; (c) deeds; or (d) assignments executed in connection with
any transaction occurring under the Plan.

         4.20 Preservation of Causes of Action of the Debtors. In accordance with section
1123(b) of the Bankruptcy Code, and except where such Causes of Action have been expressly
released (including, for the avoidance of doubt, the Exculpated Claims against the Exculpated
Parties and the Debtor Released Claims against the Released Parties), the Reorganized Debtors
shall retain and may enforce all rights to commence and pursue, as appropriate, any and all Causes
of Action, including those Causes of Action listed in the Plan Supplement, whether arising before
or after the Petition Date, and the Reorganized Debtors’ right to commence, prosecute, or settle
such Causes of Action shall be preserved notwithstanding the occurrence of the Effective Date. The
Reorganized Debtors may pursue such Causes of Action, as appropriate, in accordance with the
best interests of the Reorganized Debtors. No Entity may rely on the absence of a specific reference
in the Plan Supplement, the Plan, or the Disclosure Statement to any Cause of Action against such
Entity as any indication that the Debtors or the Reorganized Debtors, as applicable, will not pursue
any and all available Causes of Action against such Entity. Except with respect to Causes of Action
as to which the Debtors or the Reorganized Debtors have released any Entity on or before the
Effective Date (including pursuant to the Releases by the Debtors or otherwise), the Debtors or the
Reorganized Debtors, as applicable, expressly reserves all rights to prosecute any and all Causes of
Action against any Entity, except as otherwise expressly provided in the Plan. Unless any Causes
of Action against an Entity are expressly waived, relinquished, exculpated, released, compromised,
or settled in the Plan or by an order of the Bankruptcy Court, the Reorganized Debtors expressly
reserves all Causes of Action for later adjudication and, therefore, no preclusion doctrine, including
the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel
(judicial, equitable, or otherwise), or laches, shall apply to such Causes of Action upon, after, or as
a consequence of the confirmation or consummation of the Plan. For the avoidance of doubt,
nothing in this Section 4.20 of the Plan shall affect the “Release by the Debtor” provided in Section
8.2 of the Plan.




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                         SECTION 5.
      TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

        5.1     Assumption and Rejection of Executory Contracts and Unexpired Leases.
Except as otherwise provided in the Plan or in an order of the Bankruptcy Court, or in any contract,
instrument, release, indenture, or other agreement or document entered into in connection with the
Plan, each of the Executory Contracts and Unexpired Leases of the Debtors will be deemed
assumed as of the Effective Date, unless such Executory Contract or Unexpired Lease: (i) was
assumed or rejected previously by the Debtors; (ii) expired or terminated pursuant to its own terms
before the Effective Date; (iii) is the subject of a motion to reject filed on or before the Effective
Date; or (iv) is identified as an Executory Contract or Unexpired Lease to be rejected in the Plan
Supplement filed on or before the Effective Date. Notwithstanding anything contained in this
Plan to the contrary, each Residency Agreement, and all obligations arising thereunder,
including the payment of Refunds and all other entrance deposits and fees, will be assumed
by the Reorganized Debtors, as of the Effective Date, pursuant to this Plan. Entry of the
Confirmation Order shall constitute a Bankruptcy Court order approving the assumption or
rejection of such Executory Contracts or Unexpired Leases as set forth in the Plan, all pursuant to
sections 365(a) and 1123 of the Bankruptcy Code. Unless otherwise indicated, all assumptions or
rejections of Executory Contracts and Unexpired Leases pursuant to the Plan are effective as of
the Effective Date. Each Executory Contract or Unexpired Lease assumed pursuant to the Plan or
by Bankruptcy Court order but not assigned to a third party before the Effective Date shall revert
in and be fully enforceable by the Reorganized Debtors in accordance with its terms, except as
such terms may have been modified by such order. Notwithstanding anything to the contrary in
the Plan, the Debtors or the Reorganized Debtors, as applicable, reserve the right to alter, amend,
modify, or supplement the list of Executory Contracts and Unexpired Leases identified in the Plan
Supplement at any time before the Effective Date. After the Effective Date, the Reorganized
Debtors shall have the right to terminate, amend, or modify any contracts, leases, or other
agreements without approval of the Bankruptcy Court, subject to the terms thereof.

        5.2     Claims Based on Rejection of Executory Contracts or Unexpired Leases. All
Proofs of Claim with respect to Claims arising from the rejection of Executory Contracts or
Unexpired Leases, if any, must be filed with the Bankruptcy Court within 30 days after the date of
entry of an order of the Bankruptcy Court (including the Confirmation Order) approving such
rejection; provided, that any such Claims arising from the rejection of an Unexpired Lease shall
be subject to the cap on rejection damages imposed by section 502(b)(6) of the Bankruptcy Code.
Any Claims arising from the rejection of an Executory Contract or Unexpired Lease not filed with
the Bankruptcy Court within such time will be automatically disallowed and forever barred from
assertion and shall not be enforceable against the Debtors, the Reorganized Debtors, the Estates,
or their property, without the need for any objection by the Debtors or the Reorganized Debtors or
further notice to, action by, or order or approval of the Bankruptcy Court. All Allowed Claims
arising from the rejection of the Debtors’ Executory Contracts or Unexpired Leases shall be
classified as Class 5 General Unsecured Claims and shall be treated in accordance with the Plan.

       5.3      Cure of Defaults for Assumed Executory Contracts and Unexpired Leases.
Any monetary amounts by which any Executory Contract or Unexpired Lease to be assumed under
the Plan is in default shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by

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Cure. If there is a dispute regarding (i) the nature or amount of any Cure; (ii) the ability of the
Reorganized Debtors to provide “adequate assurance of future performance” (within the meaning
of section 365 of the Bankruptcy Code) under the Executory Contract or Unexpired Lease to be
assumed; or (iii) any other matter pertaining to assumption, Cure shall occur following the entry
of a Final Order of the Bankruptcy Court resolving the dispute and approving the assumption.
Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise shall
result in the full waiver, release, and satisfaction of any Claims or defaults, whether monetary or
nonmonetary, including defaults of provisions restricting change in control or ownership interest
composition and other bankruptcy-related defaults, arising under any assumed Executory Contract
or Unexpired Lease at any time before the effective date of the assumption.

        5.4    Insurance Policies. Notwithstanding anything herein to the contrary, as of the
Effective Date, the Debtors shall assume (and assign to the Reorganized Debtors if necessary to
continue the Insurance Policies in full force) all of their Insurance Policies pursuant to section
365(a) of the Bankruptcy Code. Entry of the Confirmation Order shall constitute the Bankruptcy
Court’s approval of the Debtors’ foregoing assumption and assignment of each of the Insurance
Policies.

        5.5     Modifications, Amendments, Supplements, Restatements, or Other
Agreements. Unless otherwise provided, each Executory Contract or Unexpired Lease that is
assumed shall include all modifications, amendments, supplements, restatements, or other
agreements that in any manner affect such Executory Contract or Unexpired Lease, and all
Executory Contracts and Unexpired Leases related thereto, if any, including all easements,
licenses, permits, rights, privileges, immunities, options, rights of first refusal, and any other
interests, unless any of the foregoing agreements has been previously rejected or repudiated, or is
rejected or repudiated under the Plan. Modifications, amendments, supplements, and restatements
to prepetition Executory Contracts and Unexpired Leases that have been executed by the Debtors
during the Cases shall not be deemed to alter the prepetition nature of the Executory Contract or
Unexpired Lease, or the validity, priority, or amount of any Claims that may arise in connection
therewith, unless such Executory Contract or Unexpired Lease has been previously assumed by
the Debtors.

        5.6     Centers For Medicare and Medicaid Services. In addition to the provisions of
section 5.1 of the Plan, the following special provisions shall apply to the assumption and cure of
the Debtor’s Medicare Provider Agreement. In the event of an inconsistency between sections 5.1
and 5.6, the provisions of this section 5.6 shall govern.

       A. Medicare Assumption Date. Provided that all issues regarding Debtor’s cure of any
          defaults under its Medicare provider agreement on the Confirmation Date are addressed
          to the satisfaction of Centers for Medicare & Medicaid Services (“CMS”), the Debtor
          shall assume the Medicare provider agreement on the Effective Date (“Medicare
          Assumption Date”).




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       B. Cure Prior to the Medicare Assumption Date. Prior to the Medicare Assumption
          Date:

           (1) Compliance with Program Requirements. Debtor will comply with all applicable
           Medicare program requirements as set forth in Title XVIII the Social Security Act, 42
           U.S.C. § 1395 et seq. (“Medicare Act”), and all relevant regulations, rules and CMS
           manual provisions.

           (2) Cure. Apart from the provision for identified monetary defaults below, nothing
           withstanding anything to the contrary in the Plan and any exhibits thereto (now or as
           amended), or Order of Confirmation of a Plan, the term “cure,” for purposes of Debtor’s
           assumption of the Medicare provider agreement, means being governed by, and subject
           to, the terms and conditions of its Medicare provider agreement and the incorporated
           statutes, regulations, policies and procedures; and to remain liable for any debt to CMS
           as if the bankruptcy case had not occurred.

           (3) Cure of Specific Monetary Defaults Identified Prior to the Assumption
           Date. Except as otherwise provided by mutual agreement between CMS and Debtor in
           a separate written agreement, compromise and/or extended liquidation schedule that
           Debtor and CMS may (but are not obligated to) enter into prior to the Medicare
           Assumption Date, Debtor must cure all monetary defaults due under the Medicare
           provider agreement that CMS has identified to the Debtor in writing before the
           Medicare Assumption Date.

CMS’s right to cure of such identified monetary defaults will be in addition to and without
limitation upon its right to recoup of Medicare debts or its other rights and authorities under the
Medicare Act. If Debtor and/or CMS propose a separate agreement, compromise and/or extended
liquidation schedule, the process for consideration of any such proposal will remain governed by
the Medicare Act, as well as all relevant regulations, rules, and CMS manual provisions, as if
Debtor were not in bankruptcy.

        C. CMS Claims Unimpaired. Without limiting CMS’s right to payment of specific
identified monetary defaults under the Medicare provider agreement that must be cured prior to
assumption as set forth above, all of CMS’s claims shall be unimpaired under 11 U.S.C. § 1124
and no court order entered in the Chapter 11 Case, including without limitation an order confirming
a plan of reorganization in this case, shall alter, modify or impair or be deemed to alter, modify
or impair any right, term or provision in the Debtor’s agreements with CMS.

        (1) Any amounts due on such claims shall be collected in the ordinary course of business,
and the United States, on behalf of CMS, shall not be required to file any separate claim in the
bankruptcy to collect any amounts due to CMS under the Medicare program, whether via proof of
claim, claim for cure, or administrative claim.

       (2) Nothing contained in the Plan and any exhibits thereto (now or as amended) or Order
of Confirmation of a Plan shall release or operate to enjoin any claim of the United States, on
behalf of CMS, against the Debtor or any non-debtor.



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        (3) Notwithstanding any provision of the Plan and any exhibits thereto (now or as
amended), or Order of Confirmation of a Plan, all agreements, issues, and disputes arising under
the Medicare Act, 42 U.S.C. § 1395, et seq., shall be governed exclusively by Medicare statutes,
regulations, policies and procedures, without regard to the Bankruptcy Code or Bankruptcy
Rules. Judicial review of any final Medicare determinations after exhaustion of jurisdictionally
required administrative remedies would lie in the statutorily designated federal court in accordance
with the Medicare Act. 42 U.S.C. §§ 405(h) & 1395ii; see, e.g., 42 U.S.C. §§ 405(g), 1395ff,
1395oo.

       5.7     Contracts and Leases Entered Into After the Petition Date. Notwithstanding
any other provision in the Plan, contracts and leases entered into after the Petition Date by the
Debtors, including any Executory Contracts and Unexpired Leases assumed by the Debtors, will
be performed by the Debtors or the Reorganized Debtors in the ordinary course of their business.
Accordingly, such contracts and leases (including any assumed Executory Contracts and
Unexpired Leases) will survive and remain unaffected by entry of the Confirmation Order.

        5.8    Reservation of Rights. Nothing contained in this Plan or the Plan Supplement shall
constitute an admission by the Debtors that any contract or lease is in fact an Executory Contract
or Unexpired Lease or that the Reorganized Debtors has any liability thereunder. If there is a
dispute regarding whether a contract or lease is or was executory or unexpired at the time of
assumption or rejection, the Debtors or the Reorganized Debtors, as applicable, shall have 45 days
following entry of a Final Order resolving such dispute to alter the treatment of such contract or
lease.

                                 SECTION 6.
                       PROVISIONS GOVERNING DISTRIBUTIONS

        6.1     Timing and Calculation of Amounts to Be Distributed. Except as otherwise
provided in the Plan, on the Effective Date or as soon as reasonably practicable thereafter (or if a
Claim is not an Allowed Claim on the Effective Date, on the date that such a Claim becomes an
Allowed Claim, or as soon as reasonably practicable thereafter), each holder of an Allowed Claim
against the Debtors shall receive the full amount of the distributions that the Plan provides for
Allowed Claims in the applicable Class and in the manner provided herein. In the event that any
payment or act under the Plan is required to be made or performed on a date that is not a Business
Day, then the making of such payment or the performance of such act may be completed on the
next succeeding Business Day, but shall be deemed to have been completed as of the required date.
If and to the extent that there are Disputed Claims, distributions on account of any such Disputed
Claims shall be made pursuant to the provisions set forth in the Plan. Except as otherwise provided
for in the Plan, holders of Claims shall not be entitled to interest, dividends, or accruals on the
distributions provided for herein, regardless of whether such distributions are delivered on or at
any time after the Effective Date.

        6.2    Distributions. Except as otherwise provided in the Plan, all distributions under the
Plan shall be made by the Reorganized Debtors. With respect to the issuance of the 2021 Bonds,
such bonds shall be deemed issued and exchanged as of the Effective Date without presentment
by the beneficial owners. The Distribution Record Date in connection with the holders of the 2016

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Bonds shall be as early as practicable so as to enable the Debtors, the Issuer, and their respective
agents to comply with the customary practices and procedures of the Depository Trust Company.
All Cash distributions to be made to beneficial holders of the 2016 Bonds shall be made to the
2016 Bond Trustee, which shall make such distributions to the beneficial holders of the 2016
Bonds in accordance with the terms of the 2016 Indenture.

        6.3     Payments and Distributions on Disputed Claims. Distributions made after the
Effective Date to holders of Disputed Claims that are not Allowed Claims as of the Effective Date
but that later become Allowed Claims shall be deemed to have been made on the Effective Date.

         6.4    Special Rules for Distributions to Holders of Disputed Claims.
Notwithstanding any other provision of the Plan and except as may be agreed to by the Debtors or
the Reorganized Debtors, on the one hand, and the holder of a Disputed Claim, on the other hand,
no partial payments and no partial distributions shall be made with respect to any Disputed Claim
until all Disputed Claims held by the holder of such Disputed Claim have become Allowed Claims
or have otherwise been resolved by settlement or Final Order.

        6.5     Delivery of Distributions in General. Except as otherwise provided in the Plan,
distributions to holders of Allowed Claims shall be made to holders of record as of the Distribution
Record Date by the Reorganized Debtors. Distributions to holders of Allowed Claims will be made
at the address of each such holder as set forth in the Debtors’ books and records, except that, in
the case of holders of the 2016 Bonds, distributions will be made by means of book-entry exchange
through the facilities of the Depository Trust Company in accordance with the customary practices
of the Depository Trust Company, as and to the extent practicable. Distributions under the Plan on
account of Allowed Claims shall not be subject to levy, garnishment, attachment, or like legal
process, so that each holder of an Allowed Claim shall have and receive the benefit of the
distributions in the manner set forth in the Plan. Neither the Debtors, nor the Reorganized Debtors,
shall incur any liability whatsoever on account of any distributions under the Plan except for gross
negligence, willful misconduct, or fraud.

        6.6     Undeliverable Distributions and Unclaimed Property. In the event that any
distribution to any holder is returned as undeliverable, the Reorganized Debtors shall use
reasonable efforts to determine the current address of such holder. No distribution to such holder
shall be made unless and until the Reorganized Debtors have determined such holder’s then current
address, at which time such distribution shall be made as soon as practicable; provided, however,
that such distributions shall be deemed unclaimed property under section 347(b) of the Bankruptcy
Code and forfeited at the expiration of six months from the Distribution Date. After such date, all
“unclaimed property” or interests in property shall revert to the Reorganized Debtors
(notwithstanding any applicable federal or state escheat or abandoned or unclaimed property laws
to the contrary), and the Claim of any holder to such property shall be discharged and forever
barred.

       6.7     Withholding and Reporting Requirements. In connection with the Plan and all
instruments issued in connection therewith, the Reorganized Debtors shall comply with all
applicable withholding and reporting requirements imposed by any federal, state, or local taxing


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authority, and all distributions under the Plan shall be subject to any such withholding or reporting
requirements.

        6.8     Setoffs. Except as otherwise provided in this Plan and subject to applicable law,
the Debtors and the Reorganized Debtors as applicable, may, pursuant to the Bankruptcy Code
(including section 553 of the Bankruptcy Code), applicable non-bankruptcy law, or as may be
agreed to by the holder of a Claim, setoff against any Allowed Claim (which setoff shall be made
against the Allowed Claim, not against any distributions to be made under the Plan with respect to
such Allowed Claim), any claims, rights, and Causes of Action of any nature that the Debtors may
hold against the holder of such Allowed Claim, to the extent such claims, rights, or Causes of
Action against such holder have not been otherwise released, waived, relinquished, exculpated,
compromised, or settled on or prior to the Effective Date (whether pursuant to the Plan or
otherwise), and any distribution to which a holder is entitled under the Plan shall be made on
account of the Claim, as reduced after application of the setoff described above. In no event shall
any holder of a Claim be entitled to setoff any Claim against any claim, right, or Cause of Action
of the Debtors or Reorganized Debtors unless such holder obtains entry of a Final Order entered
by the Bankruptcy Court authorizing such setoff or unless such setoff is otherwise agreed to in
writing by the Debtors and a holder of a Claim; provided, that, where there is no written agreement
between the Debtors or Reorganized Debtors, as applicable, and a holder of a Claim authorizing
such setoff, nothing herein shall prejudice or be deemed to have prejudiced the right of the Debtors
or the Reorganized Debtors, as applicable, to assert that any holder’s setoff rights were required to
have been asserted by motion to the Bankruptcy Court prior to the Effective Date. This Section
shall not be applicable to the distributions to be made to or for the benefit of the beneficial holders
of the 2016 Bonds.

        6.9     Insurance Claims. No distributions under the Plan shall be made on account of an
Allowed Claim until the holder of such Allowed Claim has exhausted all remedies with respect to
the Debtors’ Insurance Policies. To the extent that one or more of the Debtors’ insurers agrees to
satisfy in full a Claim, then immediately upon such agreement, such Claim may be expunged
without an objection to such Claim having to be filed and without any further notice to, action by,
or order or approval of the Bankruptcy Court.

        6.10 Applicability of Insurance Policies. Except as otherwise provided in the Plan,
distributions to holders of Allowed Claims shall be made in accordance with the provisions of any
applicable Insurance Policy. Except as expressly provided in the Plan, nothing contained in the
Plan shall constitute or be deemed a waiver of any Cause of Action that the Debtors or any Entity
may hold against any other Entity, including insurers under any Insurance Policies, nor shall
anything contained herein constitute or be deemed a waiver by such insurers of any defenses,
including coverage defenses, held by such insurers.

        6.11 Allocation of Distributions Between Principal and Unpaid Interest. With the
exception of distributions on account of the 2016 Bonds, which shall be treated as provided in
Classes 2 and 3 herein, to the extent that any Claim entitled to a distribution under the Plan is
comprised of indebtedness and accrued but unpaid interest thereon, such distribution shall, for U.S.
federal income tax purposes, be allocated on the Debtors’ books and records to the principal


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amount of the Claim first and then, to the extent the consideration exceeds the principal amount of
the Claim, to the accrued but unpaid interest.

        6.12 Interest on Claims. Unless otherwise specifically provided for in the Plan
(including interest payable under the 2016 Bonds), postpetition interest will not accrue or be paid
on Claims, and no Claim holder will be entitled to interest accruing on or after the Petition Date
on any Claim. Similarly, unless otherwise specifically provided for in the Plan, postpetition interest
will not accrue or be paid on any Disputed Claim in respect of the period from the Petition Date to
the date a final distribution is made thereon if and after such Disputed Claim becomes an Allowed
Claim.

                                SECTION 7.
                     PROCEDURES FOR RESOLVING CONTINGENT,
                       UNLIQUIDATED, AND DISPUTED CLAIMS

        7.1     Prosecution of Objections to Claims. The Debtors or the Reorganized Debtors,
as applicable, shall have the exclusive authority to file, settle, compromise, withdraw, or litigate
to judgment any objections to Claims as permitted under the Plan. From and after the Effective
Date, the Reorganized Debtors may settle or compromise any Disputed Claim without approval of
the Bankruptcy Court. The Reorganized Debtors reserve all rights to resolve any Disputed Claim
outside the Bankruptcy Court under applicable governing law.

        7.2    Retention of Debtors’ Rights and Defenses. Except as expressly provided in this
Plan or in any order entered in the Cases before the Effective Date (including the Confirmation
Order), the Reorganized Debtors after the Effective Date will have and retain any and all rights
and defenses held by the Debtors with respect to any Claim as of the Petition Date. This section
shall not be applicable to the 2016 Bond Trustee or the beneficial holders of the 2016 Bonds.

         7.3    Distributions After Allowance. As soon as practicable following the date that the
order or judgment of the Bankruptcy Court allowing any Disputed Claim becomes a Final Order,
the Debtors shall provide to the holder of such Claim the distribution (if any) to which such holder
is entitled under the Plan, without any interest to be paid on account of such Claim.

        7.4    Estimation of Claims. The Debtors (before the Effective Date) or the Reorganized
Debtors (on or after the Effective Date) may, at any time, and from time to time, request that the
Bankruptcy Court estimate any Disputed Claim pursuant to section 502(c) of the Bankruptcy Code
regardless of whether an objection was previously filed with the Bankruptcy Court with respect to
such Claim, or whether the Bankruptcy Court has ruled on any such objection, and the Bankruptcy
Court will retain jurisdiction to estimate any Claim at any time during litigation concerning any
objection to any Claim, including during the pendency of any appeal relating to any such objection.
In the event that the Bankruptcy Court estimates any Disputed Claim, that estimated amount will
constitute either the Allowed amount of such Claim or a maximum limitation on such Claim
against any party or Entity, as determined by the Bankruptcy Court. If the estimated amount
constitutes a maximum limitation on such Claim, the Debtors or the Reorganized Debtors, as
applicable, may elect to pursue any supplemental proceedings to object to any ultimate distribution
on such Claim. All of the objection, estimation, settlement, and resolution procedures set forth in

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the Plan are cumulative and not necessarily exclusive of one another. Claims may be estimated
and subsequently compromised, objected to, settled, withdrawn, or resolved by any mechanism
approved by the Bankruptcy Court.

                            SECTION 8.
        SETTLEMENT, RELEASE, INJUNCTION AND RELATED PROVISIONS

        8.1      Compromise and Settlement of Claims, Interests and Controversies. Pursuant
to section 1123 of the Bankruptcy Code and Federal Bankruptcy Rule 9019 and in consideration
for the distributions and other benefits provided pursuant to this Plan, the provisions of this Plan
shall constitute a good faith compromise of all Claims, Interests, and controversies relating to the
contractual, legal, and subordination rights that a holder of a Claim or Interest may have with
respect to any Allowed Claim or Interest, or any distribution to be made on account of such
Allowed Claim or Interest. The entry of the Confirmation Order shall constitute the Bankruptcy
Court’s approval of the compromise or settlement of all such Claims, Interests, and controversies,
as well as a finding by the Bankruptcy Court that such compromise or settlement is in the best
interests of the Debtors, their Estate, and holders of Claims and Interests and is fair, equitable, and
reasonable. In accordance with the provisions of this Plan, pursuant to section 363 of the
Bankruptcy Code and Federal Bankruptcy Rule 9019(a), without any further notice to, action by,
or order or approval of the Bankruptcy Court, after the Effective Date, the Reorganized Debtors
may compromise and settle Claims against it and Causes of Action against other Persons. The
Reorganized Debtors shall provide the Bond Trustee notice of any settlements in excess of
$10,000.00.

        8.2     Releases by the Debtors. Pursuant to section 1123(b) of the Bankruptcy Code, and
except as specifically provided in the Plan, for good and valuable consideration, on and after the
Effective Date, each Debtor Released Party is deemed released by the Debtors, the Estates, and
the Reorganized Debtors from any and all claims, obligations, rights, suits, damages, Causes of
Action, remedies, and liabilities whatsoever, including any derivative claims, asserted or assertible
by behalf of the Debtors or the Reorganized Debtors, as applicable, whether known or unknown,
foreseen or unforeseen, existing or hereinafter arising, in law, equity, or otherwise, that the
Debtors, the Estates, or the Reorganized Debtors would have been legally entitled to assert in their
own right (whether individually or collectively), by or on behalf of the Holder of any Claim or
Interest or other entity, based on or related to, or in any manner arising from, in whole or in part,
the Debtors, the 2016 Bond Documents, the Cases, the purchase, sale, or rescission of the purchase
or sale of any security of the Debtors or the Reorganized Debtors, the subject matter of, or the
transactions or events giving rise to, any Claim or Interest that is treated in the Plan, the business
or contractual arrangements between any Debtor and any Released Party, the restructuring of
Claims and Interests prior to or in the Cases, the negotiation, formulation, or preparation of the
any agreement or other document formalizing the transactions contemplated by the Plan, or related
agreements, instruments, or other documents (including, for the avoidance of doubt, providing any
legal opinion requested by any entity regarding any transaction, contract, instrument, document,
or other agreement contemplated by the Plan or the reliance by any Released Party on the Plan or
the Confirmation Order in lieu of such legal opinion), upon any other act or omission, transaction,
agreement, event, or other occurrence taking place on or before the Effective Date, other than
claims or liabilities arising out of or relating to any act or omission of a Released Party that

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constitutes actual fraud, willful misconduct, or gross negligence or any breach of the Plan Support
Agreement by a Released Party (collectively, the “Debtor Released Claims”).


       8.3 Limited Releases by Holders of Claims. As of the Effective
Date and except as set forth in the Plan (including but not limited to
all obligations of the Debtors and Reorganized Debtors under the
Plan which shall not be deemed released), each holder of a Claim or
Interest (including Bondholders) shall be deemed to have
conclusively, absolutely, unconditionally, irrevocably and forever,
released and discharged the Released Parties from any and all
Claims, Interests, obligations, rights, suits, damages, Causes of
Action, remedies and liabilities whatsoever, including any derivative
Claims assertible on behalf of the Debtors, whether known or
unknown, foreseen or unforeseen, existing or hereafter arising, in
law, equity or otherwise, that such Person would have been legally
entitled to assert (whether individually or collectively), based on or
relating to, or in any manner arising from, in whole or in part, the
preparation, negotiation, Court approval or confirmation of the Plan,
the Disclosure Statement or related agreements, documents or
instruments, or the filing of any motion or document (or the failure
to take action) in the Debtor’s Cases (collectively, “Released
Claims”), provided, however, the Released Claims shall not include
any Claim (i) which arises out of or relates to any Executory Contract
which is assumed by the Debtor through the Plan, including all
Residency Agreements which are assumed by the Debtor through the
Plan; (ii) which arises out of or relates to any act or omission of that
party constituting willful misconduct or gross negligence; or any
Claim that arises from facts and circumstances other than those
which are specifically enumerated above in this section of the Plan, or
(iii) which relates to the Sponsor’s ownership interest or involvement
in any facilities other than the Debtor. Further, nothing contained in
this Plan or the Disclosure Statement, or any other document filed in
connection with such documents, shall release or be deemed to release
the Released Parties from any Cause of Action held by a
governmental entity existing as of the Effective Date based on any
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law, rule or regulation related to the Center for Medicare Services or
the Department of Health and Human Services with respect to
Medicare reimbursement or recoupment of amounts paid by the
Center for Medicare Services which may be subject to a recoupment
claim of such agencies or entities made either before or after the
Effective Date. The releases described above and set forth above in
the Plan do not release any post-Effective Date obligations of any
party under the Plan or any document, instrument, or agreement
(including those set forth in the Plan Supplement, including the 2021
Bond Documents) executed to implement the Plan, including, without
limitation, any legal opinion requested or required by an entity
regarding any transaction, contract, instrument, document, or other
agreement contemplated by the Plan (inclusive of the tax opinion).
For purposes of the Plan and this section of the Plan, the term
“Released Party or Released Parties means each of the following: (i)
the Debtors and their member or members, (ii) the Reorganized
Debtors and their member or members, (iii) each member of a
Consenting Holder in any capacity, (iv) the Issuer, (v) the 2016 Bond
Trustee in any capacity, (vi) the 2016 Master Trustee in any capacity,
(vii) the 2021 Bond Trustee in any capacity, (viii) the 2021 Master
Trustee in any capacity, and (ix) the current and former affiliates,
subsidiaries, officers, directors, members, managers, principals,
employees, agents, attorneys, financial advisors, accountants,
investment bankers, consultants, representatives, and other
professionals, each in their respective capacities as such, of each of
the parties described in clauses (i) through (ix).
        8.4    Limitation on the Scope of the Releases In Sections 8.2 and 8.3 of the Plan.
Notwithstanding anything to the contrary, the releases set forth above in sections 8.2 and 8.3 of
this Plan do not release any post-Effective Date obligations of any party under the Plan or any
document, instrument, or agreement (including those set forth in the Plan Supplement, including
the 2021 Bond Documents) executed to implement the Plan, including, without limitation, any
legal opinion requested or required by an entity regarding any transaction, contract, instrument,
document, or other agreement contemplated by the Plan (inclusive of a tax opinion).

       8.5    Exculpation. Except as otherwise specifically provided in the Plan, each Debtor,
each Reorganized Debtor, the Estates, and each Released Party is hereby released and exculpated
from any claim, obligation, Cause of Action, or liability for any Exculpated Claim, except to the

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extent such claim, obligation, Cause of Action, or liability arises from actual fraud, willful
misconduct, or gross negligence or the breach of the Plan Support Agreement (notwithstanding
advice of counsel), but in all respect such entities shall be entitled to reasonably rely upon the
advice of counsel with respect to their duties and responsibilities pursuant to the Plan. The Debtors,
the Reorganized Debtors, the Estates, and the Released Parties have, and upon completing of the
Plan shall be deemed to have, participated in good faith and in compliance with applicable law
with regard to the restructuring of the Claims and Interests in the Cases and in connection with the
transactions contemplated by the Plan, the negotiation, formulation, or preparing any agreement
or other document formalizing the transactions contemplated by the Plan, or any related
agreements, instruments, or other documents (including the 2021 Bond Documents and documents
and instruments related thereto and any legal opinion requested by an entity regarding any
transaction, contract, instrument, document, or other agreement contemplated by the Plan or the
reliance by any Released Party on the Plan or the Confirmation Order in lieu of such legal opinion)
in connection with the Plan, and the solicitation and distribution of the Plan and, therefore, are not,
and on account of such distributions shall not be, liable at any time for the violation of any
applicable law, rule, or regulation governing the solicitation of acceptances or rejections of the
Plan or such distributions made pursuant to the Plan.

         8.6     Discharge of Claims. Pursuant to section 1141(d) of the Bankruptcy Code, and
except as otherwise specifically provided in the Bar Date Order, in the Plan, or in any contract,
instrument, or other agreement or document created pursuant to the Plan (including, but not limited
to, the 2016 Bond Documents), the distributions, rights, and treatment that are provided in the Plan
shall be in full and final satisfaction, settlement, release, and discharge, effective as of the Effective
Date, of all Claims and Causes of Action of any nature whatsoever, including any interest accrued
on Claims from and after the Petition Date, whether known or unknown, against liabilities of,
Liens on, obligations of, and rights against the Debtors or any of their assets or properties,
regardless of whether any property shall have been distributed or retained pursuant to the Plan on
account of such Claims, including demands, liabilities, and Causes of Action that arose before the
Effective Date, any contingent or non-contingent liability on account of representations or
warranties issued on or before the Effective Date, and all debts of the kind specified in sections
502(g), 502(h), or 502(i) of the Bankruptcy Code, in each case whether or not: (i) a Proof of Claim
based upon such Claim, debt, or right is filed or deemed filed pursuant to section 501 of the
Bankruptcy Code; (ii) a Claim based upon such Claim, debt, or right is Allowed pursuant to section
502 of the Bankruptcy Code; or (iii) the holder of such a Claim has accepted the Plan. Except as
otherwise provided herein, any default by the Debtors with respect to any Claim that existed before
or on account of the filing of the Cases shall be deemed cured on the Effective Date. The
Confirmation Order shall be a judicial determination of the discharge of all Claims subject to the
Effective Date occurring, except as otherwise expressly provided in the Plan.

        8.7     Injunction.

FROM AND AFTER THE EFFECTIVE DATE, ALL ENTITIES ARE PERMANENTLY
ENJOINED FROM COMMENCING OR CONTINUING IN ANY MANNER, ANY SUIT,
ACTION, OR OTHER PROCEEDING, ON ACCOUNT OF OR RESPECTING ANY
CLAIM, DEMAND, LIABILITY, OBLIGATION, DEBT, RIGHT, CAUSE OF ACTION,



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INTEREST, OR REMEDY RELEASED OR TO BE RELEASED PURSUANT TO THE
PLAN OR THE CONFIRMATION ORDER.

FROM AND AFTER THE EFFECTIVE DATE, TO THE EXTENT OF THE RELEASES
AND EXCULPATION GRANTED IN THE PLAN, ALL RELEASING PARTIES SHALL
BE PERMANENTLY ENJOINED FROM COMMENCING OR CONTINUING IN ANY
MANNER AGAINST THE RELEASED PARTIES AND THE EXCULPATED PARTIES
AND THEIR ASSETS AND PROPERTIES, AS THE CASE MAY BE, ANY SUIT,
ACTION, OR OTHER PROCEEDING ON ACCOUNT OF, IN CONNECTION WITH, OR
WITH RESPECT TO ANY CLAIM, DEMAND, LIABILITY, OBLIGATION, DEBT,
RIGHT, CAUSE OF ACTION, INTEREST, OR REMEDY RELEASED OR TO BE
RELEASED PURSUANT TO THE PLAN.

EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THE PLAN, THE PLAN
SUPPLEMENT, OR RELATED DOCUMENTS, OR FOR OBLIGATIONS ISSUED
PURSUANT TO THE PLAN (INCLUDING, BUT NOT LIMITED TO, THE
OBLIGATIONS RELATING TO THE 2021 BONDS), ALL ENTITIES WHO HAVE
HELD, HOLD, OR MAY HOLD CLAIMS OR INTERESTS THAT HAVE BEEN
RELEASED, DISCHARGED, OR ARE SUBJECT TO EXCULPATION, ARE
PERMANENTLY ENJOINED, FROM AND AFTER THE EFFECTIVE DATE, FROM
TAKING ANY OF THE FOLLOWING ACTIONS: (I) COMMENCING OR
CONTINUING IN ANY MANNER ANY ACTION OR OTHER PROCEEDING OF ANY
KIND ON ACCOUNT OF, IN CONNECTION WITH, OR WITH RESPECT TO ANY
SUCH CLAIMS OR INTERESTS; (II) ENFORCING, ATTACHING, COLLECTING, OR
RECOVERING BY ANY MANNER OR MEANS ANY JUDGMENT, AWARD, DECREE,
OR ORDER AGAINST SUCH ENTITIES ON ACCOUNT OF, IN CONNECTION WITH,
OR WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS; (III) CREATING,
PERFECTING, OR ENFORCING ANY ENCUMBRANCE OF ANY KIND AGAINST
SUCH ENTITIES OR THE PROPERTY OR ESTATE OF SUCH ENTITIES ON
ACCOUNT OF, IN CONNECTION WITH, OR WITH RESPECT TO ANY SUCH
CLAIMS OR INTERESTS; AND (IV) COMMENCING OR CONTINUING IN ANY
MANNER ANY ACTION OR OTHER PROCEEDING OF ANY KIND ON ACCOUNT OF,
IN CONNECTION WITH, OR WITH RESPECT TO ANY SUCH CLAIMS OR
INTERESTS RELEASED, SETTLED, OR DISCHARGED PURSUANT TO THE PLAN.

THE RIGHTS AFFORDED IN THE PLAN AND THE TREATMENT OF ALL CLAIMS
AND INTERESTS HEREIN SHALL BE IN EXCHANGE FOR AND IN COMPLETE
SATISFACTION OF ALL CLAIMS AND INTERESTS OF ANY NATURE
WHATSOEVER, INCLUDING ANY INTEREST ACCRUED ON CLAIMS FROM AND
AFTER THE PETITION DATE, AGAINST THE DEBTORS OR ANY OF THEIR
ASSETS, PROPERTY, OR ESTATES. ON THE EFFECTIVE DATE, ALL SUCH
CLAIMS AGAINST THE DEBTORS SHALL BE FULLY RELEASED AND
DISCHARGED, AND THE INTERESTS SHALL BE CANCELLED (EXCEPT AS
OTHERWISE EXPRESSLY PROVIDED IN THE PLAN).




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EXCEPT AS OTHERWISE EXPRESSLY PROVIDED FOR IN THE PLAN OR IN
OBLIGATIONS ISSUED PURSUANT TO THE PLAN (INCLUDING, BUT NOT
LIMITED TO, THE OBLIGATIONS RELATING TO THE 2021 BONDS) FROM AND
AFTER THE EFFECTIVE DATE, ALL CLAIMS AGAINST THE DEBTORS SHALL BE
FULLY RELEASED AND DISCHARGED, AND ALL INTERESTS, APART FROM THE
INTERESTS OF THE SPONSOR IN THE DEBTORS, SHALL BE CANCELLED, AND
THE DEBTORS’ LIABILITY WITH RESPECT THERETO SHALL BE EXTINGUISHED
COMPLETELY, INCLUDING ANY LIABILITY OF THE KIND SPECIFIED UNDER
SECTION 502(g) OF THE BANKRUPTCY CODE.

ALL ENTITIES SHALL BE PRECLUDED FROM ASSERTING AGAINST THE
DEBTORS, THE DEBTORS’ ESTATES, THE REORGANIZED DEBTORS, EACH OF
THEIR RESPECTIVE SUCCESSORS AND ASSIGNS, AND EACH OF THEIR ASSETS
AND PROPERTIES, ANY OTHER CLAIMS OR INTERESTS BASED UPON ANY
DOCUMENTS, INSTRUMENTS, OR ANY ACT OR OMISSION, TRANSACTION, OR
OTHER ACTIVITY OF ANY KIND OR NATURE THAT OCCURRED BEFORE THE
EFFECTIVE DATE.

        8.8     Term of Injunctions or Stays. Unless otherwise provided in the Plan or in the
Confirmation Order, all injunctions or stays in effect in the Cases pursuant to sections 105 or 362
of the Bankruptcy Code or any order of the Bankruptcy Court, and extant on the Confirmation
Date (excluding any injunctions or stays contained in the Plan or the Confirmation Order) shall
remain in full force and effect until the Effective Date. Upon the Effective Date, all injunctions or
stays contained in the Plan or the Confirmation Order shall be in full force and effect in accordance
with their terms.

       8.9     Protection Against Discriminatory Treatment. Consistent with section 525 of
the Bankruptcy Code and the Supremacy Clause of the U.S. Constitution, all Entities, including
governmental units, shall not discriminate against the Reorganized Debtors or deny, revoke,
suspend, or refuse to renew a license, permit, charter, franchise, or other similar grant to, condition
such a grant to, or discriminate with respect to such a grant against, the Reorganized Debtors or
another Entity with whom the Reorganized Debtors have been associated, solely because the
Debtors have been a debtors under Chapter 11, have been insolvent before the commencement of
the Cases (or during the Cases but before such Debtors is granted or denied a discharge), or have
not paid a debt that is dischargeable in the Cases.

         8.10 Release of Liens. Except as otherwise provided in the Plan, the 2021 Bond
Documents, or in any contract, instrument, release, or other agreement or document created
pursuant to the Plan, on the Effective Date and concurrently with the applicable
distributions made pursuant to the Plan and, in the case of a Secured Claim, satisfaction in
full of the portion of the Secured Claim that is Allowed as of the Effective Date, all mortgages,
deeds of trust, Liens, pledges, or other security interests against any property of the Estates
shall be fully released and discharged, and all of the right, title, and interest of any holder of
such mortgages, deeds of trust, Liens, pledges, or other security interests shall revert to the
Reorganized Debtors and their successors and assigns. For the avoidance of doubt, except as
otherwise provided in the Plan (including the Plan Supplement, inclusive of the 2021 Bond

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Documents), all mortgages, deeds of trust, Liens, pledges, or other security interests against
any property of the Estates shall be fully released and discharged on the Effective Date
without any further action of any party, including, but not limited to, further order of the
Bankruptcy Court or filing updated schedules or statements typically filed pursuant to the
Uniform Commercial Code.

                               SECTION 9.
                 CONDITIONS PRECEDENT TO THE EFFECTVE DATE

         9.1     Conditions Precedent to the Effective Date. It shall be a condition precedent to
the Effective Date that each of the following provisions, terms, and conditions shall have been
satisfied or waived pursuant to the provisions of this Plan.

        a.     The Bankruptcy Court shall have entered the Confirmation Order containing
        findings of fact and conclusions of law satisfactory to the Debtors and the 2016 Bond
        Trustee, which Confirmation Order shall not be subject to any stay and shall be a Final
        Order, and which Confirmation Order shall include or provide, among other things:

        (i) a finding by the Bankruptcy Court that the 2021 Bonds to be issued on the Effective
Date will be authorized and exempt from taxation under the applicable securities law, pursuant to
section 1145 of the Bankruptcy Code;

        (ii) all provisions, terms and conditions of the Plan and related documents are approved;
and

        b.     all Executory Contracts or Unexpired Leases assumed by the Debtors during the
Cases including under the Plan shall remain in full force and effect for the benefit of the
Reorganized Debtors or their assignee(s) notwithstanding any provision in such contract or lease
(including those described in sections 365(b)(2) and (f) of the Bankruptcy Code) that prohibits
such assignment or transfer or that enables, permits, or requires termination of such contract or
lease;

      c.     The Bankruptcy Court shall have entered a Final Order approving the Disclosure
Statement as containing adequate information within the meaning of section 1125 of the
Bankruptcy Code;

        d.     The Issuer shall have approved the issuance the 2021 Bonds;

        e.     The 2021 Bonds shall have been issued by the Issuer;

       f.       In connection with issuance of the 2021 Bonds, the 2021 Bond Trustee shall have
received a satisfactory opinion of bond counsel that the interest on the 2021 Bonds will be excluded
from gross income for federal tax purposes;

       g.      The Trigger Date (as defined in the Entrance Fee Escrow Agreement) shall have
occurred;

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       h.      The Plan and all Plan Supplement documents, including any amendments,
modifications, or supplements thereto, shall be in form and substance acceptable to the 2016 Bond
Trustee;

       i.      All payments and transfers to be made on the Effective Date shall be made or duly
provided for, and the Debtors or the Sponsor as applicable shall have sufficient Cash on such date
to make such payments;

       j.     All authorizations, consents, and regulatory approvals required, if any, in
connection with the consummation of the Plan shall have been obtained;

        k.    All other actions, documents and agreements necessary to implement the Plan shall
be in form and substance acceptable to the 2016 Bond Trustee and shall have been effected or
executed; and

        l.     The Effective Date shall be on or before the date that is 109 days following the
Petition Date.

        9.2     Waiver of Conditions. The conditions to the Effective Date set forth in the Plan
may be waived at any time by the Debtors (except for: (i) the Confirmation Order being satisfactory
to the 2016 Bond Trustee, (ii) the issuance of the 2021 Bonds, (iii) the bond counsel opinion
referred to in Section VII(J)(1)(f) above, (iv) the condition that the aforementioned documents and
orders be reasonably acceptable to the 2016 Bond Trustee, and (v) the Effective Date shall be on
or before the date that is 109 days following the Petition Date; provided, however, that the Debtors
may not waive entry of an order or orders approving the Disclosure Statement and confirming the
Plan.

         9.3     Effect of Failure of Conditions. If the Effective Date does not occur, the Plan
shall be null and void in all respects and nothing contained in the Plan or the Disclosure Statement
shall: (i) constitute a waiver or release of any claims by or Claims against the Debtors; (ii) prejudice
in any manner the rights of the Debtors, any holders of Claims, or any other Entity; or (iii)
constitute an admission, acknowledgment, offer, or undertaking by the Debtors, any holders, or
any other Entity in any respect.

                           SECTION 10.
         MODIFICATION, REVOCATION OR WITHDRAWAL OF THE PLAN

        10.1 Modification and Amendments. Except as otherwise specifically provided in the
Plan, the Debtors reserve the right to modify the Plan as to material terms and seek confirmation
consistent with the Bankruptcy Code and, as appropriate, not re-solicit votes on such modified
Plan. Subject to certain restrictions and requirements set forth in section 1127 of the Bankruptcy
Code and Bankruptcy Rule 3019 and those restrictions on modifications set forth in the Plan, the
Debtors expressly reserve their right to alter, amend, or modify materially the Plan one or more
times, after confirmation, and, to the extent necessary, may initiate proceedings in the Bankruptcy
Court to so alter, amend, or modify the Plan or remedy any defect or omission, or reconcile any

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inconsistencies in the Plan, the Disclosure Statement, or the Confirmation Order, in such matters
as may be necessary to carry out the purposes and intent of the Plan, provided, however, that,
except with the prior written consent of each of the 2016 Bond Trustee and the Consenting Holders,
the Debtors may not alter, amend, or modify the Plan in any manner that: (i) alters or affects the
rights or interests of the 2016 Bond Trustee or the holders of the 2016 Bonds, (ii) alters or affects
the treatment of the 2016A/B Bond Claims or the 2016C Bond Claims under the Plan, (iii) alters
or affects the terms or characteristics of the 2021 Bonds as set forth in the Plan prior to such
alteration, amendment, or modification, or (iv) is inconsistent with the terms of the Plan Support
Agreement. Any such modification or supplement shall be considered a modification of the Plan
and shall be made in accordance with the Plan. For the avoidance of doubt, nothing in this Section
shall be deemed to supplant or supersede the requirements of Bankruptcy Rule 3019.

       10.2 Effect of Confirmation on Modifications. Entry of the Confirmation Order shall
mean that all modifications or amendments to the Plan occurring after the solicitation thereof are
approved pursuant to section 1127(a) of the Bankruptcy Code and do not require additional
disclosure or re-solicitation under Bankruptcy Rule 3019.

        10.3 Revocation or Withdrawal of the Plan. The Debtors reserve the right to,
consistent with their fiduciary duties, revoke or withdraw the Plan before the Effective Date. If the
Debtors revoke or withdraws the Plan, or if confirmation does not occur, then: (i) the Plan shall be
null and void in all respects, (ii) any settlement or compromise embodied in the Plan (including
the fixing or limiting to an amount certain of any Claim or Interest or Class of Claims or Interests),
assumption or rejection of any Executory Contract or Unexpired Lease effected by the Plan, and
any document or agreement executed pursuant to the Plan, shall be deemed null and void, and (iii)
nothing contained in the Plan shall: (a) constitute a waiver or release of any Claims or Interests;
(b) prejudice in any manner the rights of the Debtors or any other Entity; or (c) constitute an
admission, acknowledgement, offer or undertaking of any sort by the Debtors or any other Entity.

                                      SECTION 11.
                               RETENTION OF JURISDICTION

        11.1 Retention of Jurisdiction. Notwithstanding the entry of the Confirmation Order
and the occurrence of the Effective Date, on and after the Effective Date, the Bankruptcy Court
shall retain jurisdiction over the Cases and all matters arising out of or related to the Cases and this
Plan, including jurisdiction to:

   a. allow, disallow, determine, liquidate, classify, estimate, or establish the priority, secured
      or unsecured status, or amount of any Claim or Interest, including the resolution of any
      request for payment of any Administrative Claim and the resolution of any and all
      objections to the secured or unsecured status, priority, amount, or allowance of Claims;

   b. decide and resolve all matters related to the granting and denying, in whole or in part, of
      any applications for allowance of compensation or reimbursement of expenses to
      Professionals authorized pursuant to the Bankruptcy Code or the Plan;




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 c. resolve any matters related to: (i) the assumption, assumption and assignment, or rejection
    of any Executory Contract or Unexpired Lease to which the Debtors are parties or with
    respect to which the Debtors may be liable in any manner and to hear, determine, and, if
    necessary, liquidate any Claims arising therefrom, including rejection Claims, cure Claims
    pursuant to section 365 of the Bankruptcy Code, or any other matter related to such
    Executory Contract or Unexpired Lease, (ii) any potential contractual obligation under any
    Executory Contract or Unexpired Lease that is assumed, (iii) the Reorganized Debtors
    amending, modifying, or supplementing, after the Effective Date, any Executory Contracts
    or Unexpired Leases on the list of Executory Contracts and Unexpired Leases to be
    assumed or rejected, and (iv) any dispute regarding whether a contract or lease is or was
    executory or unexpired;

 d. ensure that distributions to holders of Allowed Claims are accomplished pursuant to the
    provisions of the Plan;

 e. adjudicate, decide, or resolve any motions, adversary proceedings, contested or litigated
    matters, and any other matters, and grant or deny any applications involving the Debtors
    that may be pending on the Effective Date;

 f. adjudicate, decide, or resolve any and all matters related to any Cause of Action;

 g. adjudicate, decide, or resolve any and all matters related to section 1141 of the Bankruptcy
    Code;

 h. enter and enforce any order for the sale of property pursuant to sections 363, 1123, or
    1146(a) of the Bankruptcy Code;

 i. resolve any avoidance or recovery actions under sections 105, 502(d), 542 through 551,
    and 553 of the Bankruptcy Code;

 j. resolve any cases, controversies, suits, disputes, or Causes of Action that may arise in
    connection with the consummation of the Plan or any Entities’ obligations incurred in
    connection with the Plan (exclusive of the obligations arising under the 2021 Bonds);

 k. issue injunctions, enter and implement other orders, or take such other actions as may be
    necessary or appropriate to restrain interference by any Entity with consummation or
    enforcement of the Plan;

 l. resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the
    discharge, releases, injunctions, exculpations, indemnifications, and other provisions
    contained in the Plan and enter such orders as may be necessary or appropriate to
    implement such releases, injunctions, and other provisions;

 m. enter and implement such orders as are necessary or appropriate if the Confirmation Order
    is for any reason modified, stayed, reversed, revoked, or vacated;

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   n. adjudicate any and all disputes arising from or relating to distributions under the Plan;

   o. consider any modifications of the Plan, cure any defect or omission, or reconcile any
      inconsistency in any Bankruptcy Court order, including the Confirmation Order;

   p. determine requests for the payment of Claims entitled to priority pursuant to section 507
      of the Bankruptcy Code;

   q. hear and determine disputes arising in connection with the interpretation, implementation,
      or enforcement of the Plan or the Confirmation Order, including disputes arising under
      agreements, documents, or instruments executed in connection with the Plan (exclusive of
      those documents relating to the 2021 Bonds);

   r. hear and determine matters concerning state, local, and federal taxes in accordance with
      sections 346, 505, and 1146 of the Bankruptcy Code;

   s. hear and determine all disputes involving the existence, nature, or scope of the Debtors’
      discharge, including any dispute relating to any liability arising out of the termination of
      employment or the termination of any employee or retiree benefit program, regardless of
      whether such termination occurred before or after the Effective Date;

   t. enforce all orders previously entered by the Bankruptcy Court;

   u. hear any other matter not inconsistent with the Bankruptcy Code; and

   v. enter an order concluding or closing the Cases.


                                       SECTION 12.
                               MISCELLANEOUS PROVISIONS

        12.1 Immediate Binding Effect. Notwithstanding Bankruptcy Rules 3020(e), 6004(h),
or 7062 or any other Bankruptcy Rule, upon the occurrence of the Effective Date, the terms of the
Plan and the Plan Supplement shall be immediately effective and enforceable and deemed binding
upon the Debtors, the Reorganized Debtors, and any and all holders of Claims or Interests
(irrespective of whether such holders of Claims or Interests are deemed to have accepted the Plan),
all Entities that are parties to or are subject to the settlements, compromises, releases, exculpation,
discharges, and injunctions described in the Plan, each Entity acquiring property under the Plan,
and any and all non-Debtor parties to Executory Contracts and Unexpired Leases with the Debtors.

        12.2 Additional Documents. On or before the Effective Date, the Debtors may file with
the Bankruptcy Court such agreements and other documents as may be necessary or appropriate
to effectuate and further evidence the terms and conditions of the Plan, subject to the consent of
the 2016 Bond Trustee. The Debtors or the Reorganized Debtors, as applicable, and all holders of

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Claims receiving distributions pursuant to the Plan and all other parties in interest shall, from time
to time, prepare, execute, and deliver any agreements or documents and take any other actions as
may be necessary or advisable to effectuate the provisions and intent of the Plan.

        12.3 Reservation of Rights. Except as expressly set forth in the Plan, the Plan shall
have no force or effect unless the Bankruptcy Court shall enter the Confirmation Order. None of
the Plan, any statement or provision contained in the Plan, or any action taken or not taken by the
Debtors or other Entity with respect to the Plan, the Disclosure Statement, or the Plan Supplement
shall be or shall be deemed to be an admission or waiver of any rights of the Debtors or other
Entity with respect to the holders of Claims or Interests before the Effective Date.

        12.4 Successors and Assigns. The rights, benefits, and obligations of any Entity named
or referred to in the Plan shall be binding on, and shall inure to the benefit of, any heir, executor,
administrator, successor or assign, affiliate, officer, director, manager, agent, representative,
attorney, beneficiary, or guardian, if any, of such Entity.

         12.5 Votes Solicited in Good Faith. Upon entry of the Confirmation Order, the Debtors
will be deemed to have solicited votes on the Plan in good faith and in compliance with the
Bankruptcy Code and any applicable non-bankruptcy law, and pursuant to section 1125(e) of the
Bankruptcy Code, the Debtors and their respective affiliates, agents, representatives, members,
principals, shareholders, officers, directors, employees, advisors, and attorneys will be deemed to
have participated in good faith and in compliance with the Bankruptcy Code in the offer, issuance,
sale, and purchase of securities offered and sold under the Plan, and, therefore, will have no
liability for the violation of any applicable law, rule, or regulation governing the solicitation of
votes on the Plan or the offer, issuance, sale, or purchase of the 2016 Bonds offered under the Plan.

        12.6 Closing of Cases. The Debtors or the Reorganized Debtors shall, promptly after
the full administration of the Cases, file with the Bankruptcy Court all documents required by
Bankruptcy Rule 3022 and any applicable order of the Bankruptcy Court to close the Cases.

        12.7 Notices. All notices, demands, requests, consents, approvals, and other
communications (“Notice” or “Notices”) hereunder shall be in writing and delivered by (i) courier
or messenger service, (ii) express or overnight mail, (iii) electronic mail (with a contemporaneous
telephone message at the phone number(s) listed below), or (iv) by registered or certified mail,
return receipt requested and postage prepaid, addressed to the respective parties as follows:

       If to Borrowers:

       Timothy Place, NFP.
       18601 North Creek Drive, Suite A
       Tinley Park, Illinois 60477
       Attention: Chief Executive Officer
       Telephone: (708) 342-8100
       Telecopier: (708) 342-8000



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Copy to:

       Dopkelaw LLC
       Attn: Bruce Dopke, Esq.
       1535 W. Schaumburg Road
       Suite 204
       Schaumburg, IL 60194
       Telephone: 847-524-4811
       e-mail: bd@dopkelaw.com

       If to Trustee:

       UMB Bank, N.A.,
       Attn: Virginia A. Housum, Senior Vice President
       120 South 6th Street, Suite 1400
       Minneapolis, MN 55403
       Telephone: 612-308-9775
       e-mail: Virginia.Housum@umb.com


       Copy to:

       Mintz, Levin, Cohn, Ferris, Glovsky and Popeo, P.C.
       Attn: Daniel S. Bleck, Esq. and Charles W. Azano, Esq.
       One Financial Center
       Boston, MA 02111
       Telephone: 617-542-6000
       e-mail: dsbleck@mintz.com
       kjwalsh@mintz.com

or to such other addresses as any Party may hereafter designate. Notice by courier or messenger
service or by express or overnight mail shall be effective upon receipt. Notice by electronic mail
shall be effective upon delivery by the sender of a confirming telephone message. Notice by
mail shall be complete at the time of deposit in the United States mail system, but any right or
duty to do any act or make any response within any prescribed period or on a date certain after
the service of such Notice given by mail shall be, without further action by any Party,
automatically extended three (3) days.

        12.8 Headings. The headings used in this Plan are inserted for convenience only and
neither constitute a portion of this Plan nor in any manner affect the construction of the provisions
of this Plan.

        12.9 Severability. If, prior to confirmation, any term or provision of this Plan is held by
the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court shall have the
power to alter and interpret such term or provision to make it valid or enforceable to the maximum
extent practicable, consistent with the original purpose of the term or provision, and such term or

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                            PLAN SUPPORT AGREEMENT

         This PLAN SUPPORT AGREEMENT (this “Plan Support Agreement”) is made
 and entered into as of May 14, 2020 (the “Effective Date”) by and between Timothy Place,
 NFP (the “Corporation”), Christian Healthcare Foundation NFP (the “Foundation” and
 together with the Corporation, the “Borrowers”) and each of the undersigned holders of
 Bonds (as defined herein) (the “Consenting Holders”, and together with the Borrowers,
 each a “Party” and collectively the “Parties”).

                                        RECITALS

         A.     The Illinois Finance Authority (the “Authority”) issued its: (i) $103,691,500
 Revenue Bonds (Park Place of Elmhurst Project) Series 2016A (the “Series A Bonds”),
 (ii) $15,496,392 Revenue Bonds (Park Place of Elmhurst Project) Series 2016B (the
 “Series B Bonds”), and (iii) $21,918,750 Revenue Bonds (Park Place of Elmhurst Project)
 Series 2016C (the “Series C Bonds” and together with the Series A Bonds and Series B
 Bonds, the “Series 2016 Bonds”) in exchange (the “2016 Exchange”) for bonds the
 Authority previously issued in 2010: (A) $109,115,000 Revenue Bonds, Series 2010A
 (Park Place of Elmhurst Project); (B) $7,875,000 Revenue Bonds, Series 2010B (Park
 Place of Elmhurst Project); (C) $5,000,000 Revenue Bonds, Series 2010C (Park Place of
 Elmhurst Project) (Accelerated Redemption Reset Option Securities (ARROS); (D)
 $10,275,000 Revenue Bonds, Series 2010D-1 (Park Place of Elmhurst Project) (Tax-
 Exempt Mandatory Paydown Securities (TEMPS-75); and (E) $15,350,000 Revenue
 Bonds, Series 2010D-2 (Park Place of Elmhurst Project) (Tax-Exempt Mandatory
 Paydown Securities (TEMPS-65) (all such bonds issued in 2010, the “Original Bonds”).

          B.      The Original Bonds were issued primarily to (i) pay or reimburse the
 Corporation for the payment of all or a portion of the costs of acquiring, constructing,
 renovating, remodeling and equipping certain heath facilities owned by the Borrowers, and
 all necessary and attendant facilities, equipment, site work, zoning, entitlements and
 utilities related thereto, including, but not limited to, the acquisition, construction and
 equipping of a continuing care retirement community consisting of approximately 173
 independent living units, 10 catered living units, 46 assisted living units, 20 memory
 support assisted living units and 37 nursing beds, related common areas and parking, all
 known as Park Place Christian Community of Elmhurst (“Park Place”); (ii) provide
 working capital; (iii) fund debt service reserve funds; (iv) pay a portion of the interest on
 the Original Bonds; and (v) pay certain expenses incurred in connection with the issuance
 of the Original Bonds.

         C.    On January 17, 2016, the Borrowers filed voluntary bankruptcy petitions
 under Chapter 11 of Title 11 of the United States Code. Such filings commenced a
 bankruptcy case in the United States Bankruptcy Court for the Northern District of Illinois,
 Eastern Division, styled “In re TIMOTHY PLACE, NFP, et als., Case No. 16-01336
 (JPC).” Pursuant to such petitions and the plan of reorganization confirmed by the
 bankruptcy court in this bankruptcy proceeding, the 2016 Exchange was approved and
 effectuated.


       Exhibit A to Debtors' Joint Plan of Reorganization Dated Dec. 15, 2020
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        D.      UMB Bank, N.A., is the trustee (the “Bond Trustee”) under that certain
 Bond Trust Indenture, dated as of May 1, 2016, by and between the Bond Trustee and the
 Authority (the “2016 Indenture”), pursuant to which the Series 2016 Bonds were issued.

        E.       Pursuant to a Loan Agreement dated as of May 1, 2016 between Authority
 and the Borrowers, the Authority loaned the proceeds of the 2016 Bonds to the Borrowers.
 The rights of the Authority under the Loan Agreement were assigned to the Bond Trustee
 under the terms of the 2016 Indenture.

         F.     As security for the obligations owing on the Series 2016 Bonds, the
 Corporation granted the Bond Trustee, inter alia: (i) a first mortgage lien on the real
 property on which Park Place was constructed, and (ii) a first priority security interest in
 the personal property and fixtures located in Park Place (collectively, the “Mortgaged
 Property”), pursuant to a Mortgage and Security Agreement, dated as of May 1, 2016,
 between the Corporation and the Bond Trustee. Pursuant to a Master Trustee Indenture,
 dated as of May 1, 2016, among the Borrowers and the Bond Trustee, as Master Trustee
 thereunder (the “Master Trust Indenture”), the Borrowers granted a security interest in its
 Gross Revenues (as defined in the Master Trust Indenture) as security for the payment of
 the Series 2016 Bonds. The Authority also granted the Bond Trustee certain collateral
 under the 2016 Indenture. The 2016 Indenture, the Mortgage, the Loan Agreement and any
 other document or agreement delivered as security for, or in respect to, the Series 2016
 Bonds or the Borrowers’ obligations under any of such documents are collectively referred
 to herein as the “Bond Documents.” In addition, repayment of the Series 2016 Bonds is
 secured by moneys deposited to the credit of the accounts in the related respective Debt
 Service Reserve Funds, established under the Bond Documents.

         G.      Each Consenting Holder holds debt arising out of, or related to, the Series
 2016 Bonds and the Consenting Holders hold debt, in aggregate, arising out of or related
 to the Series 2016 Bonds equal to at least ninety-three and 79/100 (93.79%) of the principal
 amount of the Series 2016 Bonds outstanding, comprised of: (i) ninety-seven and 31/100
 percent (97.31%) of the Series 2016A Bonds, (ii) ninety-five and 98/100 percent (95.98%)
 of the Series 2016B Bonds, and (iii) seventy-four and 57/100 percent (74.57%) of the
 Series 2016C Bonds.

        H.      Defaults, potential defaults or events of default have occurred (or will
 occur) under the Bond Documents.

          I.     The Borrowers desire to implement a restructuring (the “Restructuring”) of
 its financial obligations with respect to the Series 2016 Bonds on the terms and conditions
 set forth in the restructuring term sheet (including all exhibits therein, the “Term Sheet”)
 attached hereto as Exhibit 1.

        J.     The Consenting Holders have agreed to the Restructuring, solely on the
 terms and conditions outlined in the Term Sheet.

        K.      Each of the Borrowers intend to implement the Restructuring by filing a
 voluntary petition for relief under Chapter 11 of Title 11 of the United States Code (the
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 “Bankruptcy Code”) commencing cases (the “Chapter 11 Cases”), which Chapter 11 Cases
 the Borrowers will seek to have jointly administered, in the United States Bankruptcy Court
 for the Northern District of Illinois (the “Bankruptcy Court”) no later than September 15,
 2020 (the “Outside Petition Date”).

         L.     Each Party has reviewed, or has had the opportunity to review, this Plan
 Support Agreement and the Term Sheet with the assistance of professional legal advisors
 of its own choosing.

                              STATEMENT OF AGREEMENT

         In consideration of the premises and the mutual covenants and agreements set forth
 herein, and for other good and valuable consideration, the receipt and sufficiency of which
 are hereby acknowledged, the Parties, intending to be legally bound, agree as follows:

        1. Preliminary Statements. The statements set forth in the recitals are
 incorporated herein and form an integrated part of this Plan Support Agreement, subject to
 such modifications and amendments as may be permitted pursuant to Section 11 hereof.

        2. Effectiveness of Plan Support Agreement. Upon the execution of this Plan
 Support Agreement by the Parties, this Plan Support Agreement will constitute the legally
 binding and enforceable agreement of the Parties, effective as of the Effective Date.

        3. Agreements of the Borrowers. Consistent with the Borrowers’ business
 judgment and the exercise of their fiduciary duties, the following are material covenants
 and conditions to the agreements contained herein:

                (a)     The Borrowers shall take all reasonable efforts to provide drafts of
        the following documents (collectively, the “Bankruptcy Documents”) in form and
        substance reasonably satisfactory to the Consenting Holders and the Bond Trustee
        no later than five (5) business days prior to the Outside Petition Date:

                       i)       Chapter 11 Petitions with required documents, including: (i)
                                board resolutions, (ii) disclosure of related cases, (iii) top 20
                                unsecured creditors list, (iv) declaration verifying top 20
                                unsecured creditors list, (v) list of creditors, (vi) declaration
                                verifying list of creditors, (vii) statement regarding equity
                                security holders and corporate disclosure statement, (viii)
                                declaration verifying statement regarding equity security
                                holders and corporate disclosure statement;

                       ii)      Declaration in Support of First Day Pleadings;

                       iii)     Motion to Jointly Administer the Chapter 11 Cases;

                       iv)      Motion to Approve Disclosure Statement and proposed
                                Order;
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                      v)        Joint Plan of Reorganization;

                      vi)       Disclosure Statement with respect to the Joint Plan of
                                Reorganization;

                      vii)      Motion Authorizing Use of Cash Collateral and proposed
                                Interim Order;

                      viii)     Motion to Assume Plan Support Agreement and proposed
                                Order;

                      ix)       Motion to Self-Report in Lieu of an Ombudsman and
                                proposed Order;

                      x)        Motion to Escrow Entrance Fees and Honor Resident
                                Entrance Fees in the Ordinary Course and proposed Order;

                      xi)       Motion to Utilize Existing Cash Management System and
                                proposed Order;

                      xii)      Motion Prohibiting Utilities From Discontinuing Service
                                and proposed Order;

                      xiii)     Motion to Protect Confidentiality of Residents’ Information
                                and proposed Order;

                      xiv)      Motion to Retain General Docketing and Claims Noticing
                                and Solicitation Agent and Proposed Order;

                      xv)       Motion to Retain Bondholder Notice and Solicitation Agent
                                and proposed Order;

                      xvi)      Motion to Establish Bar Date and proposed Order; and

                      xvii)     Motion Extending Time to File Schedules and Statements
                                and proposed Order, if needed.

               (b)    The Borrowers shall take all commercially reasonable steps to
       obtain approvals for the Restructuring as expeditiously as is reasonably practicable
       under applicable law, including the solicitation of requisite acceptances by means
       of the Disclosure Statement.

              (c)   The Borrowers shall take all commercially reasonable steps to
       obtain any and all requisite regulatory or third party approvals necessary to
       consummate the Restructuring as is reasonably practicable.

              (d)     The Borrowers will take all commercially reasonable efforts to file
       the Chapter 11 Cases, contemporaneously with the Bankruptcy Documents, no later
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       than the Outside Petition Date (the date on which the Chapter 11 Cases and
       Bankruptcy Documents are actually filed shall be referred to herein as the “Petition
       Date”).

               (e)      The Borrowers shall take all reasonably necessary steps in seeking
       to obtain from the Bankruptcy Court an order confirming the Plan (as defined
       herein) reasonably acceptable in form and substance to the Consenting Holders and
       the Bond Trustee (the “Confirmation Order”) on or before the date that is 95 days
       after the Petition Date.

               (f)      The Plan effective date occurs on or before the date that is 109 days
       after the Petition Date (the “Effective Date”).

              (g)    The Borrowers shall take no action inconsistent with the
       Restructuring, the transactions contemplated thereby, or the expeditious
       confirmation and consummation of such transactions, except as otherwise
       permitted under this Plan Support Agreement.

               (h)     Subject to the exercise of their fiduciary duties, the Borrowers shall
       not file a petition under the Bankruptcy Code or seek any similar relief without
       providing the Bond Trustee and the Consenting Holders at least five (5) business
       days’ written notice thereof.

               (i)    In the event the Borrowers propose a plan of reorganization that does
       not comply with this Plan Support Agreement or that constitutes a Support
       Agreement Termination Event, the Borrowers will not assert that the Consenting
       Holders or the Bond Trustee have expressly or impliedly supported, endorsed, or
       otherwise agreed to any financial information, including any projections or
       liquidation analysis, included in the Bankruptcy Documents.

                (j)      The Borrowers will not:

                         i)       incur any further indebtedness with priority over the Bonds;

                         ii)      transfer any assets other than in the ordinary course of its
                                  business other than miscellaneous assets not necessary for
                                  the operations of Park Place; and

                         iii)     take any action that would result in entry of an order
                                  terminating, whether in whole or in part, the Borrowers’
                                  exclusive right to file a Chapter 11 plan pursuant to Section
                                  1121 of the Bankruptcy Code.

       4.    Agreements of Consenting Holders.

               (a)     Ownership. Each Consenting Holder represents and warrants that,
       as of the date hereof, such Consenting Holder either (i) is the sole legal or beneficial
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       owner of a principal amount of the Series 2016 Bonds outstanding as set forth on
       Schedule 1 hereto, and all related claims, rights, powers, and causes of action
       arising out of or in connection with or otherwise relating to such Series 2016 Bonds
       or the Bond Documents (collectively, the “Claims”), or (ii) has the power and
       authority to bind the legal and beneficial owner(s) of such Series 2016 Bonds and
       Claims to the terms of this Plan Support Agreement and, in either case, such
       Consenting Holder has full power and authority to vote on and consent to such
       matters concerning such Series 2016 Bonds outstanding and such Claims and to
       exchange, assign and transfer such Series 2016 Bonds and Claims.

               (b)     Restrictions on Transfers. Until this Plan Support Agreement has
       been terminated in accordance with Section 8, each Consenting Holder shall not
       voluntarily sell, transfer, or assign any of its Series 2016 Bonds or Claims or any
       option thereon or any right or interest (voting or otherwise) therein unless the
       transferee thereof (i) has already executed this Plan Support Agreement or (ii)
       agrees in writing by executing the form of Joinder attached hereto as Exhibit 2 to
       be bound, for the benefit of the Parties, by all of the terms of this Plan Support
       Agreement. Subject to applicable securities and bankruptcy law, this Plan Support
       Agreement shall in no way be construed to preclude any Consenting Holder or any
       of its respective subsidiaries or affiliates from acquiring additional Series 2016
       Bonds; provided, however, that any such additional Series 2016 Bonds acquired by
       such Consenting Holder or any subsidiary or affiliate thereof shall automatically be
       deemed to be subject to the terms of this Plan Support Agreement.

                (c)     Voting on the Plan. Subject to the terms and conditions of this Plan
       Support Agreement, and so long as this Plan Support Agreement has not been
       terminated, and further provided that the Disclosure Statement approved by the
       Bankruptcy Court contains information substantially similar to that set forth in the
       Disclosure Statement filed as part of the Bankruptcy Documents, each Consenting
       Holder will vote all claims that it holds or as to which it has voting authority with
       respect to the Series 2016 Bonds outstanding, the Claims, and all other claims,
       rights, or interests that exist against the Borrowers to accept a plan of reorganization
       proposed as part of the Chapter 11 Cases that reflects the Restructuring outlined in
       the Term Sheet (such plan, the “Plan”) and that is filed by the Outside Petition Date.

              (d)     Support. So long as this Plan Support Agreement has not been
       terminated, absent the consent of the Borrowers, each Consenting Holder will not:

                       i)      support or encourage, directly or indirectly, any financial
                               restructuring or sale of assets concerning the Borrowers or
                               their assets, other than the Restructuring;

                       ii)     take any action inconsistent with the Term Sheet, the
                               transactions contemplated hereby or thereby, or the
                               expeditious confirmation and consummation of such
                               transactions;
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                      iii)     vote against the Plan or otherwise agree, consent, or provide
                               any support, to any other chapter 11 plan or other
                               restructuring or sale or liquidation of assets concerning the
                               Borrowers or their assets, other than the Restructuring;

                      iv)      object to or otherwise commence any proceeding to oppose
                               or alter the Plan or any of the terms of the Restructuring (or
                               any other document filed in furtherance of, and that is
                               consistent with the Restructuring);

                      v)       make (and will not direct the Bond Trustee to make) any
                               election under Section 1111(b) of the Bankruptcy Code, and
                               will vote against and/or direct the Bond Trustee to object to
                               any action or motion to make such an election; or

                      vi)      direct the Bond Trustee to take any action or otherwise act
                               in a manner contrary to the terms of this Plan Support
                               Agreement.

              (e)     Adequate Information; Compliance with Section 1125(g) of the
       Bankruptcy Code. Each Consenting Holder has obtained “adequate information”
       (within the meaning of that phrase for purposes of 11 U.S.C. Section 1125(a)(1))
       regarding the Restructuring and that the Borrowers have provided all material,
       relevant information that the Consenting Holder has requested in advance of
       executing this Plan Support Agreement. Additionally, for purposes of this Plan
       Support Agreement, the solicitation of its support of the Plan in accordance with
       the terms and conditions hereof complies with applicable law and that each
       Consenting Holder was solicited in a manner complying with applicable law.

               (f)     Appearing in the Bankruptcy Court. Notwithstanding any provision
       in this Plan Support Agreement to the contrary, nothing in this Plan Support
       Agreement shall be construed to prohibit any Party from appearing as a party-in-
       interest in any matter to be adjudicated in the Bankruptcy Court so long as such
       appearance and the positions advocated in connection therewith are not inconsistent
       with this Plan Support Agreement and the Restructuring and are not for the purpose
       of hindering, delaying, or preventing the consummation of the Restructuring.

              (g)     Direct the Bond Trustee. To the extent necessary, each Consenting
       Holder will direct the Bond Trustee to take actions consistent with this Plan Support
       Agreement.

               (h)      Documents. The Consenting Holders shall direct the Bond Trustee
       to take all reasonable efforts to draft or cause to be drafted the following documents
       in form and substance satisfactory to the Consenting Holders no later than the
       Outside Petition Date:

                      i)       Cash Collateral Order;
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                       ii)      2020 Bond Indenture;

                       iii)     2020 Second Amended and Restated Master Trust
                                Indenture; and

                       iv)      2020 Loan Agreement (collectively with the documents
                                listed in (i) through (iii) above, the “Plan Support
                                Documents”).

         5.     Representations and Warranties of the Borrowers. Each of the Borrowers
 represent and warrant to the Consenting Holders that the following statements are true,
 correct, and complete as of the date hereof:

                (a)     it has all requisite corporate or similar authority to enter into this
        Plan Support Agreement and, subject to any necessary Bankruptcy Court approval,
        carry out the transactions contemplated hereby and perform its obligations
        contemplated hereunder, and the execution and delivery of this Plan Support
        Agreement and the performance of the Borrowers’ obligations hereunder have been
        duly authorized by all necessary corporate, limited liability, partnership, or other
        similar action on its part;

                (b)     the execution, delivery, and, subject to any necessary Bankruptcy
        Court approval, performance by such Borrowers of this Plan Support Agreement
        does not and shall not violate any provision of law, rule, or regulation applicable to
        it or any of its subsidiaries or its charter or bylaws (or other similar governing
        documents) or those of any of its subsidiaries;

                 (c)    the execution, delivery, and performance by such Borrowers of this
        Plan Support Agreement does not and shall not require any registration or filing
        with, consent or approval of, notice to, or other action to, with or by, any federal,
        state, or governmental authority or regulatory body;

                (d)     to the best of its knowledge, after reasonable diligence, the
        information provided in connection with the Restructuring and this Plan Support
        Agreement did not and does not contain any untrue statement of a material fact or
        omit to state a material fact necessary to make the statements made therein, in light
        of the circumstances under which they were made, not misleading; and

                (e)     this Plan Support Agreement is, and after the Petition Date but
        subject to the assumption of this Plan Support Agreement pursuant to 11 U.S.C. §
        365, shall be, a legally valid and binding obligation of such Borrower, enforceable
        in accordance with its terms.

         6.      Representations and Warranties of the Consenting Holders. Each
 Consenting Holder represents and warrants to the Borrowers that the following statements
 are true, correct, and complete as of the date hereof:
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                 (a)     it has all requisite corporate, partnership, limited liability company,
         or similar authority to enter into this Plan Support Agreement and perform its
         obligations contemplated hereunder, and the execution and delivery of this Plan
         Support Agreement and the performance of its obligations hereunder have been
         duly authorized by all necessary corporate, limited liability, partnership, or other
         similar action on its part;

                 (b)     the execution, delivery, and performance by the undersigned of and
         under this Plan Support Agreement does not and shall not violate any provision of
         law, rule, or regulation applicable to it or any of its subsidiaries or its charter or
         bylaws (or other similar governing documents) or those of any of its subsidiaries;

                 (c)     the execution, delivery, and performance by the undersigned of and
         under this Plan Support Agreement does not and shall not require any registration
         or filing with, consent or approval of, notice to, or other action to, with or by, any
         federal, state or governmental authority or regulatory body; and

                 (d)    this Plan Support Agreement is the legally valid and binding
         obligation of such Consenting Holder, enforceable in accordance with its terms.

         7.      Alternative Transactions. From and after execution of this Plan Support
 Agreement until it is terminated pursuant to Section 8 hereof, neither of the Borrowers, nor
 any of their respective officers, directors, employees, agents, representatives, or affiliates
 (including any investment banker or financial advisor retained by the Borrowers or any of
 the foregoing) shall, directly or indirectly, encourage, solicit, or initiate any inquiry or
 proposal from, or encourage, solicit, or initiate any negotiations with, or solicit or initiate
 any discussions with any person or entity (other than the Consenting Holders and the Bond
 Trustee or an affiliate, associate, representative or agent of the Consenting Holders)
 concerning any potential sale of the Borrowers or restructuring of the Borrowers or a
 transaction that is similar to, in conflict with or in substitution of the Restructuring pursuant
 to the terms hereof (each, an “Alternative Transaction”), or agree to endorse or take any
 other action to facilitate any Alternative Transaction, unless the Borrowers have obtained
 the prior written consent of the Consenting Holders holding all rights related to or
 otherwise having voting authority with respect to 75% of the principal amount of the Series
 2016 Bonds held collectively by the Consenting Holders who are signatory hereto (the
 “Requisite Consenting Holders”).

         8.      Termination of Support Agreement. Upon the occurrence of any Support
 Agreement Termination Event, this Plan Support Agreement shall be deemed terminated
 upon written notice from the non-breaching Party to the breaching Party. In the event of
 any such termination, all Parties shall be immediately relieved of any obligations
 hereunder. If the Chapter 11 Cases have been filed prior to such occurrence, such notice
 may be provided as part of a motion for relief from the automatic stay; provided that
 nothing herein shall be deemed to require a motion for relief from the automatic stay to
 effect such termination provided further, in the Chapter 11 Cases, the Borrowers shall have
 two (2) business days to seek a Bankruptcy Court determination that no Support Agreement
 Termination Event has occurred. Notwithstanding the above or anything else in this Plan
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 Support Agreement to the contrary, upon termination of this Plan Support Agreement, any
 Consenting Holder shall be entitled as of right to change or withdraw its vote in favor of
 the Plan and be relieved from all obligations of a Consenting Holder under this Plan
 Support Agreement (collectively, a “Withdrawal”), with prior written notice thereof to the
 Borrowers and, if applicable, compliance with Rule 3018 of the Federal Rules of
 Bankruptcy Procedure. The occurrence of any one or more the following shall constitute
 a “Support Agreement Termination Event”:

                  (a) Failure by the Parties hereto to agree to the form and substance of
          any of the Plan Support Documents or the Bankruptcy Documents by the earlier
          of the Petition Date or the Outside Petition Date;

                 (b) Any of the Bankruptcy Documents is withdrawn, materially
          modified or amended (except in the case of a document which is an interim order,
          by replacement with a final order that would otherwise meet the requirements of
          a Bankruptcy Document, or with the consent of the Consenting Holders and/or
          the Bond Trustee);

                  (c)   The Borrowers fail to file the Bankruptcy Documents on the Petition
          Date;

                  (d)   The Petition Date does not occur on or before the Outside Petition
          Date;

                  (e)   Either of the Borrowers:

                        i)       files or supports confirmation of, or fails to actively oppose
                                 confirmation of, a plan of reorganization that requests or
                                 would result in a withdrawal, modification, or amendment of
                                 the Plan, or that, as to any provision of the Plan, materially
                                 adversely affects the Consenting Holders;

                        ii)      files a motion, pleading, objection, lawsuit, or administrative
                                 or adversary proceeding (or takes any action in support of
                                 such a motion or pleading filed by another party) in the
                                 Bankruptcy Court or other court, or otherwise assists in any
                                 of the foregoing, that requests or would result in a
                                 withdrawal, modification, or amendment (including in the
                                 case of document which is an interim order, by replacement
                                 with a final order) of the Restructuring; or

                        iii)     files a motion, complaint, application, or other request
                                 seeking to disallow, subordinate, or limit in any way the
                                 Series 2016 Bonds held by the Consenting Holders, the
                                 Claims, or the liens of the Consenting Holders and/or the
                                 Bond Trustee, or seeking entry of an order by the
                                 Bankruptcy Court disallowing, subordinating, or limiting in
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                               any way the Bonds, Claims, or liens of the Consenting
                               Holders and/or the Bond Trustee, or asserting a claim against
                               any Consenting Holder and/or the Bond Trustee to avoid any
                               transfer or obligation, or seeking any other monetary or
                               equitable relief from or against any Consenting Holder
                               and/or the Bond Trustee, in its capacity as such.

                (f)   Following the Petition Date, the Bankruptcy Court has:

                      i)       not entered an order authorizing the assumption of this Plan
                               Support Agreement under Section 365 of the Bankruptcy
                               Code within thirty (30) days of the Petition Date or such later
                               date as is agreed to in writing by the Requisite Consenting
                               Holders;

                      ii)      entered an order materially staying, reversing, vacating,
                               materially amending or modifying the Cash Collateral Order
                               (which for purposes hereof shall include any interim or final
                               cash collateral order) without the prior written approval of
                               the Bond Trustee, or fails to enter an order approving the use
                               of Cash Collateral on an interim basis on or before the date
                               that is 4 days after the Petition Date, and on a final basis on
                               or before the date that is 40 days after the Petition Date on
                               such terms as set out in the Cash Collateral Order;

                      iii)     not approved the Disclosure Statement on or before the date
                               that is 40 days after the Petition Date, or by such later date
                               as is agreed to in writing by the Requisite Consenting
                               Holders;

                      iv)      not entered the Confirmation Order on or before the date that
                               is 95 days after the Petition Date, or by such later date as is
                               agreed to in writing by the Requisite Consenting Holders;

                      v)       entered an order denying confirmation of the Plan;

                      vi)      entered an order pursuant to Section 1104 of the Bankruptcy
                               Code appointing a trustee or appointing an examiner with
                               powers beyond the duty to investigate and report (as set forth
                               in Sections 1106(a)(3) and (4) of the Bankruptcy Code),
                               including, without limitation, to operate and manage the
                               Borrowers’ business (unless the motion resulting in such
                               order was filed or supported by the Bond Trustee), or the
                               Borrowers file a motion, application or other pleading
                               consenting to or acquiescing in any such appointment;
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                     vii)      entered an order dismissing any of the Chapter 11 Cases or
                               an order pursuant to Section 1112 of the Bankruptcy Code
                               converting any of the Chapter 11 Cases to a case under
                               chapter 7 of the Bankruptcy Code;

                     viii)     enters an order suspending any of the Chapter 11 Cases
                               under Section 305 of the Bankruptcy Code;

                     ix)       enters an order in any of the Chapter 11 Case, over the
                               objection of the Bond Trustee, approving financing pursuant
                               to Section 364 of the Bankruptcy Code that (i) would grant
                               an additional security interest or a lien that is equal or senior
                               to that of the Bond Trustee on any collateral, or (ii) would
                               grant to any party other than the Bond Trustee a super
                               priority administrative claim that is senior or equal to that
                               granted to the Bond Trustee under the Cash Collateral Order;
                               or

                     x)        granted relief that is inconsistent with this Plan Support
                               Agreement or the Plan or that would result in a withdrawal,
                               modification, or amendment of the Restructuring that is
                               contrary to the Term Sheet and that has a material adverse
                               effect on the Consenting Holders; provided that such relief
                               has not resulted from any action or inaction by any of the
                               Consenting Holders or the Bond Trustee.

                 (g) The Effective Date of the Plan shall not have occurred by the date
        that is 109 days after the Petition Date or by such later date as is agreed to by the
        Requisite Consenting Holders;

                (h) An injunction, judgment, order, decree, ruling, or charge shall have
        been entered that prevents consummation of the Restructuring and that remains
        in effect for longer than 30 days;

              (i) There is a mutual written agreement to terminate this Plan Support
        Agreement by the Parties;

                (j) Failure by the Borrowers to comply with any obligations under this
        Plan Support Agreement, other than those set forth in this Section 8, and such
        failure is not cured within five (5) business days after written notice thereof has
        been given to the Borrowers;

               (k) Failure by the Borrowers to comply with any obligations under this
        Section 8; and

                (l) Failure by any of the Consenting Holders to comply with any of their
        obligations under this Plan Support Agreement, and such failure is not cured
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          within five (5) business days after written notice thereof has been given by the
          Borrowers to such Consenting Holder and the Bond Trustee.

 A Support Agreement Termination Event may be waived in writing by the Requisite
 Consenting Holders and/or the Borrowers, as applicable.

         9.      Effect of Termination. Upon termination of this Plan Support Agreement,
 all obligations hereunder, shall terminate and shall be of no force and effect.

         10.     Cooperation; Further Assurances; Acknowledgment; Definitive
 Documents. The Parties shall cooperate with each other and shall coordinate their activities
 (to the extent practicable) in respect of all commercially reasonable actions necessary to
 consummate the Restructuring. The Parties further agree to execute and deliver such other
 instruments and to perform such commercially reasonable acts, in addition to the matters
 herein specified, as may be appropriate or necessary, from time to time, to effectuate the
 Restructuring.

        11.    Amendments. This Plan Support Agreement may not be modified, amended
 or supplemented except in a writing signed by the Parties.

       12.  GOVERNING LAW; JURISDICTION.     THIS PLAN SUPPORT
 AGREEMENT SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE
 WITH, THE LAWS OF THE STATE OF ILLINOIS, WITHOUT REGARD TO ANY
 CONFLICT OF LAWS PROVISIONS THAT WOULD REQUIRE THE APPLICATION
 OF THE LAW OF ANY OTHER JURISDICTION. BY ITS EXECUTION AND
 DELIVERY OF THIS PLAN SUPPORT AGREEMENT, EACH OF THE PARTIES
 HEREBY IRREVOCABLY AND UNCONDITIONALLY AGREES THAT ANY
 LEGAL ACTION, SUIT, OR PROCEEDING AGAINST IT WITH RESPECT TO ANY
 MATTER UNDER, OR ARISING OUT OF OR IN CONNECTION WITH, THIS PLAN
 SUPPORT AGREEMENT, OR FOR RECOGNITION OR ENFORCEMENT OF ANY
 JUDGMENT RENDERED IN ANY SUCH ACTION, SUIT, OR PROCEEDING, SHALL
 BE BROUGHT IN ANY FEDERAL OR STATE COURT IN THE STATE OF ILLINOIS
 HAVING JURISDICTION, AND BY EXECUTION AND DELIVERY OF THIS PLAN
 SUPPORT AGREEMENT, EACH OF THE PARTIES HEREBY IRREVOCABLY
 ACCEPTS AND SUBMITS ITSELF TO THE EXCLUSIVE JURISDICTION OF EACH
 SUCH COURT, GENERALLY AND UNCONDITIONALLY, WITH RESPECT TO
 ANY SUCH ACTION, SUIT OR PROCEEDING; PROVIDED, THAT AFTER THE
 PETITION DATE THE BANKRUPTCY COURT SHALL HAVE EXCLUSIVE
 JURISDICTION OVER ANY ISSUES RELATING TO THIS PLAN SUPPORT
 AGREEMENT PROVIDED THAT THE BANKRUPTCY COURT SHALL FOLLOW
 APPLICABLE CHOICE OF LAW RULES.

         13.    Specific Performance. It is understood and agreed by the Parties that the
 exact nature and extent of damages resulting from a breach of this Plan Support Agreement
 are uncertain at the time of entering into this Plan Support Agreement and that breach of
 this Plan Support Agreement would result in damages that would be difficult to determine
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 with certainty. It is understood that money damages would not be a sufficient remedy for
 any breach of this Plan Support Agreement, and the Parties shall each be entitled to specific
 performance and injunctive or other equitable relief as a remedy of any such breach. Such
 remedies shall be deemed the exclusive remedies for breach of this Plan Support
 Agreement by any Party or its representatives.

         14.     Survival. Notwithstanding any sale of the Series 2016 Bonds outstanding or
 Claims in accordance with Section 4(b) of this Plan Support Agreement, the agreements
 and obligations herein shall survive such sale and shall continue in full force and effect for
 the benefit of the Borrowers and the Consenting Holders in accordance with the terms
 hereof, and any purchaser of such Series 2016 Bonds and/or Claims shall be bound by and
 subject to the terms of this Plan Support Agreement.

         15.     Headings. The headings of the Sections, paragraphs, and subsections of this
 Plan Support Agreement are inserted for convenience only, and shall not affect the
 interpretation hereof.

         16.    Successors and Assigns; Severability; Several Obligations. This Plan
 Support Agreement is intended to bind and inure to the benefit of the Parties and their
 respective successors, assigns, heirs, executors, administrators, and representatives. The
 invalidity or unenforceability at any time of any provision hereof shall not affect or
 diminish in any way the continuing validity and enforceability of the remaining provisions
 hereof. The agreements, representations, and obligations of the Consenting Holders under
 this Plan Support Agreement are, in all respects, several and not joint.

         17.     No Third-Party Beneficiaries. Unless expressly stated herein, this Plan
 Support Agreement shall be solely for the benefit of the Parties, and no other person or
 entity shall be a third party beneficiary hereof.

         18.    Consideration. No consideration shall be due or paid to the Consenting
 Holders and the Bond Trustee for agreement of the Consenting Holders to support the
 Restructuring and to vote in favor of the Plan in accordance with the terms and conditions
 of this Plan Support Agreement, other than the Borrowers’ agreement to pursue the
 Restructuring and to file, pursue confirmation of, and implement the Plan in accordance
 with the terms and conditions of this Plan Support Agreement, which the Parties
 acknowledge is fair and sufficient consideration to support the Parties’ respective
 agreements hereunder.

         19.      Prior Negotiations; Entire Agreement. This Plan Support Agreement
 constitutes the entire agreement of the Parties related to the Restructuring, and supersedes
 all other prior negotiations with respect to the subject matter hereof, except that the Parties
 acknowledge that all Bond Documents shall continue in full force and effect.

         20.    Counterparts. This Plan Support Agreement and any amendments, joinders
 (including the joinder in the form of Exhibit 2 hereto), consents, or supplements hereto,
 may be executed in one or more counterparts, each of which shall be deemed an original
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 and all of which shall constitute one and the same agreement. Facsimile or scanned
 signatures on this Plan Support Agreement shall be treated as originals for all purposes.

        21.     Construction. This Plan Support Agreement shall be deemed to have been
 negotiated and prepared at the joint request, direction, and construction of the Parties, and
 at arm’s length and shall be interpreted without favor to any Party.

        22.     Time of the Essence. Time shall be of the essence with respect to each and
 every of the various undertakings and obligations set forth in this Plan Support Agreement.

         23.     Notices. All notices, demands, requests, consents, approvals, and other
 communications (“Notice” or “Notices”) hereunder shall be in writing and delivered by (i)
 courier or messenger service, (ii) express or overnight mail, (iii) electronic mail (with a
 contemporaneous telephone message at the phone number(s) listed below), or (iv) by
 registered or certified mail, return receipt requested and postage prepaid, addressed to the
 respective parties as follows:
                 A.
                         If to Borrowers:

                                Timothy Place, NFP.
                                18601 North Creek Drive, Suite A
                                Tinley Park, Illinois 60477
                                Attention: Chief Executive Officer
                                Telephone: (708) 342-8100
                                Telecopier: (708) 342-8000

                        Copy to:

                                Stahl Cowen Crowley Addis LLC
                                Attn: Bruce Dopke, Esq.
                                55 West Monroe Street, Suite 1200
                                Telephone: 312-377-7870
                                e-mail: bdobke@stahlcowen.com

                        If to Trustee:

                                UMB Bank, N.A.,
                                Attn: Virginia A. Housum, Senior Vice President
                                120 South 6th Street, Suite 1400
                                Minneapolis, MN 55403
                                Telephone: 612-308-9775
                                e-mail: Virginia.Housum@umb.com

                        Copy to:

                                Mintz, Levin, Cohn, Ferris, Glovsky and Popeo, P.C.
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                                 Attn: Daniel S. Bleck, Esq.
                                       Kevin J. Walsh, Esq.
                                 One Financial Center
                                 Boston, MA 02111
                                 Telephone: 617-542-6000
                                 e-mail: dsbleck@mintz.com
                                         kjwalsh@mintz.com

                         Copy to: Consenting Bondholders
                                  [See Schedule 1 Attached Hereto]

 or to such other addresses as any Party may hereafter designate. Notice by courier or
 messenger service or by express or overnight mail shall be effective upon receipt. Notice
 by electronic mail shall be effective upon delivery by the sender of a confirming telephone
 message. Notice by mail shall be complete at the time of deposit in the United States mail
 system, but any right or duty to do any act or make any response within any prescribed
 period or on a date certain after the service of such Notice given by mail shall be, without
 further action by any Party, automatically extended three (3) days.

          24.     Reservation of Rights. Except as expressly provided in this Plan Support
 Agreement, nothing herein is intended to, or does, in any manner waive, limit, impair, or
 restrict the ability of any Party to protect and preserve its rights, remedies, and interests,
 including its Claims. Nothing herein shall be deemed an admission of any kind. If the
 transactions contemplated herein are not consummated, or this Plan Support Agreement is
 terminated for any reason, the Parties hereto fully reserve any and all of their rights. Except
 as required by the Bankruptcy Code to assume, perform, or disclose this Plan Support
 Agreement, pursuant to Rule 408 of the Federal Rule of Evidence, any applicable state
 rules of evidence, and any other applicable law, foreign or domestic, this Plan Support
 Agreement and all negotiations relating thereto shall not be admissible into evidence in any
 proceeding other than a proceeding to enforce its terms.

         25.     Nature of Consenting Holder Obligations. The obligations of each
 Consenting Holder hereunder shall be several, and not joint with the obligations of any
 other Consenting Holder herein, and no Consenting Holder shall be responsible in any way
 for the performance of the obligations of any other Consenting Holder hereunder. Nothing
 herein or in any other agreement or document, and no action taken by any Consenting
 Holder pursuant hereto or thereto, shall be deemed to constitute the Consenting Holders as
 a group, a partnership, an association, a joint venture or any other kind of entity, or to create
 a presumption that the Consenting Holders are in any way acting in concert or as a group
 with respect to such obligations or the transaction contemplated by this Plan Support
 Agreement. Each Consenting Holder shall be entitled to protect and enforce its rights,
 including without limitation, the rights arising out of this Plan Support Agreement, and it
 shall not be necessary for any other Consenting Holder to be joined as an additional party
 in the proceeding for such purpose.
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        26.     Automatic Stay.        The Borrowers acknowledge that after any
 commencement of the Chapter 11 Cases, the giving of notice of termination by any Party
 pursuant to this Plan Support Agreement or a Withdrawal shall not be a violation of the
 automatic stay of Section 362 of the Bankruptcy Code.
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                                     Its Authorized Representative
                                     and not individually

                             Aggregate principal amount of Bonds held on effective
                             date hereof: $24,227,000

                             CUSIP                 Amount
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                                  SCHEDULE 1

                            “CONSENTING HOLDERS”

  Consenting Bondholder                              Principal Amount of
                                                   Series 2016 Bonds Owned
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                                 EXHIBIT 1

                                TERM SHEET
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                                       RESTRUCTURING TERM SHEET

This Restructuring Term Sheet (this “Term Sheet”), dated as of May 14, 2020, sets forth certain of the principal terms
and conditions of a financial restructuring (the “Restructuring Transaction”) of the outstanding indebtedness of
Timothy Place, NFP (the “Corporation”), and Christian Healthcare Foundation, NFP (the “Foundation” and together
with the Corporation, the “Borrowers”), including, without limitation, (i) $103,691,500 Illinois Finance Authority
(the “Issuer”) Revenue Bonds (Park Place of Elmhurst Project) Series 2016A (the “Series A Bonds”), (ii) $15,496,392
Illinois Finance Authority Revenue Bonds (Park Place of Elmhurst Project) Series 2016B (the “Series B Bonds”), and
(iii) $21,918,750 Illinois Finance Authority Revenue Bonds (Park Place of Elmhurst Project) Series 2016C (the
“Series C Bonds” and together with the Series A Bonds and Series B Bonds, the “Series 2016 Bonds”) pursuant to
that certain Bond Trust Indenture (the “Indenture”) dated as of May 1, 2016, between the Issuer and UMB Bank, n.a.,
as trustee (the “Trustee”).

The Restructuring Transaction contemplates, among other things, an exchange (the “Proposed Exchange”) of the
outstanding Series 2016 Bonds in the aggregate principal amount of approximately $141,106,642, plus any accrued
and unpaid interest thereon, as provided for herein, for new Series 2020 Bonds (as hereinafter defined). This Term
Sheet contemplates the consummation of the Restructuring Transaction through a Plan of Reorganization (the “Plan”)
in a Chapter 11 proceeding of the Borrowers (the “Anticipated Bankruptcy Proceeding”) pending before a court of a
competent jurisdiction (the “Bankruptcy Court”) as more fully described below.

This Term Sheet and the undertakings contemplated herein are subject in all respects to the negotiation, execution and
delivery of mutually acceptable definitive documentation between the Borrowers, the Issuer and the Trustee acting at
the direction of a majority of the holders of the Series 2016 Bonds (such majority holders of the Series 2016 Bonds,
the “Majority Holders”). This Term Sheet is not and shall not be deemed to be a solicitation of votes for the acceptance
of any plan of reorganization, including without limitation, the Plan, or the Proposed Exchange.

THE TERM SHEET IS BEING PROVIDED AS PART OF A COMPREHENSIVE COMPROMISE AND
SETTLEMENT, EACH ELEMENT OF WHICH IS CONSIDERATION FOR THE OTHER ELEMENTS
AND AN INTEGRAL ASPECT OF THE PROPOSED RESTRUCTURING OF THE SERIES 2016 BONDS.
THE TERM SHEET IS SUBJECT TO FEDERAL RULE OF EVIDENCE 408 AND COMPARABLE STATE
STATUTES. NOTHING IN THE TERM SHEET SHALL CONSTITUTE OR BE CONSTRUED AS AN
ADMISSION OF ANY FACT OR LIABILITY, A STIPULATION OR A WAIVER, AND EACH
STATEMENT CONTAINED HEREIN IS MADE WITHOUT PREJUDICE, SOLELY FOR SETTLEMENT
PURPOSES, WITH A FULL RESERVATION AS TO ALL RIGHTS, REMEDIES AND DEFENSES OF THE
BORROWERS, THE TRUSTEE, THE MAJORITY HOLDERS, AND ALL OTHER PARTIES.

Capitalized terms not otherwise defined herein shall have the meanings given to them in the Indenture.

A.       Implementation of Restructuring Transaction

 Proposed Exchange        The Restructuring Transaction will be implemented through the Plan. The Series 2020
 Process                  Bonds (as described herein, the “Series 2020 Bonds”) will be issued on the effective date
                          of the Plan (the “Effective Date”). The Series 2020 Bonds will be issued pursuant to an
                          Indenture of Trust (“2020 Indenture” and together with all related documents necessary
                          for the issuance of the Series 2020 Bonds, the “2020 Bond Documents”) between the
                          Issuer and the Trustee.

                           The Borrowers will commence the Anticipated Bankruptcy Proceedings and will file the
                           Plan and 2020 Bond Documents and a disclosure statement to the Plan (the “Disclosure
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                        Statement”), that is acceptable to the Trustee and the Majority Holders, which contains
                        the terms and conditions outlined in this Term Sheet, on the timeline set forth below. Prior
                        to the commencement of the Anticipated Bankruptcy Proceeding, the Borrowers shall
                        provide copies of drafts of the Plan, Disclosure Statement and other pleadings, and
                        documents, including the 2020 Bond Documents (collectively, the “Solicitation
                        Documents”) to the Trustee and the Majority Holders for their review and consent. Any
                        substantive amendments, modifications or supplements to the Solicitation Documents
                        shall be reviewed by, and acceptable to, the Trustee and the Majority Holders; provided,
                        however, that no amendment, modification, or supplement shall be materially different
                        from the Term Sheet.

 Majority              Prior to the commencement of the Anticipated Bankruptcy Proceeding, and subject to the
 Bondholder            timeline set forth herein, the Majority Holders agree to take all necessary steps to enter
 Support               into a binding support agreement (the “Support Agreement”) concerning the Majority
                       Holders’ commitment to and support of the Plan and the Proposed Exchange.

                       The Majority Holders agree to not take any actions inconsistent with this Term Sheet, and
                       to direct the Trustee not to take any actions inconsistent with this Term Sheet. The
                       Majority Holders agree to consent to the Restructuring Transaction as set forth in the Plan
                       and the Proposed Exchange by delivering duly executed and completed consents on a
                       timely basis pursuant to the ongoing solicitation of votes for the Proposed Exchange and
                       shall not change such consents; provided, however, such consents shall only be binding to
                       the extent set out in the Support Agreement. The Majority Holders agree not to otherwise
                       commence any proceeding to oppose the Plan and the Proposed Exchange or object to the
                       Restructuring Transaction during the term of the Support Agreement. All such actions by
                       the Majority Holders are subject to the terms of the Support Agreement.

 Majority Holders      The Majority Holders agree that they shall not sell, transfer, assign, or otherwise dispose
 Retention of Bonds    of, directly or indirectly, any of the Series 2016 Bonds, or any right, claim, or interest
 and Claims            (voting or otherwise) related to or arising from the Series 2016 Bonds, subject to the terms
                       and conditions of the Support Agreement.



B.       Terms of Restructuring

 Exchange              On the Effective Date, the holders of the Series A Bonds and Series B Bonds shall exchange
                       the then outstanding Series A Bonds and Series B Bonds for a pro rata share of Series 2020
                       Bonds issued in the aggregate principal amount equal to approximately $107,269,103.

 Series 2020 Bonds     The Series 2020 Bonds shall be issued as current paying bonds with an aggregate principal
                       amount equal to 90% of the outstanding Series A Bonds and Series B Bonds. The Series 2020
                       Bonds shall bear interest at the rate of 5.125% per annum and have maturities in the years and
                       in principal amounts as set forth on Schedule 1 hereto. The Series 2020 Bonds shall further
                       be subject to mandatory redemption/amortization as set forth in Schedule 2 hereto. The Series
                       2020 Bonds shall pay interest only for the first three (3) years following the Effective Date,
                       and then amortize over the following thirty-seven (37) years. Interest on the Series 2020
                       Bonds shall be payable semiannually following the Effective Date and principal shall be paid
                       annually as set forth in Schedule 2.



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                    The Series 2020 Bonds will be secured by a first priority lien on all assets of the Corporation.
                    The Series 2020 Bond shall mature as set forth in Schedule 2, with a final maturity
                    approximately 40 years from the restructuring effective date (subject to bond counsel
                    approval).

                    The Series 2020 Bonds will be subject to optional redemption prior to maturity commencing
                    on the 5th year after the Effective Date, at a price equal to: in year 5, at a price of 102%, in
                    year 6, at price of 101% and thereafter at par.

                    The 2020 transaction will not include any 2020 cash flow notes for the balance outstanding
                    and is expected to consist of one series of bonds.

Series C Bonds      On the Effective Date, the Sponsor will provide sufficient cash to the Borrower to redeem
                    100% of the Series C Bonds for a cash payment of 3% of the accreted value of the outstanding
                    Series C Bonds as of the closing of the Proposed Exchange. Upon payment, the Series C
                    Bonds will be cancelled and deemed to no longer be outstanding.

Liquidity Support   On the Effective Date, Providence Life Services (the “Sponsor”) will deposit $3,000,000 (the
Agreement and       “Liquidity Fund”) with the Trustee to be held and used in accordance with the terms of a
Sponsor             certain Liquidity Support Agreement, by and among the Sponsor, the Borrowers and the
Contribution        Trustee. The Liquidity Fund shall be available to the Borrowers for payment of regular
                    operating expenses as needed, for payment of monthly interest or principal relating to the
                    Series 2020 Bonds.

                    To enhance the earnings on the Liquidity Fund, the Borrowers and Sponsor propose that the
                    LSA include a list of permitted investments for the Liquidity Fund, which will include certain
                    investments not customarily included in tax-exempt bond financings. For example, permitted
                    investments are contemplated to include corporate stock and bond mutual funds.

                    The fund balance in the Liquidity Fund will be permitted to be counted in the calculation of
                    Days Cash on Hand for purposes of covenant testing.

                    The Distribution Waterfalls will include provisions that allow the Liquidity Fund to be
                    restored to its original balance by the Borrowers if draws are made to pay operating expenses
                    or debt service. In addition, the LSA will include terms for the “burn-off” of the Liquidity
                    Fund over time. [“burn-off” TBD] .

                    In connection with the issuance of the Series 2016 Bonds, the Sponsor received a certain
                    promissory note (“Sponsor Note”), which is subordinate in security and payment to the Series
                    2016 Bonds. In further consideration of the Proposed Exchange, Sponsor will waive, as of the
                    Effective Date, all amounts due under the Sponsor Note.

                    The Sponsor and Borrowers understand that they will be responsible for transaction costs of
                    the Restructuring Transaction (the “Sponsor Contribution”). On the Effective Date, the
                    existing Debt Service Reserve Fund (“DSRF”) will be used pay (i) accrued and unpaid
                    interest on the Series 2016 Bonds through but not including the Effective Date, and (ii) the
                    costs and expenses of the Trustee and its advisors; any remaining DSRF balance immediately
                    shall be transferred to the Debt Service Reserve Fund under the 2020 Indenture.

Priority/Security   The Series 2020 Bonds will be secured by a first priority lien on all assets of the Corporation.



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Management Fees     The existing management agreement with the Sponsor shall be assumed in the Anticipated
                    Bankruptcy Proceeding, provided that such management agreement shall provide for an
                    annual management fee no greater than 4.25% of gross operating revenues; provided further
                    that no more than $30,000 shall be paid each month as an operating expense (“Base
                    Management Fee”), with the balance payable from Excess Cash (as described herein).

Entrance Fees       The Borrowers shall not reduce the amount of any current Entrance Fees or monthly fees or
                    offer any new discounts to Entrance Fee pricing or create any further benefit programs which
                    reduces current amounts by greater than five percent (5%), without consent of the holders of
                    a majority of principal amount of the Series 2020 Bonds.




Indenture Held/Debtor Held Funds

Operating Account   Upon the Effective Date, Borrowers shall maintain the existing Operating Account, which
                    shall be subject to the lien of the Trustee under the 2020 Indenture pursuant to a deposit
                    account control agreement reasonably acceptable to the Trustee. The Operating Account shall
                    contain 45 Days Cash on Hand as an unrestricted amount as of the Effective Date (the
                    “Unrestricted Amount”).

Entrance Fee Fund   Upon the Effective Date, the Borrowers shall maintain the existing Entrance Fee Fund under
                    the 2020 Indenture. After the Effective Date, pursuant to the 2020 Indenture, all Entrance
                    Fees of the Corporation shall be required to be deposited in the Entrance Fee Fund.

                    Entrance Fees (after the required payment of any refunds) will be transferred to the Revenue
                    Fund after any applicable rescission rights under the Residence Agreements have expired and
                    such funds shall be available to flow through the Distribution Waterfall (as defined herein).

Revenue Fund        Upon the Effective Date, the Corporation shall maintain the existing Revenue Fund with the
                    Trustee, subject to the lien of the 2020 Indenture, pursuant to which all revenues and other
                    income of the Corporation (the “Revenues”) shall, on and after the Effective Date, be
                    deposited. Funds from the Revenue Fund shall be withdrawn pursuant to the Distribution
                    Waterfall below.

Operating Reserve   Upon the Effective Date, the Corporation shall maintain the existing Operating Reserve Fund
Fund                with the Trustee, subject to the lien of the 2020 Indenture, and fund such Operating Reserve
                    Fund with an amount such that the balance therein shall have 75 Days Cash on Hand as of the
                    Effective Date. The amounts in the Operating Reserve Fund shall be available to the
                    Corporation for Operating Expenses (as defined herein).

Capital             Upon the Effective Date, the Borrowers shall maintain the existing Capital Expenditures Fund
Expenditures Fund   with the Trustee, subject to the lien of the 2020 Indenture. The Capital Expenditures Fund
                    will be funded on a monthly basis from the Revenue Fund (in such order and priority as set
                    forth in the Distribution Waterfall) in an amount equal to one-twelfth of each fiscal year’s
                    capital expenditures budget, as set forth in the 10-year projections in the Disclosure
                    Statement, and increased by CPI Index each year thereafter. The Capital Expenditures Fund
                    will be available to fund the Borrower’s capital expenditures and will not be included in

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                 calculations of Days Cash on Hand. Any balance in the Capital Expenditures Fund at the end
                 of a fiscal year will remain in said fund; provided that the balance of the amount on deposit
                 in the Capital Expenditures Fund will at no time exceed $3,000,000. In the event amounts in
                 the Operating Account and Operating Reserve Fund are insufficient to fund operating
                 expenses, the amounts in the Capital Expenditure Fund may be applied to such purpose.

Bond Fund        Upon the Effective Date, the Borrowers shall maintain the existing Bond Fund with the
                 Trustee, subject to the lien of the 2020 Indenture. In accordance with the Distribution
                 Waterfall below, the Bond Fund will receive (i) the monthly payments of principal and interest
                 due and payable under the Series 2020 Bonds.

Debt Service     Upon the Effective Date, the Borrowers shall maintain the existing Debt Service Reserve
Reserve Fund     Fund with the Trustee, subject to the lien of the 2020 Indenture. Upon the Effective Date,
                 amounts in the Debt Service Reserve Fund shall be applied in the following order of priority:
                 (i) to pay accrued and unpaid interest on the Series 2016 Bonds through but not including the
                 Effective Date, then (ii) fees and expenses of the Trustee and its advisors (to the extent not
                 covered by the Sponsor Contribution), and (iii) the remaining balance shall be transferred to
                 the Debt Service Reserve Fund under the 2020 Indenture. The Debt Service Reserve Fund
                 shall not become an asset of the Borrowers, but shall remain funds held by the Trustee for the
                 benefit of the holders of the Series 2020 Bonds. The Debt Service Reserve Fund Requirement
                 shall equal the Maximum Annual Debt Service (for purposes of calculating Maximum Annual
                 Debt Service for the Debt Service Reserve Fund Requirement, the anticipated final payment
                 in year 40 of the bond debt service shall not be included in such calculation). Any draw on
                 the Debt Service Reserve Fund shall be an event of default under the Series 2020 Indenture.

Distribution     Upon the Effective Date, all Entrance Fees shall be deposited with the Trustee in the Entrance
Waterfall        Fee Fund. Such amounts, together with the balances of the Operating Account, the Operating
                 Reserve Fund, as of the Effective Date and any Revenues available to the Borrowers at such
                 time, including the Sponsor Contribution, shall be applied in the following order of priority:

                     1.   to pay any Refunds;
                     2.   to pay all professional fees and expenses incurred in connection with the
                          Restructuring Transaction (including, without limitation, any costs associated with
                          obtaining opinions from bond counsel);
                     3.   to fund the Debt Service Reserve Fund up to the shortfall, if any, to the initial Debt
                          Service Reserve Fund requirement;
                     4.   to fund the Operating Account in an amount equal to 45 Days Cash on Hand
                          (approximately $2.250 million);
                     5.   to fund the Operating Reserve Fund in an amount equal to 75 Days Cash on Hand
                          (approximately $3.750 million); and

                 Thereafter, all post-Effective Date Entrance Fees and other Revenues of the Borrowers shall
                 be deposited in the Entrance Fee Fund or the Revenue Fund, as applicable, on a weekly basis.

                 Subject to the next sentence, amounts on deposit in the Revenue Fund shall be made available
                 to the Corporation on a monthly basis to satisfy ongoing operations and management costs
                 and expenses of the Corporation, including, without limitation, the Base Management Fee,
                 and replenishment of any Unrestricted Amount (collectively, the “Operating Expenses”). If
                 an Event of Default (as defined in the 2020 Indenture) shall occur, then the monthly amounts
                 on deposit in the Revenue Fund available for withdrawal to satisfy Operating Expenses shall

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                    be made available to the Corporation in an amount not to exceed the amounts set forth in an
                    operating budget established pursuant to the terms of the 2020 Indenture.

                    On the first Business Day of each calendar month, monies in the Revenue Fund shall be
                    distributed in the following order of priority (the “Distribution Waterfall”):

                        First, to the Operating Account the amount necessary to pay anticipated Operating
                         Expenses for the upcoming month (taking into account any unapplied amount
                         withdrawn for such purpose in a prior month), as such amount is set forth in a certificate
                         from the Borrower delivered to the Trustee no later than 10 Business Days prior to the
                         first Business Day of a month;

                        Second, to replenish any deficiency as of the Effective Date in the Debt Service Reserve
                         Fund necessary to make the amount therein equal the Debt Service Reserve Fund
                         Requirement;

                        Third, to the Bond Fund, in an amount equal to 1/6th of the interest due on the next
                         interest payment date;

                        Fourth, to the Bond Fund, in an amount equal to 1/12th of the principal due on the next
                         principal payment date;

                        Fifth, to the Capital Expenditure Fund, in an amount equal to 1/12th of such Fiscal Year’s
                         capital budget;

                        Sixth, to replenish the balance of the Operating Reserve Fund and the Operating Account
                         to a combined total of 135 Days Cash on Hand;

                        Seventh, to replenish the balance of the Liquidity Fund for any draws made in order to
                         restore the balance of the Liquidity Fund to $3 million; and

                        Eighth, any remaining amounts after application of paragraphs first to seventh above
                         (such remaining amounts referred to as “Excess Cash”) shall be transferred to the
                         Operating Reserve Fund.


Operating/Financial Covenants

Days Cash on Hand   The Corporation shall provide reporting of Days Cash on Hand semiannually commencing
Covenant            six (6) months after the Effective Date (each such date being a “Testing Date”). In addition,
                    the Corporation covenants to maintain not less than the amounts shown below on each Testing
                    Date:

                    First Testing Date: 100
                    Second Testing Date: 100
                    Third Testing Date: 110
                    Fourth Testing Date: 110
                    Fifth Testing Date and thereafter: 120

                    Note: Projections will be updated with the Restructured Bonds so that projected ratios can be
                    compared with covenant levels. The levels above may need further refinement if surplus
                    cushion exists.




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Debt Service          Commencing the fiscal year ending December 31, 2020 (the “Initial Testing Date”), the
Coverage Ratio        Corporation shall achieve a DSCR of not less than 1.10x. The ratio shall be tested quarterly
Covenant              on a rolling four quarter basis, commencing on the Initial Testing Date. The required DSCR
                      will increase to 1.15x for the Testing Dates that occur on December 31, 2021 and thereafter.

                      The numerator of the DSCR will include net Entrance Fees (i.e., Entrance Fees, [but not Initial
                      Entrance Fees], received during such period minus Entrance Fees refunded during such
                      period) and the denominator will be Maximum Annual Debt Service on the Series 2020
                      Bonds.

                      If the Debt Service Coverage Ratio on a testing date is below 1.10x for the Initial Testing
                      Date or below 1.15x for the Testing Dates that occur on December 31, 2021 and thereafter,
                      but above 1.0x, and the Days Cash on Hand Ratio is equal to or above 150 for the same time
                      period, then the Borrowers can avoid an Event of Default. However, an Event of Default will
                      be triggered if the Debt Service Coverage Ratio is below 1.0x.

                      To the extent the Liquidity Fund is drawn upon for any reason, such amounts will be taken
                      into account in calculating the numerator to the Debt Service Coverage Ratio.

                      Any additional indebtedness for Phase II will not be counted for purpose of the DSCR until
                      the earlier of (i) stabilization (90% occupancy of the Phase II independent living units) or
                      (ii) the forty ninth (49th) month following issuance of the Phase II indebtedness.

Additional            The Borrowers shall not be permitted to issue any additional indebtedness that would be pari
Indebtedness          passu in priority of payment and security with the Series 2020 Bonds except for (i) Capitalized
(parity with Series   Leases not to exceed $1,000,000 in the aggregate; (ii) refunding indebtedness which
2020 Bonds)           demonstrates annual debt service savings, pursuant to the terms and conditions acceptable to
                      the majority in principal amount of Series 2020 Bondholders and simultaneously with the
                      refunding of any Series 2020 Bonds, with the applicable discounts; and (iii) indebtedness
                      relating to the financing of additional construction of independent living units not to exceed
                      70 units (“Phase II”), provided that prior to the incurrence of such indebtedness (A) there is
                      a guaranteed maximum price or stipulated contract for construction; (B) no default has
                      occurred under the Bond Documents; (C) certification from the Corporation that (w) at least
                      92% of the independent living units in the existing Facility are occupied and (x) at least 70%
                      of the independent living units in Phase II have been reserved with deposits equal to 10% of
                      the Entrance Fees; (D) the Days Cash on Hand and DSCR covenants have all been met as of
                      the most recent testing date; and (E) a Consultant forecast shows that the DSCR from and
                      after the third fiscal year following completion of Phase II will be at least 1.25 and the Days
                      Cash on Hand at the end of the first Fiscal Year in which the average occupancy of such
                      Independent Living Units is forecasted to reach eighty-five percent (85%) will be at least 200,
                      upon closing of such additional indebtedness.

                      Additional Indebtedness related to Phase II shall only be permitted if no more than 70% of
                      such Additional Indebtedness is fixed rate long term indebtedness or as otherwise agreed to
                      by a majority of bondholders and may have priority rights in a waterfall to entrance fees from
                      Phase II.

                      No additional indebtedness shall be secured on a senior basis to the Series 2020 Bonds.




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                      No additional subordinate indebtedness or non-recourse indebtedness may be incurred until
                      the Series 2020 Bonds are paid in full.

IL Occupancy          Commencing with the first fiscal quarter following the Effective Date, the Corporation shall
Covenants             maintain an occupancy level of no less than 85% for the independent living units (the “IL
                      Occupancy Covenant”).

Assisted Living and   Commencing with the first fiscal quarter following the Effective Date, the Corporation shall
Nursing Center        maintain (i) an 82% occupancy level for Assisted Living (“AL”) units and (ii) an 82%
Occupancy             occupancy level for Nursing Center (“NC”) units, which shall be measured as the average
Covenants             occupancy of the AL and NC units, as applicable, on a rolling four quarter basis (the “AL/NC
                      Occupancy Covenant”).

Failure to meet           (i) If the Corporation fails to meet the Days Cash on Hand Covenant, the AL/NC
covenants                     Occupancy Covenant, or the DSCR Covenant as of any testing date, then upon the
                              first occurrence of such non-compliance, the Borrowers shall be required to retain a
                              management consultant acceptable (which approval shall not be unreasonably
                              withheld) to the holders of not less than a majority of the outstanding aggregate
                              principal amount of the Series 2020 Bonds, to provide a report and improvement
                              plan to the Trustee. The proposed management consultant will be deemed not
                              acceptable unless a majority has consented to the proposed management consultant
                              within 14 days.

                        (ii)    If the Borrowers fail to meet the Days Cash on Hand Covenant, the AL/NC
                                Occupancy Covenant or the DSCR Covenant by the end of the fourth quarter after
                                the report and improvement plan are provided, the Borrowers shall, if so directed by
                                the holders of not less than a majority of the outstanding aggregate principal
                                amount of the Series 2020 Bonds, appoint an independent third party manager
                                acceptable to such holders or if a third party manager is then managing the facility,
                                replace the manager with a manager acceptable to such holders; provided however
                                that if at the end of such fourth quarter, a Consultant certifies that the Borrowers
                                have complied with all of their recommendations (except any recommendation to
                                replace the Sponsor, as manager), then the period for compliance with such
                                covenants shall be extended by four additional quarters; provided that if the manager
                                fails to comply with such recommendations at any time during such extended four
                                quarter period (other than a replacement of the Sponsor, as a manager) then at any
                                such time, a majority of bondholders may cause replacement of manager. In the
                                event the Consultant recommends a replacement of the Sponsor, as manager, failure
                                to comply with such recommendation will not result in a change in the Sponsor, as
                                manager unless the Borrowers fail to meet the covenants within eight quarters of the
                                first violation. For avoidance of doubt, failure to comply with such covenants after
                                the extended period (if applicable) may result in a change of management if directed
                                by the majority of bondholders.

                        (iii)   If on any testing date, the DSCR is 1.0x or below or the Days Cash on Hand is less
                                than the applicable covenant amount by 20 or more Days Cash on Hand on each
                                Testing Date, it shall constitute an Event of Default under the 2020 Indenture.

                        (iv)    Same remedies in (i) above will apply for failure to meet the IL Occupancy
                                Covenant, provided that the Borrower shall be required to hire a marketing
                                consultant in lieu of a management consultant. If the Borrowers fail to meet the IL
                                Occupancy Covenant by the end of the fourth quarter after the report and
                                improvement plan are provided, the Borrowers shall, at the direction of the holders
                                of not less than a majority of the outstanding aggregate principal amount of the
                                Series 2020 Bonds, replace the marketing agent, or if there is no acting marketing

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                               agent, the Borrowers shall be required to hire a marketing agent acceptable to the
                               Trustee.


Reporting Requirements

Reporting             The Borrowers shall deliver monthly financial statements (including a balance sheet, an
                      income statement, an escrow statement and a cash flow statement) and a monthly report on
                      marketing, occupancy and sales within 45 days following the prior month end comparing
                      actual results to budget and shall include an explanation of variances of more than 10% from
                      budgeted amounts. Such financial statements shall also include an Entrance Fee analysis.
                      Monthly reporting will be replaced by quarterly reporting after year 3 if, and for so long as,
                      the Borrowers are in compliance with all of their covenants under 2020 Bond Documents;
                      provided that quarterly reporting shall revert to monthly reporting in the event that the
                      Borrowers go out of compliance with any of their covenants under the 2020 Bond Documents.

                      The Borrowers shall enter into a new Continuing Disclosure Agreement providing for the
                      same reporting as required by the existing Continuing Disclosure Agreement (in addition to
                      the information required above), except for any amendments thereto required to reflect
                      changes to Rules 15c2-12.

Update Calls          For the first year from the Effective Date, the Corporation shall hold monthly calls for holders
                      of the Series 2020 Bonds. After such time, the Corporation shall hold quarterly calls, unless
                      a majority of bondholders requests monthly calls.


General Provisions

New 2020 Bond          The 2020 Bond Documents shall be prepared or, as applicable, amended and modified in a
Documents              manner necessary to effectuate the Restructuring Transaction. The 2020 Bond Documents
                       and other agreements governing the Restructuring Transaction shall, except as provided
                       herein, contain all of the existing covenants, defaults and provisions contained in the
                       Indenture and such additional provisions as acceptable to the Majority Holders and
                       consistent with the Term Sheet.

Release/Exculpation    The Restructuring Transaction contemplated by the Term Sheet shall contain customary
                       release, injunction and exculpation provisions for all Parties to the Restructuring
                       Transaction to the extent available under applicable law. The Parties hereby agree that they
                       will use respective best efforts to obtain approval of such release, injunction and exculpatory
                       provisions, which by way of example only shall include opposing any effort by any person
                       or entity that is not a Party to this Term Sheet to eliminate or reduce the scope of such
                       release, injunction and exculpation provisions.

Binding Effect         The obligation of each of the undersigned parties to pursue the Restructuring Transaction
                       in accordance with the terms hereof is subject to (i) the negotiation, execution and delivery
                       of mutually acceptable final documentation, (ii) receipt of all necessary consents, including
                       any consent of any party’s credit or other committee or board of directors and any regulatory
                       approvals, (iii) receipt of a satisfactory tax opinion confirming that the interest on the 2020
                       Bonds will be excluded from gross income for federal income tax purposes under the



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                Internal Revenue Code, and (iv) the Effective Date occurring on or before that date that is
                109 days after the Petition Date.

Miscellaneous   This Term Sheet shall be governed by the laws of the State of Illinois.

                This Term Sheet may be executed in one or more counterparts, and when all counterparts
                have been executed, each executed counterpart will have the force and effect of the original.

Timeline        The following timeline will be applicable:

                    (1) Petition Date – The date on which the Borrowers file the Anticipated Bankruptcy
                        Proceeding with the Bankruptcy Court.

                    (2) Petition Date + 4 days – Entry of Interim Cash Collateral Order;

                    (3) Petition Date + 40 days – Entry of Final Cash Collateral Order, and approval of
                        Disclosure Statement and Solicitation Procedures;

                    (4) Petition Date + 50 days – Solicitation of Plan;

                    (5) Petition Date + 95 days – Confirmation of Plan; and

                    (6) Petition Date + 109 days – Effective Date of Plan.




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                                                       Schedule 1

                                            Series 2020 Bond Maturities

                  Series 2016 A&B Par:                                    $119,187,892
                  Series 2020 Par:                                        $107,269,103        90%
                  Coupon:                                                            5.125%


                     Year              Principal               Interest           Debt Service
                  5/15/20211/                      -             4,123,156.14          4,123,156.14
                  5/15/2022                        -             5,497,541.52          5,497,541.52
                  5/15/2023                        -             5,497,541.52          5,497,541.52
                  5/15/2024                  767,889             5,497,541.52          6,265,430.52
                  5/15/2025                  807,244             5,458,187.22          6,265,431.22
                  5/15/2026                  848,615             5,416,815.96          6,265,430.96
                  5/15/2027                  892,106             5,373,324.44          6,265,430.44
                  5/15/2028                  937,827             5,327,604.02          6,265,431.02
                  5/15/2029                  985,890             5,279,540.38          6,265,430.38
                  5/15/2030                1,036,417             5,229,013.52          6,265,430.52
                  5/15/2031                1,089,534             5,175,897.14          6,265,431.14
                  5/15/2032                1,145,372             5,120,058.52          6,265,430.52
                  5/15/2033                1,204,073             5,061,358.22          6,265,431.22
                  5/15/2034                1,265,781             4,999,649.48          6,265,430.48
                  5/15/2035                1,330,653             4,934,778.20          6,265,431.20
                  5/15/2036                1,398,848             4,866,582.22          6,265,430.22
                  5/15/2037                1,470,539             4,794,891.26          6,265,430.26
                  5/15/2038                1,545,905             4,719,526.14          6,265,431.14
                  5/15/2039                1,625,132             4,640,298.52          6,265,430.52
                  5/15/2040                1,708,420             4,557,010.50          6,265,430.50
                  5/15/2041                1,795,977             4,469,453.98          6,265,430.98
                  5/15/2042                1,888,021             4,377,410.16          6,265,431.16
                  5/15/2043                1,984,782             4,280,649.08          6,265,431.08
                  5/15/2044                2,086,502             4,178,929.00          6,265,431.00
                  5/15/2045                2,193,435             4,071,995.78          6,265,430.78
                  5/15/2046                2,305,848             3,959,582.22          6,265,430.22
                  5/15/2047                2,424,023             3,841,407.52          6,265,430.52
                  5/15/2048                2,548,254             3,717,176.34          6,265,430.34
                  5/15/2049                2,678,852             3,586,578.32          6,265,430.32
                  5/15/2050                2,816,144             3,449,287.16          6,265,431.16
                  5/15/2051                2,960,471             3,304,959.78          6,265,430.78
                  5/15/2052                3,112,195             3,153,235.64          6,265,430.64
                  5/15/2053                3,271,695             2,993,735.64          6,265,430.64
                  5/15/2054                3,439,369             2,826,061.28          6,265,430.28
                  5/15/2055                3,615,637             2,649,793.62          6,265,430.62
                  5/15/2056                3,800,938             2,464,492.22          6,265,430.22
                  5/15/2057                3,995,737             2,269,694.14          6,265,431.14
                  5/15/2058                4,200,518             2,064,912.62          6,265,430.62
                  5/15/2059                4,415,795             1,849,636.08          6,265,431.08
                  5/15/2060               31,674,665             1,623,326.58         33,297,991.58

1/
   The amount of interest payable for the first year is subject to change based on the final determination of the
Effective Date.

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                          107,269,103        166,702,633.60   273,971,736.60




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                                       Schedule 2

                       Series 2020 Mandatory Sinking Fund Schedule




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                                 EXHIBIT 2

                                  JOINDER
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                                     FORM OF JOINDER

        This Joinder to the Plan Support Agreement, dated as of [__________] [__], 2020, by and
among the Borrowers and the Consenting Holders (the “Support Agreement”), is executed and
delivered by ___________ (the “Joining Party”) as of _________, 2020. Each capitalized term
used herein but not otherwise defined shall have the meaning set forth in the Support Agreement.

         1. Agreement to be Bound. The Joining Party hereby agrees to be bound by all of the
terms of the Plan Support Agreement (and all exhibits and annexes thereto), attached to this Joinder
as Annex I (as such Plan Support Agreement, exhibits and annexes may be hereafter amended,
restated, or otherwise modified from time to time). The Joining Party shall hereafter be deemed
to be a “Consenting Holder” and a “Party” for all purposes under the Plan Support Agreement.

         2. Representations and Warranties. With respect to the Series 2016 Bonds set forth below
its name on the signature page hereof and all related claims, rights, and causes of action arising
out of or in connection with or otherwise relating to such Series 2016 Bonds, the Joining Party
hereby makes to the Borrowers the representations and warranties of the Consenting Holders set
forth in the Plan Support Agreement.

        3. Notices. For purposes of notices and other communications to be delivered to the
Joining Party the relevant addresses and facsimile numbers are set forth below.

         4. Governing Law. This Joinder shall be governed by and construed in accordance with
the laws of The State of Illinois, without regard to any conflict of laws provisions that would
require the application of the law of any other jurisdiction.
                                             *****

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                                 EXHIBIT 3

                                   Budget




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Monthly Cash Flow
Timothy Place, Inc. d/b/a Park Place of Elmhurst

Month 1 Begins:                                      5/18/20


Month 1 Ends                                      5/31/20       6/30/20        7/31/20        8/31/20        9/30/20
Cash on Hand (beginning of month)                 2,937,207     2,186,144      1,901,980     1,994,343        1,839,032

CASH RECEIPTS
Transfer from Trustee- operating & capital              -       1,905,554      2,216,231     2,123,868       2,244,584
Transfer from Trustee - EF refunds                                323,190        730,910           -               -
Fire settlement                                                                                100,000
Collections- PPP Fund                               539,782        837,718
Collections - A/R                                   705,000      1,560,000     1,572,000     1,607,000        1,560,000
Entrance Fees                                       344,500        240,150       749,000       360,000        1,030,750
Transfer to Trustee cash deposits                (1,589,282)    (2,637,868)   (2,321,000)   (2,067,000)      (2,590,750)
TOTAL CASH RECEIPTS                                     -        2,228,744     2,947,141     2,123,868        2,244,584
Total Cash Available (before cash out)            2,937,207      4,414,888     4,849,121     4,118,211        4,083,616

CASH PAID OUT
Purchased Services & Supplies                      281,000        431,000        431,000       431,000         431,000

Payroll & payroll related                          340,000        665,500        681,500       868,811         681,500
Marketing                                           25,000         55,600         55,600        55,600          55,600
Accounting & legal (non-bankruptcy)                    -            3,650         19,500           -               -
Utilities                                           39,500         80,500         80,500        80,500          80,500
Insurance                                              600          6,730         44,230         6,730           6,730
Taxes (real estate, etc.)                              -              -              -             -            80,517
SUBTOTAL                                           686,100      1,242,980      1,312,330     1,442,641       1,335,847
Capital escrow payment                                 -           96,342         96,342        96,342          96,342
Interest escrow payment                                           621,196        621,196       621,196         621,196
Fire mitigation costs (To be reimbursed)                          100,000
Capital purchase                                     20,040       129,200         94,000       119,000         124,000
Entrance Fee Refunds                                 44,923       323,190        730,910           -               -
TOTAL CASH PAID OUT                                 751,063     2,512,908      2,854,778     2,279,179       2,177,385
Cash Position (End of Month)                      2,186,144     1,901,980      1,994,343     1,839,032       1,906,231

Payroll Protection Program loan in separate account:
Loan proceeds - May 6, 2020                   1,377,500           837,718
Draw for Eligible Payroll and Eligible
nonpayroll costs                               (539,782)          (837,718)
Balance                                         837,718                -



Note: Notwithstanding anything to the contrary herein, shortly before the commencement of the Chapter
11 Cases, Park Place (a) will make an additional payment to its employees in the amount of their accrued
earnings as of the Petition Date, and (b) place deposits with essential non-insider trade creditors in the
amount of such vendor’s estimated claims against Park Place which have accrued but are not yet payable
as of the Petition Date. The intent of these payments and deposits is to help insure that employees and
trade creditors will not have unsecured claims against Park Place in its Chapter 11 Case.
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                                           EXHIBIT 4

                            Milestones if Borrowers receive PPP Loan


In the event the Borrowers receive the PPP Loan, the following Milestones shall apply:

                (1)    On or before May 29, 2020, each of the Borrowers will execute the Term
        Sheet in form and substance as attached to this Agreement as Exhibit 1;

              (2)    On or before May 29, 2020, each of the Borrowers will execute the Plan
        Support Agreement in form and substance as attached to this Agreement as Exhibit 2;

                (3)      On or before June 12, 2020, the Borrowers will provide to the Trustee with
        final drafts of all Bankruptcy Documents (as defined in the Plan Support Agreement);

                (4)     The Borrowers shall review and provide their comments on the 2020 Bond
        Documents (as defined in the Term Sheet) no later than two (2) weeks after receiving the
        drafts of the 2020 Bond Documents from the Trustee;

                (5)   On or before June 26, 2020, the Parties to agree on the form and substance
        of the Bankruptcy Documents and the 2020 Bond Documents; and

                (6)    Each of the Borrowers shall file petitions commencing the Chapter 11 Cases
        no later than two (2) Business Days after they Borrowers receive notice concerning the
        determination of forgiveness of the PPP Loan; and

                (7)   Notwithstanding Milestones (1) through (6) above, the Borrowers shall file
        petitions commencing the Chapter 11 Cases no later than September 15, 2020.




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                                       RESTRUCTURING TERM SHEET

This Restructuring Term Sheet (this “Term Sheet”), dated as of May 14, 2020, sets forth certain of the principal terms
and conditions of a financial restructuring (the “Restructuring Transaction”) of the outstanding indebtedness of
Timothy Place, NFP (the “Corporation”), and Christian Healthcare Foundation, NFP (the “Foundation” and together
with the Corporation, the “Borrowers”), including, without limitation, (i) $103,691,500 Illinois Finance Authority
(the “Issuer”) Revenue Bonds (Park Place of Elmhurst Project) Series 2016A (the “Series A Bonds”), (ii) $15,496,392
Illinois Finance Authority Revenue Bonds (Park Place of Elmhurst Project) Series 2016B (the “Series B Bonds”), and
(iii) $21,918,750 Illinois Finance Authority Revenue Bonds (Park Place of Elmhurst Project) Series 2016C (the
“Series C Bonds” and together with the Series A Bonds and Series B Bonds, the “Series 2016 Bonds”) pursuant to
that certain Bond Trust Indenture (the “Indenture”) dated as of May 1, 2016, between the Issuer and UMB Bank, n.a.,
as trustee (the “Trustee”).

The Restructuring Transaction contemplates, among other things, an exchange (the “Proposed Exchange”) of the
outstanding Series 2016 Bonds in the aggregate principal amount of approximately $141,106,642, plus any accrued
and unpaid interest thereon, as provided for herein, for new Series 2020 Bonds (as hereinafter defined). This Term
Sheet contemplates the consummation of the Restructuring Transaction through a Plan of Reorganization (the “Plan”)
in a Chapter 11 proceeding of the Borrowers (the “Anticipated Bankruptcy Proceeding”) pending before a court of a
competent jurisdiction (the “Bankruptcy Court”) as more fully described below.

This Term Sheet and the undertakings contemplated herein are subject in all respects to the negotiation, execution and
delivery of mutually acceptable definitive documentation between the Borrowers, the Issuer and the Trustee acting at
the direction of a majority of the holders of the Series 2016 Bonds (such majority holders of the Series 2016 Bonds,
the “Majority Holders”). This Term Sheet is not and shall not be deemed to be a solicitation of votes for the acceptance
of any plan of reorganization, including without limitation, the Plan, or the Proposed Exchange.

THE TERM SHEET IS BEING PROVIDED AS PART OF A COMPREHENSIVE COMPROMISE AND
SETTLEMENT, EACH ELEMENT OF WHICH IS CONSIDERATION FOR THE OTHER ELEMENTS
AND AN INTEGRAL ASPECT OF THE PROPOSED RESTRUCTURING OF THE SERIES 2016 BONDS.
THE TERM SHEET IS SUBJECT TO FEDERAL RULE OF EVIDENCE 408 AND COMPARABLE STATE
STATUTES. NOTHING IN THE TERM SHEET SHALL CONSTITUTE OR BE CONSTRUED AS AN
ADMISSION OF ANY FACT OR LIABILITY, A STIPULATION OR A WAIVER, AND EACH
STATEMENT CONTAINED HEREIN IS MADE WITHOUT PREJUDICE, SOLELY FOR SETTLEMENT
PURPOSES, WITH A FULL RESERVATION AS TO ALL RIGHTS, REMEDIES AND DEFENSES OF THE
BORROWERS, THE TRUSTEE, THE MAJORITY HOLDERS, AND ALL OTHER PARTIES.

Capitalized terms not otherwise defined herein shall have the meanings given to them in the Indenture.

A.       Implementation of Restructuring Transaction

 Proposed Exchange        The Restructuring Transaction will be implemented through the Plan. The Series 2020
 Process                  Bonds (as described herein, the “Series 2020 Bonds”) will be issued on the effective date
                          of the Plan (the “Effective Date”). The Series 2020 Bonds will be issued pursuant to an
                          Indenture of Trust (“2020 Indenture” and together with all related documents necessary
                          for the issuance of the Series 2020 Bonds, the “2020 Bond Documents”) between the
                          Issuer and the Trustee.

                           The Borrowers will commence the Anticipated Bankruptcy Proceedings and will file the
                           Plan and 2020 Bond Documents and a disclosure statement to the Plan (the “Disclosure




                Exhibit 2 To Debtors' Joint Disclosure Statement Dated Dec. 15, 2020
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                        Statement”), that is acceptable to the Trustee and the Majority Holders, which contains
                        the terms and conditions outlined in this Term Sheet, on the timeline set forth below. Prior
                        to the commencement of the Anticipated Bankruptcy Proceeding, the Borrowers shall
                        provide copies of drafts of the Plan, Disclosure Statement and other pleadings, and
                        documents, including the 2020 Bond Documents (collectively, the “Solicitation
                        Documents”) to the Trustee and the Majority Holders for their review and consent. Any
                        substantive amendments, modifications or supplements to the Solicitation Documents
                        shall be reviewed by, and acceptable to, the Trustee and the Majority Holders; provided,
                        however, that no amendment, modification, or supplement shall be materially different
                        from the Term Sheet.

 Majority              Prior to the commencement of the Anticipated Bankruptcy Proceeding, and subject to the
 Bondholder            timeline set forth herein, the Majority Holders agree to take all necessary steps to enter
 Support               into a binding support agreement (the “Support Agreement”) concerning the Majority
                       Holders’ commitment to and support of the Plan and the Proposed Exchange.

                       The Majority Holders agree to not take any actions inconsistent with this Term Sheet, and
                       to direct the Trustee not to take any actions inconsistent with this Term Sheet. The
                       Majority Holders agree to consent to the Restructuring Transaction as set forth in the Plan
                       and the Proposed Exchange by delivering duly executed and completed consents on a
                       timely basis pursuant to the ongoing solicitation of votes for the Proposed Exchange and
                       shall not change such consents; provided, however, such consents shall only be binding to
                       the extent set out in the Support Agreement. The Majority Holders agree not to otherwise
                       commence any proceeding to oppose the Plan and the Proposed Exchange or object to the
                       Restructuring Transaction during the term of the Support Agreement. All such actions by
                       the Majority Holders are subject to the terms of the Support Agreement.

 Majority Holders      The Majority Holders agree that they shall not sell, transfer, assign, or otherwise dispose
 Retention of Bonds    of, directly or indirectly, any of the Series 2016 Bonds, or any right, claim, or interest
 and Claims            (voting or otherwise) related to or arising from the Series 2016 Bonds, subject to the terms
                       and conditions of the Support Agreement.



B.       Terms of Restructuring

 Exchange              On the Effective Date, the holders of the Series A Bonds and Series B Bonds shall exchange
                       the then outstanding Series A Bonds and Series B Bonds for a pro rata share of Series 2020
                       Bonds issued in the aggregate principal amount equal to approximately $107,269,103.

 Series 2020 Bonds     The Series 2020 Bonds shall be issued as current paying bonds with an aggregate principal
                       amount equal to 90% of the outstanding Series A Bonds and Series B Bonds. The Series 2020
                       Bonds shall bear interest at the rate of 5.125% per annum and have maturities in the years and
                       in principal amounts as set forth on Schedule 1 hereto. The Series 2020 Bonds shall further
                       be subject to mandatory redemption/amortization as set forth in Schedule 2 hereto. The Series
                       2020 Bonds shall pay interest only for the first three (3) years following the Effective Date,
                       and then amortize over the following thirty-seven (37) years. Interest on the Series 2020
                       Bonds shall be payable semiannually following the Effective Date and principal shall be paid
                       annually as set forth in Schedule 2.



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                    The Series 2020 Bonds will be secured by a first priority lien on all assets of the Corporation.
                    The Series 2020 Bond shall mature as set forth in Schedule 2, with a final maturity
                    approximately 40 years from the restructuring effective date (subject to bond counsel
                    approval).

                    The Series 2020 Bonds will be subject to optional redemption prior to maturity commencing
                    on the 5th year after the Effective Date, at a price equal to: in year 5, at a price of 102%, in
                    year 6, at price of 101% and thereafter at par.

                    The 2020 transaction will not include any 2020 cash flow notes for the balance outstanding
                    and is expected to consist of one series of bonds.

Series C Bonds      On the Effective Date, the Sponsor will provide sufficient cash to the Borrower to redeem
                    100% of the Series C Bonds for a cash payment of 3% of the accreted value of the outstanding
                    Series C Bonds as of the closing of the Proposed Exchange. Upon payment, the Series C
                    Bonds will be cancelled and deemed to no longer be outstanding.

Liquidity Support   On the Effective Date, Providence Life Services (the “Sponsor”) will deposit $3,000,000 (the
Agreement and       “Liquidity Fund”) with the Trustee to be held and used in accordance with the terms of a
Sponsor             certain Liquidity Support Agreement, by and among the Sponsor, the Borrowers and the
Contribution        Trustee. The Liquidity Fund shall be available to the Borrowers for payment of regular
                    operating expenses as needed, for payment of monthly interest or principal relating to the
                    Series 2020 Bonds.

                    To enhance the earnings on the Liquidity Fund, the Borrowers and Sponsor propose that the
                    LSA include a list of permitted investments for the Liquidity Fund, which will include certain
                    investments not customarily included in tax-exempt bond financings. For example, permitted
                    investments are contemplated to include corporate stock and bond mutual funds.

                    The fund balance in the Liquidity Fund will be permitted to be counted in the calculation of
                    Days Cash on Hand for purposes of covenant testing.

                    The Distribution Waterfalls will include provisions that allow the Liquidity Fund to be
                    restored to its original balance by the Borrowers if draws are made to pay operating expenses
                    or debt service. In addition, the LSA will include terms for the “burn-off” of the Liquidity
                    Fund over time. [“burn-off” TBD] .

                    In connection with the issuance of the Series 2016 Bonds, the Sponsor received a certain
                    promissory note (“Sponsor Note”), which is subordinate in security and payment to the Series
                    2016 Bonds. In further consideration of the Proposed Exchange, Sponsor will waive, as of the
                    Effective Date, all amounts due under the Sponsor Note.

                    The Sponsor and Borrowers understand that they will be responsible for transaction costs of
                    the Restructuring Transaction (the “Sponsor Contribution”). On the Effective Date, the
                    existing Debt Service Reserve Fund (“DSRF”) will be used pay (i) accrued and unpaid
                    interest on the Series 2016 Bonds through but not including the Effective Date, and (ii) the
                    costs and expenses of the Trustee and its advisors; any remaining DSRF balance immediately
                    shall be transferred to the Debt Service Reserve Fund under the 2020 Indenture.

Priority/Security   The Series 2020 Bonds will be secured by a first priority lien on all assets of the Corporation.



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Management Fees     The existing management agreement with the Sponsor shall be assumed in the Anticipated
                    Bankruptcy Proceeding, provided that such management agreement shall provide for an
                    annual management fee no greater than 4.25% of gross operating revenues; provided further
                    that no more than $30,000 shall be paid each month as an operating expense (“Base
                    Management Fee”), with the balance payable from Excess Cash (as described herein).

Entrance Fees       The Borrowers shall not reduce the amount of any current Entrance Fees or monthly fees or
                    offer any new discounts to Entrance Fee pricing or create any further benefit programs which
                    reduces current amounts by greater than five percent (5%), without consent of the holders of
                    a majority of principal amount of the Series 2020 Bonds.




Indenture Held/Debtor Held Funds

Operating Account   Upon the Effective Date, Borrowers shall maintain the existing Operating Account, which
                    shall be subject to the lien of the Trustee under the 2020 Indenture pursuant to a deposit
                    account control agreement reasonably acceptable to the Trustee. The Operating Account shall
                    contain 45 Days Cash on Hand as an unrestricted amount as of the Effective Date (the
                    “Unrestricted Amount”).

Entrance Fee Fund   Upon the Effective Date, the Borrowers shall maintain the existing Entrance Fee Fund under
                    the 2020 Indenture. After the Effective Date, pursuant to the 2020 Indenture, all Entrance
                    Fees of the Corporation shall be required to be deposited in the Entrance Fee Fund.

                    Entrance Fees (after the required payment of any refunds) will be transferred to the Revenue
                    Fund after any applicable rescission rights under the Residence Agreements have expired and
                    such funds shall be available to flow through the Distribution Waterfall (as defined herein).

Revenue Fund        Upon the Effective Date, the Corporation shall maintain the existing Revenue Fund with the
                    Trustee, subject to the lien of the 2020 Indenture, pursuant to which all revenues and other
                    income of the Corporation (the “Revenues”) shall, on and after the Effective Date, be
                    deposited. Funds from the Revenue Fund shall be withdrawn pursuant to the Distribution
                    Waterfall below.

Operating Reserve   Upon the Effective Date, the Corporation shall maintain the existing Operating Reserve Fund
Fund                with the Trustee, subject to the lien of the 2020 Indenture, and fund such Operating Reserve
                    Fund with an amount such that the balance therein shall have 75 Days Cash on Hand as of the
                    Effective Date. The amounts in the Operating Reserve Fund shall be available to the
                    Corporation for Operating Expenses (as defined herein).

Capital             Upon the Effective Date, the Borrowers shall maintain the existing Capital Expenditures Fund
Expenditures Fund   with the Trustee, subject to the lien of the 2020 Indenture. The Capital Expenditures Fund
                    will be funded on a monthly basis from the Revenue Fund (in such order and priority as set
                    forth in the Distribution Waterfall) in an amount equal to one-twelfth of each fiscal year’s
                    capital expenditures budget, as set forth in the 10-year projections in the Disclosure
                    Statement, and increased by CPI Index each year thereafter. The Capital Expenditures Fund
                    will be available to fund the Borrower’s capital expenditures and will not be included in

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                 calculations of Days Cash on Hand. Any balance in the Capital Expenditures Fund at the end
                 of a fiscal year will remain in said fund; provided that the balance of the amount on deposit
                 in the Capital Expenditures Fund will at no time exceed $3,000,000. In the event amounts in
                 the Operating Account and Operating Reserve Fund are insufficient to fund operating
                 expenses, the amounts in the Capital Expenditure Fund may be applied to such purpose.

Bond Fund        Upon the Effective Date, the Borrowers shall maintain the existing Bond Fund with the
                 Trustee, subject to the lien of the 2020 Indenture. In accordance with the Distribution
                 Waterfall below, the Bond Fund will receive (i) the monthly payments of principal and interest
                 due and payable under the Series 2020 Bonds.

Debt Service     Upon the Effective Date, the Borrowers shall maintain the existing Debt Service Reserve
Reserve Fund     Fund with the Trustee, subject to the lien of the 2020 Indenture. Upon the Effective Date,
                 amounts in the Debt Service Reserve Fund shall be applied in the following order of priority:
                 (i) to pay accrued and unpaid interest on the Series 2016 Bonds through but not including the
                 Effective Date, then (ii) fees and expenses of the Trustee and its advisors (to the extent not
                 covered by the Sponsor Contribution), and (iii) the remaining balance shall be transferred to
                 the Debt Service Reserve Fund under the 2020 Indenture. The Debt Service Reserve Fund
                 shall not become an asset of the Borrowers, but shall remain funds held by the Trustee for the
                 benefit of the holders of the Series 2020 Bonds. The Debt Service Reserve Fund Requirement
                 shall equal the Maximum Annual Debt Service (for purposes of calculating Maximum Annual
                 Debt Service for the Debt Service Reserve Fund Requirement, the anticipated final payment
                 in year 40 of the bond debt service shall not be included in such calculation). Any draw on
                 the Debt Service Reserve Fund shall be an event of default under the Series 2020 Indenture.

Distribution     Upon the Effective Date, all Entrance Fees shall be deposited with the Trustee in the Entrance
Waterfall        Fee Fund. Such amounts, together with the balances of the Operating Account, the Operating
                 Reserve Fund, as of the Effective Date and any Revenues available to the Borrowers at such
                 time, including the Sponsor Contribution, shall be applied in the following order of priority:

                     1.   to pay any Refunds;
                     2.   to pay all professional fees and expenses incurred in connection with the
                          Restructuring Transaction (including, without limitation, any costs associated with
                          obtaining opinions from bond counsel);
                     3.   to fund the Debt Service Reserve Fund up to the shortfall, if any, to the initial Debt
                          Service Reserve Fund requirement;
                     4.   to fund the Operating Account in an amount equal to 45 Days Cash on Hand
                          (approximately $2.250 million);
                     5.   to fund the Operating Reserve Fund in an amount equal to 75 Days Cash on Hand
                          (approximately $3.750 million); and

                 Thereafter, all post-Effective Date Entrance Fees and other Revenues of the Borrowers shall
                 be deposited in the Entrance Fee Fund or the Revenue Fund, as applicable, on a weekly basis.

                 Subject to the next sentence, amounts on deposit in the Revenue Fund shall be made available
                 to the Corporation on a monthly basis to satisfy ongoing operations and management costs
                 and expenses of the Corporation, including, without limitation, the Base Management Fee,
                 and replenishment of any Unrestricted Amount (collectively, the “Operating Expenses”). If
                 an Event of Default (as defined in the 2020 Indenture) shall occur, then the monthly amounts
                 on deposit in the Revenue Fund available for withdrawal to satisfy Operating Expenses shall

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                    be made available to the Corporation in an amount not to exceed the amounts set forth in an
                    operating budget established pursuant to the terms of the 2020 Indenture.

                    On the first Business Day of each calendar month, monies in the Revenue Fund shall be
                    distributed in the following order of priority (the “Distribution Waterfall”):

                        First, to the Operating Account the amount necessary to pay anticipated Operating
                         Expenses for the upcoming month (taking into account any unapplied amount
                         withdrawn for such purpose in a prior month), as such amount is set forth in a certificate
                         from the Borrower delivered to the Trustee no later than 10 Business Days prior to the
                         first Business Day of a month;

                        Second, to replenish any deficiency as of the Effective Date in the Debt Service Reserve
                         Fund necessary to make the amount therein equal the Debt Service Reserve Fund
                         Requirement;

                        Third, to the Bond Fund, in an amount equal to 1/6th of the interest due on the next
                         interest payment date;

                        Fourth, to the Bond Fund, in an amount equal to 1/12th of the principal due on the next
                         principal payment date;

                        Fifth, to the Capital Expenditure Fund, in an amount equal to 1/12th of such Fiscal Year’s
                         capital budget;

                        Sixth, to replenish the balance of the Operating Reserve Fund and the Operating Account
                         to a combined total of 135 Days Cash on Hand;

                        Seventh, to replenish the balance of the Liquidity Fund for any draws made in order to
                         restore the balance of the Liquidity Fund to $3 million; and

                        Eighth, any remaining amounts after application of paragraphs first to seventh above
                         (such remaining amounts referred to as “Excess Cash”) shall be transferred to the
                         Operating Reserve Fund.


Operating/Financial Covenants

Days Cash on Hand   The Corporation shall provide reporting of Days Cash on Hand semiannually commencing
Covenant            six (6) months after the Effective Date (each such date being a “Testing Date”). In addition,
                    the Corporation covenants to maintain not less than the amounts shown below on each Testing
                    Date:

                    First Testing Date: 100
                    Second Testing Date: 100
                    Third Testing Date: 110
                    Fourth Testing Date: 110
                    Fifth Testing Date and thereafter: 120

                    Note: Projections will be updated with the Restructured Bonds so that projected ratios can be
                    compared with covenant levels. The levels above may need further refinement if surplus
                    cushion exists.




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Debt Service          Commencing the fiscal year ending December 31, 2020 (the “Initial Testing Date”), the
Coverage Ratio        Corporation shall achieve a DSCR of not less than 1.10x. The ratio shall be tested quarterly
Covenant              on a rolling four quarter basis, commencing on the Initial Testing Date. The required DSCR
                      will increase to 1.15x for the Testing Dates that occur on December 31, 2021 and thereafter.

                      The numerator of the DSCR will include net Entrance Fees (i.e., Entrance Fees, [but not Initial
                      Entrance Fees], received during such period minus Entrance Fees refunded during such
                      period) and the denominator will be Maximum Annual Debt Service on the Series 2020
                      Bonds.

                      If the Debt Service Coverage Ratio on a testing date is below 1.10x for the Initial Testing
                      Date or below 1.15x for the Testing Dates that occur on December 31, 2021 and thereafter,
                      but above 1.0x, and the Days Cash on Hand Ratio is equal to or above 150 for the same time
                      period, then the Borrowers can avoid an Event of Default. However, an Event of Default will
                      be triggered if the Debt Service Coverage Ratio is below 1.0x.

                      To the extent the Liquidity Fund is drawn upon for any reason, such amounts will be taken
                      into account in calculating the numerator to the Debt Service Coverage Ratio.

                      Any additional indebtedness for Phase II will not be counted for purpose of the DSCR until
                      the earlier of (i) stabilization (90% occupancy of the Phase II independent living units) or
                      (ii) the forty ninth (49th) month following issuance of the Phase II indebtedness.

Additional            The Borrowers shall not be permitted to issue any additional indebtedness that would be pari
Indebtedness          passu in priority of payment and security with the Series 2020 Bonds except for (i) Capitalized
(parity with Series   Leases not to exceed $1,000,000 in the aggregate; (ii) refunding indebtedness which
2020 Bonds)           demonstrates annual debt service savings, pursuant to the terms and conditions acceptable to
                      the majority in principal amount of Series 2020 Bondholders and simultaneously with the
                      refunding of any Series 2020 Bonds, with the applicable discounts; and (iii) indebtedness
                      relating to the financing of additional construction of independent living units not to exceed
                      70 units (“Phase II”), provided that prior to the incurrence of such indebtedness (A) there is
                      a guaranteed maximum price or stipulated contract for construction; (B) no default has
                      occurred under the Bond Documents; (C) certification from the Corporation that (w) at least
                      92% of the independent living units in the existing Facility are occupied and (x) at least 70%
                      of the independent living units in Phase II have been reserved with deposits equal to 10% of
                      the Entrance Fees; (D) the Days Cash on Hand and DSCR covenants have all been met as of
                      the most recent testing date; and (E) a Consultant forecast shows that the DSCR from and
                      after the third fiscal year following completion of Phase II will be at least 1.25 and the Days
                      Cash on Hand at the end of the first Fiscal Year in which the average occupancy of such
                      Independent Living Units is forecasted to reach eighty-five percent (85%) will be at least 200,
                      upon closing of such additional indebtedness.

                      Additional Indebtedness related to Phase II shall only be permitted if no more than 70% of
                      such Additional Indebtedness is fixed rate long term indebtedness or as otherwise agreed to
                      by a majority of bondholders and may have priority rights in a waterfall to entrance fees from
                      Phase II.

                      No additional indebtedness shall be secured on a senior basis to the Series 2020 Bonds.




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                      No additional subordinate indebtedness or non-recourse indebtedness may be incurred until
                      the Series 2020 Bonds are paid in full.

IL Occupancy          Commencing with the first fiscal quarter following the Effective Date, the Corporation shall
Covenants             maintain an occupancy level of no less than 85% for the independent living units (the “IL
                      Occupancy Covenant”).

Assisted Living and   Commencing with the first fiscal quarter following the Effective Date, the Corporation shall
Nursing Center        maintain (i) an 82% occupancy level for Assisted Living (“AL”) units and (ii) an 82%
Occupancy             occupancy level for Nursing Center (“NC”) units, which shall be measured as the average
Covenants             occupancy of the AL and NC units, as applicable, on a rolling four quarter basis (the “AL/NC
                      Occupancy Covenant”).

Failure to meet           (i) If the Corporation fails to meet the Days Cash on Hand Covenant, the AL/NC
covenants                     Occupancy Covenant, or the DSCR Covenant as of any testing date, then upon the
                              first occurrence of such non-compliance, the Borrowers shall be required to retain a
                              management consultant acceptable (which approval shall not be unreasonably
                              withheld) to the holders of not less than a majority of the outstanding aggregate
                              principal amount of the Series 2020 Bonds, to provide a report and improvement
                              plan to the Trustee. The proposed management consultant will be deemed not
                              acceptable unless a majority has consented to the proposed management consultant
                              within 14 days.

                        (ii)    If the Borrowers fail to meet the Days Cash on Hand Covenant, the AL/NC
                                Occupancy Covenant or the DSCR Covenant by the end of the fourth quarter after
                                the report and improvement plan are provided, the Borrowers shall, if so directed by
                                the holders of not less than a majority of the outstanding aggregate principal
                                amount of the Series 2020 Bonds, appoint an independent third party manager
                                acceptable to such holders or if a third party manager is then managing the facility,
                                replace the manager with a manager acceptable to such holders; provided however
                                that if at the end of such fourth quarter, a Consultant certifies that the Borrowers
                                have complied with all of their recommendations (except any recommendation to
                                replace the Sponsor, as manager), then the period for compliance with such
                                covenants shall be extended by four additional quarters; provided that if the manager
                                fails to comply with such recommendations at any time during such extended four
                                quarter period (other than a replacement of the Sponsor, as a manager) then at any
                                such time, a majority of bondholders may cause replacement of manager. In the
                                event the Consultant recommends a replacement of the Sponsor, as manager, failure
                                to comply with such recommendation will not result in a change in the Sponsor, as
                                manager unless the Borrowers fail to meet the covenants within eight quarters of the
                                first violation. For avoidance of doubt, failure to comply with such covenants after
                                the extended period (if applicable) may result in a change of management if directed
                                by the majority of bondholders.

                        (iii)   If on any testing date, the DSCR is 1.0x or below or the Days Cash on Hand is less
                                than the applicable covenant amount by 20 or more Days Cash on Hand on each
                                Testing Date, it shall constitute an Event of Default under the 2020 Indenture.

                        (iv)    Same remedies in (i) above will apply for failure to meet the IL Occupancy
                                Covenant, provided that the Borrower shall be required to hire a marketing
                                consultant in lieu of a management consultant. If the Borrowers fail to meet the IL
                                Occupancy Covenant by the end of the fourth quarter after the report and
                                improvement plan are provided, the Borrowers shall, at the direction of the holders
                                of not less than a majority of the outstanding aggregate principal amount of the
                                Series 2020 Bonds, replace the marketing agent, or if there is no acting marketing

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                               agent, the Borrowers shall be required to hire a marketing agent acceptable to the
                               Trustee.


Reporting Requirements

Reporting             The Borrowers shall deliver monthly financial statements (including a balance sheet, an
                      income statement, an escrow statement and a cash flow statement) and a monthly report on
                      marketing, occupancy and sales within 45 days following the prior month end comparing
                      actual results to budget and shall include an explanation of variances of more than 10% from
                      budgeted amounts. Such financial statements shall also include an Entrance Fee analysis.
                      Monthly reporting will be replaced by quarterly reporting after year 3 if, and for so long as,
                      the Borrowers are in compliance with all of their covenants under 2020 Bond Documents;
                      provided that quarterly reporting shall revert to monthly reporting in the event that the
                      Borrowers go out of compliance with any of their covenants under the 2020 Bond Documents.

                      The Borrowers shall enter into a new Continuing Disclosure Agreement providing for the
                      same reporting as required by the existing Continuing Disclosure Agreement (in addition to
                      the information required above), except for any amendments thereto required to reflect
                      changes to Rules 15c2-12.

Update Calls          For the first year from the Effective Date, the Corporation shall hold monthly calls for holders
                      of the Series 2020 Bonds. After such time, the Corporation shall hold quarterly calls, unless
                      a majority of bondholders requests monthly calls.


General Provisions

New 2020 Bond          The 2020 Bond Documents shall be prepared or, as applicable, amended and modified in a
Documents              manner necessary to effectuate the Restructuring Transaction. The 2020 Bond Documents
                       and other agreements governing the Restructuring Transaction shall, except as provided
                       herein, contain all of the existing covenants, defaults and provisions contained in the
                       Indenture and such additional provisions as acceptable to the Majority Holders and
                       consistent with the Term Sheet.

Release/Exculpation    The Restructuring Transaction contemplated by the Term Sheet shall contain customary
                       release, injunction and exculpation provisions for all Parties to the Restructuring
                       Transaction to the extent available under applicable law. The Parties hereby agree that they
                       will use respective best efforts to obtain approval of such release, injunction and exculpatory
                       provisions, which by way of example only shall include opposing any effort by any person
                       or entity that is not a Party to this Term Sheet to eliminate or reduce the scope of such
                       release, injunction and exculpation provisions.

Binding Effect         The obligation of each of the undersigned parties to pursue the Restructuring Transaction
                       in accordance with the terms hereof is subject to (i) the negotiation, execution and delivery
                       of mutually acceptable final documentation, (ii) receipt of all necessary consents, including
                       any consent of any party’s credit or other committee or board of directors and any regulatory
                       approvals, (iii) receipt of a satisfactory tax opinion confirming that the interest on the 2020
                       Bonds will be excluded from gross income for federal income tax purposes under the



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                Internal Revenue Code, and (iv) the Effective Date occurring on or before that date that is
                109 days after the Petition Date.

Miscellaneous   This Term Sheet shall be governed by the laws of the State of Illinois.

                This Term Sheet may be executed in one or more counterparts, and when all counterparts
                have been executed, each executed counterpart will have the force and effect of the original.

Timeline        The following timeline will be applicable:

                    (1) Petition Date – The date on which the Borrowers file the Anticipated Bankruptcy
                        Proceeding with the Bankruptcy Court.

                    (2) Petition Date + 4 days – Entry of Interim Cash Collateral Order;

                    (3) Petition Date + 40 days – Entry of Final Cash Collateral Order, and approval of
                        Disclosure Statement and Solicitation Procedures;

                    (4) Petition Date + 50 days – Solicitation of Plan;

                    (5) Petition Date + 95 days – Confirmation of Plan; and

                    (6) Petition Date + 109 days – Effective Date of Plan.




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                                                       Schedule 1

                                            Series 2020 Bond Maturities

                  Series 2016 A&B Par:                                    $119,187,892
                  Series 2020 Par:                                        $107,269,103        90%
                  Coupon:                                                            5.125%


                     Year              Principal               Interest           Debt Service
                  5/15/20211/                      -             4,123,156.14          4,123,156.14
                  5/15/2022                        -             5,497,541.52          5,497,541.52
                  5/15/2023                        -             5,497,541.52          5,497,541.52
                  5/15/2024                  767,889             5,497,541.52          6,265,430.52
                  5/15/2025                  807,244             5,458,187.22          6,265,431.22
                  5/15/2026                  848,615             5,416,815.96          6,265,430.96
                  5/15/2027                  892,106             5,373,324.44          6,265,430.44
                  5/15/2028                  937,827             5,327,604.02          6,265,431.02
                  5/15/2029                  985,890             5,279,540.38          6,265,430.38
                  5/15/2030                1,036,417             5,229,013.52          6,265,430.52
                  5/15/2031                1,089,534             5,175,897.14          6,265,431.14
                  5/15/2032                1,145,372             5,120,058.52          6,265,430.52
                  5/15/2033                1,204,073             5,061,358.22          6,265,431.22
                  5/15/2034                1,265,781             4,999,649.48          6,265,430.48
                  5/15/2035                1,330,653             4,934,778.20          6,265,431.20
                  5/15/2036                1,398,848             4,866,582.22          6,265,430.22
                  5/15/2037                1,470,539             4,794,891.26          6,265,430.26
                  5/15/2038                1,545,905             4,719,526.14          6,265,431.14
                  5/15/2039                1,625,132             4,640,298.52          6,265,430.52
                  5/15/2040                1,708,420             4,557,010.50          6,265,430.50
                  5/15/2041                1,795,977             4,469,453.98          6,265,430.98
                  5/15/2042                1,888,021             4,377,410.16          6,265,431.16
                  5/15/2043                1,984,782             4,280,649.08          6,265,431.08
                  5/15/2044                2,086,502             4,178,929.00          6,265,431.00
                  5/15/2045                2,193,435             4,071,995.78          6,265,430.78
                  5/15/2046                2,305,848             3,959,582.22          6,265,430.22
                  5/15/2047                2,424,023             3,841,407.52          6,265,430.52
                  5/15/2048                2,548,254             3,717,176.34          6,265,430.34
                  5/15/2049                2,678,852             3,586,578.32          6,265,430.32
                  5/15/2050                2,816,144             3,449,287.16          6,265,431.16
                  5/15/2051                2,960,471             3,304,959.78          6,265,430.78
                  5/15/2052                3,112,195             3,153,235.64          6,265,430.64
                  5/15/2053                3,271,695             2,993,735.64          6,265,430.64
                  5/15/2054                3,439,369             2,826,061.28          6,265,430.28
                  5/15/2055                3,615,637             2,649,793.62          6,265,430.62
                  5/15/2056                3,800,938             2,464,492.22          6,265,430.22
                  5/15/2057                3,995,737             2,269,694.14          6,265,431.14
                  5/15/2058                4,200,518             2,064,912.62          6,265,430.62
                  5/15/2059                4,415,795             1,849,636.08          6,265,431.08
                  5/15/2060               31,674,665             1,623,326.58         33,297,991.58

1/
   The amount of interest payable for the first year is subject to change based on the final determination of the
Effective Date.

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                          107,269,103        166,702,633.60   273,971,736.60




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                                       Schedule 2

                       Series 2020 Mandatory Sinking Fund Schedule




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                                 EXHIBIT 2

                                  JOINDER
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                                     FORM OF JOINDER

        This Joinder to the Plan Support Agreement, dated as of [__________] [__], 2020, by and
among the Borrowers and the Consenting Holders (the “Support Agreement”), is executed and
delivered by ___________ (the “Joining Party”) as of _________, 2020. Each capitalized term
used herein but not otherwise defined shall have the meaning set forth in the Support Agreement.

         1. Agreement to be Bound. The Joining Party hereby agrees to be bound by all of the
terms of the Plan Support Agreement (and all exhibits and annexes thereto), attached to this Joinder
as Annex I (as such Plan Support Agreement, exhibits and annexes may be hereafter amended,
restated, or otherwise modified from time to time). The Joining Party shall hereafter be deemed
to be a “Consenting Holder” and a “Party” for all purposes under the Plan Support Agreement.

         2. Representations and Warranties. With respect to the Series 2016 Bonds set forth below
its name on the signature page hereof and all related claims, rights, and causes of action arising
out of or in connection with or otherwise relating to such Series 2016 Bonds, the Joining Party
hereby makes to the Borrowers the representations and warranties of the Consenting Holders set
forth in the Plan Support Agreement.

        3. Notices. For purposes of notices and other communications to be delivered to the
Joining Party the relevant addresses and facsimile numbers are set forth below.

         4. Governing Law. This Joinder shall be governed by and construed in accordance with
the laws of The State of Illinois, without regard to any conflict of laws provisions that would
require the application of the law of any other jurisdiction.
                                             *****

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                                 EXHIBIT 3

                                   Budget




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Monthly Cash Flow
Timothy Place, Inc. d/b/a Park Place of Elmhurst

Month 1 Begins:                                      5/18/20


Month 1 Ends                                      5/31/20       6/30/20        7/31/20        8/31/20        9/30/20
Cash on Hand (beginning of month)                 2,937,207     2,186,144      1,901,980     1,994,343        1,839,032

CASH RECEIPTS
Transfer from Trustee- operating & capital              -       1,905,554      2,216,231     2,123,868       2,244,584
Transfer from Trustee - EF refunds                                323,190        730,910           -               -
Fire settlement                                                                                100,000
Collections- PPP Fund                               539,782        837,718
Collections - A/R                                   705,000      1,560,000     1,572,000     1,607,000        1,560,000
Entrance Fees                                       344,500        240,150       749,000       360,000        1,030,750
Transfer to Trustee cash deposits                (1,589,282)    (2,637,868)   (2,321,000)   (2,067,000)      (2,590,750)
TOTAL CASH RECEIPTS                                     -        2,228,744     2,947,141     2,123,868        2,244,584
Total Cash Available (before cash out)            2,937,207      4,414,888     4,849,121     4,118,211        4,083,616

CASH PAID OUT
Purchased Services & Supplies                      281,000        431,000        431,000       431,000         431,000

Payroll & payroll related                          340,000        665,500        681,500       868,811         681,500
Marketing                                           25,000         55,600         55,600        55,600          55,600
Accounting & legal (non-bankruptcy)                    -            3,650         19,500           -               -
Utilities                                           39,500         80,500         80,500        80,500          80,500
Insurance                                              600          6,730         44,230         6,730           6,730
Taxes (real estate, etc.)                              -              -              -             -            80,517
SUBTOTAL                                           686,100      1,242,980      1,312,330     1,442,641       1,335,847
Capital escrow payment                                 -           96,342         96,342        96,342          96,342
Interest escrow payment                                           621,196        621,196       621,196         621,196
Fire mitigation costs (To be reimbursed)                          100,000
Capital purchase                                     20,040       129,200         94,000       119,000         124,000
Entrance Fee Refunds                                 44,923       323,190        730,910           -               -
TOTAL CASH PAID OUT                                 751,063     2,512,908      2,854,778     2,279,179       2,177,385
Cash Position (End of Month)                      2,186,144     1,901,980      1,994,343     1,839,032       1,906,231

Payroll Protection Program loan in separate account:
Loan proceeds - May 6, 2020                   1,377,500           837,718
Draw for Eligible Payroll and Eligible
nonpayroll costs                               (539,782)          (837,718)
Balance                                         837,718                -



Note: Notwithstanding anything to the contrary herein, shortly before the commencement of the Chapter
11 Cases, Park Place (a) will make an additional payment to its employees in the amount of their accrued
earnings as of the Petition Date, and (b) place deposits with essential non-insider trade creditors in the
amount of such vendor’s estimated claims against Park Place which have accrued but are not yet payable
as of the Petition Date. The intent of these payments and deposits is to help insure that employees and
trade creditors will not have unsecured claims against Park Place in its Chapter 11 Case.
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                                           EXHIBIT 4

                            Milestones if Borrowers receive PPP Loan


In the event the Borrowers receive the PPP Loan, the following Milestones shall apply:

                (1)    On or before May 29, 2020, each of the Borrowers will execute the Term
        Sheet in form and substance as attached to this Agreement as Exhibit 1;

              (2)    On or before May 29, 2020, each of the Borrowers will execute the Plan
        Support Agreement in form and substance as attached to this Agreement as Exhibit 2;

                (3)      On or before June 12, 2020, the Borrowers will provide to the Trustee with
        final drafts of all Bankruptcy Documents (as defined in the Plan Support Agreement);

                (4)     The Borrowers shall review and provide their comments on the 2020 Bond
        Documents (as defined in the Term Sheet) no later than two (2) weeks after receiving the
        drafts of the 2020 Bond Documents from the Trustee;

                (5)   On or before June 26, 2020, the Parties to agree on the form and substance
        of the Bankruptcy Documents and the 2020 Bond Documents; and

                (6)    Each of the Borrowers shall file petitions commencing the Chapter 11 Cases
        no later than two (2) Business Days after they Borrowers receive notice concerning the
        determination of forgiveness of the PPP Loan; and

                (7)   Notwithstanding Milestones (1) through (6) above, the Borrowers shall file
        petitions commencing the Chapter 11 Cases no later than September 15, 2020.




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                                 EXHIBIT 3

     DEBTORS' JOINT DISCLOSURE STATEMENT
           DATED DECEMBER 15, 2020
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Park Place Restructuring
                                                                                                             Document     Page 198 of 208
Estimated Sources & Uses of Funds as of Effective Date (4/5/2021)
Prepared on 12/15/2020

Conversion of Existing Series 2016A and Series 2016B Bonds ‐‐‐‐‐‐>>> Series 2021 Bonds:                                         (Rounded up to                               Series C Calculations
                                                                                                                                 closest $1.00)                               $ 24,191,398.48 Estimated Accreted Value
            Series 2016A                    Series 2016B                                                                                                                                         (See detailed schedule)
            Par Amount                      Par Amount                                                                           Series 2021
           (as of 4/5/21)           +      (as of 4/5/21)          =                Total                   ‐‐‐‐>>               Par Amount                                  $     725,741.95 3% of Accreted Value

                 $103,691,500.00           $15,496,392.00                     $119,187,892.00             90%‐‐‐>>              $107,269,103.00


Sources and Uses of Funds (excluding par amounts above) on the Effective Date:
                                                                                                                                  Operating              Capital
                                                                                                                                    Reserve              Reserve
                                                              Cash from         Series 2016             Series 2016                  Fund                 Fund                 Other Cash (1)
                                                               Sponsor             DSRF                 Bond Funds                 (Existing)           (Existing)            From Park Place       TOTAL
Sources of Funds:                                            $4,663,862.18      $8,610,767.53           $1,316,166.37             $2,141,566.93         $982,090.94              $4,976,233.07   $22,690,687.02
                                                                                (11/30/20 balance)(2)   (Est. 4/5/21 balance)      (12/12/20 balance)   (12/12/20 balance)
Uses of Funds:
Deposit to Liquidity Support Fund                            $3,000,000.00                                                                                                                         $3,000,000.00
Payoff of Series 2016C Bonds                                   725,741.95                                                                                                                             725,741.95
Series 2021 Debt Service Reserve (MADS)                                          6,265,431.22                                                                                                       6,265,431.22
Series 2021 DSRF ‐ Excess (stays in DSRF                                                                                                                                                                    0.00
   After accrued/unpaid interest)                                                                                                                                                                           0.00
Accrued and Unpaid interest                                                      1,603,456.54            1,316,166.37                                                                               2,919,622.91
Costs of Issuance ‐ See Breakout                                                                                                                                                                            0.00
  ‐ Costs of Issuance ‐ Paid from 2016 DSRF                                         741,879.77                                                                                                        741,879.77                 Total COI   1,680,000.00
  ‐ Costs of Issuance ‐ Paid by Sponsor                         938,120.23                                                                                                                            938,120.23      Target
Operating Account ‐ NEW (45 DCOH)                                                                                                                                                 2,669,175.00      2,669,175.00     $2,669,175 (45 DCOH)
Operating Reserve Fund ‐ NEW (75 DCOH)                                                                                             2,141,566.93                                   2,307,058.07      4,448,625.00     4,448,625 (75 DCOH)
Capital Expenditures Fund ‐ NEW                                                                                                                           982,090.94                                  982,090.94     $7,117,800

Total Uses of Funds:                                         $4,663,862.18      $8,610,767.53           $1,316,166.37             $2,141,566.93         $982,090.94              $4,976,233.07   $22,690,687.02

(1)
    Sources include the existing Revenue Fund and other existing operating cash as needed to provide the needed balances on the Effective Date for the Operating Account and the Operating Reserve Fund.
If needed, the Liquidity Support Agreement funding of $3.0 million is permitted to be counted towards such Days Cash on Hand levels outlined in the term sheet (45 Days for the Operating Account and 75
Days for the Operating Reserve Fund).
(2)
      DSRF amount shown above includes balance as of 11/30/20 *PLUS* amounts paid in July 2020 from the DSRF to bondholder advisor and bondholder counsel (both costs of issuance) in July 2020.

Note: All figures are estimates and subject to change. As shown above, it may be necessary to include LSA funds in the calculations of initial balances in the Operating Account (45 Days Cash on Hand) and the Operating Reserve Fund (75
Days Cash on Hand). Cash available from Park Place may be materially different on the Effective Date (estimated to be 4/5/21), as compared to the balances on hand as of December 7, 2020 (approximately $3.65 million of Operating
Cash).
                                               Exhibit 4 to Debtors' Joint Disclosure Statement Dated December 15, 2020
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                                               EXHIBIT 5

                        Hypothetical Liquidation Analysis as of April 5, 2021

Capitalized Terms in this Liquidation Analysis will have the meaning defined in the Plan.

The purpose of this document is to compare the distributions which creditors may receive under the Plan
to the amount that they would likely receive if the Plan is not confirmed and the Cases were converted
to cases under Chapter 7 of the Bankruptcy Code. The Debtors have prepared this document because
the Bankruptcy Code requires a showing to be made that the distributions which creditors and interest
holders will likely receive under the Plan exceed the amounts that those same creditors and interest
holders would receive if the Plan was not confirmed and the Cases were converted to cases under
Chapter 7 of the Bankruptcy Code. The Debtors have no intention of converting their present Chapter
11 reorganization Cases to Chapter 7 bankruptcy cases. The comparisons of returns (in Chapter 11 under
the Plan versus Chapter 7) are therefore hypothetical.

Treatment of creditors under the Plan

Effect on Residents

If the Plan is confirmed the Residency Agreements of Residents who live or have lived in the Campus
and the Deposit Agreements which Prospective Residents signed with Park Place would be fully
honored. As noted in the Disclosure Statement, the Residency Agreements signed by Residents who
live in independent living, assisted living or assisted living – memory care apartments in the Campus
entitle them to receive refunds of all or a specified portion of the Entrance Fee which they paid to Park
Place when they moved into the Campus. If the Plan is confirmed, Residents will continue to receive all
of the benefits and services which they currently receive. Further, under the Plan, any Former Resident
or other depositor that is qualified to receive a refund of all or a portion of an Entrance Fee or other
deposit will receive that refund either directly from the Debtor or from a cash fund held by the Bond
Trustee. However, the same cannot not be said if the Debtors’ Cases were converted to Chapter 7
liquidation cases.

If the Cases were converted to Chapter 7, a trustee (the “Trustee”) would be appointed to oversee the
Debtor’s business and property. The Trustee would decide, among other things, whether the Campus
should continue to operate or whether it should be closed. If the Trustee decides to liquidate the
Debtors’ businesses and close the Campus, the approximately 300 current Residents would not only face
the loss of their right to a refund of their Entrance Fees; they would also likely lose their right to
continue to live in the Campus and would be put to the task of finding new places to live without
material assistance from the Trustee.

Effect of a decision by the Trustee to conduct an orderly liquidation of the Campus

If the Trustee is willing to assume the risks of operating the Campus in Chapter 7, it is highly unlikely
that the Trustee would attempt to run the Campus by him or herself. Instead, the Trustee would likely
hire a management firm which specializes in the operation of CCRC properties like the Campus,
including the provision of residency services and the administration of health care in the assisted living,

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assisted living memory care and skilled nursing units of the Campus. This assistance would come at a
price which the Debtors estimate to be approximately five percent (5%) of the revenue generated by the
Campus, or $975,000 per year. This amount would likely be paid to the Trustee’s property manager
before any distributions are made to creditors. There is no assurance for current Residents that the
replacement management firm would operate the Campus to the same high standard which is applied by
the current management.

If the Trustee is willing to operate the Campus, the Trustee’s likely and sole purpose for doing so would
be to keep the Campus operating until it can be sold. There is no realistic chance that a Trustee would
operate a complex business like the Campus in Chapter 7 indefinitely. The process of selling a property
like the Campus in Chapter 7 would typically begin with an effort (which usually takes three to four
months to conclude) during which time the Trustee would, with the approval of the bankruptcy court,
hire investment bankers or brokers who would attempt to market the Campus to prospects, most of
whom would be organizations which currently operate CCRCs and lifecare communities. Given the
effect which the Covid-19 pandemic has had on CCRCs and lifecare communities across the United
States, it may be more difficult for some if not all of the potential CCRCs and lifecare communities to
obtain the capital needed to make a bid for the Campus. When (or if) a high bidder is identified, a
second phase of the process (which typically requires an additional three to four months to run its
course) will begin. In this second phase, the Campus would be put up for a public auction, with the high
bid considered as the opening bid of that auction. The party which submits the highest and best bid for
the Campus made at the auction, as determined by the bankruptcy court after a hearing, would then
complete its due diligence and ultimately, close its sale.

As noted above, the Campus would likely be marketed by an investment banking or a real estate
brokerage firm which specializes in the sale of CCRC properties, at negotiated rates which typically
require a minimum fee to be paid to the investment banker or broker, with additional amounts payable if
the sales price reaches or surpasses pre-negotiated amounts. Given the value of the campus, the Debtors
would expect that the minimum fee payable to the type of investment banker or broker who would be
involved with the sale would be at least $400,000.00.

The successful bidder in the sale process may or may not be willing to “assume” (in plain terms,
continue to honor) the Residency Agreements which are now in place with Residents and Former
Residents under Section 365 of the Bankruptcy Code. In other recent bankruptcy cases (not this one),
successful bidders have conditioned their “assumption” of residency agreements on the willingness of
residents of those other properties to make concessions to the buyer (meaning, to make the terms of the
residency agreement more favorable to the buyer and less favorable to the resident). Should this occur,
the Residents would not likely receive help from the Trustee, or even the Bankruptcy Court, because the
buyer cannot be forced to assume any of the Residency Agreements in effect at the Campus. If a
Resident refuses to grant contract concessions to the buyer, and if the buyer chooses to not “assume” the
Residency Agreements of such Residents or Former Residents, then the rights of the Residents or
Former Residents will be reduced to the right to assert a claim of nominal value against the chapter 7
estate of the Debtors, combined with the loss of the Resident’s rights to receive a return of their
Entrance Fee and their right to continue to live in the Campus.




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The Debtors submit that all Residents and Former Residents would likely fare at least as well, and
probably much better under the Plan, than would likely be the case if the Plan was denied confirmation
and the Cases were converted to Chapter 7.

Vendor and other unsecured claims

Prior to the commencement of the Cases, Park Place made advance payments to its current vendors to
cover unbilled amounts which were due to them but were not yet payable. Because of this, the Debtors
estimate that there are no vendors who hold non-priority unsecured claims against the Debtors. If such
creditors do exist, the Plan provides that they will be paid a dividend in the amount of three percent (3%)
of their claims, from funds provided by the Sponsor (in addition to all other commitments and expenditures
of the Sponsor) which payment shall be made shortly after the Effective Date of the Plan.

In a Chapter 7 case, such vendors would be placed in the second lowest category for distribution
(immediately above owners). If the Debtors’ Cases were converted to Chapter 7 cases, there is very little
reason to expect that unsecured creditors would receive any payments from the Trustee. Although there
are many reasons for this, the primary reason is that the 2016 Bond debt is secured by liens and mortgages
which the Debtors granted to the Bond Trustee as a part of the 2016 Bond transaction. Indeed, the only
possible way for unsecured creditors to receive any meaningful dividend in a Chapter 7 case involving the
Debtors would be if the Campus were to sell to a bidder at a price which exceeded the amount of the
outstanding 2016 Bonds, which is $141,106,642 principal plus interest and other costs. The Debtors
believe that this is extremely unlikely to occur, for the reasons stated below. The Debtors submit that
vendors and other unsecured, non-priority creditors will likely receive an amount under the Plan which is
at least equal to (or greater) than they would receive if were converted to Chapter 7 and the Debtors’ assets
were disposed of in the manner required by Chapter 7.

Unsecured Priority Claimants

Section 726 of the Bankruptcy Code sets priorities for the payment of certain kinds of claims, which are
generally referred to as “priority claims” in bankruptcy cases. Section 1129(a)(9) of the Bankruptcy Code
provides that the bankruptcy court must deny confirmation to any plan of reorganization or liquidation
which fails to pay priority claims in full, unless the holder of such claims agree to lesser treatment. The
Plan, in accord with the foregoing provisions of the Bankruptcy Code, requires all “priority claims” to be
paid in full, in cash, shortly after the Effective Date of the Plan. Thus, the distributions to the holders of
“priority claims” under the Plan will likely be at least as good as the distribution that those holders would
receive in Chapter 7.

However, for the same reason noted above with respect to vendor and other unsecured claims, if the
Debtors Cases were to be converted to Chapter 7, and the Campus were to be sold for less than the amount
due to the holders of the 2016 Bonds, there is little chance that there would be funds available to pay any
of the unsecured priority claimants of the Debtors’ estates, with the exception of those claimants (including
the Trustee) who provided goods or services to the Debtors’ estates in connection with the sale of the
Campus. For this reason, the Debtors submit that the holders of unsecured priority claimants would likely
receive more under the Plan than they would likely receive if the Cases were converted to Chapter 7.




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Bondholders

The holders of the 2016A, 2016B and 2016C Bonds are beneficiaries of a trust indenture which is
secured by a first priority perfected lien on substantially all of the Debtors’ assets. The Bond Trustee’s
secured claim is held by the Bond Trustee for the benefit of the holders of the 2016 Bonds.

Under the Plan, as noted at pp. 20 – 21 of the Disclosure Statement, the holders of 2016A and 2016B
Bonds will exchange those bonds for a pro rata share of new 2020 Bonds in the initial principal amount
of $107,269,103.00. The 2020 Bonds shall bear interest at the rate of 5.125% per annum, which interest
is intended to be exempt from federal income taxes. In addition, the holders of the 2016A and 2016B
Bonds will receive interest on those bonds which accrues between the filing date of the Cases and the
Effective Date of the Plan.

Under the Plan, as noted at pp. 11 and 30 of the Disclosure Statement, the Holders of 2016C Bonds will
receive, in exchange for the redemption of their 2016C Bonds, a pro rata share of Six Hundred Fifty-
Seven Thousand Five Hundred Sixty-Two and 50/100 Dollars ($657,562.50)) plus 3% of the accrued
but unpaid interest on the 2016C Bonds as of the Effective Date of the Plan which the Debtors estimate
will be $68,179.45 if the Effective Date occurs on April 5, 2021, in which case, the total principal and
interest which will be paid to holders of 2016C Bonds would total $725,741.95. If the Debtors’ Cases
proceed as the Debtors’ managers currently expect, the Effective Date of the Plan will likely be April 5,
2021. The redemption amount of the proposed payment to be made to holders of 2016C Bonds was
intended to approximate the market discount which applied to the 2016C Bonds, which were trading for
approximately 3% of par earlier in 2020.

As the Debtors believe that most of its bondholders are holders of 2016A, 2016B and 2016C Bonds, the
Debtors assume that most of its bondholders will receive under the Plan, in cash or in the form of the
2020 Bonds, property which is worth no less than $ 107,994,844.95.

Effect of liquidation on the Bondholders

In a liquidation under Chapter 7 of the Bankruptcy Code, the holders of the 2016 Bonds would likely
have claims equal to the principal amounts due on the bonds, in the amounts shown below:

       2016 A Bonds:          $ 103,691,500.00
       2016 B Bonds:          $ 15,496,392.00
       2016 C Bonds:          $ 21,918,750.00

       Total:                 $ 141,106,642.00

Under the 2016 Bond Indenture, the 2016 A and 2016 B bonds were given a liquidation preference over
the 2016 C Bonds (Bankruptcy Case 16-1336, Plan of Reorganization, Doc. 149, p. 22 of 45, § 4.3.5).
This means that in a liquidation of Park Place, the first available dollars would be paid, pro rata, to the
holders of the 2016 A and 2016 Bonds. If there was a surplus left after the 2016 A and 2016 B Bonds
were fully paid, that amount would be paid to the holders of the 2016 C Bonds.




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In its bankruptcy schedules, Park Place valued its assets at their depreciated book value on the Petition
Date, in the following amounts:

        Cash (estimated):                                    $ 3,400,000.00
        Accounts Receivable:                                 $ 4,450,000.00
        Prepaid expenses and insurance:                      $     222,453.00
        Land, building and tangible personal property:       $ 111,120,123.00

        Total:                                               $ 117,192,576.00

The value of the Debtor’s assets at depreciated book value is just under $2 Million less than the
combined value of the 2016 A and B Bonds. Therefore, if the Debtors’ assets could be sold for their
depreciated book values, the claims of holders of the 2016 C bonds would likely be unsecured, and like
other unsecured creditors, those 2016 C bond holders would likely receive no dividends if the Debtor’s
assets were liquidated under Chapter 7 of the Bankruptcy Code.

However, if the Debtor’s Cases were converted to Chapter 7 and the Campus was put up for sale, it is
highly unlikely that the Trustee would receive bids for the Debtors’ assets based on their book value.
Instead, it is most likely that prospective bidders for the Campus would base their bids on the discounted
net income generated by the Campus. This method is generally referred to by appraisers as the “Income
Method.”

The Debtors believe that bidders who might submit bids for the Campus at a Chapter 7 sale would
submit bids based on the “Income Method” which bid would likely be substantially less than the
depreciated book value of the Debtors’ assets. In this situation, the dividends paid to holders of the 2016
A and B Bonds would be far less than the amounts currently proposed in the Debtors’ Plan. In addition,
the 2016 A and B Bondholders would receive their diminished return after the Chapter 7 Trustee has
completed the liquidation of the Debtors’ assets (which could occur eight months or more after creditors
would receive their dividends under the present plan). In addition, the dividends payable to the 2016 A
and B bondholders could be reduced by the significant costs outlined above for the costs of
administering the sale of the Debtors’ assets, including the cost of the Trustees’ property managers,
investment bankers, legal counsel, accountants and brokers. For all of these reasons outlined above,
including the very positive effects of Plan confirmation on all creditors, the Debtors are certain that the
return payable to creditors under the Plan is far greater than creditors could reasonably hope to receive
in a Chapter 7 liquidation. This is the basis for the Debtors’ recommendation that the bankruptcy court
should confirm the Plan, and that creditors who are eligible to vote on the Plan should vote to accept it.




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Timothy Place, NFP dba Park Place of Elmhurst
Post Petition Projection
                                                         5/1/2021
                                                        12/31/2021       12/31/2022       12/31/2023       12/31/2024
Operating Revenue
IL Monthly Service Fees                             $      6,583,123 $     10,474,924 $     10,864,185 $     11,260,402
AL/MS Monthly Service Fees                                 2,845,324        4,449,825        4,615,846        4,787,851
SN Monthly Service Fees                                    3,177,251        4,699,376        4,193,820        3,530,592
Campus Care (same as expense)                                 33,600           52,416           53,988           55,608
Other Revenue                                                259,713          385,549          397,115          409,029
Bad Debt Expense                                            ( 40,532 )       ( 60,815 )       ( 61,213 )       ( 61,597 )
Total Operating Revenues                                  12,858,479       20,001,275       20,063,741       19,981,884

Departmental Expenses
General & Administrative                                   1,317,891        2,014,687        2,075,128        2,137,382
Building & Maintenance                                       529,082          814,336          838,766          863,929
Security Services                                             75,333          116,390          119,882          123,478
Grounds & Maintenance                                        104,488          145,050          149,401          153,883
Transportation                                                22,188           34,115           35,138           36,192
Housekeeping & Laundry Services                              528,807          812,109          836,472          861,566
Dining Services                                            1,702,069        2,611,667        2,690,017        2,770,718
Pastoral Care                                                 39,101           60,004           61,804           63,658
Life Enrichment- IL                                          206,169          320,397          330,009          339,909
Life Enrichment- HC                                          127,982          207,854          214,090          220,513
Marketing Services                                           714,602        1,087,720        1,120,352        1,153,962
Resident Services - IL & CL                                   38,343           47,689           49,120           50,593
Campus Care                                                  103,613          159,000          163,770          168,683
Assisted Living/Memory Support                               988,382        1,500,011        1,545,012        1,591,362
Skilled Nursing                                            2,539,481        3,910,540        3,854,926        3,757,566
Gift Shop                                                      2,667            4,120            4,244            4,371
Total Departmental Expenses                                9,040,197       13,845,690       14,088,130       14,297,766

Other Operating Expenses
Utilities                                                    528,360          773,942          797,160          821,075
Insurance                                                    253,431          391,550          403,297          415,396
Management Fees                                              548,208          850,054          852,709          849,230
Real Estate Tax                                              116,667          180,250          185,658          191,227
  Total Other Operating Expenses                           1,446,665        2,195,797        2,238,824        2,276,928

    Total Operating Expenses                              10,486,862       16,041,487       16,326,953       16,574,694

Net Operating Income (Loss) Before Debt Service            2,371,617        3,959,788        3,736,788        3,407,191

Investment Income                                           121,875          195,000          195,000           195,000

Turnover entrance fees:
Receipt of entrance fees from move-ins                     4,293,923        5,635,773        5,528,425        5,694,278
Receipt of deferred entrance fees receivable               3,488,812        5,904,144        5,764,591        5,661,108
    Total turnover entrance fee receipts                   7,782,735       11,539,917       11,293,017       11,355,386
Second Person $25,000 non-refundable EF                      100,000          250,000          225,000          225,000
  Entrance Fee Refunds                                   ( 3,673,764 )    ( 5,770,685 )    ( 6,181,400 )    ( 6,713,856 )
    Net Entrance Fee Turnover                              4,208,971        6,019,232        5,336,617        4,866,530

Net cash flow before debt service                          6,702,463       10,174,020        9,268,405        8,468,720


                  Exhibit 6 to Debtors' Joint Disclosure Statement Dated Dec. 15, 2020
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Timothy Place, NFP dba Park Place of Elmhurst
Post Petition Projection
                                                           5/1/2021
                                                          12/31/2021           12/31/2022           12/31/2023           12/31/2024

Debt Service
Principal Payments                                                  -                    -             ( 511,926 )          ( 794,126 )
Interest Expense - Bonds A& B                              ( 3,665,028 )        ( 5,497,542 )        ( 5,497,542 )        ( 5,471,305 )
 Total Debt Service                                        ( 3,665,028 )        ( 5,497,542 )        ( 6,009,468 )        ( 6,265,431 )

Capital Expenditures                                         ( 500,000 )        ( 1,000,000 )        ( 1,000,000 )        ( 1,000,000 )

 Cash Surplus (Deficit) after Debt Service and Capx   $      2,537,435     $      3,676,479     $      2,258,937     $      1,203,289


Debt Service Coverage Ratio
 Net Income Available for Debt Service                $      6,702,463     $     10,174,020     $      9,268,405     $      8,468,720
 Total Debt Service                                   $      3,665,028     $      5,497,542     $      6,009,468     $      6,265,431
   Debt Service Coverage Ratio (1.15 compliance)                  1.83                 1.85                 1.54                 1.35


Days Cash on Hand
Cash                                                  $      7,982,000     $     10,519,435     $     14,195,914     $     16,454,851
 Change in Cash                                              2,537,435            3,676,479            2,258,937            1,203,289
 Ending Cash                                          $     10,519,435     $     14,195,914     $     16,454,851     $     17,658,140

Operating Expenses plus Interest Expense              $     14,151,890     $     21,539,028     $     21,824,495     $     22,045,999
Expenses per day                                                57,763               59,011               59,793               60,400
Days Cash on Hand (100 days compliance)                            182                  241                  275                  292
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                                                  Park Place of Elmhurst
                                                 Statement of Financial Position
    Exhibit 7                                          October 31, 2020
                                                         UNAUDITED
                                                            Current                  Prior
                                                              YTD                    Month
    ASSETS
    CURRENT ASSETS
    Cash                                                      $2,443,177              $3,978,576
    Petty Cash / Gift Shop                                         1,700                   1,700
    TOTAL CASH                                                 2,444,877               3,980,276

    ACCOUNTS RECEIVABLE
    A/R Third Party Insurance/HMO/Managed Care                    252,372                323,176
    A/R Private                                                   187,607                104,626
    A/R Medicare                                                  320,533                339,977
    A/R Misc.                                                      10,542                      0
    Entrance Fee Receivable                                       918,250              1,646,750
    Due From Related Entities (net)                               (22,410)               (18,839)
    TOTAL ACCOUNTS RECEIVABLE                                   1,666,894              2,395,690

    PREPAID EXPENSES
    Prepaid Expenses                                             170,093                193,406
    Prepaid Insurance                                             39,416                 27,200
    TOTAL PREPAID EXPENSES                                       209,509                220,606

    FIXED ASSETS
    Land                                                      14,600,000              14,600,000
    Land Improvements                                            443,322                 418,322
    Building                                                 120,964,405             120,943,629
    Equipment                                                  3,051,372               2,971,821
    Vehicle                                                       72,163                  72,163
    CIP                                                           98,022                  92,600
    Phase II CIP                                                   9,285                   9,285
    Less, Accumulated Depreciation                           (28,809,877)            (28,523,533)
    TOTAL FIXED ASSETS                                       110,428,692             110,584,287

    OTHER ASSETS
    Bond Restructuring Costs - 2020                               309,600                252,038
    Bond Issuance Costs, Net                                    2,291,790              2,309,649
    TOTAL OTHER ASSETS                                          2,601,390              2,561,687

    ASSETS LIMITED TO USE
    Entrance Fee Deposits                                         95,126                  60,124
    Entrance Fee Fund                                          1,148,503               1,176,096
    Operating Reserve Fund                                     2,753,007               2,508,809
    Optional Redemption Fund                                       1,810                   1,810
    2016 Series A, B & C DSR Fund                              8,358,900               8,416,393
    Revenue Fund                                               1,550,368               1,651,298
    2016 Series Capital Expenditure Fund                       1,071,869               1,051,996
    2016 Series A & B Accrued Interest Fund                    3,106,063               2,484,850
    TOTAL ASSETS LIMITED TO USE                               18,085,646              17,351,376

    TOTAL ASSETS                                          $135,437,008             $137,093,922




Exhibit 7 to Debtors' Joint Disclosure Statement Dated December 15, 2020
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                                                    Current           Prior
                                                     YTD              Month

    LIABILITIES
    CURRENT LIABILITIES
    Accounts Payable                                    $414,509         $454,878
    Resident Deposits                                    135,000          135,000
    Entrance Fee Deposits                                 15,000                0
    Accrued Expenses                                     126,879          113,316
    Accrued Real Estate Tax                              149,800          135,217
    Accrued Interest 2016 Series A & B Bonds           3,416,580        2,795,383
    Accrued Interest 2016 Series C Bonds               2,159,492        2,122,961
    Accrued Legal Liability                              164,824          148,157
    Other Current Liabilities                            545,042          691,380
    TOTAL CURRENT LIABILITIES                          7,127,126        6,596,292

    LONG TERM LIABILITIES
    Bonds Payable                                    141,106,642      141,106,642
    Original Issue Discount (Net)                     (1,562,951)      (1,573,893)
    Long term loans                                       10,272           10,272
    Refund Liability                                   9,429,060       10,659,340
    Obligation to Provide Future Services             11,285,463       11,285,463
    Unamortized Entrance Fees (Net)                   73,210,072       73,623,004
    TOTAL LONG TERM LIABILITIES                      233,478,558      235,110,828

    TOTAL LIABILITIES                               240,605,684      241,707,120

    NET ASSETS
    Unrestricted                                    (101,337,721)    (101,337,721)
    Current Year Change in Net Assets                 (3,830,955)      (3,275,477)

    TOTAL NET ASSETS                               (105,168,676)    (104,613,198)

    TOTAL LIABILITIES & NET ASSETS                 $135,437,008     $137,093,922
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                                                                    Park Place of Elmhurst
                                                        Actual vs. Budget Summary Income Statement
                                                        For the Ten Months Ending October 31, 2020

                                              Current        Current
                                              Month          Month                        YTD            YTD
                                              Actual         Budget       Variance       Actual         Budget       Variance
 Operating Revenue
 IL Monthly Service Fees                       $815,170       $859,751     ($44,581)   $8,343,986     $8,597,510      ($253,525)
 IL Monthly Service Fee Credits                 (38,583)       (46,097)       7,514      (443,875)      (449,723)         5,848
 Campus Care                                      3,374          8,750       (5,376)       40,338         87,500        (47,162)
 AL Monthly Service Fees                        285,383        290,911       (5,528)    2,808,744      2,890,966        (82,222)
 AL Monthly Service Fee Credits                 (40,708)       (29,560)     (11,148)     (388,589)      (284,482)      (104,107)
 MS Monthly Service Fees                        190,761        171,020       19,741     1,642,282      1,710,200        (67,918)
 MS Monthly Service Fee Credits                 (66,359)       (66,981)         622      (645,058)      (669,810)        24,752
 SN Room & Board                                454,455        533,169      (78,714)    4,905,206      5,375,010       (469,804)
 SN Room & Board Credits                        (76,863)      (127,926)      51,063      (868,630)    (1,220,806)       352,176
 SN Ancillary & Therapy Revenue                 197,223          3,917      193,306     1,958,758         39,170      1,919,588
 SN Ancillary & Therapy Credits                (192,045)        (1,208)    (190,837)   (1,937,023)       (12,080)    (1,924,943)
 Other Revenue                                   29,138         30,913       (1,775)      270,845        308,892        (38,047)
 Total Operating Revenues                     1,560,946      1,626,659      (65,713)   15,686,984     16,372,347       (685,364)

 Departmental Expenses
 General & Administrative                       179,426        166,862      12,564      1,648,639      1,622,710         25,926
 Building & Maintenance                          79,766         70,994       8,772        609,674        704,836        (95,162)
 Security Services                                8,409          9,091        (682)        89,604         90,910         (1,306)
 Grounds & Maintenance                           12,258         11,683         575        106,723        120,580        (13,857)
 Transportation                                   5,507          3,640       1,867         22,526         36,037        (13,511)
 Housekeeping & Laundry Services                 59,274         62,944      (3,670)       612,003        621,305         (9,302)
 Dining Services                                205,072        214,916      (9,844)     1,947,473      2,118,553       (171,080)
 Pastoral Care                                    5,219          4,701         518         47,115         46,254            861
 Life Enrichment- IL                             26,605         23,984       2,621        215,036        245,935        (30,899)
 Life Enrichment- AL, MS, SNF                    15,411         16,816      (1,405)       141,047        165,740        (24,693)
 Marketing Services                              99,814         95,568       4,246        863,018        998,245       (135,227)
 Resident Services - IL & CL                      5,250          5,467        (217)        46,526         54,670         (8,144)
 Campus Care                                     10,459         13,394      (2,935)       115,984        131,786        (15,802)
 Assisted Living/Memory Support                 146,452        129,213      17,239      1,348,571      1,267,603         80,968
 Skilled Nursing                                365,743        333,662      32,081      3,445,745      3,365,184         80,561
 Gift Shop                                        1,178            333         845          6,969          3,330          3,639
 Total Departmental Expenses                  1,225,843      1,163,268      62,573     11,266,653     11,593,678       (327,026)

 Other Operating Expenses
 Utilities                                      59,725         64,113        (4,389)       619,763       661,781        (42,018)
 Insurance                                      39,077         37,520         1,557        392,376       375,200         17,176
 Management Fees                                30,000         30,000             0        300,000       300,000              0
 Real Estate Tax                                14,583         15,867        (1,284)       145,833       158,670        (12,837)
 Total Other Operating Expenses                143,385        147,500        (4,115)     1,457,972     1,495,651        (37,679)

 Total Operating Expenses                     1,369,228      1,310,768      58,459     12,724,625     13,089,329       (364,705)

 Net Operating Income (Loss)                   191,718        315,891      (124,171)     2,962,359     3,283,018       (320,659)

 Investment Income                                 134         20,833       (20,699)       50,285        208,330       (158,045)
 Contributions                                     320              0           320        65,073              0         65,073
 Medicare Stimulus Revenue                           0              0             0       390,910              0        390,910
 Nursing Home Infection Control Revenue              0              0             0        63,650              0         63,650
 Quality Incentives Revenue                     10,542              0        10,542        10,542              0         10,542
 Paycheck Protection Program Revenue                 0              0             0     1,377,500              0      1,377,500
 Mission Fund Payroll                                0              0             0      (169,581)             0       (169,581)
 Accrued PTO - Salaried Employee                     0              0             0       (26,711)             0        (26,711)
                                                10,996         20,833        (9,837)    1,761,668        208,330      1,553,338
 Net Income (Loss) Before Debt Service        $202,714       $336,724     ($134,008)   $4,724,027     $3,491,348     $1,232,679

 Interest Expense Series 2016 A & B Bonds      621,196        621,196             0      6,212,420     6,211,960            460
 Interest Expense Series 2016 C Bonds           36,531         36,531             0        404,074       365,310         38,764
 Long Term Debt Expenses                       657,727        657,727             1      6,616,494     6,577,270         39,224

 Net Income (Loss) Before Noncash Items       ($455,013)     ($321,003) ($134,009)     ($1,892,467)   ($3,085,922)   $1,193,455

 Non-Cash Items
 Unrealized Gain (Loss) on Investments                0              0           0         (21,781)             0      (21,781)
 Earned Entrance Fees                           214,680        100,000     114,680       1,232,769      1,000,000      232,769
 Depreciation/Amortization Expense             (315,146)      (320,789)      5,643      (3,149,476)    (3,207,890)      58,414
 Total Noncash Items                           (100,466)      (220,789)    120,323      (1,938,488)    (2,207,890)     269,402

 Total Change in Net Assets                   ($555,479)     ($541,792)    ($13,686)   ($3,830,955)   ($5,293,812)   $1,462,857
